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                                  UNITED STATES BANKRUPTCY COURT
                                    EASTERN DISTRICT OF MISSOURI
                                          EASTERN DIVISION

 In re:                                                           )    Case No. 19-40883
                                                                  )    Chapter 11
 PAYLESS HOLDINGS LLC, et al.,                                    )
                                                                  )    (Joint Administration Requested)
                                           1
                               Debtors.                           )
                                                                  )    Hearing Date: February 19, 2019
                                                                  )    Hearing Time: 1:30 p.m. (Central Time)
                                                                  )    Hearing Location: Courtroom 7 North

                  APPLICATION OF THE DEBTORS PURSUANT TO
             SECTIONS 327(A) AND 329(A) OF THE BANKRUPTCY CODE,
        BANKRUPTCY RULES 2014(A) AND 2016(B), AND LOCAL BANKRUPTCY
     RULES 2014(A) AND 2016-1, FOR AN ORDER AUTHORIZING THE DEBTORS TO
     RETAIN AND EMPLOY ARMSTRONG TEASDALE LLP AS CO-RESTRUCTURING
          COUNSEL EFFECTIVE NUNC PRO TUNC TO THE PETITION DATE

                     Payless Holdings LLC (“Payless”) and its affiliated debtors and debtors in

 possession (collectively, the “Debtors”), hereby move this Court, pursuant to sections 327(a) and

 329(a) of title 11 of the United States Code (the “Bankruptcy Code”), Bankruptcy Rules 2014(a)

 and 2016(b) of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) and Rules

 2014(A) and 2016-1 of the Local Bankruptcy Rules of the United States Bankruptcy Court for

 the Eastern District of Missouri (the “Local Bankruptcy Rules”),2 for entry of an order3



 1
           The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number,
 are: Payless Holdings LLC [5704]; Payless Intermediate Holdings LLC [5190]; WBG-PSS Holdings LLC [0673]; Payless Inc.
 [3160]; Payless Finance, Inc. [2101]; Collective Brands Services, Inc. [7266]; PSS Delaware Company 4, Inc. [1466]; Shoe
 Sourcing, Inc. [4075]; Payless ShoeSource, Inc. [4097]; Eastborough, Inc. [2803]; Payless Purchasing Services, Inc. [3043];
 Payless ShoeSource Merchandising, Inc. [0946]; Payless Gold Value CO, Inc. [3581]; Payless ShoeSource Distribution, Inc.
 [0944]; Payless ShoeSource Worldwide, Inc. [6884]; Payless NYC, Inc. [4126]; Payless ShoeSource of Puerto Rico, Inc. [9107];
 Payless Collective GP, LLC [2940]; Collective Licensing, LP [1256]; Collective Licensing International LLC [5451]; Clinch,
 LLC [9836]; Collective Brands Franchising Services, LLC [3636]; Payless International Franchising, LLC [6448]; PSS Canada,
 Inc. [4969]; Payless ShoeSource Canada Inc. [4180]; Payless ShoeSource Canada GP Inc. [4182]; and Payless ShoeSource
 Canada LP [4179]. With respect to certain taxing authorities, the Debtors’ address is 2001 Bryan Street, Suite 800, Dallas, Texas
 75201. However, the location of Debtor Payless Holdings LLC’s corporate headquarters and the Debtors’ service address is: c/o
 Payless ShoeSource Inc., 3231 S.E. 6th Avenue, Topeka, Kansas 66607.
 2
           This Application is also generally consistent with the Guidelines for Reviewing Applications for Compensation and
 Reimbursement of Expenses Filed under 11 U.S.C. § 330 by Attorneys in Larger Chapter 11 Cases Effective as of November 1,
 2013, issued by the Executive Office for United States Trustees (the “United States Trustee Guidelines”).
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 authorizing them to retain and employ Armstrong Teasdale LLP (“Armstrong Teasdale”) as co-

 restructuring counsel in these chapter 11 cases, effective nunc pro tunc to the Petition Date,4 and

 in support thereof respectfully represent as follows:

                                              JURISDICTION AND VENUE

                    1.      This Court has subject matter jurisdiction to consider this matter pursuant

 to 28 U.S.C. §§ 157 and 1334 and Rule 81-9.01(B)(1) of the Local Rules of the United States

 District Court for the Eastern District of Missouri. This is a core proceeding pursuant to

 28 U.S.C. § 157(b). Venue is proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

                                                     BACKGROUND

                   2.       The Debtors and their non-debtor affiliates (together, the “Company”) are

the largest specialty family footwear retailer in the Western Hemisphere, offering a wide range of

shoes and accessory items at affordable prices. The Company operates approximately 3,400

stores in more than 40 countries. The Debtors are headquartered in Topeka, Kansas, with

extensive operations that span across the United States, Canada, Latin America, Asia, the Middle

East, and Europe.

                   3.       On the date hereof (the “Petition Date”), each of the Debtors filed a

voluntary petition for relief under chapter 11 of the Bankruptcy Code. The Debtors are operating

their businesses and managing their properties as debtors in possession pursuant to Bankruptcy

Code sections 1107(a) and 1108. The Debtors have requested that their cases be consolidated for

procedural purposes and administered jointly. No request for the appointment of a trustee or




 3
           A copy of the Proposed Order will be provided to the Notice Parties (as defined below) and made available on the
 Debtors’ case information website at https://cases.primeclerk.com/PSS.
 4
           Retention nunc pro tunc to the Petition Date is appropriate because Armstrong Teasdale has provided services to the
 Debtors in these chapter 11 cases from and after the Petition Date.


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examiner has been made in these chapter 11 cases, and no committees have been appointed or

designated.

                 4.      The Debtors commenced these chapter 11 cases approximately 18 months

after completing a restructuring and emerging from chapter 11 protection with a reduced debt

burden.5 The Debtors, however, have been unable to sustain profitable operations in the current

retail environment as a result of various factors more fully described in the Declaration of

Stephen Marotta, Chief Restructuring Officer of Payless Holdings LLC, in Support of Debtors’

Chapter 11 Proceedings and First Day Pleadings (the “First Day Declaration”).6 Accordingly,

the Debtors have determined that the best way to maximize value for all of their stakeholders is to

liquidate all North America brick and mortar locations through the immediate commencement of

going out of business sales. The Debtors believe, in the exercise of their business judgment, that

such measures are in the best interests of the Debtors’ estates.

                 5.      A comprehensive description of the Debtors’ businesses and operations,

capital structure and events leading to the commencement of these chapter 11 cases is set forth in

the First Day Declaration, filed contemporaneously herewith and incorporated herein by

reference.

                  6.     In support of this Application, the Debtors submit (a) the Declaration of

 Stephen Marotta, Chief Restructuring Officer of Payless Holdings LLC (the “Marotta

 Declaration”), a copy of which is attached hereto as Exhibit A; (b) the Declaration of Richard W.

 Engel, Jr., a partner of Armstrong Teasdale (the “Engel Declaration”), a copy of which is


 5
          On April 4, 2017, the Debtors’ predecessors-in-interest commenced chapter 11 cases (the “Prior Cases”)
 before the United States Bankruptcy Court for the Eastern District of Missouri, which were jointly administered
 under the caption In re Payless Holdings LLC, No. 17-42267. A plan of reorganization was confirmed in the Prior
 Cases on July 26, 2017, and such plan went effective on August 10, 2017 (the “Prior Cases’ Plan”).
 6
          Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the
 First Day Declaration.

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 attached hereto as Exhibit B; and (c) Armstrong Teasdale’s Disclosure of Compensation (the

 “Disclosure of Compensation”), a copy of which is attached hereto as Exhibit C.

                7.     No trustee, examiner or official committee of unsecured creditors has been

 appointed in these Chapter 11 Cases. No date has been set for a meeting pursuant to Section 341

 of the Bankruptcy Code.

                                          BASIS FOR RELIEF

 Armstrong Teasdale’s Qualifications

                8.     Armstrong Teasdale is well qualified to serve as the Debtors’ local

 restructuring counsel in these chapter 11 cases. Armstrong Teasdale is one of the leading

 commercial law firms in the Midwest and serves a dynamic national and international client

 base. Armstrong Teasdale has substantial experience in virtually all aspects of the law that may

 potentially arise in these chapter 11 cases, including bankruptcy, environmental, corporate,

 international, employee benefits, finance, intellectual property, labor and employment, litigation,

 mergers and acquisitions, real estate and leasing, securities, and tax.

                9.     Armstrong     Teasdale’s     restructuring   practice   group   consists   of

 approximately 20 attorneys practicing in offices in Missouri, Illinois, Kansas, Colorado, and

 Nevada. Armstrong Teasdale’s restructuring lawyers have played, or are presently playing,

 significant roles in a wide array of chapter 11 cases including, but not limited to, those of

 Armstrong Energy, Inc., Peabody Energy Corporation; Patriot Coal Corp.; Abengoa Bioenergy

 US Holding, LLC; Abengoa Bioenergy Biomass of Kansas, LLC; Global Computer Enterprises

 Inc.; Enviro-Safe Refrigeration, Inc.; US Fidelis Inc.; Smurfit-Stone Container Corp.; National

 Steel; Thermadyne Holdings Corporation; Digital Teleport; Galaxy Cable; Bridge Information

 Systems, Inc.; Transworld Airlines; lendnetwork.com; and Wehrenberg Inc.



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                   10.     Armstrong Teasdale is also deeply familiar with the Debtors’ businesses

 and financial affairs. In early 2017, Armstrong Teasdale was retained to advise the Debtors in

 preparation for the filing of their Prior Cases. Armstrong Teasdale represented the Debtors in the

 Prior Cases through confirmation and substantial consummation of the Prior Plan. The Debtors

 emerged from the Prior Cases on August 10, 2017. Since the Debtors’ emergence from the Prior

 Cases, Armstrong Teasdale has continued to represent the Debtors in connection with the

 consummation of the Prior Plan. In these matters, Armstrong Teasdale’s professionals have

 worked closely with the Debtors’ management and other professionals and, as a result, have

 become well acquainted with the Debtors’ history, business operations, capital and corporate

 structure and related matters.           Accordingly, Armstrong Teasdale has developed substantial

 knowledge regarding the Debtors, which will result in effective and efficient services in these

 chapter 11 cases.

 Services to Be Provided by Armstrong Teasdale

                   11.     The employment of Armstrong Teasdale as the Debtors’ local restructuring

 counsel is appropriate and necessary to enable the Debtors to fulfill their duties as debtors and

 debtors in possession and to preserve and maximize the value of the Debtors’ estates for all

 stakeholders. The Debtors propose to retain Armstrong Teasdale for these chapter 11 cases on

 the terms of this application and the parties’ engagement letter, dated as of February 5, 2019

 (the “Engagement Letter”), a copy of which is attached hereto as Exhibit D.7 The Engagement

 Letter describes, among other things: (a) the services that Armstrong Teasdale anticipates




 7
            Any references to, or descriptions of, the Engagement Letter herein are qualified by the express terms of the
 Engagement Letter, which shall govern if there is any conflict between the Engagement Letter and the description provided
 herein. Notwithstanding any contrary terms of the Engagement Letter, Armstrong Teasdale will comply with all applicable
 orders of this Court, the Bankruptcy Code, Bankruptcy Rules, and applicable Local Bankruptcy Rules.


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 performing for the Debtors; and (b) the terms and conditions of Armstrong Teasdale’s proposed

 engagement by the Debtors.

               12.     The Debtors anticipate that Armstrong Teasdale will render various legal

 services to the Debtors as needed throughout the course of these chapter 11 cases. In particular,

 the Debtors anticipate that Armstrong Teasdale will perform, among others, the following legal

 services:

                       (a)       providing legal advice with respect to the Debtors’ powers and

               duties as debtors-in-possession in the continued operation of its business and

               management of its properties;

                       (b)       attending meetings and negotiating with representatives of

               creditors and other parties in interest and advising and consulting on the conduct

               of Chapter 11 Cases, including the legal and administrative requirements of

               operating in chapter 11;

                       (c)       taking necessary action to protect and preserve the Debtors’

               estates, including the prosecution of actions commenced under the Bankruptcy

               Code on their behalf, and objections to claims filed against the estates;

                       (d)       preparing and prosecuting on behalf of the Debtors’ motions,

               applications, answers, orders, reports and papers necessary to the administration

               of the estates;

                       (e)       advising and assisting the Debtors with respect to restructuring

               alternatives, including, to the extent applicable, preparing and pursuing

               confirmation of a chapter 11 plan and approval of a disclosure statement;;




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                        (f)       appearing in Court and protecting the interests of the Debtors

                before the Court; and

                        (g)       performing all other legal services for the Debtors which may be

                necessary and proper in these cases.

                13.     In addition, the Debtors seek to continue to employ Armstrong Teasdale in

 the Prior Cases. The Debtors submit their continued services are necessary to fully consummate

 the Prior Cases’ Plan. While consummation is substantially complete, the Debtors must finalize

 claims reconciliations, issue distributions to the Prior Cases’ creditors, and complete such other

 administrative tasks necessary to close the Prior Cases.

                14.     The Debtors require knowledgeable counsel to render these essential

 professional services.       Armstrong Teasdale has substantial expertise in all of these areas.

 Moreover, as indicated above, Armstrong Teasdale has obtained valuable institutional

 knowledge of the Debtors’ business and financial affairs as a result of its historical representation

 of the Debtors. Accordingly, the Debtors respectfully submit that Armstrong Teasdale is well

 qualified to perform these services and represent the Debtors’ interests in these chapter 11 cases.

                15.     In addition, by separate applications filed contemporaneously herewith or

 expected to be filed shortly hereafter, the Debtors are also seeking to employ: (a) Akin Gump

 Strauss Hauer & Feld LLP (“Akin Gump”), as co-counsel; (b) Ankura Consulting Group LLC, as

 financial advisor and Stephen Marotta, as chief restructuring officer; (c) PJ Solomon, L.P., as

 investment banker; (d) Seward & Kissel LLP as counsel to the independent managers and

 conflicts counsel; (e) Malfitano Advisors, LLC as asset disposition advisor and consultant; (f)

 Reevemark, LLC as corporate communications consultants; (g) Prime Clerk LLC, as claims and

 noticing agent; and (h) and A&G Realty as real estate advisor. The Debtors may also file



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 motions or applications to employ additional professionals. Armstrong Teasdale will work

 closely with each of these professionals to prevent unnecessary or inefficient duplication of

 services, and will take whatever steps are necessary and appropriate to avoid any such

 duplication. Either Akin Gump or another firm will represent the Debtors in connection with any

 matter in which Armstrong Teasdale cannot represent the Debtors because of an actual or

 potential conflict of interest.

 Compensation and Fee Applications

                    16.     Pursuant to the terms of the Engagement Letter, and subject to the Court’s

 approval of this application, Armstrong Teasdale intends to: (a) charge for its legal services on

 an hourly basis in accordance with the ordinary and customary hourly rates in effect on the date

 services are rendered; and (b) seek reimbursement of actual and necessary out-of-pocket

 expenses.8

                    17.     Armstrong Teasdale will be compensated at its standard hourly rates, which

 are based on the professionals’ level of experience. At present, the standard hourly rates charged

 by Armstrong Teasdale range as follows:

                                 BILLING CATEGORY                       U.S. RANGE

                                         Partners                        $375 - $685

                                       Of Counsel                        $395 - $555

                                        Associates                       $255 - $395

                                        Paralegals                       $125 - $305

                                       Law Clerks                            $200


 8
           The hourly rates charged by Armstrong Teasdale professionals differ based on, among other things, the professional’s
 level of experience and the rates normally charged in the specific office in which the professional is resident. Armstrong
 Teasdale does not adjust the billing rates of its professionals based on the geographic location of a bankruptcy case or other
 matter.


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                    18.      The names, positions, resident offices and current hourly rates of those

 Armstrong Teasdale lawyers currently expected to spend significant time on these chapter 11

 cases are attached as Schedule 3 to the Engel Declaration. Armstrong Teasdale’s hourly fees are

 comparable to those charged by attorneys of similar experience and expertise for engagements of

 the scope and complexity similar to these chapter 11 cases.                              Further, Armstrong Teasdale

 bankruptcy professionals are subject to the same client-driven market forces, scrutiny and

 accountability as its professionals in non-bankruptcy engagements. For all of these reasons,

 Armstrong Teasdale’s rates are reasonable and favorable to the Debtors’ estates.9

                    19.      Armstrong Teasdale will maintain detailed, contemporaneous time records

 in six-minute intervals and apply to the Court for payment of compensation and reimbursement

 of expenses in accordance with applicable provisions of the Bankruptcy Code, the Bankruptcy

 Rules, the Local Bankruptcy Rules and any additional procedures that may be established by the

 Court in these chapter 11 cases.10 Armstrong Teasdale contemplates using the following billing

 categories, which substantially conform to those categories set forth at section 8(b) of the United

 States Trustee Guidelines:11

        CATEGORY                                                        DESCRIPTION

                                Includes the identification and review of potential assets, including
     Asset Analysis and
                                causes of action belonging to the Debtors’ estates and other non-litigation
         Recovery
                                recoveries.

                                Includes transactions related to the sale, lease, abandonment or other
      Asset Disposition
                                disposition of the Debtors’ assets.

 9
          Like many of its peer law firms, Armstrong Teasdale increases the hourly billing rate of attorneys and
 paraprofessionals periodically in the form of step increases in the ordinary course on the basis of advancing seniority and
 promotion. The step increases do not constitute “rate increases” (as the term is used in the United States Trustee Guidelines).
 10
          In applying to the Court for payment of compensation and reimbursement of expenses, Armstrong Teasdale will also
 make reasonable efforts to comply with the United States Trustee Guidelines.
 11
           Armstrong Teasdale may, in its discretion and in consultation with the Debtors, determine to create separate sub-billing
 categories for certain discrete projects undertaken during these chapter 11 cases.


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     CATEGORY                                        DESCRIPTION

                       Includes (a) contract and lease analysis, (b) matters relating to
  Assumption and
                       assumption, assumption and assignment, rejection or recharacterization
 Rejection of Leases
                       of executory contracts and unexpired leases, and (c) the preparation of
   and Contracts
                       Court filings related to the foregoing.

                       Includes the review of potential avoidance actions under sections 544,
  Avoidance Action
                       545, 546, 547, 548 and 549 of the Bankruptcy Code to determine whether
      Analysis
                       such actions are warranted.

                       Includes matters related to the Debtors’ operations that do not fit within
                       another, more specific matter description, including, but not limited to,
                       issues related to (a) vendors/sourcing, (b) customers, (c) interaction with
 Business Operations
                       governmental entities and regulatory agencies, (d) lessor/lessee matters,
                       (e) utilities, (f) insurance/surety matters, and (g) internal management,
                       processes and controls.

                       Includes (a) general case administration services, (b) maintenance of case
 Case Administration   docket and calendar, (c) filing and circulation of papers, and
                       (d) preparation and review of other reports, notices and service lists.

     Claims
                       Includes (a) bar date matters, (b) claims objections and related contested
 Administration and
                       matters, and (c) other claims administration activities.
    Objections

                       Includes (a) preparation for and attendance at meetings of the Debtors’
     Corporate         board of directors, (b) analysis and advice regarding all transactional,
   Governance and      corporate governance and related matters unrelated to the plan of
    Board Matters      reorganization or disclosure statement process, and (c) matters related to
                       requests for the appointment of a trustee or examiner.

   Court Hearings      Includes preparation for and attendance at court hearings.

                       Includes (a) employee compensation and retiree benefits issues, (b) other
  Employee Matters
                       employee relations matters, and (c) ERISA matters.

   Environmental       Includes matters related to (a) compliance with environmental laws and
      Matters          regulations and (b) research or reporting related to the foregoing.

                       Includes (a) preparation of Armstrong Teasdale fee applications and the
                       preparation of monthly invoices, (b) preparation of fee applications for
  Employment and
                       other professionals, and (c) preparation and/or prosecution of Court
  Fee Applications
                       filings establishing procedures governing professional retention and
                       compensation.



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     CATEGORY                                          DESCRIPTION

  Employment and
                        Includes the review of, and objections to, the employment and fee
  Fee Application
                        applications of other professionals.
    Objections

                        Includes (a) negotiation and documentation of debtor in possession
 Financing and Cash
                        financing and post-confirmation financing, (b) cash collateral issues,
     Collateral
                        (c) analysis of loan documents, and (d) related services.

                        Includes all litigation and adversary proceedings (i.e., actions initiated by
    Litigation and
                        a complaint in the Bankruptcy Court), such as avoidable transfer
      Adversary
                        litigation, as well as related pre-litigation matters and all other contested
     Proceedings
                        matters that do not fit within another, more specific matter description.

                        Includes preparation for, and attendance at, (a) meetings with official
                        committees appointed in the Debtors’ chapter 11 cases that do not fit
                        within another, more specific matter description, (b) the section 341
      Meetings          meeting and committee formation meetings, (c) meetings with the
                        Debtors or the Debtors’ other professionals (including co-counsel),
                        (d) meetings with individual creditors, and (e) meetings with all other
                        interested parties.

 Non-Working Travel Includes all non-working travel time.

                        Includes (a) the formulation, negotiation, preparation and promulgation
                        of plans of reorganization, disclosure statements, confirmation orders and
 Plan and Disclosure
                        related orders and corporate documentation, (b) research relating thereto,
      Statement
                        (c) matters related to exclusivity, and (d) disbursement and case closing
                        activities.

                        Review and analysis of real estate matters that do not fit within another,
     Real Estate
                        more specific matter description.

                        Includes matters related to (a) the continuation, extension, modification,
                        scope or termination of the automatic stay under section 362 of the
 Relief from Stay and
                        Bankruptcy Code, (b) adequate protection under section 361 of the
 Adequate Protection
                        Bankruptcy Code, and (c) the effect of the automatic stay on pending
                        matters.

                        Includes (a) preparation of (i) schedules of assets and liabilities (and
                        amendments thereto), (ii) statements of financial affairs (and
      Reporting         amendments thereto), (iii) periodic operating reports and (iv) other
                        accounting or reporting activities and (b) communications with the Office
                        of the United States Trustee for the Eastern District of Missouri
                        (the “United States Trustee”) not within the scope of other matter


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       CATEGORY                                              DESCRIPTION
                            numbers.

                            Includes (a) all federal and state income, property, employment, excise
          Tax
                            and other tax matters and (b) the preparation of related tax returns.

                            Write-off of fees and disbursements relating to services rendered in
       Write-Offs
                            Debtor’s chapter 11 case.

                 20.       Furthermore, Armstrong Teasdale contemplates using the following

 expense categories: (a) copies; (b) outside printing; (c) telephone; (d) facsimile; (e) online

 research; (f) delivery services/couriers; (g) postage; (h) out-of-town travel (including

 subcategories for transportation, hotel, meals, ground transportation, and other); (i) meals (local);

 (j) court fees; (k) subpoena fees; (l) witness fees; (m) deposition transcripts; (n) trial transcripts;

 (o)   trial   exhibits;     (p)   litigation   support    vendors;   (q)   experts;   (r)   investigators;

 (s) arbitrators/mediators; and (t) other.

                 21.       Armstrong Teasdale will consult with the United States Trustee regarding

 suggested alterations to these categories, and will seek to coordinate the consistent use of these

 categories among professionals required to file applications for payment of fees and

 reimbursement of expenses in these cases. In addition, Armstrong Teasdale understands that

 interim and final fee awards are subject to approval by this Court.

 Disclosure Concerning Disinterestedness

                 22.       The Engel Declaration, incorporated herein by reference, discloses

 Armstrong Teasdale’s connections to the Debtors and parties in interest in these cases. In

 reliance on the Engel Declaration, and except as set forth therein, the Debtors believe that:

 (a) Armstrong Teasdale has no connection with the Debtors, their affiliates, their creditors, the

 United States Trustee, any person employed in the office of the United States Trustee or any



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 other party with an actual or potential interest in these chapter 11 cases or their respective

 attorneys or accountants; (b) Armstrong Teasdale is not a creditor, equity security holder or

 insider of the Debtors; (c) none of Armstrong Teasdale’s lawyers is, or was within two years of

 the Petition Date, a director, officer or employee of the Debtors; and (d) Armstrong Teasdale

 neither holds nor represents an interest materially adverse to the Debtors or their respective

 estates. As of the Petition Date, Armstrong Teasdale is not a creditor of the Debtors’ estates;

 however, out of an abundance of caution, Armstrong Teasdale has waived any interest it may

 have which is adverse to the Debtors’ estates as of the Petition Date. Accordingly, the Debtors

 believe that Armstrong Teasdale is a “disinterested person,” as defined in section 101(14) of the

 Bankruptcy Code and as required by section 327(a) of the Bankruptcy Code.

                23.     In the event that Armstrong Teasdale’s representation of the Debtors in

 connection with any matter in these chapter 11 cases would result in it becoming adverse to a

 party in interest that gives rise to a professional conflict, the Debtors shall retain separate counsel

 to represent their interests with respect to such matter against such party.

 Professional Compensation

                24.     Following this Court’s confirmation of the Prior Plan, and leading up to the

 Petition Date, the Debtors provided Armstrong Teasdale with multiple advance payments

 totaling $285,000 to establish a retainer (together with replenishments thereof, the “Retainer”)

 for professional services to be rendered and services to be incurred by Armstrong Teasdale in

 connection with these and the Debtors’ Prior Cases. As of the Petition Date, the balance of the

 Retainer is approximately $144,939.31.

                25.     Pursuant to this Court’s July 26, 2017 order confirming the Prior Plan, in

 connection with Armstrong Teasdale’s representation of the Company on bankruptcy matters

 during the twelve month period preceding the Petition Date, Armstrong Teasdale received
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 payments (inclusive of retainers and replenishments thereof) from the Debtors in the ordinary

 course totaling $803,757.65. Such payments reflect the payment of (a) certain actual fees and

 expenses, and (b) unbilled, anticipated and/or estimated fees and expenses through the Petition

 Date.

                26.     Armstrong Teasdale has informed the Debtors that, as promptly as

 practicable after all fees and charges accrued prior to the Petition Date have been posted within

 its computerized billing system, Armstrong Teasdale will issue a final detailed billing statement

 for any fees, charges and disbursements for the period prior to the Petition Date (the “Final

 Prepetition Bill”). If the Prepetition Payments exceed Armstrong Teasdale’s actual fees and

 expenses for the applicable invoice period (as set forth on the Final Prepetition Bill), Armstrong

 Teasdale will (a) reconcile the Final Prepetition Bill with the Retainer to pay its prepetition

 invoices and (b) any excess amount will continue to be held in the Retainer. If the Prepetition

 Payments are less than Armstrong Teasdale’s actual fees and expenses for the applicable invoice

 period (as set forth on the Final Prepetition Bill), then, subject to any orders of the Court,

 Armstrong Teasdale will (a) reconcile the Final Prepetition Bill with the Retainer to pay its

 prepetition invoices (to the extent funds are available in the Retainer) and (b) write off any fees

 and expenses set forth in the Final Prepetition Bill in excess of the amount of the Retainer.

 Armstrong Teasdale expects to: (a) complete its reconciliation of prepetition fees and expenses

 actually incurred through the Petition Date no later than the filing of its first interim fee

 application in these cases; (b) make a corresponding adjustment to the amount of the Retainer on

 or about that date; and (c) disclose such adjustment in its first interim fee application. Upon the

 conclusion of Armstrong Teasdale’s representation of the Debtors (or as otherwise directed by

 the Court), Armstrong Teasdale will apply any remaining portion of the Retainer against any



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 unpaid fees or unreimbursed disbursements, with any unapplied portion of the Retainer to be

 promptly returned to the Debtors.

                                          BASIS FOR RELIEF REQUESTED

                  27.      Under section 327(a) of the Bankruptcy Code, a debtor in possession is

 authorized to employ professional persons “that do not hold or represent an interest adverse to

 the estate, and that are disinterested persons, to represent or assist the [debtor in possession] in

 carrying out [its] duties under [the Bankruptcy Code].” 11 U.S.C. § 327(a).12 Section 1107(b) of

 the Bankruptcy Code elaborates upon sections 101(14) and 327(a) of the Bankruptcy Code in

 cases under chapter 11 of the Bankruptcy Code and provides that “a person is not disqualified for

 employment under section 327 of [the Bankruptcy Code] by a debtor in possession solely

 because of such person’s employment by or representation of the debtor before the

 commencement of the case.” 11 U.S.C. § 1107(b).

                  28.      As required by Section 329(a) of the Bankruptcy Code,13 Bankruptcy Rule

 2014(a)14 and Local Bankruptcy Rules 2014(A)15 and 2016-1,16 the above-described facts set



 12
        Section 101(14) of the Bankruptcy Code defines the phrase “disinterested person” as:
        a person that –
                  (A)       is not a creditor, an equity security holder, or an insider;
                  (B)        is not and was not, within 2 years before the date of the filing of the petition, a
                  director, officer, or employee of the debtor; and
                  (C)       does not have an interest materially adverse to the interest of the estate or of
                  any class of creditors or equity security holders, by reason of any       direct or indirect
                  relationship to, connection with, or interest in, the debtor, or for any other reason.
        11 U.S.C. § 101(14).
 13
        Section 329(a) of the Bankruptcy Code provides as follows:
                  Any attorney representing a debtor in a case under this title, or in connection with such a
                  case, whether or not such attorney applies for compensation under this title, shall file with
                  the court a statement of the compensation paid or agreed to be paid, if such payment or
                  agreement was made after one year before the date of the filing of the petition, for
                  services rendered or to be rendered in contemplation of or in connection with the case by
                  such attorney, and the source of such compensation.
        11 U.S.C. § 329(a). This information is set forth in the Engel Declaration attached hereto as Exhibit B.


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 forth in this Application and the information in the Exhibits attached hereto set forth: (a) the

 specific facts showing the necessity for Armstrong Teasdale’s employment; (b) the reasons for

 the Debtors’ selection of Armstrong Teasdale as their counsel in connection with these chapter

 11 cases; (c) the professional services proposed to be provided by Armstrong Teasdale; (d) the

 arrangement between the Debtors and Armstrong Teasdale with respect to Armstrong Teasdale’s

 compensation, including information on retainers and hourly fees and the reasonableness thereof;

 and (e) to the best of the Debtors’ knowledge, the extent of Armstrong Teasdale’s connections, if

 any, to certain parties in interest in these matters. Accordingly, Armstrong Teasdale’s retention

 by the Debtors should be approved.

                                                           NOTICE

                  29.      The Debtors will provide notice of this Application to: (a) the Office of the

 United States Trustee for the Eastern District of Missouri; (b) the holders of the 50 largest

 unsecured claims against the Debtors (on a consolidated basis); (c) counsel to the Prepetition

 14
        Bankruptcy Rule 2014(a) provides that an application seeking the employment of professional persons pursuant to
        section 327 of the Bankruptcy Code:
                  shall state the specific facts showing the necessity for the employment, the name of the
                  person to be employed, the reasons for the selection, the professional services to be
                  rendered, any proposed arrangement for compensation, and, to the best of the applicant's
                  knowledge, all of the person's connections with the debtor, creditors, any other party in
                  interest, their respective attorneys and accountants, the United States trustee, or any
                  person employed in the office of the United States trustee. The application shall be
                  accompanied by a verified statement of the person to be employed setting forth the
                  person's connections with the debtor, creditors, any other party in interest, their respective
                  attorneys and accountants, the United States trustee, or any person employed in the office
                  of the United States trustee.
        Fed. R. Bankr. P. 2014(a).
 15
        Local Bankruptcy Rule 2014(A) requires a party seeking an order authorizing its retention in a chapter 11 case to meet
        the requirements of Bankruptcy Rule 2014. The application must disclose any prepetition retainer arrangement and
        shall be served on: (a) all entities filing a request for notice; (b) other counsel of record; (c) the case trustee; (d) the
        United States Trustee; and (e) any committees. Local R. Bankr. P. 2014(A).
 16
        Local Bankruptcy Rule 2016-1(A) provides, inter alia, that “[p]ursuant to Bankruptcy Code § 329 and Fed. R. Bankr. P.
        2016(b), an attorney representing a debtor in a case under any chapter shall file with the petition a statement disclosing
        compensation paid or agreed to be paid to such attorney for services in contemplation of or in connection with the case.
        Counsel shall serve the disclosure on the Trustee and United States Trustee . . . . Until a case is closed, a supplemental
        fee disclosure statement shall be filed and served as required in this Rule either no later than 14 days after any payment
        not previously disclosed in a properly filed Disclosure of Compensation for Attorney for Debtor pursuant to Fed. R.
        Bankr. P. 2016(b), or no later than 14 days after the agreement for such payment.” Local R. Bankr. P. 2016-1(A).


                                                               16
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 ABL Administrative Agent, (i) Choate Hall & Stewart LLP (Attn: Kevin Simard, Douglas

 Gooding and Jonathan Marshall) and (ii) Thompson Coburn LLP (Attn: Mark Bossi); (d) counsel

 to the FILO Agent, Greenberg Traurig, LLP (Attn: Jeffrey M. Wolf); (e) counsel to certain

 Prepetition Term Loan Lenders (i) Kramer Levin Naftalis & Frankel LLP (Attn: Stephen D.

 Zide), (ii) Doster, Ullom & Boyle, LLC (Attn: Gregory D. Willard) (iii) Stroock & Stroock &

 Lavan LLP (Attn: Kristopher M. Hansen and Daniel A. Fliman) and (iv) Lewis Rice LLC (Attn:

 Sonette T. Magnus); (f) the proposed Monitor, FTI Consulting Canada, Inc. (Attn: Paul Bishop,

 Greg Watson and Jim Robinson); (g) counsel to the proposed Monitor, Bennett Jones LLP (Attn:

 Sean Zweig, Kevin Zych and Aiden Nelms); (h) counsel to any statutory committee appointed in

 the chapter 11 cases; (i) the United States Attorney’s Office for the Eastern District of Missouri;

 (j) the Internal Revenue Service; (k) the United States Securities and Exchange Commission; (l)

 the state attorneys general for all states in which the Debtors conduct business; (m) any party that

 has requested notice pursuant to Bankruptcy Rule 2002 (collectively, the “Notice Parties”). The

 Debtors submit that, in light of the nature of the relief requested, no other or further notice need

 be given.

                                        NO PRIOR REQUEST

                30.     No prior request for the relief sought in this application has been made to

 this or any other Court in connection with these chapter 11 cases.



                                     [Signature Page to Follow]




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              WHEREFORE, the Debtors respectfully request that the Court:             (i) enter an order,

       substantially in the form submitted to the Court, granting the relief requested herein; and

       (ii) grant such other and further relief to the Debtors as the Court may deem just and proper.


Dated: February 19, 2019                                Respectfully submitted,
       St. Louis, Missouri
                                                        Payless Holdings LLC, et al.,
                                                        Debtors and Debtors in Possession

                                                        /s/ Stephen Marotta
                                                        Name: Stephen Marotta
                                                        Title: Chief Restructuring Officer
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 Filed by:

 /s/ Richard W. Engel, Jr.
 Richard W. Engel, Jr. MO 34641
 Erin M. Edelman MO 67374
 John G. Willard MO 67049
 ARMSTRONG TEASDALE LLP
 7700 Forsyth Boulevard, Suite 1800
 St. Louis, MO 63105
 Telephone: (314) 621-5070
 Facsimile: (314) 612-2239
 rengel@armstrongteasdale.com
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 jwillard@armstrongteasdale.com

 -and-

 Ira Dizengoff (pro hac vice admission pending)
 Meredith A. Lahaie (pro hac vice admission pending)
 Kevin Zuzolo (pro hac vice admission pending)
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 Telephone: (212) 872-1000
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 idizengoff@akingump.com
 mlahaie@akingump.com
 kzuzolo@akingump.com

 - and -

 Julie Thompson (pro hac vice admission pending)
 AKIN GUMP STRAUSS HAUER & FELD LLP
 1333 New Hampshire Avenue, N.W.
 Washington, D.C. 20036
 Telephone: (202) 887-4000
 Facsimile: (202) 887-4288
 julie.thompson@akingump.com

 Proposed Counsel to the Debtors and Debtors in
 Possession
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                                     Exhibit A

                                Marotta Declaration
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                                  UNITED STATES BANKRUPTCY COURT
                                    EASTERN DISTRICT OF MISSOURI
                                          EASTERN DIVISION

 In re:                                                           )    Case No. 19-40883
                                                                  )    Chapter 11
 Payless Holdings LLC, et al.,                                    )
                                                                  )    (Joint Administration Requested)
                                           1
                               Debtors.                           )
                                                                  )    Hearing Date: February 19, 2019
                                                                  )    Hearing Time: 1:30 p.m. (Central Time)
                                                                  )    Hearing Location: Courtroom 7 North

                                 DECLARATION OF STEPHEN MAROTTA

                     Pursuant to Section D of the Guidelines for Reviewing Applications for

 Compensation and Reimbursement of Expenses Filed under 11 U.S.C. § 330 by Attorneys in

 Larger Chapter 11 Cases Effective as of November 1, 2013, issued by the Executive Office for

 United States Trustees (the “United States Trustee Guidelines”), I, Stephen Marotta, hereby

 declare, under penalty of perjury, as follows:

                     1.        I am older than 21 years of age and suffer no legal disability. I am

 competent to make this Declaration.

                     2.       My testimony herein is based upon my personal knowledge, unless stated

 otherwise.

                     3.       If called to testify, I could and would testify to the matters stated herein.


 1
           The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number,
 are: Payless Holdings LLC [5704]; Payless Intermediate Holdings LLC [5190]; WBG-PSS Holdings LLC [0673]; Payless Inc.
 [3160]; Payless Finance, Inc. [2101]; Collective Brands Services, Inc. [7266]; PSS Delaware Company 4, Inc. [1466]; Shoe
 Sourcing, Inc. [4075]; Payless ShoeSource, Inc. [4097]; Eastborough, Inc. [2803]; Payless Purchasing Services, Inc. [3043];
 Payless ShoeSource Merchandising, Inc. [0946]; Payless Gold Value CO, Inc. [3581]; Payless ShoeSource Distribution, Inc.
 [0944]; Payless ShoeSource Worldwide, Inc. [6884]; Payless NYC, Inc. [4126]; Payless ShoeSource of Puerto Rico, Inc. [9017];
 Payless Collective GP, LLC [2940]; Collective Licensing, LP [1256]; Collective Licensing International LLC [5451]; Clinch,
 LLC [9836]; Collective Brands Franchising Services, LLC [3636]; Payless International Franchising, LLC [6448]; Collective
 Brands Logistics, Limited [6466]; Dynamic Assets Limited [1978]; PSS Canada, Inc. [4969]; Payless ShoeSource Canada Inc.
 [4180]; Payless ShoeSource Canada GP Inc. [4182]; and Payless ShoeSource Canada LP [4179]. With respect to certain taxing
 authorities, the Debtors’ address is 2001 Bryan Street, Suite 800, Dallas, Texas 75201. However, the location of Debtor Payless
 Holdings LLC’s corporate headquarters and the Debtors’ service address is: c/o Payless ShoeSource Inc., 3231 S.E. 6th Avenue,
 Topeka, Kansas 66607.
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                  4.      I make this declaration under 28 U.S.C. § 1746 for all permissible purposes

 under applicable rules of evidence and procedure, in support of the Application of the Debtors

 Pursuant to Sections 327(a) and 329(a) of the Bankruptcy Code, Bankruptcy Rules 2014(a) and

 2016(b), and Local Bankruptcy Rules 2014-1 and 2016-1, for an Order Authorizing Debtors to

 Retain and Employ Armstrong Teasdale LLP as Co-Restructuring Counsel, Effective Nunc Pro

 Tunc to the Petition Date (the “Application”).2

                  5.      Although Armstrong Teasdale professionals assisted in the preparation of

 this declaration on my behalf, they did so according to my express instructions and using

 information provided by me and my staff specific to the Debtors’ decision to retain Armstrong

 Teasdale as counsel in these chapter 11 cases.

                  6.      I am currently Chief Restructuring Officer of Debtor Payless Holdings

 LLC and its affiliated debtors and debtors in possession (collectively, the “Debtors”).

                  7.      In my current capacity, I am familiar with all aspects of the Debtors’

 decision to retain and employ Armstrong Teasdale as counsel with respect to these chapter 11

 cases. In addition, I generally am responsible for, among other things, supervising outside

 counsel for all of the Debtors and monitoring and controlling legal costs.

                         THE DEBTORS’ SELECTION OF ARMSTRONG TEASDALE

                  8.      Armstrong Teasdale is the proposed local restructuring counsel to the

 Debtors. The process used by the Debtors to review and select their restructuring counsel

 involved an evaluation of potential counsels’ expertise in relevant legal practice areas and in

 similar proceedings in this District and elsewhere. After evaluating multiple candidates for local

 counsel, the Debtors retained Armstrong Teasdale due to Armstrong Teasdale’s extensive


 2
        This Declaration is also generally consistent with the United States Trustee Guidelines.
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 experience in corporate reorganizations, both out-of-court and under chapter 11 of the

 Bankruptcy Code, and in areas of law closely aligned with the Debtors’ goals and interests in

 these Chapter 11 cases.

                9.      Given these facts, the Debtors determined that Armstrong Teasdale is well

 qualified to represent the Debtors in connection with these chapter 11 cases.

                                         RATE STRUCTURE

                10.     The Debtors and Armstrong Teasdale agreed that Armstrong Teasdale’s

 standard fees would apply to this engagement. Having previously reviewed invoices from other

 comparable law firms and invoices submitted from Armstrong Teasdale, I can verify that the

 rates being charged by Armstrong Teasdale in connection with this representation are within the

 range typically charged by similar firms.

                11.     The Debtors have approved a budget and staffing plan (the “Budget and

 Staffing Plan”) for the first several months of these chapter 11 cases, recognizing that in the

 course of large chapter 11 cases like these, it is possible that there may be a number of

 unforeseen matters that will need to be addressed by the Debtors and Armstrong Teasdale

 leading to the incurrence of additional fees and expenses beyond those set forth in the Budget

 and Staffing Plan. As these chapter 11 cases continue to develop, the Debtors and Armstrong

 Teasdale will work together to revise the Budget and Staffing Plan as needed. The Debtors

 further recognize that it is their responsibility to monitor closely the billing practices of their

 counsel to ensure the fees and expenses paid by the estate remain consistent with the Debtors’

 expectations and the exigencies of the chapter 11 cases. The Debtors will continue to review the

 invoices that Armstrong Teasdale regularly submits, and, together with Armstrong Teasdale,

 amend the Budget and Staffing Plan periodically, if necessary, as the case develops.
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                                        COST SUPERVISION

                12.     As they did prepetition, the Debtors will continue to closely supervise the

 fee and expense reimbursement process. Armstrong Teasdale’s fees and expenses will be subject

 to review, comment and objection (if warranted), and court approval pursuant to interim

 compensation procedures that provide for the interim allowance and payment of fees and

 expenses during the course of these chapter 11 cases. It is my understanding that Armstrong

 Teasdale’s fees and expenses will be subject to review on a monthly, interim and final basis

 during the course of these chapter 11 cases by the U.S. Trustee, any official committee and the

 Court, as well as by the Debtors.



                                     [Signature Page to Follow]
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                 Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing

 is true and correct.


 Dated: February 19, 2019                          /s/ Stephen Marotta
                                                   Name: Stephen Marotta
                                                   Title: Chief Restructuring Officer - Payless
                                                   Holdings LLC, et al., Debtors and Debtors in
                                                   Possession
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                                     Exhibit B

                                 Engel Declaration
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                                  UNITED STATES BANKRUPTCY COURT
                                    EASTERN DISTRICT OF MISSOURI
                                          EASTERN DIVISION

 In re:                                                           )    Case No. 19-40883
                                                                  )    Chapter 11
 Payless Holdings LLC, et al.,                                    )
                                                                  )    (Joint Administration Requested)
                                           1
                               Debtors.                           )
                                                                  )    Hearing Date: February 19, 2019
                                                                  )    Hearing Time: 1:30 p.m. (Central Time)
                                                                  )    Hearing Location: Courtroom 7 North

                              DECLARATION OF RICHARD W. ENGEL, JR.

                     Pursuant to Bankruptcy Rule 2014(a) of the Federal Rules of Bankruptcy

 Procedure (the “Bankruptcy Rules”) and Rules 2014(A) and 2016-1 of the Local Rules of

 Procedure of the United States Bankruptcy Court for the Eastern District of Missouri (the “Local

 Bankruptcy Rules”),2 I, Richard W. Engel, Jr., declare:

                     1.        I am an attorney at law admitted and in good standing to practice in the

 State of Missouri, the State of Illinois, the United States District Court for the Eastern District of

 Missouri, the United States District Court for the Western District of Missouri, the United States

 District Court for the Southern District of Illinois, the United States District Court for the Central




 1
           The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number,
 are: Payless Holdings LLC [5704]; Payless Intermediate Holdings LLC [5190]; WBG-PSS Holdings LLC [0673]; Payless Inc.
 [3160]; Payless Finance, Inc. [2101]; Collective Brands Services, Inc. [7266]; PSS Delaware Company 4, Inc. [1466]; Shoe
 Sourcing, Inc. [4075]; Payless ShoeSource, Inc. [4097]; Eastborough, Inc. [2803]; Payless Purchasing Services, Inc. [3043];
 Payless ShoeSource Merchandising, Inc. [0946]; Payless Gold Value CO, Inc. [3581]; Payless ShoeSource Distribution, Inc.
 [0944]; Payless ShoeSource Worldwide, Inc. [6884]; Payless NYC, Inc. [4126]; Payless ShoeSource of Puerto Rico, Inc. [9107];
 Payless Collective GP, LLC [2940]; Collective Licensing, LP [1256]; Collective Licensing International LLC [5451]; Clinch,
 LLC [9836]; Collective Brands Franchising Services, LLC [3636]; Payless International Franchising, LLC [6448]; PSS Canada,
 Inc. [4969]; Payless ShoeSource Canada Inc. [4180]; Payless ShoeSource Canada GP Inc. [4182]; and Payless ShoeSource
 Canada LP [4179]. With respect to certain taxing authorities, the Debtors’ address is 2001 Bryan Street, Suite 800, Dallas, Texas
 75201. However, the location of Debtor Payless Holdings LLC’s corporate headquarters and the Debtors’ service address is: c/o
 Payless ShoeSource Inc., 3231 S.E. 6th Avenue, Topeka, Kansas 66607.
 2
           This Declaration is also generally consistent with the Guidelines for Reviewing Applications for Compensation and
 Reimbursement of Expenses Filed under 11 U.S.C. § 330 by Attorneys in Larger Chapter 11 Cases Effective as of November 1,
 2013, issued by the Executive Office for United States Trustees (the “United States Trustee Guidelines”).
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 District of Illinois, and the United States District Court for the Northern District of Illinois, along

 with the Eighth Circuit Court of Appeals and the United States Supreme Court.

                 2.       I am a partner of the law firm of Armstrong Teasdale LLP (“Armstrong

 Teasdale”) and am duly authorized to make this Declaration on behalf of Armstrong Teasdale. I

 make this Declaration in support of the Application of the Debtors Pursuant to Sections 327(a)

 and 329(a) of the Bankruptcy Code, Bankruptcy Rules 2014(a) and 2016(b), and Local

 Bankruptcy Rules 2014(A) and 2016-1, for an Order Authorizing Debtors to Retain and Employ

 Armstrong Teasdale LLP as Co-Restructuring Counsel, Effective Nunc Pro Tunc to the Petition

 Date (the “Application”).3

                 3.       The facts set forth in this Declaration are personally known to me and, if

 called as a witness, I could and would testify thereto.

                                ARMSTRONG TEASDALE’S QUALIFICATIONS

                 4.       Armstrong Teasdale is well qualified to serve as the Debtors’ counsel in

 these chapter 11 cases. Armstrong Teasdale is one of the leading commercial law firms in the

 Midwest, and serves a dynamic national and international client base. Armstrong Teasdale has

 substantial experience in virtually all aspects of the law that may potentially arise in these

 chapter 11 cases, including bankruptcy, environmental, corporate, international, employee

 benefits, finance, intellectual property, labor and employment, litigation, mergers and

 acquisitions, real estate and leasing, securities and tax.

                 5.       Armstrong         Teasdale’s        restructuring        practice      group       consists   of

 approximately 20 attorneys practicing in offices in Missouri, Illinois, Kansas, Colorado, and

 Nevada. Armstrong Teasdale’s restructuring lawyers have played significant roles in a wide


 3
        Capitalized terms not otherwise defined herein have the meanings given to them in the Application.
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 array of chapter 11 cases, including, but not limited to, those of the Prior Cases, Armstrong

 Energy Inc., Peabody Energy Corporation; Patriot Coal Corp.; Abengoa Bioenergy US Holding,

 LLC; Abengoa Bioenergy Biomass of Kansas, LLC; Global Computer Enterprises Inc.; Enviro-

 Safe Refrigeration, Inc.; US Fidelis Inc.; Smurfit-Stone Container Corp.; National Steel;

 Thermadyne Holdings Corporation; Digital Teleport; Galaxy Cable; Bridge Information

 Systems, Inc.; Transworld Airlines; lendnetwork.com; and Wehrenberg Inc.

                6.     Armstrong Teasdale is also familiar with the Debtors’ businesses and

 financial affairs, and will contribute greatly as local restructuring counsel to aid in the efficient

 administration of the Debtors’ estates. Armstrong Teasdale’s professionals have become well

 acquainted with the Debtors’ history, business operations, capital and corporate structure and

 related matters.    Accordingly, Armstrong Teasdale has developed substantial knowledge

 regarding the Debtors that will result in effective and efficient services in these chapter 11 cases.

                      SERVICES TO BE PROVIDED BY ARMSTRONG TEASDALE

                7.     The Debtors have requested that Armstrong Teasdale render, to the extent

 necessary, the following legal services in connection with these chapter 11 cases:

        (a)    providing legal advice with respect to the Company’s powers and duties as
        debtors-in-possession in the continued operation of its business and management of its
        properties;

        (b)     attending meetings and negotiating with representatives of creditors and other
        parties in interest and advising and consulting on the conduct of Chapter 11 Cases,
        including the legal and administrative requirements of operating in chapter 11;

        (c)     taking necessary action to protect and preserve the Company’s estates, including
        the prosecution of actions commenced under the Bankruptcy Code on their behalf, and
        objections to claims filed against the estates;

        (d)   preparing and prosecuting on behalf of the Company’s motions, applications,
        answers, orders, reports and papers necessary to the administration of the estates;
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          (e)    advising and assisting the Company with respect to restructuring alternatives,
          including, to the extent applicable, preparing and pursuing confirmation of a chapter 11
          plan and approval of a disclosure statement;

          (f)       appearing in Court and protecting the interests of the Company before the Court;
          and

          (g)     performing all other legal services for the Company which may be necessary and
          proper in these cases.

                                    COMPENSATION AND FEE APPLICATIONS

                    8.      Pursuant to the terms of the Engagement Letter, and subject to the Court’s

 approval of the Application, Armstrong Teasdale intends to: (a) charge for its legal services on

 an hourly basis in accordance with the ordinary and customary hourly rates in effect on the date

 services are rendered; and (b) seek reimbursement of actual and necessary out-of-pocket

 expenses.4

                    9.      Armstrong Teasdale will be compensated at its standard hourly rates, which

 are based on the professionals’ level of experience. At present, the standard hourly rates charged

 by Armstrong Teasdale range as follows:

                                          BILLING                  U.S. RANGE
                                         CATEGORY
                                           Partners                 $375 - $685

                                         Of Counsel                 $395 - $555

                                          Associates                $255 - $395

                                          Paralegals                $125 - $305

                                         Law Clerks                     $200




 4
           The hourly rates charged by Armstrong Teasdale professionals differ based on, among other things, the professional's
 level of experience and the rates normally charged in the specific office in which the professional is resident. Armstrong
 Teasdale does not adjust the billing rates of its professionals based on the geographic location of a bankruptcy case or other
 matter.
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                    10.      The names, positions, resident offices and current hourly rates of those

 Armstrong Teasdale lawyers currently expected to spend significant time on these chapter 11

 cases are attached as Schedule 3 hereto. Armstrong Teasdale’s hourly fees are comparable to

 those charged by attorneys of similar experience and expertise for engagements of scope and

 complexity similar to these chapter 11 cases.                     Further, I believe that Armstrong Teasdale

 bankruptcy professionals are subject to the same client-driven market forces, scrutiny and

 accountability as its professionals in non-bankruptcy engagements. For all of these reasons,

 Armstrong Teasdale’s rates are reasonable and favorable to the Debtors’ estates.5

                    11.      Armstrong Teasdale will maintain detailed, contemporaneous time records

 in six-minute intervals and apply to the Court for payment of compensation and reimbursement

 of expenses in accordance with applicable provisions of the Bankruptcy Code, the Bankruptcy

 Rules, the Local Bankruptcy Rules and any additional procedures that may be established by the

 Court in these chapter 11 cases.6 In addition, Armstrong Teasdale understands that interim and

 final fee awards are subject to approval by this Court.

                                    Disclosure Concerning Disinterestedness

                    12.      The Debtors have provided Armstrong Teasdale with a list of the names

 (collectively, the “Interested Parties”) of individuals or institutions in the following categories:

 (a) the Debtors; (b) current and recent former entities affiliated with the Debtors; (c) current and

 recent former directors and officers of the Debtors; (d) banks with which the Debtors have a

 relationship; (e) the Debtors’ equity holders; (f) the Debtors’ lenders; (g) counterparties to

 Debtors’ letters of credit; (h)             lienholders; (g) surety bonds; (h) the Debtors’ insurers; (i)

 5
          Like many of its peer law firms, Armstrong Teasdale increases the hourly billing rate of attorneys and
 paraprofessionals periodically in the form of step increases in the ordinary course on the basis of advancing seniority and
 promotion. The step increases do not constitute “rate increases” (as the term is used in the United States Trustee Guidelines).
 6
          In applying to the Court for payment of compensation and reimbursement of expenses, Armstrong Teasdale will also
 make reasonable efforts to comply with the United States Trustee Guidelines.
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 significant creditors; (j) accounts receivable; (h) Debtors’ professionals; (k) landlords; and (t)

 judges and key Court personnel for the Eastern District of Missouri. The identities of the

 Interested Parties are set forth on Schedule 1 hereto.

                13.     To check and clear potential conflicts of interest in these cases, as well as

 to determine all “connections” (as such term is used in Bankruptcy Rule 2014) to the Debtors,

 their creditors, other parties in interest, their respective attorneys and accountants, the United

 States Trustee or any person employed in the office of the United States Trustee, Armstrong

 Teasdale researched its client database for the past two years to determine whether it had any

 relationships with the Interested Parties. Armstrong Teasdale began running conflict checks on

 the parties in interest in early February 2019 and continued to run conflict checks thereafter as

 new parties in interest were identified. To the extent that Armstrong Teasdale’s research of its

 relationships with the Interested Parties indicates that Armstrong Teasdale has represented in the

 past two years, or currently represents, any of these entities in matters unrelated to these chapter

 11 cases, the identities of these entities and such entities’ relationship to the Debtors and

 connection to Armstrong Teasdale are set forth in Schedule 2 hereto.

                14.     To the best of my knowledge and belief, insofar as I have been able to

 ascertain after reasonable inquiry, neither I, nor Armstrong Teasdale nor any partner, associate or

 other professional thereof has any connection with the Debtors, their creditors, the United States

 Trustee or any other party with an actual or potential interest in these chapter 11 cases or their

 respective attorneys or accountants, except as set forth below and in Schedule 2 hereto.

                15.     Armstrong Teasdale has not, does not and will not represent any entity

 other than the Debtors in these chapter 11 cases.
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                16.     Prior to the Petition Date, Armstrong Teasdale performed certain legal

 services for certain of the Debtors, as described herein and in the Application. After the

 completion of any necessary adjustments to the amount and application of the Retainer proceeds,

 the Debtors will not owe Armstrong Teasdale any amount for services performed prior to the

 Petition Date. Armstrong Teasdale has more than 230 attorneys in eleven offices nationwide. It

 is possible that certain Armstrong Teasdale attorneys or employees hold interests in mutual funds

 or other investment vehicles that may own the Debtors’ securities or the securities of entities that

 own the Debtors’ securities.

                        ARMSTRONG TEASDALE IS A DISINTERESTED PERSON

                17.     To the best of my knowledge, information and belief, insofar as I have been

 able to ascertain after reasonable inquiry, Armstrong Teasdale is a “disinterested person,” as

 defined in section 101(14) of the Bankruptcy Code and as required by section 327(a) of the

 Bankruptcy Code, in that: (a) Armstrong Teasdale has no connection with the Debtors, their

 creditors, the United States Trustee, any person employed in the office of the United States

 Trustee or any other party with an actual or potential interest in these chapter 11 cases or their

 respective attorneys or accountants, except as set forth herein; (b) Armstrong Teasdale is not a

 creditor, equity security holder or insider of the Debtors; (c) no Armstrong Teasdale partner,

 associate or other professional is, or was within two years of the Petition Date, a director, officer

 or employee of the Debtors; and (d) Armstrong Teasdale neither holds nor represents an interest

 materially adverse to the Debtors or their estates.

                18.     Armstrong Teasdale currently represents, and has formerly represented,

 certain affiliates, subsidiaries and entities associated with the Debtors’ current and recent former

 officers and directors.       Armstrong Teasdale does not believe that its current and prior
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 representation of the affiliates, subsidiaries, and entities associated with certain officers and

 directors precludes it from being a disinterested party under the Bankruptcy Code.

                19.     Despite the efforts described above to identify and disclose connections

 with parties in interest in these cases, because the Debtors are a large enterprise with hundreds of

 creditors and other relationships, and because Armstrong Teasdale is an nationwide firm with

 more than 230 attorneys in eleven offices, Armstrong Teasdale is unable to state with certainty

 that every client representation or other connection of Armstrong Teasdale has been disclosed.

 In this regard, if Armstrong Teasdale discovers additional information that requires disclosure,

 Armstrong Teasdale will file supplemental disclosures with the Court.

                20.     In the event that Armstrong Teasdale’s representation of the Debtors in

 connection with any matter in these chapter 11 cases would result in it becoming adverse to a

 party in interest that gives rise to a professional conflict, the Debtors shall retain separate counsel

 to represent their interests with respect to such matter against such party.

                 STATEMENT REGARDING UNITED STATES TRUSTEE GUIDELINES

                21.     Armstrong Teasdale intends to apply for compensation for professional

 services rendered and reimbursement of expenses incurred in connection with these chapter 11

 cases in compliance with applicable provisions of the Bankruptcy Code, Bankruptcy Rules,

 Local Bankruptcy Rules, and any other applicable procedures and orders of the Court. As it has

 done in connection with the Application, Armstrong Teasdale also intends to make a reasonable

 effort to comply with the United States Trustee’s requests for information and additional

 disclosures as set forth in the United States Trustee Guidelines in connection with the interim

 and final fee applications to be filed by Armstrong Teasdale in these chapter 11 cases.

                22.     The following information is provided in response to the request for

 additional information set forth in Paragraph D.1 of the United States Trustee Guidelines:
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                                Question:                         Did you agree to any variations from, or
                                                                  alternatives to, your standard or customary
                                                                  billing arrangements for this engagement?

                                Response:                         No. The hourly rates Armstrong Teasdale will
                                                                  bill for this engagement are consistent with the
                                                                  rates that Armstrong Teasdale charges other
                                                                  comparable chapter 11 clients, and the rate
                                                                  structure provided by Armstrong Teasdale is
                                                                  appropriate and is not significantly different
                                                                  from (a) the rates that Armstrong Teasdale
                                                                  charges        in    other      non-bankruptcy
                                                                  representations or (b) the rates of other
                                                                  comparably skilled professionals for similar
                                                                  engagements.

                                Question:                         Do any of the professionals included in this
                                                                  engagement vary their rate based on the
                                                                  geographic location of the bankruptcy case?

                                Response:                         No.

                                Question:                         If you represented the client in the 12 months
                                                                  prepetition, disclose your billing rates and
                                                                  material financial terms for the prepetition
                                                                  engagement, including any adjustments during
                                                                  the 12 months prepetition. If your billing rates
                                                                  and material financial terms have changed
                                                                  postpetition, explain the difference and the
                                                                  reasons for the difference.

                                Response:                         Armstrong Teasdale’s current hourly rates for
                                                                  services rendered on behalf of the Debtors
                                                                  ranges as follows7:

                                                                           BILLING                   U.S. RANGE
                                                                          CATEGORY
                                                                             Partners                $375 - $685

                                                                           Of Counsel                $395 - $555

                                                                           Associates                $255 - $395


 7
           While the rate ranges provided for in this Application may change if an individual leaves or joins Armstrong Teasdale,
 and if any such individual’s billing rate falls outside the ranges disclosed above, Armstrong Teasdale does not intend to update
 the ranges for such circumstances.
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                                                   Paralegals          $125 - $305

                                                   Law Clerks             $200

                                             Armstrong Teasdale represented the Debtors
                                             during the twelve month period before the
                                             Petition Date, using the hourly rates listed
                                             above.
                   Question:                 Has your client approved your prospective
                                             budget and staffing plan, and, if so, for what
                                             budget period?

                   Response:                 A budget and staffing plan has been discussed
                                             and approved among counsel and the client.


                               [Signature Page to Follow]
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        Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true
 and correct.

  Dated: February 19, 2019                         Respectfully submitted,
         St. Louis, Missouri

                                                   /s/ Richard W. Engel, Jr.
                                                   Richard W. Engel, Jr., MO 34641
                                                   Armstrong Teasdale LLP
                                                   7700 Forsyth Boulevard, Suite 1800
                                                   St. Louis, MO 63105
                                                   Telephone: (314) 621-5070
                                                   Facsimile: (314) 612-2242
                                                   Email: rengel@armstrongteasdale.com
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                                    Schedule 1

                                 Interested Parties

                                    DEBTORS

 CLINCH, LLC                                  COLLECTIVE SOURCING SERVICES
 COLLECTIVE BRANDS FRANCHISING                LC)
  SERVICES LLC                               PAYLESS NYC, INC. (FORMERLY PSS
 COLLECTIVE BRANDS LOGISTICS                  LABOR LEASING, INC.
  LIMITED (HK/2007)                          PAYLESS PURCHASING SERVICES,
 COLLECTIVE BRANDS SERVICES, INC.             INC.
  (FORMERLY PSS DELAWARE                     PAYLESS SHOESOURCE CANADA GP
  COMPANY 3, INC.                             INC.
 COLLECTIDEBVE LICENSING                     PAYLESS SHOESOURCE CANADA INC.
  INTERNATIONAL, LLC                         PAYLESS SHOESOURCE CANADA, LP
 COLLECTIVE LICENSING, LP (F.K.A.            PAYLESS SHOESOURCE
  COLLECTIVE INTERNATIONAL, LLC)              DISTRIBUTION, INC.
 DYNAMIC ASSETS LIMITED                      PAYLESS SHOESOURCE OF PUERTO
 EASTBOROUGH, INC.                            RICO, INC.
 PAYLESS COLLECTIVE GP, LLC                  PAYLESS SHOESOURCE WORLDWIDE,
 PAYLESS FINANCE, INC.                        INC.
 PAYLESS GOLD VALUE CO., INC.                PAYLESS SHOESOURCE, INC.
  (CO/2013) (FORMERLY PAYLESS                PAYLESS SHOESOURCING
  GOLD VALUE WY, INC.)                        MERCHANDISING, INC.
 PAYLESS HOLDINGS LLC                        PSS CANADA, INC.
 PAYLESS INC.                                PSS DELAWARE COMPANY 4, INC.
 PAYLESS INTERMEDIATE HOLDINGS               SHOE SOURCING, INC.
  LLC                                        WBG - PSS HOLDINGS LLC
 PAYLESS INTERNATIONAL
  FRANCHISING LLC (F.K.A.

                             DEBTORS’ AFFILIATES

 BACATE CIA LTDS                              LLC (F.K.A. COLLECTIVE BRANDS
 COLLECTIVE BRANDS CAYMAN                     PHILIPPINES FRANCHISING, LLC)
  FINANCE, LIMITEDDIR                        COLLECTIVE BRANDS
 COLLECTIVE BRANDS CAYMAN                     INTERNATIONAL HOLDINGS,
  FINANCE, LIMITED II                         LIMITED I
 COLLECTIVE BRANDS COOPERATIEF               COLLECTIVE BRANDS
  U.A.                                        INTERNATIONAL HOLDINGS,
 COLLECTIVE BRANDS HOLDINGS                   LIMITED II
  LIMITED                                    COLLECTIVE BRANDS LOGISTICS
 COLLECTIVE BRANDS II                         LIMITED (TAIWAN)
  COOPERATIEF U.A.                           COLLECTIVE BRANDS SERVICES
 COLLECTIVE BRANDS                            LIMITED
  INTERNATIONAL FRANCHISING,
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 COLLECTIVE BRANDS SERVICES                 PAYLESS SHOESOURCE
  LIMITED (TAIWAN)                           INTERNATIONAL LIMITED
 COLLECTIVE BRANDS SERVICES                  (SHENZHEN) GUANGZHOU BRANCH
  VIETNAM COMPANY LTD.                      PAYLESS SHOESOURCE
 COLLECTIVE FRANCHISING, LTD                 INTERNATIONAL LIMITED
 COLLECTIVE INDONESIA                        (SHENZHEN) SHANGHAI BRANCH
  FRANCHISING, LLC                          PAYLESS SHOESOURCE
 DYNAMIC ASSETS LIMITED                      INTERNATIONAL LIMITED
  REPRESENTATIVE OFFICE (TAIWAN)             (SHENZHEN) XIAMEN BRANCH
 IMPORT SOLUTIONS DE MEXICO, S.             PAYLESS SHOESOURCE
  DE R.L. DE C.V.                            INTERNATIONAL SERVICES
 PANAMA SEM BRANCH                           TENICOS E INSPECTORIA DE
 PAYLESS ASIA SOURCING (JV)                  CALCADOS S/C LTDA
 PAYLESS CA MANAGEMENT LTD                  PAYLESS SHOESOURCE JAMAICA
 PAYLESS CO MANAGEMENT LTD.                  LIMITED
 PAYLESS COLOMBIA (BVI) HOLDINGS            PAYLESS SHOESOURCE LIMITADA Y
  LTD.                                       COMPANIA LIMITADA
 PAYLESS CONTROLADORA, S.A. DE              PAYLESS SHOESOURCE OF EL
  C.V.                                       SALVADOR LTDA.
 PAYLESS INDIA FRANCHISING, LLC             PAYLESS SHOESOURCE OF ST. LUCIA,
 PAYLESS INTERNATIONAL FINANCE               LTD
  B.V.                                      PAYLESS SHOESOURCE OVERSEAS
 PAYLESS NETHERLANDS B.V.                    S.R.L.
 PAYLESS NETHERLANDS HOLDINGS               PAYLESS SHOESOURCE PERU
  LLC                                        HOLDING, S.L.
 PAYLESS SERVICIOS S.A. DE C.V.             PAYLESS SHOESOURCE PERU S.R.L.
 PAYLESS SHOES PTY LTD                      PAYLESS SHOESOURCE PSS DE
 PAYLESS SHOESOURCE (BVI)                    COLOMBIA S.A.S. (FORMERLY LTDA.
  HOLDINGS LTD.                              COLOMBIA)
 PAYLESS SHOESOURCE ANDEAN                  PAYLESS SHOESOURCE S.A. RETAIL
  HOLDINGS                                   COMPANY
 PAYLESS SHOESOURCE AU                      PAYLESS SHOESOURCE SAIPAN, INC.
  HOLDINGS PTY. LTD.                        PAYLESS SHOESOURCE SPAIN
 PAYLESS SHOESOURCE DE                       LICENSING, S.L.
  GUATEMALA LTDA                            PAYLESS SHOESOURCE SPAIN S.L.
 PAYLESS SHOESOURCE DE LA                   PAYLESS SHOESOURCE SRL
  REPUBLICA DOMINICANA, S.R.L.              PAYLESS SHOESOURCE SRL
 PAYLESS SHOESOURCE DOMINICA                 ANTIGUA BRANCH
  LTD.                                      PAYLESS SHOESOURCE SRL
 PAYLESS SHOESOURCE ECUADOR                  GRENADA BRANCH
  CIA LTDS                                  PAYLESS SHOESOURCE SRL ST.
 PAYLESS SHOESOURCE HONDURAS                 LUCIA BRANCH
  S. DE R.L.                                PAYLESS SHOESOURCE SRL ST.
 PAYLESS SHOESOURCE                          VINCENT BRANCH
  INTERNATIONAL LIMITED                     PAYLESS SHOESOURCE ST. KITTS
  (SHENZHEN) DONGGUAN BRANCH                 LTD.
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 PAYLESS SHOESOURCE TRINIDAD                PSS INTERNATIONAL HOLDINGS,
  UNLIMITED                                  LTD.
 PAYLESS SHOESOURCE URUGUAY                 PSS INVESTMENT I, INC.
  SRL FINANCE COMPANY                       PSS INVESTMENT III, INC.
 PAYLESS SHOESOURCE, LIMITADA               PSS LATIN AMERICA HOLDINGS
 PAYLESS SHOESOURCE, S.A. DE CV             PSS URUGUAY
 PAYLESS SOURCING LLC                       SHENZHEN FOOTWEAR CONSULTING
 PAYLESS SRL                                 COMPANY
 PSS GLOBAL HOLDINGS C.V.                   ZURIVIDES CIA LTDS
 PSS HOLDINGS

                           DIRECTORS AND OFFICERS

 ANDERSON, CHRISTOPHER                      KAPCAR, BRADLEY
 ATTENBOROUGH, NEALE                        LANE, LORELEI
 BALLARD, MATTHEW A.                        MADSEN, GARY C.
 BECK, CHRISTOPHER                          MAY, MARK A.
 BEFFORT, CRIS R.                           MCBREEN, MICHAEL F.
 BONADIO, DOMINIC                           MCDONALD, WILLIAM
 BRUNTON, BRAD                              MCKENNA-DOYLE, MICHELLE
 BURK, SALLY J.                             MILTON, DAVID
 BURTON, DANIELLE QUAVE                     OETGEN, STEPHEN D.
 CAVALLARO, JOSEPH                          OLSEN, DOUGLAS M.
 CHUNG, DAVID                               OLSHANSKY, JOSHUA
 COHEN, JOSHUA                              ORTEGA, DEBORAH A.
 CREMENS, CHARLES H.                        OTT, CHRISTOPHER M.
 DECKER, RANDALL                            PAAKANEN, MARK
 DIEDEL, DAVID W.                           PALMER-EASON, RAMONA G.
 DONOHOO, ROBERT C.                         PARK, DAN D.
 ELIAS, AMANDA                              PATTON, STEPHEN L.
 EVANS, KEVIN WILLIAM                       PERDIC, CAROL
 FOUNTAIN, CRAIG                            PRYOR, BRUCE
 FUCHS, R. JOSEPH                           SCHWINDLE, MICHAEL C.
 GALE, JESSICA                              SEAMANS, BRYAN
 GAY, MARY CHRIS                            TESSENDORF, REX A.
 GIUSTO, PHILLIP                            TIETJEN, LAURIE L.
 GOOLSBY, JO                                UNDERHILL, BONITA
 GRUNERT, HEATHER                           VITELLI, MICHAEL A.
 HADDOCK, DARREN P.                         VOSTREJS, PHILIP D.
 HANSEN, NEIL G.                            WADE, MARTIN R. III
 HECK, MICHAEL D.                           WESTLEY, PETER
 HITCH, LORRAINE                            WILD, JENNIFER
 HYNES, KEVIN                               WILSON, KESHIA
 JEPPESEN, MICHAEL                          ZACHARIAS, THOMAS E.
 JONES, W. PAUL                             ZARAZUA, MARIO A.
 JUNGER, ELLEN                              ZENTNER, ARLEN R.
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                                     BANKS

 ALAMOSA NATIONAL BANK                      ELMIRA SAVINGS BANK
 ALLIANCE BANK                              FIDELITY BANK
 ALPINE BANK                                FIFTH THIRD BANK
 ALPINE BANK AND TRUST CO.                  FIRST AMERICAN BANK
 AMERICAN SAVINGS BANK                      FIRST BANK KANSAS
 AMERIS BANK                                FIRST CITIZENS BANK
 ANZ BANK (TAIWAN) LIMITED                  FIRST COLUMBIA BANK & TRUST CO.
 ARVEST BANK                                FIRST COMMONWEALTH BANK
 BANCO POPULAR                              FIRST CONVENIENCE BANK
 BANCO SANTANDER                            FIRST FINANCIAL BANK
 BANCORP SOUTH                              FIRST INTERSTATE BANK
 BANGOR SAVINGS BANK                        FIRST KANSAS BANK
 BANK OF HAWAII                             FIRST MIDWEST BANK
 BANK OF MONTREAL                           FIRST NATIONAL BANK
 BANK OF NOVA SCOTIA                        FIRST NATIONAL BANK
 BANK OF OKLAHOMA                            FREDERICKSBURG
 BANK OF THE INTERNET                       FIRST NATIONAL BANK OF
 BANK OF THE WEST                            CRESTVIEW
 BENEFICIAL BANK                            FIRST NATIONAL BANK
 BOONE COUNTY NATIONAL BANK                  PENNSYLVANIA
 BRANCH BANKING & TRUST                     FIRST STATE BANK
  COMPANY                                   FIRST SUMMIT BANK
 BROADWAY BANK                              FIRST TENNESSEE BANK
 CAMDEN NATIONAL BANK                       FIRST UNITED BANK
 CANADIAN IMPERIAL BANK (OF                 FROST BANK
  COMMERCE)                                 FORT DAVIS STATE BANK
 CAPITAL CITY BANK                          FULTON BANK OF NEW JERSEY
 CAPITAL ONE                                GUARANTY BANK AND TRUST
 CENTIER BANK                               GUARANTY BOND BANK
 CENTRAL NATIONAL BANK                      HARRIS BANK
 CENTRAL SAVINGS BANK                       HOMETOWN NATIONAL BANK
 CHEMICAL BANK                              HONESDALE NATIONAL BANK
 CITIBANK BANK (LENDERS)                    HUNTINGTON NATIONAL BANK
 CITIZENS BANK                              INTER NATIONAL BANK
 CITIZENS FIRST NATIONAL BANK               INTERNATIONAL BANK OF
 CITIZENS NATIONAL BANK                      COMMERCE
 CITIZENS SECURITY BANK                     JEFFERSON BANK OF MISSOURI
 COMMERCE BANK                              JPMORGAN CHASE BANK
 COMMUNITY BANK NA                          KEY BANK
 COMPASS BANK                               LAKE CITY BANK
 COREFIRST BANK & TRUST                     LAKE REGION BANK
 CROSSROADS BANK                            LAKE SUNAPEE BANK
 EASTERN SAVINGS BANK                       LAPORTE SAVINGS BANK
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 LIBERTY BANK OF ARKANSAS                   TCF BANK
 MANUFACTURERS & TRADERS                    TD BANK
  TRUST CO.                                 THE HONGKONG AND SHANGHAI
 NBT BANK                                    BANKING CORPORATION LIMITED
 NORTHWEST SAVINGS BANK                      (HSBC)
 PARKWAY BANK                               TORONTO DOMINION BANK
 PENNSTAR BANK                              TOWN & COUNTRY BANK
 PEOPLES BANK                               TRI-COUNTIES BANK
 PIONEER NATIONAL BANK                      TRUSTCO BANK
 PNC BANK                                   TRUSTMARK
 REGIONS BANK                               UMB BANK
 ROYAL BANK OF CANADA                       UNION BANK
 S & T BANK                                 UNITED BANK
 SABINE STATE BANK & TRUST CO.              UNITED COMMUNITY BANK
 SALEM FIVE BANK                            UNITED NATIONAL BANK
 SANTANDER BANK                             US BANK NA
 SIMMONS FIRST BANK                         WAYNE BANK
 STAR FINANCIAL BANK                        WELLS FARGO BANK, N.A.
 SUMMIT BANK                                WESBANCO BANK
 SUN NATIONAL BANK                          WOODFOREST BANK
 TAISHIN INTERNATIONAL BANK                 WOODFOREST NATIONAL BANK

                               EQUITY HOLDERS

 ALDEN GLOBAL CAPITAL                       MJX ASSET MANAGEMENT
 AMERICAN MONEY MANAGEMENT                  MORGAN STANLEY SWAP CLAIM
 APEX CREDIT PARTNERS                       OCTAGON CREDITOR INVESTORS
 BANK OF AMERICA, N.A.                      SEAPORT GROUP BASEBALL CARDS
 CREDIT SUISSE ASSET MANAGEMENT             LLC
 FIVE ARROWS MANAGERS NORTH                 SIENA CAPITAL HOLDINGS LLC
 AMERICA                                    STARWOOD CREDIT ADVISORS
 GOLUB CAPITAL                              TALL TREE INVESTMENT
 H.I.G. WHITEHORSE CAPITAL                  MANAGEMENT
 INVESCO SENIOR SECURED                     TRIMARAN ADVISORS
 MANAGEMENT                                 USDR INVESTMENT MANAGEMENT
 JMP CREDIT ADVISORS                        YORK CAPITAL MANAGEMENT
 LOGAN ASSET MANAGEMENT                     GLOBAL ADVISORS

                                    LENDERS

 LEN
 A VOCE CLO, LTD.                           ALDEN GLOBAL OPPORTUNITIES
 AIM COUNSELOR SERIES TRUST                  MASTER FUND, L.P.
  (INVESCO COUNSELOR SERIES                 AMERICAN GENERAL LIFE
  TRUST)-INVESCO FLOATING RATE               INSURANCE COMPANY
  FUND
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 AMERICAN HOME ASSURANCE                    INVESCO ZODIAC FUNDS-INVESCO
  COMPANY                                    US SENIOR LOAN FUND
 AMERICAN MONEY MANAGEMENT                  JFIN CLO 2012 LTD.
 ANTHEM, INC.                               JFIN CLO 2013 LTD.
 APEX CREDIT PARTNERS LLC                   JMP CREDIT ADVISORS CLO III LTD.
 AXAR CAPITAL MANAGEMENT LP                 JMP CREDIT ADVISORS CLO IV LTD.
 AXAR MASTER FUND, LTD.                     JMP CREDIT ADVISORS LLC
 BALOISE SENIOR SECURED LOAN                KAISER FOUNDATION HOSPITALS
  FUND III                                  KAISER PERMANENTE GROUP TRUST
 BANK OF AMERICA, N.A.                      KAPITALFORENINGEN INVESTIN
 BLACKWELL PARTNERS LLC - SERIES             PRO-US LEVERAGED LOANS I
  E                                         LEXINGTON INSURANCE COMPANY
 BOC PENSION SERVICES LIMITED AS            LIMEROCK CLO III, LTD.
  TRUSTEE 0F BOC PENSION                    LINDE PENSION PLAN TRUST
  INVESTMENT FUND                           LOGEN ASSET
 BSP SPECIAL SITUATIONS MASTER A            LOGEN ASSET MANAGEMENT
  L.P.                                       MASTER FUND LTD.
 CATAMARAN CLO 2013-1 LTD.                  MJX ASSET MANAGEMENT, LLC
 CATAMARAN CLO 2014-1 LTD.                  NATIONAL UNION FIRE INSURANCE
 CATAMARAN CLO 2015-1 LTD.                   COMPANY OF PITTSBURGH, PA
 CITI LOAN FUNDING GCPH TRS LLC             OCEAN TRAILS CLO IV
 CITIBANK, N.A.                             OCTAGON CREDIT INVESTORS, LLC
 CITIGROUP FINANCIAL PRODUCTS               OCTAGON HIGH INCOME MASTER
  INC.                                       FUND LTD
 CITY OF NEW YORK GROUP TRUST               OCTAGON INVESTMENT PARTNERS
 CREDIT SUISSE ASSET                         18-R, LTD.
  MANAGEMENT, LLC                           OCTAGON INVESTMENT PARTNERS
 CREDIT SUISSE LOAN FUNDING LLC              24, LTD.
 DIVERSIFIED CREDIT PORTFOLIO               OCTAGON INVESTMENT PARTNERS
  LTD.                                       25, LTD.
 FIVE ARROWS MANAGERS NORTH                 OCTAGON INVESTMENT PARTNERS
  AMERICA LLC                                26, LTD.
 GOLUB CAPITAL                              OCTAGON INVESTMENT PARTNERS
 GREAT AMERICAN INSURANCE                    27, LTD.
  COMPANY                                   OCTAGON INVESTMENT PARTNERS
 GREAT AMERICAN LIFE INSURANCE               28, LTD.
  COMPANY                                   OCTAGON INVESTMENT PARTNERS
 H.I.G. WHITEHORSE CAPITAL, LLC              29, LTD.
 INVESCO BL FUND, LTD.                      OCTAGON INVESTMENT PARTNERS
 INVESCO DYNAMIC CREDIT                      30, LTD.
  OPPORTUNITIES FUND                        OCTAGON INVESTMENT PARTNERS
 INVESCO SENIOR INCOME TRUST                 32, LTD. (FKA OCTAGON
 INVESCO SENIOR LOAN FUND                    INVESTMENT PARTNERS FUNDING
 INVESCO SENIOR SECURED                      32 LLC)
  MANAGEMENT, INC.                          OCTAGON INVESTMENT PARTNERS
 INVESCO SSL FUND LLC                        33, LTD.
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 OCTAGON INVESTMENT PARTNERS                SOROS FUND MANAGEMENT LLC
  XIV, LTD.                                 STAR V PARTNERS LLC
 OCTAGON INVESTMENT PARTNERS                STARWOOD CREDIT ADVISORS LLC
  XIX, LTD.                                 STRATEGIC INVESTMENT
 OCTAGON INVESTMENT PARTNERS                 OPPORTUNITIES, LLC
  XV LTD.                                   TALAMOD ASSET MANAGEMENT,
 OCTAGON INVESTMENT PARTNERS                 LLC
  XVI, LTD                                  TALAMOD MASTER FUND, LP
 OCTAGON INVESTMENT PARTNERS                THE VARIABLE ANNUITY LIFE
  XVII LTD.                                  INSURANCE COMPANY
 OCTAGON INVESTMENT PARTNERS                TRIMARAN ADVISORS
  XVIII, LTD.                               VENTURE 32 CLO, LIMITED
 OCTAGON INVESTMENT PARTNERS                VENTURE 35 CLO, LIMITED
  XX, LTD.                                  VENTURE VII CDO LIMITED
 OCTAGON INVESTMENT PARTNERS                VENTURE XII CLO LIMITED
  XXI, LTD.                                 VENTURE XIII CLO, LIMITED
 OCTAGON INVESTMENT PARTNERS                VENTURE XIV CLO, LIMITED
  XXII, LTD.                                VENTURE XV CLO, LIMITED
 OCTAGON INVESTMENT PARTNERS                VENTURE XVI CLO, LIMITED
  XXIII, LTD.                               VENTURE XVII CLO, LIMITED
 OCTAGON LOAN FUNDING, LTD.                 WHITEHORSE IX, LTD.
 OCTAGON MULTI-STRATEGY                     WHITEHORSE VI, LTD.
  CORPORATE CREDIT MASTER FUND              WHITEHORSE VII, LTD
  LP                                        WHITEHORSE VIII, LTD.
 OCTAGON SENIOR SECURED CREDIT              WHITEHORSE X, LTD.
  MASTER FUND LTD                           XAI OCTAGON FLOATING RATE &
 PROVIDENCE EQUITY PARTNERS LLC              ALTERNATIVE INCOME TERM
 QPB HOLDINGS LTD.                           TRUST
 QUANTUM PARTNERS LP                        YORK CAPITAL MANAGEMENT
 SENIOR LOAN FUND II LLC                     GLOBAL ADVISORS, LLC
 SENTRY INSURANCE A MUTUAL                  YORK GLOBAL FINANCE BDH, LLC
  COMPANY
 SMITH MANAGEMENT
 SOF-X CREDIT HOLDINGS, L.L.C.

                              LETTERS OF CREDIT

 FEDEX                                      SAFECO INSURANCE COMPANY
 NATIONAL UNION FIRE INSURANCE              U.S. BANK NATIONAL ASSOCIATION
 PACIFIC EMPLOYERS INSURANCE CO.            UNITED STATES FIDELITY &
 PACIFIC GAS & ELECTRIC                      GUARANTY
 PORTCHECK LLC

                                 LIENHOLDERS

 CORTLAND PRODUCTS CORP.
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 EMKAY CANADA LEASING                       IBM CREDIT LLC
  CORPORATION                               IKON FINANCIAL SERVICES
 EXPEDITORS INTERNATIONAL OF                MORGAN STANLEY SENIOR FUNDING
  WASHINGTON, INC.                          UMB BANK, N.A.
 HEWLETT-PACKARD FINANCIAL                  WELLS FARGO BANK, NATIONAL
  SERVICES COMPANY                           ASSOCIATION

                                 SURETY BONDS

 ALABAMA POWER COMPANY                      DUKE ENERGY KENTUCKY, INC.
 ALCORN COUNTY ELECTRIC POWER               DUKE ENERGY OHIO, INC.
  ASSOCIATION                               DUKE ENERGY PROGRESS, LLC
 AMERICAN ELECTRIC POWER                    ELECTRIC POWER BOARD OF
  COMPANY                                    CHATTANOOGA
 ARIZONA PUBLIC SERVICE COMPANY             ENTERGY ARKANSAS, INC.
 ATLANTIC CITY ELECTRIC (ACE)               ENTERGY LOUISIANA LLC
 BENTON UTILITIES                           ENTERGY MISSISSIPPI, INC.
 CANADA CUSTOMS AND REVENUE                 ENTERGY NEW ORLEANS LLC
  AGENCY                                    EVERSOURCE MASSACHUSETTS
 CARROLL ELECTRIC COOPERATIVE               EVERSOURCE NEW HAMPSHIRE
  CORPORATION                               FLORENCE UTILITIES, CITY OF
 CENTRAL MAINE POWER COMPANY                 FLORENCE
 CITY OF BARTOW                             FLORIDA POWER & LIGHT COMPANY
 CITY OF BRENHAM                            GEORGIA POWER COMPANY
 CITY OF CALHOUN                            GREYSTONE POWER CORPORATION
 CITY OF DALTON - DALTON                    GROTON UTILITIES
  UTILITIES                                 GULF POWER COMPANY
 CITY OF LEESBURG, CUSTOMER                 HYDRO OTTAWA LIMITED
  SERVICE DEPARTMENT                        JEA BUIDLING COMMUNITY
 CITY OF ROCK HILL                          KEYS ENERGY SERVICES
 CITY OF STILLWATER                         MEMPHIS LIGHT, GAS AND WATER
 CITY OF TALLAHASSEE, FLORIDA                DIVISION
 CITY OF VERO BEACH                         MURFREESBORO ELECTRIC
 CLARKSVILLE DEPARTMENT OF                   DEPARTMENT
  ELECTRICITY                               NEW SMYRNA BEACH UTILITY
 CLAY ELECTRIC COOPERATIVE, INC.             COMMISSION
 COAST ELECTRIC POWER                       NEW YORK STATE ELECTRIC AND
  ASSOCIATION                                GAS
 COLUMBUS LIGHT AND WATER                   NORTH LITTLE ROCK UTILITIES
  DEPARTMENT                                NORTHCENTRAL ELECTRIC POWER
 CONSOLIDATED EDISON COMPANY                 ASSOCIATION
  OF NEW YORK, INC.                         NORWICH PUBLIC UTILITIES
 CONSTELLATION NEWENERGY, INC.              ORANGE AND ROCKLAND UTILITIES
 DOMINION VIRGINIA POWER                    ORLANDO UTILITIES COMMISSION
 DUKE ENERGY CAROLINAS, LLC                 PEARL RIVER VALLEY ELECTRIC
 DUKE ENERGY INDIANA, LLC                    POWER ASSOCIATION
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 PECO ENERGY COMPANY                        STATE OF KANSAS
 POTOMAC ELECTRIC POWER                     STATE OF NEVADA
  COMPANY                                   TAMPA ELECTRIC COMPANY, CREDIT
 PUERTO RICO DEPT. OF REVENUE                DEPARTMENT
 PUERTO RICO ELECTRIC POWER                 THE CONNECTICUT LIGHT AND
  AUTHORITY                                  POWER COMPANY
 RELIANT ENERGY RETAIL SERVICES,            TRI STATE ELECTRIC MEMBERSHIP
  LLC                                        CORPORATION
 SALT RIVER PROJECT                         TUPELO WATER & LIGHT CO.
  AGRICULTURAL IMPROVEMENT                  U.S. CUSTOMS AND BORDER
  AND POWER DISTRICT                         PROTECTION
 SANTEE COOPER                              UNITED STATES VIRGIN ISLANDS
 SECO ENERGY                                VIRGIN ISLAND WATER & POWER
 SEVIER COUNTY ELECTRIC SYSTEM               AUTHORITY
 SOUTH CAROLINA ELECTRIC AND                WALTON ELECTRIC
  GAS COMPANY                               WEST MEMPHIS UTILITY
 SOUTHERN CALIFORNIA EDISON                  COMMISSION
  COMPANY                                   WITHLACOOCHEE RIVER ELECTRIC
 STARKVILLE ELECTRIC                         COOPERATIVE, INC.

                                   INSURANCE

 ACE AMERICAN INSURANCE                     ASSA COMPANIA DE SEGUROS
  COMPANY                                   AXIS INSURANCE COMPANY
 AGCS MARINE INSURANCE                      BCIC (BRITISH CARIBBEAN
  COMPANY (ALLIANZ)                          INSURANCE COMPANY)
 AIG AUSTRALIA LIMITED                      BEAZLEY
 ALLIANZ GLOBAL CORPORATE &                 BEAZLEY GROUP
  SPECIALTY, AMERICAS                       BEAZLEY USA SERVICES, INC
 ALLIANZ GLOBAL RISKS US                    CARIBBEAN ALLIANCE INSURANCE
  INSURANCE COMPANY                          CO. LTD.
 ALLIED WORLSD ASSURANCE CO.                CHARTIS (NATIONAL UNION FIRE)
  (AWAC)                                    CHINA PACIFIC PROPERTY
 AMERICAN GUARANTEE AND                      INSURANCE CO., LTD.
  LIABILITY INSURANCE COMPANY               CHUBB
  (ZURICH)                                  CHUBB GROUP OF INSURANCE
 ARCH SPECIALTY INSURANCE CO.                COMPANIES
 ARGO PRO                                   CHUBB, FINANCIAL LINES
 ASEGURADORA ACSA                           CNA
 ASEGURADORA GENERAL, S.A.                  ENDURANCE
 ASEGURADORA MUNDIAL                        FEDERAL INSURANCE COMPANY
 ASEGURADORA PARAGUAYA                      FICHOSA
 ASPEN DIC                                  GENERAL ACCIDENT INSURANCE
 ASPEN SPECIALTY INSURANCE                  GENERALI
  COMPANY                                   GREAT AMERICAN INSURANCE
 ASSA                                        COMPANY
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 GUARDIAN GENERAL                           NATIONAL UNION FIRE INSURANCE
 INSTITUTO NACIONAL DE SEGUROS               COMPANY OF PITTSBURGH PA
  (INS)                                     NATIONWIDE
 INTERNATIONAL SOS                          NAVIGATORS INSURANCE COMPANY
 LA CENTRO AMERICANA                        PACIFIC INDEMNITY INSURANCE
 LA COLONIAL                                 COMPANY (PICC)
 LIBERTY MUTUAL                             RIMAC SEGUROS Y REASEGUROS SA
 LLOYD'S / ALPHA                            RLI INSURANCE COMPANY
 LOCKTON                                    RSA
 MARSH                                      RSA SEGUROS COLOMBIA
 MASSEY UNITED                              SEGUROS AMERICA
 MITSUI                                     SEGUROS ATLANTIDA
 MONOPOLISTIC WC ALBERTA                    SEGUROS EL ROBLE SA
 MONOPOLISTIC WC BRITISH                    SEGUROS EQUINOCCIAL
  COLUMBIA                                  SEGUROS EQUINOCCIAL SA
 MONOPOLISTIC WC MANITOBA                   SEGUROS G&T
 MONOPOLISTIC WC NEW                        SEGUROS SURA
  BRUNSWICK                                 SEGUROS UNIVERSAL
 MONOPOLISTIC WC                            SHELTER REINSURANCE COMPANY
  NEWFOUNDLAND                              SURAAMERICANA S.A.
 MONOPOLISTIC WC NORTH DAKOTA               THE OHIO CASUALTY INSURANCE
 MONOPOLISTIC WC NOVA SCOTIA                 COMPANY (LIBERTY)
 MONOPOLISTIC WC OHIO DC                    TOKIO MARINE
 MONOPOLISTIC WC OHIO STORES                TRAVELERS CASUALTY & SURETY
 MONOPOLISTIC WC ONTARIO                     COMPANY OF AMERICA
 MONOPOLISTIC WC PRINCE                     TRINRE
  EDWARDS                                   VERO INSURANCE
 MONOPOLISTIC WC PUERTO RICO                WESTCHESTER FIRE INSURANCE CO
 MONOPOLISTIC WC QUEBEC                      (ACE)
 MONOPOLISTIC WC SASKATCHEWAN               XL CATLIN
 MONOPOLISTIC WC VIRGIN ISLANDS             XL INSURANCE
 MONOPOLISTIC WC WASHINGTON                 XL INSURANCE AMERICA, INC
 MONOPOLISTIC WC WYOMING                    XL PROFESSIONAL
 MSIG                                       XL SPECIALTY INSURANCE CO.
 NATIONAL UNION FIRE INSURANCE              ZURICH
  CO. (AIG)                                 ZURICH AMERICAN INS. CO.
                                            ZURICH CANADA

                           SIGNIFICANT CREDITORS

 7506473 CANADA INC.                        ASSURANCE FACILITY
 ACCORD                                      MANAGEMENT INC.
 ACXIOM CORPORATION                         BAKER & MCKENZIE
 ALLIANCE SHIPPERS, INC.                    BARKLEY EVERGREEN & PARTNERS
 ANNIE INTERNATIONAL TRADING                 INC.
  COMPANY                                   BCIMC REALTY CORPORATION
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 BELFLEX STAFFING NETWORK                   HIGHCOM INTERNATIONAL LIMITED
 BISON TRANSPORT                            HONG KONG OLISA CO. LIMITED
 BLUE APPLE PROJECT SA DE CV                HOOPP REALTY INC.
 BUSINESS DIRECT LIMITED                    HOPEWELL AB
 C & C ACCORD LTD.                          HUGE DEVELOPMENT LTD.
 CALIFORNIA MULTIMODAL LLC                  INTERLOOP LIMITED
 CELADON LOGISTICS SERVICES INC.            INTER-PACIFIC CORP.
 CHAMPION ATHLETICWEAR                      IPC HONG KONG BRANCH LTD.
 COGNIZANT TECHNOLOGY                       IVANHOE CAMBRIDGE II INC. 06911
  SOLUTIONS US CORP.                        JIANGXI LIFENG SHOES CO. LTD.
 CONTINENTS SOURCING ENT., LTD.             KUEHNE & NAGEL LTD.
 DIBANG SHOES CO. LTD.                      LES IMMEUBLES DU CARREFOUR
 DONGGUAN LONGHUA SHOES CO.                   RICHELIEU
  LTD.                                      LI & FUNG (TRADING) LIMITED
 DONGYI SHOES CO. LTD.                      LOGISTICS SERVICE (PANAMA) S.A.
 E.S. ORIGINALS, INC.                       LUX ACCESSORIES LTD.
 EMKAY CANADA LEASING CORP.                 MARC USA CHICAGO
 ENGIE INSIGHT                              MARTHA STEWART LIVING
 ESO INTERNATIONAL LIMITED                    OMNIMEDIA INC.
 EVER RITE INTERNATIONAL CO. LTD.           MC SIGN COMPANY
 EVER SPOTLIGHT LTD.                        MODA
 EVERGREEN SHIPPING AGENCY                  MODA SHOE LIMITED
  AMERICA CORP.                             MOOD MEDIA
 EVER-RITE INTERNATIONAL CO. LTD.           MYSTIC APPAREL LLC
 EVERYTHING LEGWEAR LLC                     NOVA GENESIS INTL CO. LTD.
 FANTASIA ACCESSORIES LTD                   OXFORD ITF ECC EAST 205878
 FANTASIA HONG KONG LTD.                    P H COMPANY
 FIRST SERVICE NETWORKS INC.                PEDS LEGWEAR USA INC.
 FLOWER CITY PRINTING                       PERFORMANCE TEAM FREIGHT
 FLY EARTH CO. LTD.                           SYSTEMS INC.
 FORTUNE CREATION CO. LTD.                  PH COMPANY
 FUJIAN PUTIAN FORTUNE CREATION             PROVIDENCE PRODUCTS LLC
  IMPORT                                    PUTIAN CITY HUI SHENG TRADING
 FUJIAN PUTIAN POWER RICH IMPORT              CO. LTD.
  & EXPORT                                  PUTIAN SUNYOUNG ENTERPRISE CO.
 FUSION ACCESSORIES GROUP                     LTD.
  LIMITED                                   QINGDAO XINGHONG INDUSTRY &
 GAMMA PROSPER INTERNATIONAL                  TRADE CO. LTD.
  LTD.                                      QINGDAO XINGZHIHAI IMP & EXP CO.
 GENNARO INC.                                 LTD
 GERALD LABELLE ARCHITECT                   QUAD GRAPHICS INC.
 GERRARD SQUARE INC.                        QUALITY SOLUTIONS INC.
 GETRONICS                                  REPUBLIC SERVICES INC.
 GLORY CHINA FOOTWEAR CO                    RFS CANADA
  LIMITED                                   RJTB GROUP LLC
 GOLDEN PACIFIC LXJ                         SANTAK CORPORATION
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 SANTANA SHOES                              TOP LUCK ASIA LIMITED
 SARASTI SA DE CV                           TOPLINE IMPORTS INC.
 SCHNEIDER NATIONAL INC.                    TOPSMART INTERNATIONAL CO.,
 SLONG INDUSTRIAL CO. LIMITED                LTD.
 SOUTH CHINA SHOES PRODUCTS                 TRANSOURCE
  COMPANY LTD.                              TRANSX LTD.
 TAIZHOU GLOBAL TRADING CO., LTD            TUNGYA LOGISTICS CO. LTD.
 TANGOE INC.                                US BANK
 TEKSYSTEMS CANADA INC.                     VECTOR SECURITY
 THE ASEAN CORP LTD.                        VIXXO CANADA
 THE DOUG CAMERON EXPERIENCE                XIAMEN C AND D LIGHT INDUSTRY
 TOP FALCON INTERNATIONAL                    CO. LTD.
  LIMITED

                            ACCOUNTS RECEIVABLE

 3BM CASSELBERRY INC.                       ASSISTANCE LEAGUE OF COPPELL
 A&W RESTAURANTS INC                        ASSISTANCE LEAGUE OF DIABLO
 AAI, INC. (MCDONALD'S)                      VALLEY
 ADAMS FOOD, INC - MCDONALDS'S              ASSISTANCE LEAGUE OF EAST
  SPENDSMART                                 VALLEY
 AIFT, INC. - MCDONALD'S                    ASSISTANCE LEAGUE OF EL PASO
  SPENDSMART                                ASSISTANCE LEAGUE OF EVERETT
 AL ROWAD FOR SHOES AND                     ASSISTANCE LEAGUE OF FLAGSTAFF
  ACCESSORIES (AL ZWETINA)                  ASSISTANCE LEAGUE OF FLINTRIDGE
 ALDRIDGE, INC.                             ASSISTANCE LEAGUE OF GARDEN
 ALSHAYA TRADING                             GROVE
 ALTRUSA CLUB OF GASTONIA                   ASSISTANCE LEAGUE OF GLENDALE
 AMALIE OIL COMPANY                         ASSISTANCE LEAGUE OF GREATER
 ANGELS OVER SANDPOINT                       COLLIN
 APS EDUCATION FOUNDATION                   ASSISTANCE LEAGUE OF GREATER
 ARBOR PARK VILLAGE                          PLACER
 ASSISTANCE LEAGUE OF                       ASSISTANCE LEAGUE OF GREATER
  ALBUQUERQUE                                SAN DIEGO
 ASSISTANCE LEAGUE OF ANAHEIM               ASSISTANCE LEAGUE OF HAWAII
 ASSISTANCE LEAGUE OF ATLANTA               ASSISTANCE LEAGUE OF INLAND
 ASSISTANCE LEAGUE OF AUSTIN                 NORTH COUNTY
 ASSISTANCE LEAGUE OF                       ASSISTANCE LEAGUE OF KANSAS
  BAKERSFIELD                                CITY
 ASSISTANCE LEAGUE OF                       ASSISTANCE LEAGUE OF LAGUNA
  BELLINGHAM                                 BEACH
 ASSISTANCE LEAGUE OF BOISE                 ASSISTANCE LEAGUE OF LOS GATOS-
 ASSISTANCE LEAGUE OF                        SARATOGA
  CAPISTRANO VALLEY                         ASSISTANCE LEAGUE OF METRO
 ASSISTANCE LEAGUE OF                        COLUMBUS
  CHARLOTTE
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 ASSISTANCE LEAGUE OF                       BANDUCCI, JOHN MICHELLE-MCD
  MONTGOMERY COUNTY                          SPENDSMART
 ASSISTANCE LEAGUE OF NORMAN                BASS PRO, LLC
 ASSISTANCE LEAGUE OF NORTHERN              BATISTA COMPANIES
  VIRGINIA                                  BEACHES EMERGENCY ASSISTANCE
 ASSISTANCE LEAGUE OF ORANGE                 MINISTRY, I
  CA, INC.                                  BEARCO MANAGEMENT CO - MCD
 ASSISTANCE LEAGUE OF PORTLAND               SPENDSMART
  (BEAVERTON                                BEDFORD CITY SCHOOLS
 ASSISTANCE LEAGUE OF REDLANDS              BELLEVILLE KIWANIS CLUB
 ASSISTANCE LEAGUE OF RIVERSIDE             BIG RED SHOES LLC
 ASSISTANCE LEAGUE OF                       BIRDVILLE COUNCIL PTA CLOTHES
  SACRAMENTO                                 CONNECTION
 ASSISTANCE LEAGUE OF                       BISHOP SULLIVAN CENTER
  SACRAMENTO                                BKK MANAGEMENT CO. INC.
 ASSISTANCE LEAGUE OF SALT LAKE             BLESSED SACRAMENT CATHEDRAL
  CITY                                       SVDP
 ASSISTANCE LEAGUE OF SALT LAKE             BLUE HARBOR (COURTYARDS AT
  CITY                                       RIVER PARK)
 ASSISTANCE LEAGUE OF SALT LAKE             BLUE HARBOR SENIOR (KIRKWOOD
  CITY                                       CORNERS)
 ASSISTANCE LEAGUE OF SAN                   BLUE HARBOR SENIOR LIVING
  ANTONIO                                    (CANYON CREEK)
 ASSISTANCE LEAGUE OF SAN MATEO             BLUE HARBOR SENIOR LIVING (GLEN
  COUNTY                                     RIDDLE)
 ASSISTANCE LEAGUE OF SANTA                 BLUE HARBOR SENIOR LIVING
  CLARITA                                    (LIONWOOD)
 ASSISTANCE LEAGUE OF SEATTLE               BLUE HARBOR SENIOR LIVING
 ASSISTANCE LEAGUE OF SLC                    (ORCHARD PARK)
 ASSISTANCE LEAGUE OF STOCKTON              BLUE HARBOR SENIOR LIVING
 ASSISTANCE LEAGUE OF SW                     (SCHENLEY GARD
  WASHINGTON                                BLUE HARBOR SENIOR LIVING
 ASSISTANCE LEAGUE OF TEMECULA               (WILLOW PARK)
  VALLEY                                    BLUE HARBOR SENIOR LIVING
 ASSISTANCE LEAGUE OF THE BAY                (DESERT FLOWER)
  AREA                                      BOB EVANS FARMS LLC
 ASSISTANCE LEAGUE OF TUCSON                BORGATA HOTEL CASINO AND SPA
 ASSISTANCE LEAGUE OF VENTURA               BREAKFAST EXCHANGE CLUB OF
  COUNTY                                     OGDEN
 ASSISTANCE LEAGUE OF WICHITA               BRINKER INTERNATIONAL PAYROLL
 ATKA ENTERPRISES INC.                       COMPANY
 AUBURN WASHBURN USD 437                    BRONSON, JOHN F., MICHAEL B.
 AVGEN INCENTIVES GROUP                     BUILDING HOPE IN THE CITY
 AZADEA GHANA LIMITED                       BURRELL MICHAEL - MCD
 BAMCO INC - MCDONALD'S                      SPENDSMART
  SPENDSMART                                BYRB, INC. (MCDONALDS)
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 CAFE SERVICES, INC.                        COUNCIL OF CHURCHES OF THE
 CAFE SERVICES, INC.-FRESH PICKS             OZARKS
 CANNON UNITED METHODIST                    COURTESY CORPORATION
  CHURCH, INC.                              CREATIVE MANAGEMENT INC.
 CAPITAL TOWNSHIP GENERAL                    (MCDONALD'S)
  ASSIST. OFFICE                            CROSS POINT FREE WILL BAPTIST
 CAPITOL CITY PRODUCE COMPANY                CHURCH
 CARMICHAEL HART                            CUYAHOGA FALLS PTA COUNCIL
 CARRIAGE TOWN MINISTRIES                   DAMAC II, INC.
 CASINO ARIZONA-FOOD AND                    DAVANNI'S INC.
  BEVERAGE                                  DAVIS SCHOOL DISTRICT
 CATHOLIC CHARITIES (SAN                    DEANE GROUP - MCDONALD'S
  BERNARDINO)                                SPENDSMART
 CATHOLIC CHARITIES OF DESOTO               DELPHOS COMMUNITY CHRISTMAS
  COUNTY                                     PROJECT
 CENTEVA LLC                                DOCO SHOES
 CENTRAL OUTREACH & ADVOCACY                DOWNTOWN FORT WORTH SERTOMA
  CENTER                                     CLUB
 CHANDLER SERVICE CLUB                      DRESS FOR SUCCESS PITTSBURGH
  (OPERATION BTS)                           EAST IDAHO CREDIT UNION
 CHANDLER SERVICE CLUB, INC.                EBLEN CHARITIES
 CHESAPEAKE PTA COUNCIL                     EDUCATIONAL ENRICHMENT
 CHILDREN'S RESOURCE                         FOUNDATION
  FOUNDATION                                EMERGENCY CARE HELP
 CHRIST CHILD SOCIETY OF CAPE                ORGANIZATION
  MAY                                       FAST TRACK CENTER GROVE
 CHRIST CHILD SOCIETY OF FORT               FATHER FRED FOUNDATION
  WAYNE                                     FIRST BAPTIST CHURCH OF HOPE
 CHURCH OF THE REDEEMER                     FIRST BAPTIST CHURCH OF
 CKI, INC. (MCDONALD'S)                      SARASOTA
 CLARK FAMILIA LLC (MCDONALD'S)             FIRST PRESBYTERIAN CHURCH
 CLAY COUNTY CLOTHES CLOSET                  (CEDAR FALLS)
 CLEBURNE INDEPENDENT SCHOOL                FIRST PRESBYTERIAN CHURCH
  DISTRICT                                   (VALPARAISO)
 COLORADO SPRINGS SCHOOL                    FIRST PRESBYTERIAN CHURCH OF
  DISTRICT #11                               SARASOTA
 COLUMBIA ASSOCIATES                        FIRST UMC-CARITAS (SARASOTA)
  (MCDONALD'S)                              FIRST UNITED METHODIST CHURCH
 COLUMBUS PUBLIC SCHOOLS                    FIRST UNITED METHODIST CHURCH
 COMMON GROUND NETWORK                       (ODESSA)
 COMMUNITIES IN SCHOOLS OF                  FLOWING WELLS SCHOOL DISTRICT
  COMAL COUNTY,                              #8
 CONSERVATION CORPS NORTH BAY               FOCUS BRANDS INC.
 CONTRACT SERVICES GROUP, INC.              FOOTHILL UNITY CENTER
 CORNER BAKERY CAFÉ                         FOOTWEAR SPECIALTY
                                            FOWLER FOODS, INC.
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 FRANCHISE FOODS SYSTEMS INC                JAHNKE GROUP
 FRANCISCO RAMIREZ #07040                   JAMES WONG
 FRANKLIN CENTER OF BEAVER                  JEFFCO SCHOOLS FOUNDATION
  COUNTY                                    JHP INC.
 FRESQUEZ CONCESSIONS, INC.                 JIM'S MANAGEMENT CO
 FRIENDS OF FIELDWORKERS, INC.                (MCDONALD'S)
 GILBERT PROMOTIONAL                        JOHN H. BONER COMMUNITY
  CORPORATION                                 CENTER
 GIRLS ON THE RUN (BATON ROUGE)             JOHN HESSIAN III - MCDONALD'S
 GIRLS ON THE RUN (DELAWARE)                  SPENDSMART
 GIRLS ON THE RUN (SAN DIEGO)               JOHN Q HAMMONS HOTELS
 GIRLS ON THE RUN NORTHEAST                   MANAGEMENT, LLC
  OHIO                                      JOHN SANTONASTASSO
 GIRLS ON THE RUN NYC                       JOHNSTONE FOODS, INC.
 GIRLS ON THE RUN OF GREATER                  (MCDONALD'S)
  MILWAUKEE                                 JOINT ORGANIZATION FOR INNER
 GIRLS ON THE RUN OF NW INDIANA               CITY NEEDS
 GLEN ELLYN WALK IN MINISTRY                JOVEN ENTERPRISES
 GLENDALE SENIOR DINING                     JOYNER ENTERPRISES, LLC
 GOOD SHEPHERD EPISCOPAL                    JPN MANAGEMENT (MCDONALD'S)
  CHURCH                                    JUAN MARCOS PRESBYTERIAN
 GOODWILL INDUSTRIES OF SE WI,                CHURCH
  INC.                                      KADA, INC.
 GRACE UNITED METHODIST                     KANAWHA COUNTY SCHOOL FUNDS
  CHURCH, INC.                              KCK COUNCIL PTA
 GREMAUD GROUP - MCDONALD'S                 KELLEY, JONATHAN C - MCD
  SPENDSMART                                  SPENDSMART
 H & R BLOCK #02075                         KILLEEN MASONIC LODGE 1125
 HARVARD50                                  KOSANOVICH GROUP - MCDONALD'S
 HEART, LOVE & SOUL INC.                      SPENDSMART
 HENRY FORD VILLAGE                         LAFAYETTE URBAN MINISTRY
 HENRY SCHEIN PRACTICE                      LANSING OLD NEWSBOYS
  SOLUTIONS                                   ASSOCIATION
 HILLANDALE FARMS CONN LLC                  LAS VEGAS STRIP KIWANIS
 HIMALAYA MANAGEMENT INC., CO.              LEEBO'S STORES INC.
 HMCC INC. (MCDONALD'S)                     LEGACY RESTAURANT GROUP, LLC
 HOLDINGS AQUISITION CO.                    LEONARD GROUP - MCDONALD'S
 HOOVER-ARMSTEAD GROUP: MCD                   SPENDSMART
  SPENDSMART                                LIFEBUILDERS OF THE TREASURE
 HUDDLE HOUSE, INC.                           COAST, INC.
 IN HIS STEPS SHOE BANK OF                  LIMA-RAPPS GROUP
  EDINBURG                                  LOAVES AND FISHES
 IOWA CITY COMMUNITY SCHOOL                 LODI ADOPT-A-CHILD FOUNDATION
  DISTRICT                                  LOVE NETWORK OF BAYTOWN
 IRON HILL BREWERY RESTAURANTS              LUVEL FOODS INC. (MCDONALD'S)
 JACOB'S LADDER JOB CENTER INC.             MAGIC CITY KIWANIS
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 MAIN, WATERS ENTERPRISES                   NANA MANAGEMENT SERVICES
  (MCDONALD'S)                               (HILCORP)
 MANNA HOUSE OF MARIPOSA                    NATEMORK
  COUNTY                                    NEEDIEST KIDS INC.
 MARBLE FALLS CHURCH OF CHRIST              NEW COVENANT UNITED
 MARION EAST CEDAR RAPIDS                    METHODIST CHURCH
  ROTARY CLUB                               NEWARK AREA WELFARE
 MARY'S PLACE                                COMMITTEE
 MASONIC CHARITY FOUNDATION OF              NEWELL-BERG ALLIANCE TN LLC
  NEW JERSEY                                NEWS HERALD CLOTHE-A-CHILD
 MBI, INC. (MCDONALD'S)                      PROGRAM
 MCDONALD'S OF TEXOMA                       NJB OPERATIONS (TACO BELL)
 MEDSTAR LLC                                NORTH DALLAS SHARED MINISTRIES
 MELISSA MONTES - MCDONALDS                 NORTHLAND MANAGEMENT
  SPENDSMART                                 SERVICES
 MEMORIAL ASSISTANCE MINISTRIES,            NORTHWEST ASSISTANCE
  INC.                                       MINISTRIES
 MEMPHIS WAY (MCDONALD'S)                   NORTON WOMEN'S CLUB
 MENDOCINO CO. DEPT OF SOCIAL               NORWICH HUMAN SERVICES
  SERVICES                                  NORWICH SCHOOLS LUNCH
 MENDOZA CO INC - MCDONALD'S                 PROGRAM
  SPENDSMART                                OHIO NEWSBOYS ASSOCIATION, INC.
 MESA FOUNDATION FOR                        OLD NEWSBOYS OF FLINT, INC.
  EDUCATIONAL                               OM RESTAURANT GROUP
 MESA UNIFIED SCHOOL DISTRICT #4            ONE VOICE
 METROCREST SOCIAL SERVICES                 ORRVILLE UNITED WAY
 METROPOLITAN INTER-FAITH                   OSHKOSH-WINNECONNE COMM
  ASSOCIATION                                BACK 2 SCHOOL
 MIDTOWN ASSISTANCE CENTER                  OUR LADY OF MOUNT CARMEL
 MIDWEST HEALTH MANAGEMENT                   CHURCH
 MISSOURI JACK LLC                          PACIFIC COAST PRODUCERS
 MONTES GROUP - MCDONALD'S                   (OROVILLE)
  SPENDSMART                                PALM SPRINGS SUNUP ROTARY
 MONTGOMERY CO. RETIRED                      FOUNDATION
  TEACHERS ASSOC.                           PARC SOLEIL BY HILTON GRAND
 MORENO GROUP - MCDONALD'S                   VACATION
  SPENDSMART                                PARK HILL SCHOOL DISTRICT
 MULLINS GROUP - MCDONALD'S                 PARTNERSHIPS FOR CHILDREN
  SPENDSMART                                PEOPLE FIRST FOODS
 MUSKOGEE PUBLIC SCHOOLS                    PEOPLE IN NEED, INC.
 MY NEW RED SHOES                           PINE TREE UNITED METHODIST
 NAMI SUMMIT COUNTY                          MINISTRIES
 NANA MANAGEMENT SERVICE (RED               PIZZA PROPERTIES, INC.
  DOG)                                      PJ'S FORGOTTEN CHILDREN
 NANA MANAGEMENT SERVICES                   PMPCC FOODS, LLC (MCDONALD'S)
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 POLICE AIDE FEED THE HOMELESS              SCOTTISH RITE SHOES FOR KIDS
  PROGRAM                                   SERTOMA CLUB OF WATAUGA
 POLK COUNTY SCHOOL BOARD                   SHOES AND CLOTHES FOR KIDS
  HEARTH PROJECT                            SHOES FOR THE NEEDY, INC.
 PORTAGE LAKES COMMUNITY                    SHOPKO STORES OPERATING CO LLC
  COUNCIL                                   SLIPGARD SHOES LLC
 PORTER, DALE - MCD SPENDSMART              SOCIETY OF ST. STEPHEN
 PORTLAND COUNCIL PTA STUDENT               SOCIETY OF ST. VINCENT DE PAUL
  AID                                       SONIC DRIVE IN
 PROJECT SHOES                              SONIC DRIVE IN #1276
 PROVO DESERET INDUSTRIES                   SONOMA SPRINGS COVENANT
 PUTRA AGUNG                                 CHURCH
 R AND A RESTAURANTS - MCD'S                SOUTH MADISON COMMUNITY
  SPENDSMART                                 SCHOOL CORP
 RACAP                                      SPB RESTAURANTS, INC.
 RAISE MARKETPLACE, INC.                     (MCDONALD'S)
 RELIANCE CLOTHING INDIA PRIVATE            SPHERION STAFFING LLC (CHICO)
  LIMITED                                   SPRINGFIELD EAGLES CHARITIES
 RELIANCE RETAIL LIMITED                     INC.
 REMBRANDT ENTERPRISES                      ST. AUSTIN CATHOLIC CHURCH
 RETZER RESOURCES - MCDONALD'S              ST. ELIZABETH ANN SETON - LOVE
  SPENDSMART                                 TRUCK
 RETZER RESOURCES INC.                      ST. JOSEPH THE WORKER
 RHF ENTERPRISES                            ST. LOUIS DE MONFORT PARISH
 ROBERTS GROUP                              ST. MARTHA PARISH IN SARASOTA
 ROBINSON DEPARTMENT STORE                  ST. PAUL UNITED METHODIST
  PUBLIC CO., LTD.                           CHURCH LARGO
 ROBINSON PHARMA, INC.                      ST. VINCENT DE PAUL SOCIETY, INC.
 ROCKDALE CO BOARD OF                       STAGG RESTAURANTS PARTNERSHIP
  EDUCATION                                 STATE OF VERMONT-DCF-ECONOMIC
 S.S.M. INC. (MCDONALD'S)                    SERVICES
 SAFER FOUNDATION                           STEW LEONARD'S
 SALT LAKE CITY SCHOOL DISTRICT             STEWARD INCORPORATED -
 SAN FRANCISCO CONSERVATION                  MCDONALD'S
  CORPS                                     STINGLEY MGMT. - MCDONALD'S
 SANDIA NATIONAL LABORATORIES                SPENDSMART
 SAREN RESTAURANTS, INC.                    STRUTHERS PTA COUNCIL
 SC4K SPECIAL TEAMS                         STS QUARTERLY ALLOCATION
 SCHOOL BOARD OF VOLUSIA                    SUMMERWOOD CORPORATION
  COUNTY                                    SUMMIT CHRISTIAN CHURCH
 SCHULZ, ERIKA                              SUNCOAST VOICES FOR CHILDREN
 SCHULZ, MARKUS, DIETER                      FOUNDATION,
 SCHULZ,MARKUSERIKA-MCD                     SUNSHINE RESTAURANT PARTNERS,
  SPENDSMART                                 LLC
 SCHWAN'S FOOD SERVICE, INC.                SVDP ST. MARY'S CONFERENCE
 SCOTT COUNTY ROTARY CLUB                   SVDP ST. PETER CONFERENCE
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 TALKING STICK RESORT-FOOD AND              TRI-VALLEY INTERFAITH COUNCIL
  BEVERAGE                                  TUSCANY VACATION VILLAGE
 TDS RESTAURANTS, INC. - MCD                TWIN CITY COMMUNITY OUTREACH
  SPENDSMART                                 CLOTHES
 TEHAMA COUNTY DEPT. OF SOCIAL              TWO RIVERS HEAD START AGENCY
  SERVICES                                  UNION STATION HOMELESS
 TEN D ENTERPRISES                           SERVICES
 THE BARNABAS CONNECTION                    UNION-TRIBUNE SHOE FUND, INC.
 THE CHILDREN'S FRESH AIR FARM              UNITED METHODIST HUMAN
 THE CHRYSALIS CENTER                        SERVICES
 THE CHRYSALIS CENTER - CS                  USD 501 TOPEKA PUBLIC SCHOOLS
  PACOIMA                                   VETERAN'S ASSISTANCE
 THE CHRYSALIS CENTER - CS SANTA             COMMISSION OF COOK
  MONICA                                    VILLANOVA UNIVERSITY DINING
 THE CHRYSALIS CENTER - ROADS                SERVICES
 THE CHRYSALIS CENTER - WORKS               VINA MOSES CENTER
 THE PANTRY AT ST. FRANCIS                  WASHINGTON STREET ELEMENTARY
 THE PARADIES SHOPS LLC                     WASHTENAW INTERMEDIATE
 THE SALVATION ARMY                          SCHOOL DIST.
  (ANACORTES)                               WAVES HAIR SALON #07042
 THE SALVATION ARMY (ELYRIA)                WELLTOK (INCENT ONE)
 THE SALVATION ARMY (HARTFORD)              WENDY'S (HOBART)
 THE SALVATION ARMY (MANSFIELD)             WENDY'S (VALPARAISO)
 THE SALVATION ARMY (PLYMOUTH)              WHITTINGTON GROUP - MCDONALDS
 THE SALVATION ARMY (SHELBY)                 SPENDSMART
 THE SALVATION ARMY (SOLEDAD)               WILLIAM TEMPLE HOUSE
 THE SALVATION ARMY (TUSTIN)                WIRELESS EXPRESS, LLC #7080
 THE SALVATION ARMY (WICHITA)               WOJTOWICZ GROUP - MCDONALD'S
 THE SALVATION ARMY                          SPENDSMART
  (WILLIAMSPORT)                            WOLF ORGANIZATION - MCD
 THE WARDROBE                                SPENDSMART
 THI VI DIPLOMAT HOTEL LESSEE               WOODLAWN UNITED METHODIST
 TOBY FOOD GROUP, INC                        CHURCH
 TOUFAYAN BAKERY OF FLORIDA                 WVPH
  INC.                                      YOLANDA'S INC.
 TRIGG ELISA MCDONALDS                      YORK BENEVOLENT ASSOCIATION
  SPENDSMART                                YOUTH OPPORTUNITIES UNLIMITED
 TRINITY LUTHERAN CHURCH

                                PROFESSIONALS
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 AKIN GUMP STRAUSS HAUER & FELD             KRAMER LEVIN
 LLP                                        PJ SOLOMON
 ALIX PARTNERS                              PRIME CLERK
 ANKURA CONSULTING GROUP                    REEVEMARK
 CASSELS BROCK & BLACKWELL LLP              STROOCK & STROOCK & LAVAN
 FTI CONSULTING                             SEWARD & KISSEL LLP

                                  LANDLORDS

 1029-1205 NORTH COURT STREET               2642614 ONTARIO INC.
 HOLDINGS LLC                               2902 THIRD AVENUE LLC
 1085 NELSON LLC                            290-300 KING GEORGE RD LP
 110 WEST 34TH STREET REALTY                300 WEST SPE, LLC
  ASSOCIATES                                301 MAIN STREET ASSOCIATES
 1111 COUNTRY CLUB DR, LLC                  301 P LLC
 1195117 ONTARIO LIMITED                    3150 LONG BEACH RD. LLC
 1273 DEER PARK LLC                         32 EAST CENTER DELAWARE, LLC
 1351 CORP INC                              3503 RP SPOKANE NORTHPOINTE LLC
 13700 FOOTHILL BOULEVARD LP                3510 BERGENLINE AVENUE LLC
 1388688 ONTARIO LIMITED                    367 LLC
 141 EAST FLAGLER LLC                       3829660 MANITOBA LIMITED
 1420 N PARHAM ROAD LLC                     3934390 CANADA INC
 1562903 ONTARIO LIMITED                    3945333 MANITOBA LIMITED
 1600 CHAMPA LLC                            41/49 HIGHWAY JUNCTION LIMITED
 1604 CHESTNUT ASSOCIATES LP                 PARTNERSHIP
 1616 AVENUE U REALTY, LLC                  416 OWNERS ASSOCIATION
 162-11 JAMAICA AVENUE REALTY               429-441 86TH STREET LLC
  ASSOCIATES                                479 MAIN RMR LLC
 1663321 ONTARIO INC AND 1414614            47TH & KEDZIE PLAZA LLC FKA 666
  ONTARIO INC                                VENTURE
 1763931 ONTARIO LIMITED                    480 WEST STREET LLC
 1900 HEMPSTEAD TURNPIKE LLC                5 S ENTERPRISE LLP
 2015 SHOPPING MALL BUSINESS LLC            5060 MONTCLAIR PLAZA LANE
 2042170 ONTARIO INC                         OWNER LLC
 2046459 ONTARIO INC                        51 JOURNAL SQUARE 1 LLC
 2065 WESIX LLC                             52 EAST 170TH STREET REALTY
 21-25 GRAHAM AVE., LLC                      CORPORATION
 214 HOLDING CORP                           554 - 558 W 181ST STREET LLC
 214 W. 125TH ST PSS LLC                    585562 B.C. LTD - C/O MORGUARD
 2157 86TH STREET LLC                        INVESTMENTS LTD
 2157 FLAGLER, LLC                          630 MAIN AVENUE OWNER LLC, C/O
 2200 NORTH MAPLE AVENUE -                   JACK KASSAB
  10071280 LLC                              666479 B.C. LTD
 22300 LAKE SHORE BOULEVARD LLC             6711 GLEN BURNIE RETAIL LLC
 23 REALTY LLC                              7 STAR PLAZA INC
 2636655 ONTARIO INC.                       713949 ONTARIO LIMITED
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 7342 GREENBACK LANE LLC                    ALBANY ROAD-SPRINGFIELD PLAZA
 767228 ALBERTA LTD.                         LLC
 79 BISCAYNE PLAZA LLC                      ALBMIN REALTY CO.
 815-830 EAST TREMONT ASSOCIATES            ALCO REALTY LLC
  LLC                                       ALDERWOOD MALL LLC
 82ND ST. JACKSON HEIGHTS LLC               ALEFF LLC
 8401 DYER LLC                              ALEXANDRIA MAIN MALL LLC
 8762317 CANADA INC                         ALHAMBRA VALLEY PROPERTIES
 87TH STREET CENTER LLC                      LLC
 89-22 JAMAICA AVENUE REALTY                ALI LIVING TRUST
  CORP. C/O STORE FINDERS, INC.             ALISAN LLC
 9015086 CANADA INC                         ALJACKS, LLC
 90567 CANADA, INC.                         ALL ACCESS PROPERTIES LLC
 9257-4748 QUEBEC INC AND MONTEZ            ALLAN GOLDMAN
  L'OUTAOUAIS INC                           ALLERTON ASSOCIATES LLC
 94-00 LIBERTY, INC                         ALPHA LAKE LTD
 9511 NORTH LAMAR LTD                       ALTAMONTE MALL LLC
 985 WEST VOLUSIA LLC                       ALTON MALL LLC
 A.M. KLEMM & SON LLC                       ALVERNAZ PROPERTIES
 A.T. INVESTMENTS FOUR C/O DANA             AMALGAMATED FINANCIAL
  BUTCHER ASSOC.                             EQUITIES VI, LLC
 AAA LAPEER HOLDINGS LLC                    AMARGOSA PALMDALE
 AAM - 2001 AIRLINE DRIVE LLC                INVESTMENTS LLC
 ABERDEEN KAMLOOPS MALL                     AMCAP COPACO II LLC
  LIMITED                                   AMELIA GEMENY WEST
 ABP PEARL HIGHLANDS LLC                    AMERICAN BLUE STARS, LLC
 ABSTRACT HOLDINGS INC                      AMERICAN BUILDING ASSOCIATES
 ACADIANA MALL CMBS, LLC                     LIMITED PARTNERSHIP
  RECEIVERSHIP                              AMIRAN CAPITAL PARTNERS LP
 ACH ALEXANDRIA LLC                         AMPAC INVESTMENT GROUP
 ACS NEW IBERIA PLAZA LA LLC                AMSOURCE PLEASANT GROVE, LLC
 ACS PICAYUNE PLAZA MS LLC                  ANAMAR PROPERTIES LLC
 AD40 LLC                                   ANCHORAGE SHOPPING CENTER LLC
 ADB HOLDING LLC & DJB HOLDING              ANDERSON JOINT VENTURE
  LLC                                       ANDREW D GUMBERG TRUSTEE UTA
 ADH LEASING CO LLC                          DATED DECEMBER 1,1984
 ADLOR B. REALTY ASSOCIATES                 ANEFF, LLC
 AFCC LIMITED                               ANIMAS VALLEY MALL, LLC
 AGC SD RETAIL 6, LLC                       ANNA KARPINSKI
 AGC TOWN CENTER NORTH LLC                  ANNAPOLIS MALL OWNER LLC
 AI LONGVIEW LLC                            ANTELOPE VALLEY MALL LLC
 AIRBORNE REALTY LLC                        APACHE MALL, LLC
 AKSARBEN LIMITED PARTNERSHIP               APOPKA ASSOCIATES 2006 LLC
 AL ZEISZ AND IAN SMITH                     ARBOR PLACE II LLC
 ALBANY MALL LLC C/O ARONOV                 ARCADE INVESTMENT CORP
  REALTY COMPANY, INC.                      ARCADIAN SHORES COMMONS LLC
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 ARCP MT AUSTELL GA, LLC                    BACHMAN LAKE VILLAGE, INC. C/O
 ARCP MT HOUSTON TX LLC                      DAVID E. CLAASSEN INVESTMENTS,
 ARD LUFKIN SHOPPING CENTER, LLC             INC.
 ARD WEST WHITELAND LLC                     BALCORP, INC.
 ARGO WOODBURN LLC                          BALDWIN SHOE PROPERTIES
 ARIZONA MILLS L.L.C.                       BALTIMORE CENTER ASSOCIATES LP
 ARLINGTON RIDGE MARKETPLACE,                - C/O THE GALLERY AT
  LLC                                        HARBORPLACE
 ARN K. YOUNGMAN TRUSTEE                    BAM COMMERCIAL PROPERTIES LLC
 ARNOLD J. SHUSTERMAN OR                    BANGOR MALL LLC
  CAROLYN C. SHUSTERMAN                     BANJO PROPERTIES LLC
 ARNOT REALTY CORPORATION                   BARBARA STANNY AS TRUSTEE OF
 ARROWHEAD MALL, LLC                        BARLEY SQUARE PARTNERS LP
 ARROWHEAD TOWNE CENTER LLC                 BARTON CENTRE GP LTD
 ARUNDEL MILLS LIMITED                      BARTON INVESTMENT LLC
  PARTNERSHIP                               BARTOW ASSOCIATES LLC
 ARVADA RIDGE VERTICAL RETAIL,              BASS EQUITIES, LLC
  LLC                                       BASSETT PLACE REAL ESTATE
 ASHEVILLE MALL CMBS LLC                     COMPANY LLC
 ATC GLIMCHER LLC                           BATTLEFIELD MALL LLC
 ATCO-VALLEY PLAZA LLC                      BAWABEH BROTHERS NO 2 LLC
 ATLANTIC CITY ASSOCIATES                   BAY HARBOR PLAZA LLC
  NUMBER TWO (S-1), LLC                     BAY PLAZA COMMUNITY CENTER,
 ATLANTIC SQUARE LLC                         LLC C/O PRESTIGE PROPERTIES &
 AUBURN ASSOCIATES LLC                       DEVEL. CO, INC
 AUBURN MALL LLC                            BAY SHORE MALL, LP
 AUBURN PLAZA LLC                           BAYSHORE SHOPPING CENTER
 AUDUBON VENTURES, LLC                       PROPERTY OWNER LLC
 AUGUSTA MALL LLC                           BAYSHORE SHOPPING CENTRE
 AURORA INVESTMENTS, LLC                     LIMITED AND KS BAYSHORE INC
 AUSTINTOWN PLAZA PROPERTIES                BCIMC REALTY CORPORATION
  LLC                                       BCIMC REALTY CORPORATION
 AVANTE ELLSWORTH VENTURE I,                BCS PROPERTIES OF ANN ARBOR INC
  LLC                                       BCS REALTY LLC
 AVENUES MALL LLC                           BDC LODI PLAZA, L.P.
 AVIANA COMPANY II, LLC                     BDG GOTHAM PLAZA, LLC
 AVIATION MALL NEWCO, LLC                   BEAVER VALLEY MALL LLC/BEAVER
 AVIDO LLC                                   VALLEY CH LLC/BEAVER VALLEY
 AWE-AR IVERSON MALL LLC                     NASSIM LLC
 AZEETA - R LLC                             BEDFORD LAND COMPANY
 B AND B CASH GROCERY STORE, INC.           BELDEN MALL LLC
 B.H.N.V. REALTY CORPORATION                BELLIS FAIR MALL LLC
 BACELINE VALUE FUND I                      BELLMORE HOLDCO LLC
  UNIVERSITY PLAZA LLC                      BELLWETHER PROPERTIES OF
                                             MASSACHUSETTS LIMITED
                                             PARTNERSHIP
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 BENATAR INVESTMENT GROUP, LP               BPC HENDERSON LLC
 BENNINGTON SQUARE PARTNERS                 BPP-1, LLC
  LLC                                       BRADLEY PARK CROSSING LLC
 BENTALL KENNEDY (CANADA) LP ITF            BRAINTREE PROPERTY ASSOCIATES,
  600 DE MAISONNEUVE LTD                     LP
 BERKSHIRE MALL LP                          BRAMALEA CITY CENTRE EQUITIES
 BERKSHIRE SHOPPING CENTER, LLC             BRANCH GAINESVILLE ASSOCIATES
 BERLAV ASSOCIATES                           LP
 BETTY SHAYO                                BRANDON SHOPPING CENTER
 BEVERLEY V ARTHUR; JOEL D                   PARTNERS LTD
  ARTHUR AS TRUSTEE OF THE                  BRASS MILL CENTER MALL LLC
 BH PREMIUM QUALITY WATERBURY               BRAZOS TC PARTNERSHIP A, LP
  LLC                                       BRE DDR BR WHITE OAK VA LLC
 BHAAJ TX1 LLC                              BRE DDR CARILLON PLACE LLC
 BIM NORTH HILL INC                         BRE DDR CROCODILE FALCON RIDGE
 BIRCHWOOD MALL, LLC                         TOWN CENTER I LLC
 BK BELLCROFT, LTD.                         BRE PEARLRIDGE LLC
 BLACKSTONE GROUP-DIRKSEN,                  BRE RC FIRST COLONY MD LLC
  L.L.C.                                    BRE RC LOUETTA CENTRAL TX LP
 BLDG-ICS OLNEY LLC                         BRE RC YORK MP PA LP
 BLOCH HTC LLC                              BRE RETAIL RESIDUAL OWNER 1 LLC
 BLOOMFIELD PLAZA ASSOCIATES                BRE RETAIL RESIDUAL SHOPPES AT
  L.P.                                       VALLEY FORGE OWNER LLC
 BLOOMINGDALE COURT, LLC                    BRE THRONE APPLEGATE RANCH
 BLUE DIAMOND CROSSING II, LLC               LLC
 BLVDCON LLC                                BRIAN F CONROY, TRUSTEE OF
 BM CROSSROADS LLC                           HUSBANDS TRUST UNDER THE
 BMHC LLC                                    CONROY FAMILY
 BOARDWALK 15 A LLC                         BRICKTOWN UE LLC
 BOBPAYLESS MI LLC                          BRIDGEWATER COMMONS MALL II,
 BOCA PARK MARKETPLACE                       LLC
  SYNDICATIONS GROUP LLC                    BRIDGEWATER FALLS STATION LLC
 BODESTER, LLC                              BRIGHT PAR 3 ASSOCIATES LP
 BOISE MALL LLC                             BRIXMOR CAPITOL SC LLC
 BOLGER 39 ASSOCIATES, LLC                  BRIXMOR CROSS KEYS COMMONS
 BONIUK INTERESTS, LTD                       LLC
 BONNEY'S CORNER ASSOCIATES, LLP            BRIXMOR GA APOLLO I SUB LLC
  - C/O HARVEY LINDSAY                      BRIXMOR GA APOLLO I TX
  COMMERCIAL REAL ESTATE                     HOLDINGS LLC
 BONNIE DOON SHOPPING CENTRE                BRIXMOR GA APOLLO III SUB
  (HOLDINGS) LTD. C/O MORGUARD               HOLDINGS LLC
  INVESTMENTS LIMITED                       BRIXMOR GA COASTAL WAY LLC
 BOSCACCI GROUP LLC                         BRIXMOR GA COBBLESTONE
 BOWERS FAMILY PARTNERS LLC                  VILLAGE AT ST AUGUSTINE LLC
 BOWIE MALL COMPANY, LLC                    BRIXMOR GA PANAMA CITY LLC
 BOYNTON BEACH MALL LLC                     BRIXMOR GA SAN DIMAS LP
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 BRIXMOR GA WILKES-BARRE LP                 BUEN TERRA LLC
 BRIXMOR HANOVER SQUARE SC LLC              BUILDERS, INC. C/O BUILDERS
 BRIXMOR HOLDINGS 11 SPE, LLC                COMMERCIALS, INC.
 BRIXMOR HOLDINGS 11 SPE, LLC               BURGERLAND/ROSE MED TRIANGLE
 BRIXMOR HOLDINGS 12 SPE, LLC                (ROSE CANYON JV)
 BRIXMOR HOLDINGS 12 SPE, LLC               BURLESON STC I LLC
 BRIXMOR HOLDINGS 6 SPE LLC                 BURLINGTON COAT FACTORY OF
 BRIXMOR HOLDINGS 8 SPE LLC                  TEXAS INC
 BRIXMOR MORRIS HILLS LLC                   BURNSVILLE CENTER SPE LLC
 BRIXMOR OLD BRIDGE LLC                     BUSINESS PROPERTIES PRTNSHIP NO.
 BRIXMOR PROPERTY OWNER II LLC               31
 BRIXMOR ROOSEVELT MALL OWNER               BVA POPLIN PLACE LLC
  LLC                                       BVR INVESTMENTS INC
 BRIXMOR SOUTHPORT CENTRE LLC               BY AND KC STARKVILLE
 BRIXMOR SPE 2 LLC                           PARTNERSHIP
 BRIXMOR SPE 3 LLC                          B-Y EDINBURG CENTER LTD.
 BRIXMOR SPE 5 LLC                          B-Y WESTERN VALLEY LTD
 BRIXMOR SPE 6 LLC                          BYZANTINE, INC.
 BRIXMOR SPRADLIN FARM LLC                  C EAGLE SPIRIT LLC
 BRIXMOR TRI CITY PLAZA LLC                 C STORE OF USA INC
 BRIXTON EVERETT LLC                        C.I.A. LIMITED LIABILITY COMPANY
 BRIXTON PROVO MALL LLC                     C.W. & ASSOCIATES LTD
 BRIXTON ROGUE LLC                          CACHE VALLEY PROPERTY VENTURE
 BRIXTON SHERWOOD LLC                       CAFARO MANAGEMENT COMPANY
 BRIXTON-ALTO SHOPPING CENTER               CAL OAKS PLAZA LLC
  LLC                                       CALLOWAY REAL ESTATE
 BROADMOOR PLAZA RETAIL, LLC                 INVESTMENT TRUST
 BROCKWAY INVESTMENTS LLC                   CALLOWAY REAL ESTATE
 BROKEN ARROW SHOPPING CENTER                INVESTMENT TRUST
  LLC                                        (CHARLOTTETOWN) INC
 BROOKFIELD SQUARE JOINT                    CALLOWAY REAL ESTATE
  VENTURE                                    INVESTMENT TRUST INC.
 BROOKHAVEN CENTER ASSOCIATES               CALLOWAY REAL ESTATE
  LP                                         INVESTMENT TRUST INC.
 BROOKLYN KINGS PLAZA LLC                   CALLOWAY REAL ESTATE
 BROWARD MALL LLC                            INVESTMENT TRUST INC-BARRIE
 BROWN FLORIDA HOLDINGS LLC                  NORTH
 BROWN, NOLTEMEYER COMPANY                  CALLOWAY REIT
 BRUCE W. BALDWIN, M.D.                     CALLOWAY REIT (BAYMAC) INC &
 BRUNDRETT PROPERTIES, INC. C/O              CANADIAN PROPERTIES HOLDINGS
  NORWOOD FURNITURE                          (ONTARIO) INC
 BRUNSWICK SQUARE MALL LLC                  CALLOWAY REIT (BOLTON) INC
 BSC RETAIL OWNER LLC                       CALLOWAY REIT (BRAMPTON) INC.
 BTC OWNER LLC                              CALLOWAY REIT (BROCKVILLE) INC
 B-THAP, LC                                 CALLOWAY REIT (CALGARY) INC
 BUCKINGHAM PLAZA LP                        CALLOWAY REIT (EDMONTON) INC
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 CALLOWAY REIT (ETOBICOKE) INC              CAROLINA PLACE LLC
 CALLOWAY REIT (HAMILTON                    CAROLYN HITTLEMAN, JOAN BARON,
  MOUNTAIN) INC                              MITCHELL GOLDBERG, TRUSTEE
 CALLOWAY REIT (HARMONY) INC                CAROUSEL CENTER COMPANY, L.P.
 CALLOWAY REIT (KAMLOOPS) INC               CARSON VALLEY CENTER LLC
 CALLOWAY REIT (LAVAL E) INC                CARY VENTURE LIMITED
 CALLOWAY REIT (LONDON N) INC                PARTNERSHIP
 CALLOWAY REIT (MISSISSAUGA) INC            CATARAQUI HOLDINGS INC
 CALLOWAY REIT (NIAGARA FALLS)              CBL & ASSOCIATES LIMITED
  INC                                        PARTNERSHIP
 CALLOWAY REIT (ORLEANS) INC                CBL SM BROWNSVILLE LLC
 CALLOWAY REIT (PICKERING) INC              CBL/MONROEVILLE LP
 CALLOWAY REIT (REXDALE) INC                CBL/WESTMORELAND LP
 CALLOWAY REIT (SCARBOROUGH)                CC INVESTMENTS GROUP LLC
  INC                                       CCA RETAIL, LLC
 CALLOWAY REIT (SW ONTARIO) INC             CCF PCG NORTHRIDGE LLC
 CALLOWAY REIT (WESTGATE) INC               CCM ASSOCIATES OF CLIFTON PARK
 CALLOWAY REIT (WESTRIDGE) INC               LLC
 CALLOWAY REIT (WHITBY) INC                 CCVA INC - C/O CENTRO GRAN
 CALLOWAY REIT INC                           CARIBE SHOPPING CENTER
 CALLOWAY REIT-MASCOUCHE                    CDC NEWARK ASSOC PARTNERSHIP
 CALLOWAY REIT-UNICITY                      CDG - 92ND, LLC
 CAMBRIDGESIDE PARTNERS LLC                 CDSK28 LLC
  DBA CAMBRIDGESIDE GALLERIA                CEDAR QUARTERMASTER LLC
 CAMDEN VILLAGE LLC                         CEDAR-CARMANS, LLC
 CANADIAN PROPERTY HOLDINGS                 CEDAR-FIELDSTONE MARKETPLACE
  (ONTARIO) INC & CALLOWAY REIT              LP
  (CHATHAM) INC                             CENTER 6 WESTPARK
 CANYON COUNTRY PLAZA LIMITED               CENTER ASSOCIATES REALTY CORP.
  PARTNERSHIP                               CENTER POINT PLACE ASSOCIATES
 CAPARRA CENTER ASSOCIATES LLC               LP
 CAPITAL CITY SHOPPING CENTRE               CENTEREACH MALL ASSOCIATES
  LIMITED                                    605, LLC
 CAPITAL CITY SHOPPING CENTRE               CENTERPOINT MALL LLC
  LIMITED, BILLINGS BRIDGE                  CENTERRA RETAIL SHOPS, LLC
 CAPITAL MALL LP                            CENTERVILLE CROSSING, LLC
 CAPITAL PLAZA INC                          CENTRAL LOAN ASSETS V, LP
 CAPITAL REALTY ASSOCIATES C/O              CENTRAL MALL REALTY HOLDING
  FIDELITY MANAGEMENT                        LLC
 CAPLACO FOURTEEN, INC AND                  CENTRAL VALLEY ASSOCIATES
  DIERBERGS ZUMBEHL, INC                    CENTRAL VALLEY PROPERTY
 CAPREF BURBANK LLC                          HOLDINGS II, LLC
 CAPREF EDEN PRAIRIE LLC                    CENTRE REGIONAL CHATEAUGUAY
 CAPREF LLOYD II LLC                         INC
 CAPRI URBAN BALDWIN LLC                    CENTREPOINTE - JMYL LP
 CAROL HAROOTUNIAN
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 CENTRES COMMERCIAUX                        CHODY FAMILY R3 LP AND CREC I
  PREMIERES NEIGES LTEE                      LLC
 CENTRO DEL SUR MALL LLC                    CHRISOPOULOS FAMILY TRUST
 CENTURY CENTER LLC                         CHRISTOWN 1755 LLC
 CENTURY PLAZA CORPORATION                  CHULA VISTA CENTER LP
 CERMAK PLAZA LLC C/O GARY                  CIELO PASO PARKE GREEN, L.P.
  SOLOMON AND COMPANY                       CIRCLE CENTRE MALL LLC
 CF FAIRVIEW MALL                           CIRCLE PLAZA LLC
 CH REALTY III/LONG GATE LLC                CITADEL MALL REALTY LLC
 CH REALTY VII/R NOVA PLAZA I & II          CITRUS CENTER 10TH STREET, LLC.
  LLC                                       CITRUS CENTER CLINTON HILL, LLC
 CH REALTY VII/R SAN DIEGO                  CITRUS PARK MALL OWNER LLC
  EASTLAKE TERRACES LP                      CITY LINE SHOPPING CENTER
 CH RETAIL FUND I/ORLANDO METRO              ASSOCIATES LP
  LLC                                       CLACKAMAS MALL LLC,
 CHAMBERSBURG CH LLC                        CLEARVIEW MALL ASSOCIATES
 CHAMBERSBURG MALL REALTY LLC               CLEARWATER CALDWELL LLC
 CHAMPAGNAT CATHOLIC SCHOOL                 CLINTON PINES, LLC
  INC                                       CLOVIS COMMONS, LLC
 CHAMPAIGN MARKET PLACE LLC                 CLUFF AND HARDY HOLDINGS LLC
 CHAMPLAIN CENTRE NORTH LLC                 CMP TOWN & COUNTRY LP
 CHANG K. KIM                               COASTAL GRAND CMBS LLC
 CHAPEL HILLS CH LLC                        COASTAL PLAINS DEVELOPMENT
 CHAPEL HILLS NASSIM LLC                     GROUP
 CHAPEL HILLS REALTY LLC                    COASTLAND CENTER LLC
 CHARLES MALL COMPANY LP                    COCONUT POINT DEVELOPERS, LLC
 CHARLOTTESVILLE FASHION                    CODDINGTOWN MALL LLC
  SQUARE LLC                                COLBY'S PINE TREE PLAZA, L.C.
 CHARTER BANK TRUST                         COL-CRAIG REALTY COMPANY
 CHAUTAUQUA MALL LLC                        COLEMAN E ADLER, II AND
 CHEEMA LLC                                  COLEMAN E ADLER, II CHILDREN'S
 CHEHEBAR ASSOCIATES LLC                     TRUST
 CHELSEA PACIFIC INVESTMENTS, LP            COLISEUM CROSSING ASSOC. LLC
 CHERRY HILL PROPERTIES, LLC                COLLEGE PARK DELAWARE LLC
 CHERRYVALE MALL LLC                        COLLEGE PLAZA INVESTORS LLC
 CHESTER MALL LLC                           COLLEGE SQUARE III, LLC
 CHESTERFIELD RETAIL LC &                   COLONIAL PARK MALL REALTY
  CHESTERFIELD RETAIL INVESTORS              HOLDING, LLC
  LC                                        COLONY OF LATROBE, L.P.
 CHESTNUT EMERALD PARTNERS LLC              COLORADO MILLS MALL LP
 CHICO FAZEKAS I, LLC                       COLUMBIA GRAND FORKS LLC
 CHICOPEE MARKETPLACE OWNERS,               COLUMBIA MALL LLC (MO)
  LLC                                       COLUMBIA MALL PARTNERSHIP
 CHILLUM CENTER LLC                         COLUMBIA TECH CENTER, L.L.C.
 CHIN CHU KIM                               COLUMBIA-BBB WESTCHESTER
 CHIN CIARDELLA PROPERTIES LLC               SHOPPING CENTER ASSOCIATES
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 COMINAR REIT                               CREF X LV CROSSROADS LLC
 COMM 2006-C8 SHAW AVENUE                   CREFII SILVER CITY LLC
  CLOVIS LLC                                CRESTVIEW VILLAGE CENTER LLC
 COMPLEXE PLACE ST-EUSTACHE INC             CROMBIE DEVELOPMENTS LIMITED
 COMPTON HOLDINGS II, LLC                   CROMWELL SQUARE PARTNERS LP
 CONCORD MALL LP                            CROSS CREEK MALL SPE LP
 CONESTOGA NASSIM LLC                       CROSS CREEK PLAZA, INC.
 CONESTOGA REALTY LLC                       CROSSGATES MALL GENERAL
 CONROE MARKETPLACE SC, LP                   COMPANY NEWCO LLC
 CONWAY DEVCO DE, LLC                       CROSSIRON MILLS HOLDINGS, INC
 CONWAY WEST BLUFF LLC                      CROSSROADS CENTER, LLC
 COOKEVILLE TN INVESTMENT                   CROSSROADS IMPROVEMENTS
  PARTNERS                                   OWNER LLC
 COOLSPRINGS MALL, LLC                      CROSSROADS JOINT VENTURE, LLC
 COOPER COMM. PROP. II LLC                  CROSSROADS REALTY LLC
 COR ROUTE 3 COMPANY, LLC                   CROSSROADS SHOPPING PLAZA INC
 CORAL RIDGE MALL LLC                       CROSSROADS X, LLC
 CORAL-CS/LTD ASSOCIATES                    CROWN COMMERCIAL REAL ESTATE
 CORNERS AT HILLCROFT AT                     AND DEVELOPMENT INC
  BELLAIRE LP                               CRP II - MANATI LLC
 CORNWALL CENTRE INC.                       CRUZ ALTA PLAZA, LTD.
 CORNWALL SQUARE INC.                       CRYSTAL CORNERS LLC
 CORONADO CENTER LLC                        CRYSTAL MALL LLC
 CORPUS CHRISTI RETAIL VENTURES             CRYSTAL RUN GALLERIA LLC
  LP                                        CSHV QUARRY, LLC
 CORRIDOR MARKETPLACE LLC                   CSHV WAUGH CHAPEL LLC
 CORTLANDT TOWN CENTER LLC                  CSN LLC
 CORTLANDVILLE CROSSING LLC                 CT07-75 SWH LLC AND DT07 75 SWH
 CORUNNA PLAZA LLC                           LLC TIC
 COUNTRY WHOLESALE INC                      CTC GILBERT PHASE 1, LLC
 COUNTRYSIDE MALL LLC                       CULVER CITY MALL LLC
 COVENTRY III/SATTERFIELD HELM              CUMBERLAND MALL ASSOCIATES
  VALLEY FAIR LLC                           CUMBERLAND MALL LLC
 COVIN LP                                   CW GROTON SQUARE LLC
 CP ANTELOPE SHOPS LLC                      CX SUNFLOWER LLC
 CP ASSOCIATES LLC                          CYPRESS COURTYARD II , LLC
 CP CENTURE TWO LLC                         CYPRESS CREEK CO., L.P.
 CP PEMBROKE PINES LLC                      CYPRESS FLAGSTAFF MALL LP
 CP/IPERS CORAL LLC                         D3 LUMBERTON LLC
 CPC GATEWAY PLAZA II LLC                   DAB INVESTMENTS SOUTHPORT
 CPP PASEO I LLC AND CPP PASEO II            COMMONS LLC
  LLC                                       DACK CARBON ASSOCIATES LP
 CREATIVE INVESTMENTS IV,                   DAKOTA SQUARE MALL CMBS LLC
  LLC/QUIAT RESOURCES                       DALTON MALL LLC
  LLC/HERMINE BLAU/FEDERAL
 CRECCAL INVESTMENTS LTD
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 DANIEL F MALONE JR, AS TRUSTEE             DE ANZA COUNTRY SHOPPING
  OF THE MALONE FAMILY TRUST,                CENTER
  ANN M DOYLE                               DECATUR ASSOCIATES LLC
 DANIEL G. KAMIN MILLINGTON LLC             DEER PARK STATION LIMITED
 DANIEL G. KAMIN SHOE STORES LLC             PARTNERSHIP
 DANVILLE MALL LLC                          DEERBROOK MALL LLC
 DARI REALTY, LLC                           DEE'S SUGARHOUSE CENTER LLC
 DARINOR PLAZA                              DEKALB ASSOCIATES LLC
 DARTMOUTH CROSSING LIMITED                 DEL SOL PLAZA, LLC
 DAVID C. SOWARD                            DELRAY REALTY ASSOCIATES LLC
 DAVID R TILTON DBA SOUTH HILL              DELTA MB LLC
  PLAZA                                     DEL-WHITE JOINT VENTURE
 DAVMORE REALTY COMPANY, LLC                DEMOULAS SUPER MARKETS, INC
  C/O BRAHA INDUSTRIES, INC.                DENH AND FUNG INVESTMENT LLC
 DAYTON MALL II LLC                         DENHA HOLDINGS LLC
 DAYTON PAYLESS LLC                         DENNIS GILBERT
 DBRA ATHENS PROPERTY                       DENNIS LOMBARDO & VINCENT
  INVESTMENTS LP                             LOM- BARDO TRUSTEES OF GRANT
 DC USA OPERATING CO., LLC                   REALTY
 DCL ST. LUCIE WEST LLC                     DESERT SKY MALL LLC
 DCM LIMITED, LLC, C/O ADMIN                DESOTO OWNERS LLC
  OFFICE VILLAGE SQUARE                     DEVCON SHOPS LLC
  SHOPPING CENTER                           DEVELOPER OF MISSISSIPPI, INC.
 DDP-ROFWR, LLC                             DEVILLE DEVELOPMENTS LLC
 DDR ATLANTICO LLC SE                       DGPOM MASTER TENANT, LLC - C/O
 DDR DB SA VENTURES LP                       REDICO MANAGEMENT, INC
 DDR DEL SOL LLC SE                         DIAL REALTY - CHEYENNE
 DDR ESCORIAL LLC SE                         MOUNTAIN II, LLC
 DDR FAJARDO LLC SE                         DIANE KAY RANDALL & ALLEN J
 DDR ISABELA LLC SE                          RANDALL
 DDR MIAMI AVENUE LLC                       DIMARCO BAYTOWNE ASSOCIATES,
 DDR NORTE LLC SE                            LLC
 DDR RIO HONDO LLC, S.E.                    DIMOND CENTER HOLDINGS LLC
 DDR TUCSON SPECTRUM I LLC                  DIMUCCI DEVELOPMENT
 DDR WINTER GARDEN LLC                       CORPORATION OF CICERO II
 DDRA MAPLE GROVE CROSSING LLC              DISCOVERY HARBOUR SHOPPING
 DDRA TANASBOURNE TOWN CENTER                CENTRE LTD.
  LLC                                       DKS INVESTMENTS INC.
 DDRM COFER CROSSING LLC - C/O              DMC ENTERPRISES II, LTD
  DDR CORP                                  DMDE PROPERTIES LP ET AL
 DDRM RIVERSTONE PLAZA LLC                  DNN PALMDALE
 DDRTC EISENHOWER CROSSING LLC              DOLPHIN MALL ASSOCIATES LLC
 DDRTC FAYETTE PAVILLION III & IV           DOLPHIN PLAZA LLC
  LLC                                       DOMINICK SCALI AND ANGELA
 DDRTC VILLAGE CROSSING LLC                  SCALI
 DDRTC WOODSTOCK SQUARE, LLC
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 DONAHUE SCHRIBER REALTY                    EATONTOWN MONMOUTH MALL LLC
  GROUP, L.P.                               ECA BULIGO ENTERPRISE PLAZA
 DONALD A. SHAPIRO, RECEIVER                 PARTNERS, LP
 DONDE LLC AND NUGGET MALL LLC              ECONO-MALLS HOLDINGS #25 INC.
 DORAL HOLDINGS LIMITED AND                 ECP/TPB 1 LLC
  430635 ONTARIO INC                        EDISON MALL LLC
 DORVAL PROPERTY CORPORATION                EDWARD AND MARGARET L. MUNOZ
 DOVER MALL LLC                             EDWIN BOYD ALDERSON
 DOVER MANAGEMENT CO.                        PROPERTIES LLC
 DOWNTOWN WOODINVILLE, L.L.C.               EGC-GREENRIDGE LP & GREENRIDGE
 DROP-HT LLC                                 PLAZA ASSOC LP
 DRY #2, LLC                                EKT GROUP LLC
 DSM MB I LLC                               EL CENTRO MALL LTD
 DSW DEVELOPMENT CORP.                      EL PASEO-CALEXICO, LLC
 DSW WILMONT PLAZA LP                       ELAINE LARSSON
 DT BROOKSIDE LLC                           ELDRIDGE CROSSING, LTD
 DUDLEY WASHINGTON LLC                      ELGIN MALL INC
 DUFFERIN MALL HOLDINGS INC                 ELIAS PROPERTIES CHAMPAIGN LLC
 DULLES TOWN CENTER MALL, L.L.C.            ELIAS PROPERTIES EAST SETAUKET
  - C/O LERNER CORP                          LLC
 DUNKIRK L.P.                               ELIAS PROPERTIES GULFPORT LLC
 DURHAM HOLDINGS LIMITED                    ELKTON ASSOCIATES LIMITED
 DYNAMIC BROADWAY                            PARTNERSHIP
  CORPORATION                               ELLJAY PROPERTIES II LLC
 E&N SPENO PROPERTIES                       ELMRIDGE ASSOCIATES, LLC
 E.V. KRAUS COMPANY, INC                    EMANDEL REALTY CO.
 EAGLE ROCK HOLDINGS LLC                    EMI SANTA ROSA LP
 EAST BROOK F, LLC, EAST BROOK W            EMILY ROSE HIRSCH HART AND HHW
  LLC & EAST BROOK T LLC                     ST LANDRY PROPERTIES LLC
 EAST BURNSIDE 5/19, L.L.C.                 EMPIRE COLUMBIA LP
 EAST CEDARBROOK PLAZA, LLC                 EMPIRE MALL LLC
 EAST COURT SHOPPING CENTER LP              EMPRESAS PUERTORIQUENAS DE
 EAST END FREEWAY PROPERTIES                 DESARROLLO INC
  INC                                       ENTERPRISE-EAGLE PASS
 EAST FOREST PLAZA II, LLLC                  ASSOCIATES, L.P.
 EASTEX VENTURE                             EP PASEO SOUTH HOLDINGS LLC
 EASTGATE MALL CMBS LLC                     ESTATE OF S.E. WOOD, JR., ET AL
 EASTGATE SHOPPING CENTER                   ESTHER ALISON LLC
 EASTGATE SQUARE GP INC                     ESTHER JEFFREY, LLC
 EASTLAND CENTER MALL HOLDING,              EUROPRO (TECUMSEH MALL) LP
  LLC                                       EVA LUU & JOHN LUONG
 EASTLAND MALL LLC                          EWH ESCONDIDO ASSOCIATES, L.P.
 EASTPORT PLAZA SHOPPING CENTER             EXCEL REALTY PARTNERS LP
  L.P.                                      EXPRESSWAY PLAZA I LLC
 EASTVIEW MALL LLC                          EXPRESSWAY PLAZA SHOPS LTD
 EASTWAY I HOLDINGS LLC                     F. I. STEELYARD COMMONS LLC
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 FADINA INVESTMENTS LLC                     FILL OHIO LLC
 FAIR LAKES CENTER ASSOCIATES II            FINDLAY SHOPING CENTER, INC. C/O
  LC                                         J.J. GUMBERG CO.
 FAIRFAX COMPANY OF VA. LLC                 FINJACQ I-SHOREWOOD LLC
 FAIRLANE GREEN OWNER LLC                   FIRST AMENDMENT AND
 FAIRLANE MEADOWS ROLLUP LLC                 RESTATEMENT OF THE MASSIMO
 FAIRLESS HILLS SHOPPING CENTER             FIRST AND MAIN NORTH, LLC
  LP                                        FIRST CAPITAL (CEDARBRAE) CORP
 FAIRVIEW HUDSON 15 LLC AND 11-13           FIRST CAPITAL (ST CATHARINES)
  HUDSON LLC AND HUDSON RETAIL               CORP
  LLC                                       FIRST CAPITAL HOLDINGS (ONTARIO)
 FAIRVIEW POINTE CLAIRE                      CORPORATION
  LEASEHOLDS INC, C/O THE                   FIRST COLONY MALL, LLC
  CADILLAC FAIRVIEW CORP                    FIRST EAGLE DEVELOPMENTS, INC.
  LIMITED                                   FIRST MIDWEST TRUST COMPANY
 FAITH MISSION & HELP CENTER INC            FIRST MILTON SHOPPING CENTRES
 FALCON GATEWAY PROPERTY LLC                 LIMITED
 FALLAS BORROWER I, LLC                     FIRST PRINCE GEORGE
 FALLAS BORROWER II, LLC                     DEVELOPMENTS LIMITED
 FALLIS A. BEALL AND THOMAS D.              FIRST REAL ESTATE INVESTMENT
  GOODNER DBA ELK PLAZA                      TRUST C/O HEKEMIAN AND
  SHOPPING CENTER                            COMPANY, INC.
 FARMINGVILLE ASSC PHASE I LLC              FIRST REAL ESTATE INVESTMENT
 FASHION SQUARE MALL REALTY LLC              TRUST OF NJ C/O HEKEMIAN &
 FAV REAL ESTATE VENTURE LP                  COMPANY
 FAY P. SCHROTH TESTAMENTARY                FIRST REAL PROPERTIES LIMITED
  TRUST                                     FIRST WILLOW DEVELOPMENTS
 FAYETTE MALL SPE LLC                        LIMITED
 FAYK YASIN                                 FISE LLC
 FCHT HOLDINGS (ONTARIO)                    FIT FAMILY DEVELOPMENT LP
  CORPORATION                               FLAGLER S.C. LLC
 FEDERAL REALTY INVESTMENT                  FLATBUSH CHARTER PARTNERS LLC
  TRUST                                     FLATIRON PROPERTY HOLDING LLC
 FEDERAL REALTY PARTNERS LP                 FLINTSAN PROPERTIES LLC
 FELBRAM PLAZA NORTH LLC                    FLORENCE (FLORENCE MALL) FMH
 FENDER INVESTMENT GROUP                     LLC
 FERN PARK PLAZA LLC                        FLORENCE MALL, LLC
 FERNANDO MARTINEZ AND JOSE                 FLORIDA MALL ASSOCIATES, LTD
  MARTINEZ                                  FN COSNER'S CORNER, LLC
 FHM PARTNERS LLC                           FOM PUERTO RICO, S.E.
 FIDC 85, LLC                               FONTANA SQUARE LLC
 FIELDS STATION LLC - C/O SUPERIOR          FOOTHILL-PACIFIC TOWNE CENTRE
  REALTY CO., INC.                          FORDHAM CHERA ACQUISITION LLC
 FIERA PROPERTIES CORE FUND LP -            FOREST HARLEM PROPERTIES
  FAIRGROUNDS                                LIMITED PARTNERSHIP
 FILER HOLDINGS LLC                         FOREST PLAZA LLC
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 FORT SMITH MALL LLC                        GALLATIN MALL GROUP, LLC C/O
 FOX RIVER SHOPPING CENTER LLC               CORNING COMPANIES
 FOX RIVER TEI EQUITIES LLC. ; ET AL        GALLERIA AT WOLFCHASE LLC
 FOX RUN LIMITED PARTNERSHIP                GALLERIA MALL INVESTORS LP
 FOX VALLEY MALL LLC                        GARDEN CITY PARK ASSOCIATES
 FR SAN ANTONIO CENTER LLC                   LLC
 FR WESTGATE MALL LLC                       GARDEN CITY PLAZA LLC
 FRANDOR LLC                                GARDEN CITY PLAZA LTD
 FRANHILL REALTY LLC                        GARRISON FONDREN LLC
 FRANK C. ROBSON                            GARY CHAPMAN DBA KEVKOR LLC
 FRANK C. ROBSON & LUDMILA                  GASSO HOLDING COMPANY, L.L.C.
  ROBSON                                    GATOR COASTAL SHOPPING CENTRE
 FRANKLIN MILLS ASSOCIATES L.P.              LLC
 FRANKLIN PROPERTIES LTD. L.C.              GAYLUCK CORPORATION
 FREEHOLD SHOPPING L.L.C.                   GB MALL LIMITED PARTNERSHIP
 FREEMALL ASSOCIATES, LLC                   GBR MIDDLESEX LLC
 FREMAUX TOWN CENTER SPE LLC                GCCFC 2007-GG9 NIAGARA FALLS
 FREMONT RETAIL PARTNERS LP                  BOULEVARD, LLC
 FRIEDRICH GUENSCH                          GEJ NEWBURGH, LLC
 FRISCO STATION LLC                         GEMINI PROPERTY MANAGEMENT
 FRONTIER DEVELOPMENT                        LLC
  ZEPHYRHILLS, LLC                          GENERAL AUTO OUTLET OF
 FRONTIER DEVELOPMENT-HIALEAH,               EVANSVILLE LLC
  LLC                                       GENEVA SHOPPING CENTER LLC
 FRONTIER LYNCHBURG LLC                     GENTILLY, LLC
 FULBRIGHT MAYS TRUST                       GEORGE BIRNBAUM
 FULLER-RBSC LLC                            GEORGE GUBENER
 FULTON LAWRENCE, LLC                       GEORGE R.C. KINGSTON, AND NMBSC
 FUNDAMENTALS COMPANY LLC                    CHARITABLE REMAINDER
 FUNDAMENTALS COMPANY, INC.                  UNITRUST
 G&I IX CAMP CREEK PROPERTY LLC             GEORGETOWN MARKET PLACE CORP
 G&I IX EMPIRE BIG FLATS LLC                GEORGETOWNE CENTER BROOKLYN
 G&I IX EMPIRE DELAWARE                      LLC
  CONSUMER SQUARE LLC                       GERARD B. ISAACS
 G&I IX EMPIRE WALMART PLAZA                GERRARD SQUARE INC
  LLC                                       GETTO AND GETTO
 G&I IX ESPLANADE PROPERTY LP               GF VALDOSTA MALL LLC
 G&I IX PALM VALLEY PAVILIONS               GG RETAIL PROPERTIES LLC
  LLC                                       GGP - MAINE MALL LLC
 G&I VII BELLAIR PLAZA LLC                  GGP ALA MOANA LLC
 G&I VIII CBL TTC LLC                       GGP GLENBROOK LLC
 G&I VIII HAMMOND LLC                       GGP MEADOWS MALL LLC
 G.A.R. REALTY C/O GENARO J.                GGP NORTHRIDGE FASHION CENTER
  RUBINO                                     LP
 GAINSVILLE REALTY, LTD                     GGP STATEN ISLAND MALL LLC
                                            GGP-FOUR SEASONS LP
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 GGP-GRANDVILLE LLC; RIVERTOWN              GRAND CENTRAL PARKERSBURG
  CROSSINGS                                  LLC
 GGP-PROVIDENCE PLACE LLC                   GRAND DUNHILL LLC
 GGP-TUCSON MALL LLC                        GRAND FAMILY TRUST, STEPHEN
 GHGH REAL ESTATE LLC                        GRAND, TRUSTEE
 GILLIAN BIGGS, TRUSTEE FOR                 GRAND RIVER-3 ASSOCIATES C/O
  PASATIEMPO PARTNERSHIP                     FARBMAN MANAGEMENT GROUP
 GIV GREEN TREE MALL INVESTOR               GRAND TETON MALL LLC
  LLC                                       GRAND TRAVERSE MALL LLC - C/O
 GK HOLIDAY VILLAGE LLC                      ROUSE PROPERTIES, LLC
 GK PREFERRED INCOME II                     GRANVILLE STREET PROPERTIES INC.
  (RIDGMAR) SPE, LLC & 1551                 GRAPEVINE MILLS MALL LIMITED
  KINGSBURY PARTNERS SPE LLC                 PARTNERSHIP
 GKT CENTRAL TOWNE SQUARE LLC               GRAY ENTERPRISES L.P.
 GKT THORNCREEK PLAZA LLC                   GREAT WORLD PROPERTIES LIMITED
 GLEASON MALL LP                            GREECE RIDGE LLC
 GLENWOOD PLAZA LLC                         GREELEY MALL CO LLC
 GLENWOOD SPRINGS MALL, LLLP                GREEN 5 PROPERTY LLC
 GLIMCHER MJC LLC                           GREEN MOUNT CROSSING, LLC
 GLIMCHER PROPERTIES LP                     GREEN OAK OWNER 1, LLC
 GLIMCHER SUPERMALL VENTURE                 GREEN PRESERVE, LLC
  LLC                                       GREENBRIER MALL II, LLC
 GLOBAL WEBB LP                             GREENE COMMERCIAL REAL ESTATE
 GLO-RAE BOLGER, LLC                         GROUP, INC.
 GMA PROPERTIES LLC                         GREENSPRING ASSOCIATES LP C/O
 GNP PARTNERS                                REGENCY CENTERS CORPORATION
 GOLDEN MILE INVESTMENT                     GREENWAY PLAZA LLC
  COMPANY                                   GREENWOOD MALL LLC
 GOLDENROD SDC, LLC                         GREENWOOD PARK MALL LLC
 GOLDMAN INVESTMENTS LTD                    GRI-EQY (PRESIDENTIAL MARKETS)
 GOLF PLAZA II, S/C LLC C/O DIMUCCI          LLC
  DEVELOPMENT CORP.                         GRIFFIN CROSSROADS, LLC
 GOODWIND DEVELOPMENT                       GROVE CITY FACTORY SHOPS LP
  CORPORATION MICRONESIA MALL               GS PACIFIC ER LLC
 GORDON GROUP MISSOURI CITY LP              GSC PROPERTIES INC
 GORDON-KAREN PROPERTIES, LLC               GTG ASSOCIATES / TENANTS IN
 GOSFORD AT PACHECO, LLC                     COMMON
 GOVERNOR'S SQUARE MALL, LLC                GTM DEVELOPMENT LTD
 GP-MILFORD REALTY TRUST                    GUFFEY ROLLA PROPERTIES LLC
 GPR INVESTMENTS LLC                        GULF VIEW CH LLC
 GRACE CAPITAL INVESTMENT                   GULF VIEW NASSIM LLC
  CORPORATION                               GULF VIEW REALTY LLC
 GRAND BALDWIN ASSOCIATES C/O               GWINNETT PLACE MALL GA LLC
  ROSEN ASSOCIATES MANAGEMENT               H W A ENTERPRISES L.P., L.L.P.
  CORP.                                     H/S FLORENCE LLC
                                            HAERI HACIENDA PLAZA, LLC
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 HALPERN PROPERTIES LLC                     HERITAGE PROPERTIES
 HAMDEN PLAZA ASSOCIATES LLC                HERITAGE REALTY LLC
 HAMILTON II LLC                            HERZOG SUPPLY CO. INC.
 HAMILTON MALL, LLC                         HG GALLERIA LLC
 HAMILTON TC LLC                            HICKORY RIDGE COMMONS LLC
 HAMMOND & HAMMOND RENTAL                   HIGH NOB-RANGELINE LLC
  PROP.                                     HIGH POINTE COMMONS HOLDING,
 HAMSTRA NORTH RIDGE CENTER,                 LP
  LLC                                       HIGHLAND KINGDALE ASSOCIATES
 HAMTRAMCK CENTER LLC 2520                   LLC
 HAP PROPERTY OWNER LP                      HIGHLAND LAKES PROPERTY LLC
 HARFORD MALL BUSINESS TRUST                HILLCREST PROPERTY HOLDINGS
 HARLAN D. AND MAXINE H.                     INC
  DOUGLASS                                  HILLSBORO PARTNERS LLC
 HARMAN REALTY BROOKLYN LLC                 HILLSIDE CENTRE HOLDINGS INC
 HARMON FAMILY LLC                          HILLSIDE PLAZA, LLC
 HARRISBURG MALL LP                         HILLTOP PLAZA LLC
 HARRISVILLE-ROGERS, L.C.                   HINESVILLE CENTER LLC
 HARTMAN RICHARDSON HEIGHTS                 HIRAM PAVILION OWNER LLC
  PROPERTIES INC                            HIXSON MALL LLC
 HARTUNIAN, LLC                             HJN FAMILY LLC
 HARVARD DEVELOPMENTS INC                   HK NEW PLAN ERP PROPERTY
 HARVEY CAPITAL CORPORATION                  HOLDINGS LLC
 HARVEY TOLSON                              HMC DYSART LLC
 HAT #1 LLC                                 HMVP HILLTOP INC
 HAWK COMMERCIAL PROPERTIES,                HNC CAPITAL LLC
  LLC                                       HOLLYWOOD RETAIL VENTURES LLC
 HAWTHORNE ACQUISITION LLC                  HOLMDEL TOWNE CENTER, LLC
 HAYDAY, INC.                               HOLYOKE MALL COMPANY, L.P.
 HAYS MALL LLC                              HOLZMAN GROUP LTD
 HC LAKESHORE LLC                           HOMBURG TRUST 189/2226012
 H-E-B, LP                                   ONTARIO INC
 HEBCO DEVELOPMENT, INC.                    HOMCO REALTY FUND LIMITED
 HEIGHTS RETAIL, LTD                         PARTNERSHIP
 HEMET VALLEY CENTER LP                     HOME ELITE LTD & 69 ST ASSOC LP
 HEMPSTEAD LEVITTOWN ASSOC. LLC             HONEY CREEK MALL LLC
 HENDERSON-PROSPECT PARTNERS,               HONG KONG NORTHWEST
  LP                                         INVESTMENT LLC
 HENDON GOLDEN EAST LLC                     HOOD COMMONS BSD LLC
 HENRIETTA H MOSELEY,TRUSTEE;               HOOPP REALTY INC
  MOSELEY TRUST DT 10/22/87,                HOOPP REALTY INC - C/O
  UNDIVIDED 1/2 INTEREST;                    MORGUARD INVESTMENTS LIMITED
 HENRY K. WORKMAN JR. TRUSTEE               HOOPP REALTY INC (MARLBOROUGH
  2959                                       MALL)
 HERITAGE CH LLC                            HOOVER ELEVEN HOLDINGS LLC
 HERITAGE NASSIM LLC
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 HOOVER MALL LIMITED LLC - C/O              INTERNATIONAL CENTER, INC.
   RIVERCHASE GALLERIA                      INVERSIONES JOSELYMARI S.E.
 HOPPER PROPERTIES, L.P.                    IRC AURORA COMMONS LLC
 HOUSTON GULFGATE PARTNERS, L.P.            IRC DEER TRACE LLC
 HOWARD M EVANS TRUSTEE, ET AL              IRC MALLARD CROSSING LLC
 HPI REAL ESTATE SERVICES &                 IRC STONE CREEK LLC
   INVESTMENTS                              IRC TURFWAY COMMONS LLC
 HT WEST END LLC                            IRONDEQUOIT TK OWNER LLC
 HUH DI/OCP CROSSLANDS LLC                  ISLA DEL SOL ASSOCIATES LTD
 HULEN MALL, LLC                            IVANHOE CAMBRIDGE I INC
 HUNDRED FIRES LTD                          IVANHOE CAMBRIDGE II INC
 HUNTER RETAIL CENTER LLC                   IVANHOE CAMBRIDGE II INC &
 HUNTINGTON MALL COMPANY                      RCCOM LP
 HVTC LLC                                   IVANHOE CAMBRIDGE II INC. AND
 HYPERICUM INTERESTS DELAWARE                 CANAPEN (HALTON) LIMITED
   LLC                                      IVANHOE CAMBRIDGE II LLC
 HZD PROPERTY OWNER LLC                     IVANHOE CAMBRIDGE INC
 I & R, LLC                                 J & S TELLERMAN LLC
 IA DENVER QUEBEC SQUARE LLC                J. W. RICH INVESTMENT COMPANY
 IA GARNER WHITE OAK LLC                    J.L.J. ASSOCIATES
 IA HOUSTON NORTHWEST LIMITED               JACK KATZ AND MANUEL MUNOZ
   PARTNERSHIP                              JACKIE JEE YOUNG HWANG
 IA OKLAHOMA CITY ROCKWELL LLC              JACKSON CROSSING CH LLC
 IA SAN ANTONIO WESTOVER LLC                JACKSON CROSSING NASSI
 IA SAN ANTONIO WOODLAKE                    JACKSON CROSSING REALTY LLC
   LIMITED PARTNERSHIP                      JACKSON SQUARE INVESTORS
 IG INVEST MGMT LTD AS TRUSTEE              JACKSONVILLE MEDICAL PLAZA
   FOR INVESTORS REAL PROP FUND               OWNER LLC
 IMAGINE PROPERTIES ENT LLC                 JACKSONVILLE MZL, LLC
 IMANI EDUCATION CIRCLE CHARTER             JACKSONVILLE REGIONAL CENTER
   SCHOOL                                     LLC
 IMPERIAL VALLEY MALL II, LP                JADE WOODLAND LLC
 INDIAN VALLEY PLAZA INC                    JAE CHAN LEE
 INFANTERIA SHOPPING CENTER, LLC            JAMES S BILLUPS III, TRUSTEE OF
 INGLES MARKETS, INC.                         THE
 INGLES MARKETS, INCORPORATED               JAMES T DUNN JR AS TRUSTEE OF
 INLAND SOUTHEAST NEWNAN                      THE JAMES T DUNN JR
   CROSSING LLC                             JAMESTOWN SOUTH SHORE CENTER
 INLAND WESTERN CYPRESS MILL                  LP
   LIMITED PARTNERSHIP                      JANE GOLDMAN
 INLAND WESTERN GLENDALE LLC                JARDEL CO., INC.
 INLAND WESTERN MANSFIELD LP                JASAN LLC
 INLAND WESTERN WACO CENTRAL                JAY H. AND NANCY A. GRANT
   LIMITED PARTNERSHIP                      JAY JOHNSON
 INTEGRIS VENTURE SC LLC                    JAYNIE HAKEEM
 INTEGRIS VENTURES-WR-LLC                   JDC PROPERTIES
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 JDN REAL ESTATE-HAMILTON, LP -             JUDITH STERN CANNON & GARY B.
   C/O DDR CORPORATION                       CANNON, TRUSTEES THE CANNON
 JEFFERSON ASSOCIATES, LP                    FAMILY TRUST DATE 7/03
 JEFFERSON MALL CMBS LLC - C/O              JUNGE ASSOCIATES LLC
   CBL & ASSOCIATES MANAGEMENT              JW FRANKLIN COMPANY MISSOURI
   INC                                      KACI WSC LLC
 JEFFERSON POINTE SPE, LLC                  KALAMAZOO MALL LLC
 JEFFERSON-MARUMSCO 1 LLC                   KAMEHAMEHA CENTER COMPANY
 JERRY R. DAVIS                             KARELYNA, LLC
 JG ELIZABETH II LLC                        KAREN WHITSON KAPLAN
 JG WINSTON-SALEM, LLC                       REVOCABLE TRUST
 JHR HOLDINGS LLC                           KATHLEEN JOHNSON
 JIM BONDS ENTERPRISES INC                  KATY MILLS MALL LIMITED
 JKS-MARSHALL LP                             PARTNERSHIP
 JM 111998 LLC                              KB PARKSIDE, LLC
 JMCR SHERMAN, LLC                          KD BELLE TERRE, LLC
 JOAN M DAHLE TRUST                         KDI ATHENS MALL LLC
 JOCEE REALTY CORPORATION                   KDI ATLANTA MALL LLC
 JOCHI INVESTMENTS LLC                      KDI RIVERGATE MALL LLC
 JOFRESH LLC                                KE BENTLEY ONE LLC AND KGC
 JOHN C. WINDLE TRUSTEES OF THE              BENTLEY TWO LLC
   JOHN C WINDLE REVOCABLE                  KENNEDY MALL, LTD
 JOHN G VENINI INVESTMENTS,                 KERMAN SHOPPING PLAZA LLC
   LIMITED #1                               KERMANIDIS REALTY TRUST
 JOHN P. HOOTEN, TRUSTEE                    KEYSER AVENUE PROPERTIES LLC
 JOHN W QUINN III TEST TR                   KIE INVESTMENTS LLC AND BJI
 JOHNSBOROUGH CORNER LLC                     INVESTMENTS LLC
 JOHNSTOWN COMRIE ASSOCIATES,               KIMCO BROWNSVILLE, L.P.
   LLC                                      KIMCO CARROLLWOOD 664, INC. C/O
 JOHNSTOWN SHOPPING CENTER LLC               KIMCO REALTY CORPORATION
 JOLIET HILLCREST LLC                       KIMCO DELAWARE INC
 JORDAN CREEK TOWN CENTER, LLC              KIMCO L-S LIMITED PARTNERSHIP
 JOSE J. CANTU                              KIMCO REALTY CORP.
 JOSEPH R. JESTER IV, LLC                   KIM-SAM PR RETAIL LLC
 JOSEPH T. CAMISA & MADELINE L.             KIMSCHOTT FACTORIA MALL LLC
   CAMISA                                   KING OF PRUSSIA ASSOCIATES
 JOSEY/TRINITY MILLS LTD                    KING PROPERTIES
 JPMCC 2006-LDP7 CENTRO ENFIELD             KINGMAN PLAZA LLC
   LLC                                      KINGOTT, LLC
 JPMCC 2006-LDP9 NORTH RAINBOWN             KINGS CROSS SHOPPING CENTRE LTD
   BOULEVARD LLC                            KINGSGATE PROPERTY LTD.
 JPMG MANASSAS MALL OWNER LLC               KINGSPORT MALL LLC
 JRL LIBERTY 1133 LLC                       KINGSTON MALL LLC
 JUBILEE CLINTON II LLC                     KINGSTOWNE TOWNE CENTER LP
                                            KINGSWAY GARDEN HOLDINGS INC
                                            KIOP BRANFORD, LLC
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 KIR BRANDON 011, LLC C/O KIMCO             LAKELAND SQUARE MALL, LLC
  REALTY CORP.                              LAKELAND VENTURE, LP C/O ALLEN
 KIR CITYPLACE MARKET LP                     ASSOCIATES PROPERTIES INC
 KIRKWOOD APARTMENTS                        LAKELINE DEVELOPERS
 KIRKWOOD MALL ACQUISITIONS                 LAKES MALL REALTY LLC
  LLC                                       LAKEWOOD RETAIL LLC
 KITSAP MALL LLC                            LAKHA PROPERTIES LAKEWOOD TC
 KLAIRMONT ENTERPRISES, INC                  LLC
 KM FRESNO INVESTORS LLC                    LAMAR E. GWALTNEY
 KMART CORPORATION                          LAMONICA LIMITED
 KNIGHTDALE CENTER LLC                      LANCASTER PARTNERS
 KNOXVILLE PARTNERS LLC                     LANDING VENTURE ASSOCIATES LLC
 KOFFMAN MCENTEE LLC                        LANDINGS REALTY LLC AND
 KR STRATFORD LLC                            LANDINGS NASSIM LLC; TIC
 KRAGEN PROPERTIES LLC                      LANES MILL ASSOCIATES, LLC
 KRE BROADWAY OWNER LLC                     LANGLEY PARK PLAZA, INC. C/O
 KRE COLONIE OWNER LLC                       REALTY SERVICES OF MARYLAND,
 KRG CEDAR HILL PLAZA LP                     INC.
 KRG DRAPER PEAKS LLC                       LANSDOWNE MALL INC
 KRG HENDERSON EASTGATE LLC                 LARGO LIMITED LIABILITY
 KRG INDIAN RIVER LLC                        PARTNERSHIP C/O CARROLLTON
 KRG KOKOMO PROJECT COMPANY                  ENTERPRISES
  LLC                                       LARRY RHODES
 KRG LAS VEGAS CENTENNIAL                   LAS AMERICA'S PREMIUM OUTLETS
  CENTER LLC                                 LLC
 KRG LAS VEGAS EASTERN BELTWAY              LAUDERHILL MALL INVESTMENT
  LLC                                        LLC
 KRG PALM COAST LANDING LLC                 LAUREL MALL LP
 KS EGLINTON SQUARE INC                     LAURIE INDUSTRIES, INC 2238
 KS HERITAGE PLACE INC                      LAVALE ASSOCIATES II LLC
 KS LAMBTON MALL INC                        LAWRENCEVILLE MARKET 1707 LLC
 KVC INVESTORS LLC                          LAYTON HILLS MALL CMBS, LLC
 L & J MANCHESTER III, LLC                  LBCMT 2007-C3 DORSET STREET LLC
 L&S PARTNERSHIP OF EVANSVILL               LB-UBS 2007-C6 INDIAN HILLS
  LLC                                        STATION LLC
 LA ALAMEDA, LLC                            LBUBS 2007-C7 SHORE ROAD, LLC
 LA CIENEGA/SAWYER LTD.                     LDT FAMILY TRUST
 LA COLUMBUS, LLC                           LE CARREFOUR LAVAL (2013) INC
 LA HABRA WESTRIDGE PARTNERS,               LEBANON PAD, LP
  L.P.                                      LEBANON VALLEY MALL COMPANY
 LAFOLLETTE DEED OF REALTY                  LEE LINDEN
  CREATING TRUST                            LEESBURG PIKE CENTER LLC
 LAFRAMBOISE REALTY LLC                     LEON HARARY, INC
 LAKE ELSINORE CENTER LLC                   LEROI B. GARDNER, JR, M.D.
 LAKE MANAWA CENTRE II LLC
 LAKE STEVENS GRF2, LLC
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 LES IMMEUBLES DU CARREFOUR                 LYNNHAVEN MALL LLC
  RICHELIEU LTEE/CARREFOUR                  M&M INVESTMENTS LLC
  RICHELIEU REALTIES LTD.                   M. C. AND JANE MORSE
 LEVCOM WALL PLAZA ASSOC. C/O               MABELVALE PLAZA, LLC
  MANDELBAUM & MANDELBAUM                   MACARTHUR PARK LP
 LEVCO-ROUTE 46 ASSOCIATES                  MACDADE MALL ASSOCIATES L.P.
 LEVIAN FAMILY NORWALK, LLC &               MACERICH BUENAVENTURA
  HEKMATRAVAN FAMILY NORWALK                 LIMITED PTNSHP
  LLC                                       MACERICH CERRITOS LLC 1109
 LEVIN PROPERTIES, L.P. C/O LEVIN           MACERICH DEPTFORD LLC
  MANAGEMENT CORPORATION                    MACERICH FRESNO LIMITED
 LEVYCO LLC                                  PARTNERSHIP
 LEWIS COMMERCIAL PROPERTIES                MACERICH LAKEWOOD LP
  LLC                                       MACERICH NIAGARA LLC
 LF2 ROCK CREEK LP                          MACERICH NORTH PARK MALL LLC
 LGM EQUITIES LLC                           MACERICH SOUTH PARK MALL LLC -
 LIGHTHOUSE PLAZA, LLC                       C/O MACERICH
 LIN DEE LIU & YU SHENG VICTOR LIU          MACERICH VICTOR VALLEY LP
 LINCOLN PLAZA CENTER LP                    MACERICH VINTAGE FAIRE LIMITED
 LINCOLN SHOPPING CENTER LLC                 PARTNERSHIP
 LINCOLNWOOD TOWN CENTER LLC                MACOMB CENTER HOLDINGS, LLC
 LINDA B. LYON REVOCABLE TRUST              MACY'S RETAIL HOLDINGS INC
 LINDA M PARSONS REVOCABLE                  MADERA CAPITAL LP
  TRUST                                     MADISON/EAST TOWNE LLC
 LINDALE MALL LLC                           MADISON/WEST TOWNE, LLC
 LINDELL MARKETPLACE LP                     MAFRI HOLDINGS
 LINDEN PLAZA LLC                           MAGIC VALLEY MALL LLC
 LIVINGSTON MALL VENTURE                    MAGNOLIA SHOPPING CENTER
 LJ-NORTHLAKE LLC                            ASSOCIATES LLC
 LOGAN VALLEY CH LLC                        MAGNUM GROUP LLC
 LOGAN VALLEY NASSIM LLC                    MAI ASSOCIATES LLC
 LOGAN VALLEY REALTY LLC                    MAIJO LLC
 LONDONDERRY SHOPPING CENTRE                MAIN BOLGER LLC
  INC.                                      MAINPLACE SHOPPINGTOWN LLC
 LONG BEACH CENTER LLC                      MALL AT AUBURN LLC
 LOUFRANCO PROPERTIES INC                   MALL AT CONCORD MILLS LIMITED
 LOUISA LITTLE                               PARTNERSHIP
 LOYAL HOLDINGS DE, LLC                     MALL AT COTTONWOOD LLC
 LR LACEY MARKET SQUARE LLC                 MALL AT GREAT LAKES LLC
 LRC MAGIC INVESTORS LTD                    MALL AT GURNEE MILLS LLC
 LSREF3 SPARTAN (GENESEE) LLC               MALL AT INGRAM PARK LLC
 LTL ITALIAN DESIGN LLC                     MALL AT IRVING LLC
 LUAN INVESTMENT, S.E.                      MALL AT JEFFERSON VALLEY LLC
 LUIS ARMENDARIZ                            MALL AT LEHIGH VALLEY LP
 LYCOMING MALL REALTY HOLDING               MALL AT LIBERTY TREE LLC
  INC                                       MALL AT LONGVIEW, LLC
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 MALL AT MIAMI INTERNATIONAL                MARVIN L. LINDNER ASSOCIATES
  LLC                                        LLC
 MALL AT MONTGOMERY LP                      MARY LAKE REALTY LTD
 MALL AT NORTHSHORE LLC                     MARYLAND CROSSING REALTY, LLC
 MALL AT POTOMAC MILLS LLC                  MASON AVENUE HOLDING CO.
 MALL AT ROCKINGHAM LLC                     MASSAPEQUA CENTER 1138 LLC
 MALL AT SMITH HAVEN, LLC                   MASUE LLC
 MALL AT SOLOMON POND LLC                   MATRIX (CAMROSE) LIMITED
 MALL AT SUMMIT LLC                          PARTNERSHIP
 MALL AT TUTTLE CROSSING LLC                MATT MEISELS
 MALL AT WHITE OAKS LLC                     MATTESON REALTY LLC
 MALL DEL NORTE LLC                         MATTONE GROUP SPRINGNEX LLC
 MALL OF GEORGIA, LLC                       MAYFAIR CENTER OWNER LLC
 MALVERN TOWN CENTRE INC                    MAYFAIR MALL, LLC
 MANAPORT PLAZA LLC                         MAYFLOWER APPLE BLOSSOM, L.P.
 MANN ENTERPRISES INC                       MAYFLOWER CAPE COD LLC
 MANOA SHOPPING CENTER                      MAYFLOWER EMERALD SQUARE LLC
  ASSOCIATES LP                             MAYFLOWER SQUARE ONE LLC
 MANSION MALL MARKETPLACE LLC               MB COLUMBUS HILLIARD, LLC
 MAPLE PROPERTIES LLC                       MB LINCOLN MALL LLC
 MAPLEWOOD MALL LLC                         MCALLISTER PLACE HOLDINGS INC
 MARCH HARE, LLC                            MCBH PARKWAY CROSSING LLC
 MARIETTA CENTER LLC                        MCCAIN MALL COMPANY LP
 MARIPOSA SHOPPING CENTER                   MCCARRAN MARKETPLACE SPE LLC
  INVESTMENTS LLC                           MCGRATH-PHD PARTNERS, L.P.
 MARK HM ASSOC. LP                          MCKINLEY MALL LLC
 MARK M. STEVENSON                          MCM PROPERTIES LTD C/O MUSIC
 MARKET MALL LEASEHOLDS INC.                 CITY MALL
 MARKET ON CHERRY (SOUTH                    MCP VOA I & III LLC
  CAROLINA) LP, HAIZLIP                     MCS HEMET VALLEY CENTER LLC
  PROPERTIES LLC,                           MEADOWBROOK MALL COMPANY
 MARKET PLACE PHASE II                      MEADOWOOD MALL SPE LLC
  DEVELOPMENT L.C.                          MEIR AGAKI
 MARKET PLACE VALPARAISO LLC                MELBA SANDOVAL
  5614                                      MELBOURNE SQUARE LLC
 MARKS SQUARE INCORPORATED                  MELCOR REIT LIMITED PARTNERSHIP
 MARLENE S. HALES                           MEMORIAL CITY MALL LP
 MARLETTO FAMILY LTD.                       MEPT WESTWOOD VILLAGE LLC
  PARTNERSHIP                               MERCED MALL LLC
 MARSHALL E. BOYKIN (MRS.) AND              MERIDEN ASSOCIATES LLC
  THE ESTATE OF MARSHALL E                  MERIDEN SQUARE PARTNERSHIP
  BOYKIN, SR AND JAMES E AN                 MERIDIAN PACIFIC
 MARTIN GASPARE                             MERLIN R. TIMOTHY OR UTAHNA
 MARTIN SHOPS LLC                            TIMOTHY
 MARVIN J. HENDRIX                          MERRITT SQUARE
                                            MERRITT SQUARE CH LLC
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 MERRITT SQUARE REALTY LLC                  MN - CRYSTAL CENTER-HA, LLC
 MESAR LLC                                  MNH MALL L.L.C.
 MESHANTICUT PROPERTIES, INC.               MOAC MALL HOLDING LLC
 MESILLA VALLEY SPC, LLC                    MOBO REALTY, INC.
 MFC BEAVERCREEK LLC                        MODEL T PLAZA LLC
 MGP IX PROPERTIES LLC                      MOHR AFFINITY LLC DBA
 MGP X VERNOLA LLC                          MONA GELLER, TRUSTEE OF THE
 MGP XI CAPITOLA LLC                         GELLAR TRUST
 MGP XI COMMONS FW, LLC (MGM                MONDAWMIN BUSINESS TRUST
  UNIT #730-A012)                           MONTEBELLO TOWN CENTER
 MGP XII HUNTER COURT, LLC                   INVESTORS LLC
 MIC MAC MALL LP                            MONTEZ (CORNER BROOK) INC.
 MICI DESOTO #1, LTD                        MONTEZ (SOREL) INC
 MID RIVERS MALL CMBS LLC                   MONTEZ CORE INCOME FUND
 MIDAMCO                                     LIMITED PARTNERSHIP
 MIDDLEBELT PLYMOUTH VENTURE,               MONTGOMERY (E&A) LLC
  LLC                                       MONTGOMERY MALL OWNER, LLC
 MIDEB NOMINEES, INC.                       MOORESTOWN MALL LLC - C/O PREIT
 MIDLAND MALL REALTY HOLDING,                SERVICES LLC
  LLC AND MIDLAND MALL                      MORENO VALLEY MALL
  INVESTMENT LLC                             MANAGEMENT OFFICE
 MIDTOWN PLAZA INC                          MORGAN STANLEY CAPITAL I INC.,
 MIDWAY SC LLC AND MIDWAY SF                MORGUARD BOYNTON TOWN
  LLC TIC                                    CENTER INC
 MIDWEST ASSET GROUP LLC                    MORGUARD CORPORATION
 MIDYAN GATE REALTY LLC                     MORGUARD REAL ESTATE
 MIKEONE CHICAGO HOLDINGS LLC                INVESTMENT TRUST
 MIL ITF HOOPP REALTY INC                   MORGUARD REIT
  (SUDBURY)                                 MORTIMER BERGMAN
 MILITARY CAPITAL VENTURE LLC               MPW1, LLC
 MILITARY-LAKE WORTH ROAD LLC               MR. RICHARD N. SHERWIN
 MILL CREEK CROSSING, LLC                   MRW LP
 MILL WOODS CENTRE INC                      MS CARLA WORTHY SKINNER,
 MILPITAS MILLS LIMITED                      TRUSTEE
  PARTNERSHIP                               MSM PROPERTY LLC
 MIR HANSON ASSOCIATES LLC                  MSRB PROPERTIES LLC
 MIRA AVDICH                                MT. POCONO LLC
 MIRA MESA SHOPPING CENTER-WEST             MUFFREY LLC
 MISHORIM GOLD NEWPORT NEWS LP              MUNCIE MALL LLC
 MISSION VALLEY SHOPPINGTOWN                MURRAY TRACY & BERNARD
  LLC                                        SILBER, PTR
 MIX GULLY, LTD                             MYJO DEVELOPMENT CORPORATION
 MJM DEVELOPMENT HOLDINGS LLC               NAMEOKI SHOPPING CENTER
 MJS CAGUAS LP                               INVESTMENTS LLC
 MLM CHINO PROPERTIES LLC
 M-M COMPANY
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 NANCY BUTT & JENNIFER B FERRELL            NORTH HANOVER CENTRE REALTY
  AS SUCCESSOR CO-TRUSTEES OF                LLC
  THE                                       NORTH HANOVER NASSIM LLC
 NANCY NIEMANN WEEKS                        NORTH HAVEN HOLDINGS LIMITED
 NATICK MALL LLC                             PARTNERSHIP
 NATIONAL DEVELOPMENT                       NORTH MAIN GROUND TENANT
  RESOURCES LP                               (PHASE I) LLC
 NATIONAL KEYSTONE PROPERTIES               NORTH MALL PROPERTY LLC
  L.P.                                      NORTH PARK SHOPPING CENTRES
 NATIONAL PRIME COMMERCIAL INC               LIMITED
 NATOMAS GROWERS LP                         NORTH RIVERSIDE PARK
 NAZARETH RETAIL HOLDINGS LLC                ASSOCIATES LLC
 NBY PROPERTIES, LLC                        NORTH RIVERSIDE PLAZA LIMITED
 NEILSON RETAIL LLC                          PARTNERSHIP
 NELSON GROUP INC                           NORTH STAR MALL LLC
 NEPTUNE REALTY ASSOCIATES                  NORTH TOWN MALL LLC
 NESHAMINY MALL JOINT VENTURE               NORTHEAST EQUITY, LLC
  LTD PARTNERSHIP                           NORTHEASTERN OKLAHOMA
 NEW FAIR OAKS OWNER LLC                     LEASING COMPANY
 NEW GROUP-GARDENA, L.L.C.                  NORTHERN LIGHTS IMPROVEMENTS
 NEW PINE GROVE ROAD CENTRE INC              LLC
 NEW WESTGATE MALL LLC                      NORTHGATE MALL DURHAM LLC
 NEWAGE PHM LLC                             NORTHGATE MALL PARTNERSHIP
 NEWBURGH CH LLC                            NORTHGATE SHOPPING CENTER, L.P.
 NEWBURGH MALL REALTY LLC                   NORTHLAND VILLAGE MALL
 NEWBURGH NASSIM LLC                         HOLDINGS INC
 NEWGATE MALL EQUITIES LLC AND              NORTHPARK MALL / JOPLIN LLC
  NEWGATE MALL HOLDINGS LLC                 NORTHRIDGE CENTER 1703, LLC
 NEWKOA LLC                                 NORTHRIDGE OWNER LP
 NEWMARKET I, LLC                           NORTHSIDE CENTRE LLC
 NEWPARK MALL LP                            NORTHTOWN CENTER INC.
 NEWPORT CENTRE LLC                         NORTHWESTERN SIMON, INC.
 NGM OWNERSHIP GROUP LC                     NORTHWOODS CENTER FLORIDA LP
 NICHOLAS PARK MALL LLC                     NORTHWOODS MALL CMBS LLC
 NICKSTER COMMERCIAL LLC                    NORTHWOODS SHOPPING CENTER
 NINE ISLANDS I LLC DBA                      LLC
  COUNTRYSIDE PLAZA                         NORWICH REALTY ASSOCIATES LLC
 NITTANY CENTRE REALTY LLC &                NOSTRAND REALTY LLC
  NITTANY NASSIM LLC                        NOVOGRODER COMPANIES, INC.
 NMC MELROSE PARK, LLC                      NPMC RETAIL LLC
  (PROPERTY 722M)                           NR DEVELOPMENT LLC
 NMC SOUTHGATE, LLC/NMC                     NRF VII - OAK LAWN LLC
  SOUTHGATE PLAZA LLC                       NSAHOPP MAYFLOWER INC
 NMRD LIMITED                               NSF PROPERTY HOLDINGS LLC
 NORTH GREENBUSH ASSOCIATES,                NSP, LLC
  LLC                                       NW ARKANSAS CH LLC
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 NW ARKANSAS MALL REALTY LLC                OPTRUST RETAIL INC, C/O BENTALL
 NWC US 79/CR 122, LTD                       KENNEDY (CANADA) LP
 OAK PARK MALL LLC                          ORANGE PARK MALL LLC
 OAKDALE MALL II, LLC                       ORCHARD PARK SHOPPING CENTRE
 OAKMONT PROPERTIES INC                      HOLDINGS INC
 OAKRIDGE MALL LLC                          ORIENTAL CORPORATION
 OAKS MALL LLC                              ORLAND, L.P.
 OAKWOOD HILLS MALL LLC                     ORLANDO CORPORATION
 OAKWOOD PLAZA LP                           OROVILLE PLAZA EL, LLC
 OAKWOOD SHOPPING CENTER LLC                OSBORNE CAPITAL, LLC - C/O
 OASG HAZLET LLC                             PEMBROKE COMPANIES, INC.
 OEKOS DUNDALK, LLC                         OSHAWA CENTRE HOLDINGS INC.
 OGLETHORPE MALL, LLC                       OTSEGO PLAZA, LLC
 OHIO VALLEY MALL COMPANY C/O               OVERLAND PLAZA LLC
  THE CAFARO COMPANY                        OVIEDO MALL HOLDING LLC
 OLDEN PLAZA SHOPPING CENTER                OXFORD PROPERTIES GROUP INC. &
  LLC                                        CPP INVESTMENT BOARD REAL
 OLIVER CREEK HOLDINGS LLLP                  ESTATE HOLDINGS INC
 OLYMPIA LAND COMPANY LLC BY                OXFORD PROPERTIES RETAIL
  UNION REAL ESTATE CO.                      HOLDINGS II INC
  (MANAGER)                                 OXFORD PROPERTIES RETAIL
 OLYMPIC TOWER LLC                           HOLDINGS INC
 OMACHE SHOPPING CENTER LLC                 OXFORD SOUTH PARK MALL LLC
 ONE IMPERIAL PLAZA LP                      P.S.K.S. ASSOCIATES, LTD
 ONE STOP PROPERTIES, INC.                  PACIFIC CARMEL MOUNTAIN PLAZA
 ONE STORM LAKE PLAZA, LLC                   LP
 ONE YONKERS ASSOCIATES, L.L.C.             PACIFIC OAK PROPERTIES, INC.
 ONTARIO MILLS LP                           PADDOCK MALL LLC
 ONTREA INC                                 PADOVA 300 WEST SPE, LLC
 ONTREA INC - C/O THE CADILLAC              PAL ASSOCIATES HARBORCREEK
  FAIRVIEW CORPORATION LIMITED               LLC
 ONTREA INC AND CF/REALTY                   PALISADES BIRMINGHAM LLC
  HOLDINGS INC-C/O THE CADILLAC             PALISADES II, LLC/EKLECCO NEWCO
  FAIRVIEW CORP LTD                          LLC
 ONTREA, INC.                               PALM PLAZA ASSOC., LTD. C/O
 ONYX LAWTON SB LLC                          ROSEN ASSOCIATES MGMT. CORP.
 OPB (EMTC) INC                             PALMDALE CENTER DELAWARE INC
 OPB REALTY (CARLINGWOOD) INC.              PALMER PARK LP
 OPB REALTY (PICKERING CENTRE)              PALMETTO PARK ROAD ASSOCIATES,
  INC.                                       LIMITED
 OPB REALTY (ST. VITAL) INC.                PALO WOODS LLC
 OPB REALTY INC - HALIFAX CENTRE            PALOUSE MALL LLC
 OPB REALTY INC. (PEN CENTRE)               PARADISE VALLEY MALL SPE LLC
 OPRY MILLS MALL LP                         PARAMOUNT ENTERPRISES, INC.
 OPTION RENTALS INC                         PARAMOUNT PLAZA AT NEW BRITE
                                             LLC
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 PARAMUS PARK SHOPPING CENTER               PETER P. BOLLINGER INVESTMENT
  LP                                         COMPANY
 PARK CENTRE I, LLC; A UTAH                 PFP 3 ADAMS DAIRY, LLC
  LIMITED LIABILITY COMPANY                 PGS BURLINGTON LLC & TOWER
 PARK CITY CENTER BUSINESS TRUST             BURLINGTON LLC, TENANTS IN
 PARK MALL, LLC                              COMMON
 PARK PLACE MALL HOLDINGS INC.              PHEASANT LANE REALTY TRUST
 PARKWAY CENTRE EAST - RETAIL               PIEDMONT ASSOCIATES LLC - C/O
  LLC                                        PASBJERG DEV CO
 PARKWAY VILLAGE & CENTER                   PIER PARK LLC
 PARTNERS MALL ABILENE LLC                  PIERRE BOSSIER MALL LLC
 PASEO-HPC RICHMOND LLC                     PINE CREEK OWNER LLC
 PASSCO HANFORD MALL LLC                    PINE RIDGE MALL JC LLC
 PATCHOGUE REALTY ASSOCIATES                PK I CANYON RIDGE PLAZA LLC
  LLC                                       PK I CHINO TOWN SQUARE LP
 PATERSON MALL SHOPPING CENTER              PK I FASHION FAIRE PLACE LP
  CORP                                      PK I GRESHAM TOWN FAIR LLC
 PAUL J. PRATHER C/O M.D. ATKINSON          PK I LA VERNE TOWN CENTER LP
  COMPANY, INC.                             PK I PAVILLIONS PLACE LP
 PAYLESS SHOESOURCE, INC.                   PK I SUNSET ESPLANADE LLC
 PBA II, LLC                                PK II LARWIN SQUARE SC LP
 PCDF PORTFOLIO LLC                         PK III TACOMA CENTRAL LLC
 PCDF SPRING-WIN LLC                        PL MESA PAVILIONS LLC - C/O KIMCO
 PCW PROPERTIES LLC                          REALTY CORPORATION
 PEACHTREE MALL, LLC                        PLACE D'ORLEANS HOLDING INC
 PEAR TREE RETAIL I LLC - C/O CIRE          PLACE LAURIER HOLDINGS INC
  EQUITY                                    PLACE VERSAILLES INC.
 PEARLAND DUNHILL 1 LLC                     PLACE VERTU NOMINEE
 PEARLAND PROPERTY CORP.                     INC/FIDUCIAIRE PLACE VERTU INC
 PEGGY M COLE & PEGGY A COLE                PLATTE RIVER MALL
 PELICAN INVESTMENTS 888, LLC               PLAZA 15-5 LLC
 PEMBROKE LAKES MALL LLC                    PLAZA AT HIGHLANDS RANCH LLC
 PEMBROKE SQUARE ASSOCIATES                 PLAZA AT JORDAN LANDING LLC
  LLC                                       PLAZA AT NORTHWOOD LLC
 PENGOULD, LLC                              PLAZA BONITA LLC
 PENN HILLS SHOPPING CENTER LLC             PLAZA CAROLINA MALL LP
 PENN ROSS JOINT VENTURE                    PLAZA DEL CARIBE S.E.
 PENNMARK COVENTRY HOLDING                  PLAZA LAS AMERICAS, INC.
  LLC                                       PLAZA MAYOR, LLC
 PENSIONFUND REALTY LIMITED                 PLAZA WEST COVINA LP
 PERIMETER MALL, LLC                        PLAZACORP PROPERTY HOLDINGS
 PERU GKD PARTNERS LLC                       INC.
 PETER M. ROBBINS, SUCCESSOR                PLP COTTONWOOD LLC
  TRUSTEE FOR TAMZIN M. MCMINN,             PLYMOUTH CENTRE PROPERTY LLC
  ET ALS                                    PMAT DPP, LLC
                                            PMJ MANAGEMENT INC
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 POM-COLLEGE STATION LLC                    PRESCOTT GATEWAY MALL REALTY
 PONTIAC MALL LP                             HOLDING, LLC
 POP MORROW CGP, LLC                        PRII ROLLING OAKS COMMONS FLA,
 POPLAR-AVALON RETAIL CENTER                 LLC
  LLC                                       PRIMESTOR 119, LLC
 PORT ANGELES PLAZA ASSOC.                  PRIMESTOR CFIC/CG, LLC
 PORT CHARLOTTE MALL LLC                    PRINCE KUHIO PLAZA LLC
 PORT HURON REALTY PARTNERS                 PROGRESS TRUST, INC.
  LLC                                       PROMENADE CG RETAIL, LLC
 PORT OF SALE                               PROMENADE LIMITED PARTNERSHIP
 PORT ORANGE TOWN CENTER LLC,               PRR TRUST & MONTEZ CORE INCOME
  C/O CBL & ASSOCIATES                       FUND IV LP
  MANAGEMENT, INC                           PRR TRUST/PETER POND PORTFOLIO
 PORTAGE PLACE CENTRE INC                    INC
 PORTERWOOD SHOPPING CENTER                 PRUDENTIAL REALTY COMPANY
  INVESTMENTS LLC                           PSN LAKE JACKSON PARTNERS LLC
 PORTSMOUTH ASSOCIATES, LLC                 PSS-NNN LLC
 POUGHKEEPSIE GALLERIA LLC                  PUBLIX SUPER MARKET INC
 PPB 2821 BOCA CHICA, LLC                   PV TWIN L.C.
 PPF RTL ROSEDALE SHOPPING                  PVAM ARGONAUT PROPERTY FUND,
  CENTER, LLC                                L.P.
 PR CAPITAL CITY LP                         PWI EMC LP
 PR CHERRY HILL STW LLC                     PYRAMID WALDEN COMPANY, L.P.
 PR EXTON SQUARE PROPERTY LP                QKC MAUI OWNER LLC
 PR FINANCING LIMITED                       QUAIL SPRINGS MALL, LLC
  PARTNERSHIP                               QUAKER BRIDGE MALL, LLC
 PR HARBOUR VIEW EAST LLC                   QUAKER MZL LLC
 PR MAGNOLIA, LLC                           QUAKER TWOSOME, LLC
 PR NORTH DARTMOUTH LLC                     QUINCY-CULLINAN LLC
 PR PATRICK HENRY LLC                       QUOC C. TRINH QUACH & SHARI LHI
 PR PLYMOUTH MEETING LP                      QUACH
 PR PRINCE GEORGES PLAZA LLC                R AND E TRUST
 PR SPRINGFIELD TOWN CENTER LLC             R V MANAGEMENT COMPANY
 PR VALLEY LIMITED PARTNERSHIP              R&M IDAHO LLC
 PR VALLEY VIEW LIMITED                     R.D ELMWOOD ASSOCIATES , L.P.
  PARTNERSHIP                               R/M VACAVILLE LTD LP
 PR VIEWMONT LP                             RAE-ME REALTY, INC
 PR WOODLAND LIMITED                        RAINBOW INVESTMENT COMPANY
  PARTNERSHIP                               RAINIER MOORE PLAZA
 PR WYOMING VALLEY LP                        ACQUISITIONS LLC
 PRAIRIE FIRE (OKOTOKS) LIMITED             RAISIN INDUSTRIES LLC
  PARTNERSHIP                               RALPH SCHLESINGER COMPANY LLC
 PREMIER OIL HOLDINGS WR, LLC               RAMCO-GERSHENSON PROPERTIES
 PREP HANOVER REAL ESTATE LLC                LP
 PREP POSNER REAL ESTATE LLC                RAP EAST LLC
                                            RASCAL ENTERPRISES SWFL, INC
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 RB RIVER IV LLC AND RB RIVER VI            RIOCAN REAL ESTATE INVESTMENT
  LLC                                        TRUST
 RCC CENTRE AT LILBURN LLC                  RIOKIM HOLDINGS (ALBERTA) INC.
 RCC WALNUT CREEK PLAZA LLC                 RIOKIM HOLDINGS (ONTARIO) INC.
 RD ABINGTON ASSOCIATES, L.P.               RIOKIM HOLDINGS (STRAWBERRY
 RD TULSA HILLS, LP                          HILL) INC
 RDEV MESA RANCH LLC                        RIOKIM HOLDINGS TILLCUM CENTRE
 REAL SUB LLC                               RIOTRIN PROPERTIES (BARRHAVEN)
 REBUILT REALTY CORP.                        INC
 RED INVESTMENTS CORP                       RIVER CITY KAZIS HOLDING
 REDLANDS TOWN CENTER RETAIL III             COMPANY LLC & HTS RIVER CITY
  LLC                                        LLC
 REEF PLAZA LLC                             RIVER HILLS MALL LLC
 REGENCY CENTERS LP                         RIVER OAKS EL PASEO LLC
 REGENCY SEYMOUR LLC                        RIVER PARK PROPERTIES II
 REGENT MALL HOLDINGS INC - C/O             RIVER RIDGE MALL JV LLC
  PRIMARIS MANAGEMENT INC                   RIVERTOWNE CENTER ACQUISITION
 REGO II BORROWER LLC                        LLC
 REIN WARSAW ASSOCIATES LP                  RK (BURLINGTON MALL) INC
 RENAISSANCE PARTNERS I LLC                 R-K ASSOCIATES OF WAUKESHA,
 REQUERDO COMPANY                            LIMITED PARTNERSHIP
 RETAIL CENTERS PARTNERS, LTD               RK SOUTHINGTON LLC
 RETAIL STRATEGIES LLC                      RLO, LLC
 REVENUE PROPERTIES COMPANY                 ROBERT 4260 E ALAMEDA, LLC
  LIMITED - C/O MORGUARD                    ROBERT E. WILSON TRUST, LLC
  INVESTMENTS LTD                           ROBERT L. COLEMAN, TRUSTEE C/O
 REVENUE PROPERTIES SOUTHLAND                HANFORD FREUND & CO.
  LTD PARTNERSHIP                           ROBINSON MALL ASSOCIATES, LLC
 REVENUE PROPERTIES TOWN AND                ROCKAWAY CENTER ASSOCIATES
  COUNTRY INC                               ROCKAWAY REALTY ASSOCIATES
 REZAN LP                                    L.P. C/O I.S.J. MANAGEMENT
 RICHARD KLEMENT C/O KLEMENT                 CORPORATION
  WES PARTNERSHIP LTD.                      ROCKSIDE TURNEY LLC
 RICHARD M. MARVIN                          RODNEY DIERKING AND KATHERINE
 RICHFIELD SHOPPES LLC                       DIERKING
 RICHMOND MALL PARTNERS LLC                 ROEBLING URBAN RENEWAL ASSOC.,
 RICHMOND TOWN SQUARE REALTY                 L.L.C.
  HOLDING LLC AND                           ROGER NABER / 3033 28TH STREET,
 RICH-TAUBMAN ASSOCIATES                     LLC
 RIDGEDALE CENTER, LLC                      ROLLING OAKS MALL LLC
 RIMROCK OWNER LP                           ROMESAN PROPERTIES LLC
 RIO CUATRO LLC                             RONGRANT ASSOCIATES LLC
 RIO GRANDE VALLEY PREMIUM                  RONNIE MICHEL
  OUTLETS                                   ROOSEVELT II ASSOCIATES LP
 RIOCAN HOLDINGS (HAMILTON) INC             ROSE-FORUM ASSOCIATES, LP
 RIOCAN HOLDINGS INC.                       ROSENBACH NEMP LLC
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 ROSEVILLE PH, LLC & CONVOY                 SALMON RUN SHOPPING CENTER
  ROSEVILLE, LLC                             LLC
 ROSEVILLE SHOPPINGTOWN LLC                 SALVATORE LLC
 ROSIE M BLAWAT, SUSAN C SOZZI,             SAN MAR DUNHILL RATEL OWNER
  AND JOHN W BLAWAT, TENANTS IN              LLC
  COMMON                                    SANDUSKY MALL COMPANY
 ROSLINDALE CUMMINGS HIGHWAY                SANGERTOWN SQUARE LLC
  REALTY LLC                                SANLYSE LLC
 ROSS AND ROSS AS AGENT FOR                 SANSONE FENTON PLAZA LLC
  MORTON M. ROSS AND LEONARD                SANTA ANITA SHOPPINGTOWN LP
  ROSENFELD                                 SANTA FE MALL PROPERTY OWNERS
 ROSS DRESS FOR LESS INC                     LLC
 ROUND LAKE BEACH LAND, LLC                 SANTA ROSA MALL LLC
 ROUTE 140 SCHOOL STREET LLC                SANTEE TROLLEY SQUARE 991, LP
 ROUTE 23 ASSOCIATES LLC                    SANZARI '89 ASSOCIATES, L.P.
 ROYAL'S O.K. LUNCH, INC.                   SASIKALA VEMULAPALLI
 RPAI GALVESTON GALVEZ LIMITED              SAUL HOLDINGS LP
  PARTNERSHIP                               SAUL SUBSIDIARY I, LIMITED
 RPAI MCDONOUGH HENRY TOWN,                  PARTNERSHIP
  LLC                                       SAWMILL SQUARE ASSOCIATES
 RPAI OSWEGO DOUGLASS LLC                   SBLP TILLSONBURG TOWN CENTER
 RPAI SOUTHWEST MANAGEMENT                   INC
  LLC                                       SC MOTA ASSOCIATES, LP
 RPI BEL AIR MALL LLC                       SCARBOROUGH TOWN CENTRE
 RPI CHESTERFIELD LLC                        HOLDINGS, INC.
 RPI SALISBURY MALL LLC                     SCGIF II - IRON HORSE OWNER LLC
 RPI SHASTA MALL LP                         SCHMITZ DEVELOPMENT COMPANY
 RPI TURTLE CREEK MALL LLC                  SCHURTZ PROPERTIES INC
 RPT REALTY, L.P.                           SCI ITC SOUTH FUND LLC
 RREF LA QUINTA 3 REO LLC                   SCORE PROPERTIES OF
 RS NEILSON RETAIL, LLC                      TALLAHASSEE LLC
 RUBY-05-BSHFRDINLINE, LLC                  SCOTT INVESTMENT LTD
 RURAL KING REALTY, LLC                     SCOTTS VALLEY PHASE II, LP
 RUSSELL ROAD ASSOCIATES, L.P.              SCREO I DIXIE OUTLET MALL INC.
 RVM LLC                                    SDC4, LLC
 RVT ERIE MARKETPLACE LLC                   SDG DADELAND ASSOCIATES, INC.
 RYKAL ASSOCIATES C/O                       SDME CAPITAL GROUP LLC
  RYAN/KALOF COMMERCIAL REAL                SEARSTOWN LIMITED PARTNERSHIP
  ESTATE IN                                 SEBANC TAYMICH INVESTMENTS
 S & N II LTD                                LLC
 S. P. JOHNSON III                          SEC CLARK & HOWARD LLC
 S.F.R. REALTY ASSOCIATES LLC               SEC SQUARE HOLDING LLC
 S199 SPE LLC                               SEJ PP NORTH LLC
 SALINAS SHOPPING CENTER                    SELDEN PLAZA LLC
  ASSOCIATION, A CALIFORNIA                 SEMBLER FAMILY PARTNERSHIP #41,
                                             LTD.
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 SEMINOLE TOWNE CENTER, L.P.                SIMON CAPITAL LIMITED
 SERIES E-CLARENDON REAL ESTATE              PARTNERSHIP
  LLC                                       SIMON PROPERTY GROUP (TEXAS),
 SERITAGE KMT FINANCE LLC                    L.P.
 SEVEN CORNERS CENTER LLC                   SIMON PROPERTY GROUP INC
 SFI FORD CITY-CHICAGO LLC                  SIMON PROPERTY GROUP L.P.
 SFP POOL SIX LLC                           SIX RIVERS DEVELOPMENT LLC
 SFP POOL TWO SHOPPING CENTERS              SK DRIVE PROPERTIES LLC
  LP                                        SLO PROMENADE DE, LLC
 SFR PROPERTIES LLC                         SM EASTLAND MALL LLC
 SHADRALL 2855 DUNN LP                      SM EMPIRE MALL LLC
 SHAPE PROPERTIES (BRENTWOOD)               SM MESA MALL LLC
  CORP & BRENTWOOD                          SMART REAL ESTATE INC
  TOWNCENTRE LP                             SMARTREIT
 SHAPELL SOCAL RENTAL                       SMARTREIT (AURORA NORTH II) INC
  PROPERTIES LLC                             & CALLOWAY REIT (AURORA
 SHAVEMORE, L.P.                             NORTH) INC
 SHELBY CREEK LLC                           SMARTREIT (OAKVILLE) INC
 SHENANGO VALLEY REALTY LLC                 SMTC ACQUISITION LLC
 SHERIDAN RETAIL INC                        SNELLING-MIDWAY
 SHILLDEV (U.S.) INC. DBA SDS                REDEVELOPMENT LLC
  FLORIDA PROPERTIES                        SNICKER HEAD, LLC
 SHOMA RETAIL LLC                           SOMERS POINT LLC
 SHOPKO STORES, INC.                        SOONER FASHION MALL LLC
 SHOPPES OF FT WRIGHT KY LLC                SOUTH BAY CENTER SPE LLC
 SHOPPING CENTER ASSOCIATES                 SOUTH BAY SPE LLC
 SHOPS AT GRAND CANYON 14                   SOUTH COUNTY SHOPPINGTOWN
  SYNDICATIONS GROUP LLC                     LLC
 SHOPS AT HANCOCK LLC                       SOUTH HILLS VILLAGE ASSOCIATES,
 SHOPS AT MISSION VIEJO LLC                  L.P.
 SHOPS AT PENNSVILLE LLC, MEMBER            SOUTH LAKEVIEW PLAZA I LLC
  OF PENNSVILLE HOLDING                     SOUTH PLAZA CO., LLC
 SHOPS AT ST JOHNS LLC                      SOUTH PLAZA COMPANY
 SHOPS AT TANFORAN ASSOCIATES,              SOUTH WHIT SHOPPING ASSOCIATES
  LLC                                       SOUTHAVEN TOWNE CENTER II, LLC
 SHREEJI HOSPITALITY OF                     SOUTHERN BUYERS GROUP, LLC -
  CHARLOTTE LLC                              BOWDOIN
 SIERRA CENTER INVESTMENTS LLC              SOUTHERN HILLS MALL LLC
 SIERRA VISTA 16, A LLC                     SOUTHERN PARK MALL LLC
 SIERRA VISTA MALL, LLC                     SOUTHERN SHOPPING CENTER LLC
 SIGFELD REALTY MARKET PLACE                SOUTHGATE ASSOCIATES LLC
  LLC                                       SOUTHGATE CENTER ASSOCIATES
 SILVER SPRINGS EQUITIES, LLC                LLC
 SILVERLAKE SORRENTO WEST LLC               SOUTHGATE MARKETPLACE, LLC
 SIM ZIM ASSOCIATES LP                      SOUTHLAKE INDIANA LLC
 SIMON CAPITAL GP                           SOUTHLAND CENTER LLC
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 SOUTHLAND MALL PROPERTIES LLC              STAR-WEST GREAT NORTHERN MALL
 SOUTHLAND MALL, LP                          LLC
 SOUTHPARK MALL CMBS LLC                    STAR-WEST JV LLC FBO WESTLAND
 SOUTHPARK MALL LLC                          MALL LLC
 SOUTHPOINT MALL LLC                        STAR-WEST LOUIS JOLIET LLC
 SOUTHPOINTE COMMON                         STAR-WEST PARKWAY MALL LP
  CORPORATION                               STAR-WEST SOLANO LLC
 SOUTHPORT 2013 LLC                         STATESBORO FG CGP LLC
 SOUTHRIDGE LP                              STEAMTOWN 300 LLC
 SOUTHSIDE RETAIL LLC                       STEINER GRANTS PASS INVESTORS
 SOUTHTOWN PLAZA REALTY LLC,                STEPHEN B. DAY AND BARBARA
  AND SOUTHTOWN NASSIM LLC                   WEBSTER DAY
 SOUTHWEST PLAZA, LLC                       STEVE AND JOYCE BREMER
 SP SOUTHPORT PLAZA LLC                     STEVE SHAYO
 SPARKS GRF2, LLC                           STOCKBRIDGE COURTLAND CENTER
 SPF MARKET AT SOUTHSIDE LLC                 LLC
 SPG PRIEN, LLC                             STOCKBRIDGE EL MERCADO LLC
 SPOKANE MALL LLC (MALL &                   STOCKBRIDGE MADISON LLC
  PLAZA)                                    STOCKYARDS (PRINCE ALBERT)
 SPOTSYLVANIA MALL COMPANY C/O               LIMITED PARTNERSHIP
  THE CAFARO COMPANY                        STONE MOUNTAIN ACQUISTION I LLC
 SPRING RIDGE LP                             & STONE MOUNTAIN ACQUISITION
 SPRINGHILL - US19, LLC                      II LLC
 SPRUCE CENTRE LANDS LTD                    STONE MOUNTAIN SQUARE
 SQUARE ONE PROPERTY                         SHOPPING CENTER LLC
  CORPORATION                               STONE ROAD MALL HOLDINGS INC
 S-R GENESIS LTD.                           STONEBRIAR MALL LLC
 SRF2 TRURO MALL INC                        STONECREST MALL SPE LLC
 SRF4 MARKET MALL LLC                       STONEFIELD (FORT
 SRF4 PEMBROKE MALL INC                      SASKATCHEWAN) LIMITED
 SS NEILSON RETAIL LLC                       PARTNERSHIP
 SSC GOVERNOR'S PLAZA WM LLC                STONERIDGE PROPERTIES LLC
 SSI NORTHSIDE LLC                          STROUD MALL LLC
 ST ALBERT CENTRE HOLDING INC               SUFFOLK SHOPPING CENTER
 ST CLAIR SQUARE SPE LLC                     ASSOCIATES LLLP
 ST CLOUD MALL LLC                          SUGAR ESTATE ASSOCIATES
 ST MALL OWNER LLC                          SUGARCREEK PLAZA LL, LLC
 ST. CLOUD EQUITIES, LLC                    SULPHUR PARTNERS LTD
 STAFFORD BLUFFTON, LLC                     SUMMITTWOODS SPE LLC
 STANDAR LP                                 SUN LIFE ASSURANCE COMPANY OF
 STAR DEVELOPMENT CORPORATION                CANADA
 STAR-WEST CHICAGO RIDGE LLC                SUN PLAZA LLC
 STAR-WEST FRANKLIN PARK MALL               SUN VALLEY SHOPPING CENTER LLC
  LLC                                       SUNLIFE ASSURANCE COMPANY OF
 STAR-WEST GATEWAY LLC                       CANADA & RIOCAN HOLDINGS INC
                                            SUNNY ISLE DEVELOPERS LLC
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 SUNNYSIDE SHOPPE LLC                       THE CADILLAC FAIRVIEW CORP LTD
 SUNRIDGE MALL HOLDINGS INC                 THE CAFARO NORTHWEST
 SUNRISE MALL LLC                            PARTNERSHIP
 SUNRISE MALL REALTY, LLC                   THE CARRINGTON COMPANY
 SUNRISE MILLS (MLP) LIMITED                THE CONNECTICUT POST LIMITED
  PARTNERSHIP                                PARTNERSHIP
 SUNSET PROMENADE, LLC                      THE CROSSROADS MI
 SUP I WAMPANOAG LLC                        THE DISTRICT, LLC
 SURREY CC PROPERTIES INC                   THE DOMAIN MALL II LLC
 SUSQUEHANNA VALLEY MALL                    THE FOSTER FAMILY TRUST,
  ASSOCIATES LP                              RICHARD H FOSTER TRUST
 SUZANNE RUDE                               THE FOX RUN JOINT VENTURE
 SVAP GOLF MILL RETAIL LP                   THE GLUZ FAMILY TRUST DATED
 SVAP II PARK NORTH LLC                      APRIL 12, 1999
 SY HOWE ARDEN LLC - C/O SY WEST            THE INCC CORP
  DEVELOPMENT LLC                           THE IRVINE COMPANY LLC
 SYCAMORE PROPERTIES                        THE JOSEPH D. HAMMERSCHMIDT
 SYDNEY PARTNERS LLC                         COMPANY
 T.J. DEVELOPMENT COMPANY C/O               THE MALL AT BRIARWOOD LLC
  FRANK HALL                                THE MALL IN COLUMBIA BUSINESS
 TACOMA MALL PARTNERSHIP                     TRUST
 TALAVI BELL LLC                            THE MARION PLAZA, INC.
 TALWAR TRUST                               THE MARKETPLACE
 TANURB (FESTIVAL MARKETPLACE)              THE NORTH LOS ALTOS SHOPPING
  INC.                                       CENTER
 TATUM VENTURE LLC                          THE ONTARIO MARKETPLACE LLC
 TAUBMAN AUBURN HILLS                       THE PARKS AT ARLINGTON LLC
  ASSOCIATES LP                             THE SHOPPES AT BUCKLAND HILLS,
 TAYLOR SQUARE OWNER LLC                     LLC
 TBC NOMINEE INC                            THE SORANI FAMILY REVOCABLE
 TBG STATE STREET LLC                        TRUST
 TBP CRANSTON LLC                           THE STOP & SHOP SUPERMARKET
 TEJAS CENTER CORPORATION                    COMPANY LLC
 TELEGRAPH MARKETPLACE                      THE TEMPLE MALL LLC
  PARTNERS II, LLC                          THE VILLAGE AT ORANGE LLC
 TEMECULA TOWNE CENTER                      THE VILLAGE SHOPPING CENTRE
  ASSOCIATES LLC                             (2006) INC
 TENANT IN COMMON OWNERS OF                 THE VINEYARD SHOPPING CENTER II,
  OLYMPIC GATEWAY SHOPPING                   LP
  CENTER                                    THE WOODLANDS MALL
 TERRY A. SELIGMAN                           ASSOCIATES, LLC
 TETON INVESTMENTS L.C.                     THEODORE L JONES - REVOCABLE
 TF REG, LLC                                 TRUST
 TGNG REAL ESTATE PARTNERS LLC              THF FRUITPORT PARCEL R. DEV L.P.
 THE BOULEVARD SHOPPING CENTRE              THF GLEN CARBON DEVELOPMENT
  (MONTREAL) LP                              LLC
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 THF HARRISONBURG CROSSINGS LLC             TREECO PALISADES COURT LIMITED
 THF LAURA HILL DEVELOPMENT,                 PARTNERSHIP
  LLC                                       TRIANGLE EQUITIES JUNCTION LLC
 THF WENTZVILLE DEVELOPMENT,                TRIP-TUCK INC
  L.L.C.                                    TROPICAIRE HIALEAH, INC.
 THF-D CHARLESTON DEV LMTD                  TRP MCB EASTPOINT LLC
  LIABILITY COMPANY                         TRUMBULL CORPORATION
 THOMAS J. LITTMAN & DEMETRA                TRUMBULL SHOPPING CENTER #2
  COPOULOS                                   LLC
 THOMAS L. KELLY                            TRUSTEES OF ESTATE BERNICE
 THOR GALLERY AT SOUTH DEKALB                PAUAHI BISHOP
  LLC                                       TUCSON PLACE INVESTORS, LLC
 THORNDALE CENTER LP                        TULLER SQUARE NORTHPOINTE, LLC
 THORNTON TOWNE CENTER 05 A-F,              TURK-PUGH PROPERTIES C/O
  LLC                                        VERNON D. TURK JR.
 THOUSAND OAKS MARKETPLACE LP               TUTU PARK LIMITED
 THRESHOLD NGM LP                           TVL PROPERTIES LLC
 TIMMINS SQUARE SHOPPING CENTRE             TVO MALL OWNER LLC
  & 1451945 ONTARIO LTD                     TWC CHANDLER LLC
 TITAN LAND DEVELOPMENT INC                 TWICE MARKETS, LLC
 TKG SMITH FARM LLC                         TYLER MALL LIMITED PARTNERSHIP
 TKG SOUTHEAST MARKET CENTER                TYLER PINE TREE SHOPPING CENTER
  DEVELOPMENT, L.P.                          LLC
 T-L RIVER WEST LLC                         UE HUDSON MALL LLC
 TM FAIRLANE CENTER LP                      UE PROPERTY MANAGEMENT LLC;
 TM MACARTHUR CENTER LP                      F/B/O UE YONKERS II LLC
 TM NORTHLAKE MALL LP                       UE TONNELLE COMMONS LLC
 TM WELLINGTON GREEN MALL LP                UNION SQUARE NEWCASTLE JOINT
 TNC BUILDING OWNER LLC                      VENTURE
 TOP PROPERTY GROUP LLC                     UNIONTOWN CH LLC
 TORNETTA REALTY CORPORATION                UNIONTOWN MALL REALTY LLC
 TOULON DEVELOPMENT                         UNIONTOWN NASSIAM LLC
  CORPORATION                               UNITCO REALTY AND
 TOWN CENTER AT AURORA LLC                   CONSTRUCTION CO., INC.
 TOWN CENTER AT COBB LLC                    UNITED STATES DEVELOPMENT, LTD
 TOWN EAST MALL LLC                         UNIVERSITY MALL REALTY LLC
 TOWNE CENTER VENTURE, L.L.P.               UNIVERSITY MALL REALTY LTD. C/O
 TOWNE MALL LLC, C/O MACERICH                ORDA CORPORATION
 TOWNE WEST SQUARE, LLC                     UNIVERSITY MALL SHOPPING
 TOWSON TC, LLC                              CENTER L.C.
 TOYS "R" US, INC                           UNIVERSITY PARK MALL LLC
 TPP SIEGEN, LLC                            UNIVERSITY PLAZA JOINT VENTURE
 TRACY MALL PARTNERS LP                     UNIVERSITY REALTY ASSOCIATES
 TREASURE COAST - JCP ASSOCIATES,            LLC
  LTD                                       URBAN EDGE CAGUAS LP
                                            URBAN EDGE PROPERTIES
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 URBANCAL MANHATTAN TOWN                    VINCENNES CENTER LLC
  CENTER LLC                                VINECO JOINT VENTURE
 URBANCAL OAKLAND MALL LLC                  VINEYARD CONCORD LP
 US CENTENNIAL VANCOUVER MALL               VIOLET REALTY, INC
  LLC                                       VISALIA MALL LP
 U-SAVE FOODS INC                           VK-AJ-KR BALDWIN ASSOCIATES
 USB, NA, TTE BSCMSI 2005-TOP20             VOISIN DEVELOPMENTS LIMITED
 USB, NA, TTE FOR JPM 2005 CIBC12           VOLUSIA MALL LLC
 USPG PORTFOLIO SIX LLC                     W - LD LEGENDS OWNER VII LLC
 VAL VISTA RETAIL I LLC                     W & W PARTNERSHIP D/B/A
 VALENCIA MARKETPLACE I LLC                  RAINBOW SPRINGS INC
 VALIANT RENTAL PROPERTIES LTD              W & Y PROPERTIES LLC
 VALLEY MB LLC                              W.B.C. PROPERTIES
 VALLEY PLAZA MALL LLC                      W/J COMMERCIAL VENTURE, LP
 VALLEY PROPERTIES, INC.                    W/S EPPING LLC
 VALLEY STREAM GREEN ACRES LLC              W/S WESTBROOK ASSOCIATES, LLC
 VALLEY VIEW MALL SPE LLC                   WAJ HARDY OAK LLC
 VALLEY WEST MALL LLC                       WAKEFIELD MALL ASSOCIATES
 VANPROP INVESTMENTS, LTD.                  WALDEN CONSUMER SQUARE, LLC
 VAQUERO GARTH ROAD PARTNERS,               WALDORF SHOPPERS WORLD, LLC
  LP                                        WALGREEN CO.
 VAQUERO PAYLESS PARTNERS LP                WALLACE C. WORKING
 VCG - SOUTHLAKE MALL LLC                   WALLACE PROPERTIES-KENNEWICK
 VCG WHITNEY FIELD LLC                       LLC
 VCG-SOUTHBAY PAVILION LLC                  WALNOR LLC
 VEREIT MT LADY LAKE FL LLC                 WALNUT HILL HOLDINGS, LLC
 VERMONT-SLAUSON SHOPPING                   WALNUT KNOX LLC
  CENTER, LTD, L.P.                         WALTON FOOTHILLS HOLDINGS VI,
 VESTAL TOWN SQUARE LLC                      LLC
 VESTAR ORCHARD TOWN CENTER                 WANAMAKER 17 LLC
  LLC                                       WARLAND INVESTMENTS COMPANY
 VESTAR-CPT TEMPE MARKETPLACE               WARWICK MALL OWNER LLC
  LLC                                       WASHINGTON CORNER LP
 VIAPORT NEW YORK LLC                       WASHINGTON MALL - JCP
 VICKSBURG INCOME PROPERTIES                 ASSOCIATES LTD
  LLC                                       WASHINGTON PRIME PROPERTY
 VICTORIA MALL LP                            LIMITED PARTNERSHIP
 VICTORIA R. SCHANTZ-BROWN                  WASHINGTON SQUARE OWNER LLC
 VIKING PARTNERS CHESTERFIELD,              WASHREIT CENTRE AT
  LLC                                        HAGERSTOWN LLC
 VIKING PARTNERS WOLF CREEK LLC             WATAUGA TOWNE CROSSING LLC
 VILLAGE COMPANY LLC                        WATERFORD LAKES TOWN CENTER
 VILLAGE LAKE PROMENADE LLC                  LLC
  DBA LAKE SQUARE MALL                      WATT TOWN CENTER RETAIL
 VILLAGE PARK PLAZA, LLC                     PARTNERS LLC
 VILLAVERDE PROPERTIES LLC                  WAYMAN DEVELOPMENT COMPANY
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 WAYNE TOWNE ENTERPRISES LTD                WESTDALE CONSTRUCTION CO.
 WBLP DELAWARE LIMITED                       LIMITED
  PARTNERSHIP                               WESTERLY ASSOCIATES LLC
 WC INDEPENDENCE CENTER LLC                 WESTERN HOSPITALITY KIM LLC
 WC MRP DES MOINES CENTER LLC               WESTFALL TOWN CENTER JV
 WC NORTH OAKS HOUSTON LP                   WESTFIELD TOPANGA OWNER LLC
 WEA PALM DESERT LLC                        WESTGATE INVESTORS LLC
 WEA SOUTHCENTER, LLC                       WESTGATE MALL CMBS LLC
 WEBSTER SQUARE SHOPPING                    WESTGATE MALL OWNER, LLC
  CENTER, LLC - C/O BEAL AND                WESTGATE MALL REALTY GROUP
  COMPANY INC                                LLC
 WEINGARTEN NOSTAT, INC                     WESTGATE SHOPPING CENTER LTD
 WEINGARTEN REALTY INVESTORS                WESTLAND CH LLC
 WEINGARTEN/MILLER/AURORA II                WESTLAND MALL REALTY LLC
  LLC AND GDC AURORA, LLC                   WESTLAND SOUTH SHORE MALL, L.P.
 WEISBERG OAKLAND TRUST,                    WESTMINSTER MALL, LLC
  STEFANIE DELMONT, GALE                    WESTOWN INVESTORS LLC
  WEISBERG, CONTRA COSTA                    WESTPARK SHOPPING CENTER LLC
  PROPERTIES                                WESTPEN NORTH HILL LP
 WELLMAKARA LLC                             WESTRIDGE SHOPPING CENTRES
 WENATCHEE CH LLC                            LIMITED
 WENATCHEE NASSIM LLC                       WESTROADS MALL, LLC
 WENATCHEE REALTY LLC                       WESTVIEW CENTER ASSOCIATES LC
 WEST 5TH STREET PROPERTIES L.P.            WESTWARD REALTY LLC
 WEST ACRES DEVELOPMENT, LLP                WESTWOOD HOLDINGS, LLC
 WEST COUNTY MALL CMBS LLC                  WETHERSFIELD SHOPPING CENTER
 WEST DAKOTA CONSOLIDATED INC;               ASSOCIATES LLC
  DAVID WILKINSON AS EXECUTOR               WF LAKE HOUSTON LLC
 WEST EDMONTON MALL PROPERTY                WFB, NA, TTE FOR GECMC 2005-C1
  INC.                                      WHARTON SQUARE PARTNERS
 WEST FLAGER PLAZA CORP.                    WHEATON PLAZA REGIONAL
 WEST MELBOURNE TOWN CENTER                  SHOPPING CENTER LLC
  LLC                                       WHITE MARSH MALL, LLC - C/O
 WEST PALM REALTY LLC & WEST                 WHITE MARSH MALL
  PALM NASSIM LLC                           WHITE OAKS MALL HOLDINGS LTD
 WEST RIDGE MALL, LLC                       WHITEMAK ASSOCIATES
 WEST RIVER SHOPPING CENTER LLC             WHITESTONE FOUNTAIN SQUARE
 WEST ROAD INVESTORS LP                      LLC
 WEST TOWN CORNERS LLC                      WHITTAKER NORTHWEST PARTNERS
 WEST TOWN, LLC                              1
 WEST VOLUSIA INVESTORS LLC                 WHLR - CONYERS CROSSING LLC
 WESTBORN MALL LTD.                         WHLR JANAF, LLC
  PARTNERSHIP                               WIDEWATERS NEW BERN COMPANY
 WESTCOR REALTY LIMITED                      LLC
  PARTNERSHIP                               WILL RAY FAMILY PARTNERS
 WESTCOR SANTAN VILLAGE LLC                 WILLARD S. WILSON, INC.
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 WILLOW HERNDON PARTNERS, LLC               WP GALLERIA REALTY LP
 WILLOWBROOK MALL (TX) LLC                  WPG WESTSHORE LLC
 WILLOWBROOK MALL, LLC                      WR HOUSTON LLC
 WILSON AMCAP II LLC                        WRH HOUSTON LLC
 WILSONTOWN II, LLC                         WRI CHARLESTON COMMONS, LLC
 WILTON MALL, LLC                           WRI GALLERIA LLC
 WINDWARD PARTNERS X, LP                    WRI GOLDEN STATE LLC
 WINIFRED M. PITKIN TRUST C/O               WRI WEST JORDAN LLC
  HEKEMIAN & COMPANY, INC.                  WRIGHT/HURD PROPERTIES LLC
 WINSTON-SALEM (OAK SUMMIT)                 WRP HOUSTON LLC
  WMC, LLC                                  WSPGB MALL LLC
 WIREGRASS CH LLC                           WVA 340 LLC
 WIREGRASS NASSIM LLC                       WWM SC DUNCANVILLE INC
 WIREGRASS REALTY LLC                       WWW CROSSINGS LLC
 WJ BOYD LLC                                WYOMING MALL LTD
 WM INLAND INVESTORS IV LP                  Y & D PROPERTIES LLC
 WMSC LLC                                   YALE SMYRNA, LLC
 WOODBINE MALL HOLDINGS INC                 YALE VIRGINIA BEACH ASSOC. LLC
 WOODBRIDGE CENTER PROPERTY                 YOO JIN LODGING LLC
  LLC                                       YORK GALLERIA LP
 WOODBRIDGE UE LLC                          YORK RIVER CROSSING ASSOC., LLC
 WOODFIELD MALL LLC                         YSM INVESTMENT NO. 1, LLC
 WOODFINE PROPERTIES INC                    YTC MALL OWNER LLC
 WOODGROVE HOLDINGS                         YULEE DEVELOPMENTS INC
 WOODHAVEN SHOES LLC                        YUMA PALMS LEASE CO LLC
 WOODLAND HILLS MALL LLC                    ZAAC INVESTMENT LLC
 WOODLAND PLAZA II                          ZAMINDAR OM LLC
 WOODRUFF INVESTMENT PARTNERS               ZARCAL ZANESVILLE LLC
  LLC

                              ACCOUNTS PAYABLE

 0313 BLOOMINGDALE COURT LLC                1240 ABBOTT ROAD ASSOCIATES LLC
 0511 SIMON PROPERTY GROUP (TX)             1273 DEER PARK LLC
 0519 WEST TOWN CORNERS LLC                 1351 CORP INC
 0540 SIMON PROPERTY GROUP LP               13700 FOOTHILL BOULEVARD LP
 0732 SIMON PROPERTY GROUP LP               13TH AVENUE RETAIL HOLDINGS LLC
 1029 - 1205 NORTH COURT ST                 140EWR LLC
  HOLDINGS LLC                              141 EAST FLAGLER LLC
 107-19 LEASEHOLD LLC                       1420 N PARHAM ROAD LC
 1085 NELSON LLC                            1451945 ONTARIO LIMITED
 110 WEST 34TH STREET REALTY                1540-SIMON PROPERTY GROUP (TX)
  ASSOC.                                     LP
 1111 COUNTRY CLUB DR LLC                   1600 CHAMPA, LLC
 11TH HOUR STAFFING INC /DAMIAN             1604 CHESTNUT ASSOCIATES LP
 1221 BUILDING TRUST ACCOUNT                1616 AVE. U REALTY LLC
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 162-11 JAMAICA AVE REALTY ASSN             4666 SHOPPING CENTER ASSOC.
 1663321 ONTARIO INC                        4670 ORLAND LP
 1694412 ONTARIO INC                        4674 SOUTH HILLS VILLAGE ASSOC
 18000 VERNIER ROAD HOLDINGS, LLC            L.P.
 19 PROPS LLC                               4694 SHOPS AT ST JOHN'S LLC
 1900 HEMPSTEAD TURNPIKE LLC                4770 LINDALE MALL LLC
 195117 ONTARIO LIMITED                     4779 SM MESA MALL LLC
 20 VIC MANAGEMENT INC                      4780 SM RUSHMORE MALL LLC
 2015 SHOPPING MALL BUSINESS LLC            4781 EMPIRE MALL LLC
 2046459 ONTARIO INC                        479 MAIN RMR LLC
 2065 WESIX LLC                             47TH & KEDZIE PLAZA LLC FKA 666
 2100 MAPLE CANYON PLAZA LLC                 VENTURE
 2105 SIMON PROPERTY GROUP LP               480 WEST STREET LLC
 21-25 GRAHAM AVE LLC                       4823 MALL AT NORTHSHORE LLC
 214 HOLDING CORP                           4828 LIVINGSTON MALL VENTURE
 214 W. 125TH ST. PSS, LLC                  4832 SIMON PROPERTY GROUP, INC.
 2157 86TH STREET LLC                       4835 ROCKAWAY CENTER
 2157 FLAGLER LLC                            ASSOCIATES
 2200 NORTH MAPLE AVE LLC                   4837- EMI SANTA ROSA LP
 22300 LAKE SHORE BOULEVARD LLC             4838 BRAINTREE PROPERTY ASSOC.
 23 REALTY LLC                               LP
 2307-SIMON PROPERTY GROUP LP               4862 MALL OF GEORGIA LLC
 2318 SPG PRIEN LLC                         4915 MAYFLOWER APPLE BLOSSOM
 2324 LAKELINE DEVELOPERS                    LP
 2546 SIMON PROP. GRP. (TX) LP              4919 MAYFLOWER CAPE COD LLC
 2636655 ONTARIO INC                        4920 MAYFLOWER EMERALD
 2810 NEWPORT CENTRE LLC                     SQUARE LLC
 290 - 300 KING GEORGE RD LP                4924-MALL AT SOLOMAN POND LLC
 2902 THIRD AVENUE LLC                      4927-MNH MALL LLC
 300 WEST SPE, LLC                          5 S ENTERPRISES LLP
 301 P LLC                                  5060 MONTCLAIR PLAZA LANE
 3107 PENN ROSS JOINT VENTURE                OWNER LLC
 3173 STEINWAY LLC                          51 JOURNAL SQUARE I LLC
 32 EAST CENTER DELAWARE LLC                52 EAST 170TH STREET REALTY CORP
 3510 BERGENLINE AVENUE LLC                 554 - 558 W 181ST STREET LLC
 3625-SEMINOLE TOWNE CENTER LP              585562 BC LTD
 3632 MALL AT SMITH HAVEN LLC               630 MAIN AVENUE OWNER LLC
 3821099 CANADA INC                         6401 SUNRISE BOULEVARD LLC
 3829660 MANITOBA LIMITED                   65TH INFANTERIA SHOPPING CENTER
 3829678 MANITOBA LIMITED                    LLC
 3917 WESTRIDGE MALL LLC                    6711 GLEN BURNIE RETAIL LLC
 3920 TOWNE WEST SQUARE LLC                 7 STAR PLAZA INC
 3934390 CANADA INC                         700 EAST HUNTING PARK, LLC
 41/49 HIGHWAY JUNCTION LIMITED             713949 ONTARIO LIMITED
 416 OWNERS ASSOC.                          7342 GREENBACK LANE LLC
 429-441 86TH STREET LLC                    7604 PHEASANT LANE REALTY TRUST
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 767228 ALBERTA LTD                         ACS PICAYUNE PLAZA MS LLC
 79 BISCAYNE PLAZA LLC                      ACXIOM CORPORATION
 7976 ORLANDO OUTLET OWNER LLC              ADAM BLEVINS
 8099 SIMON CAPITAL LP                      ADAM KING
 8178 BRUNSWICK SQUARE MALL LLC             ADAM KRAWCHICK
 8262 COLUMBIA MALL PARTNERSHIP             ADB & DJB HOLDING LLC
 82ND ST JACKSON HEIGHTS LLC                ADESSO-MADDEN, INC.
 8401 DYER LLC                              ADH LEASING CO, LLC
 8544 FLORIDA MALL ASSOCIATES               ADJFAM MANAGEMENT CO
  LTD                                       ADLOR B. REALTY ASSOC. LLC
 8762317 CANADA INC                         ADP CANADA CO
 87TH STREETCENTER LLC                      ADP LLC
 89-22 JAMAICA AVE. REALTY CORP             ADRIAN ANGELES
 90567 CANADA, INC.                         ADSUAR MUNIZ GOYCO SEDA &
 9148655 CANADA INC (DBA GLOBAL             ADVANCED REAL ESTATE SERVICES
  LEGWEAR)                                   INC
 933 SOUTH WILLOW STREET LLC                AFCC LIMITED 3719
 94-00 LIBERTY INC                          AFN
 9511 NORTH LAMAR LTD                       AGC SD RETAIL 6, LLC
 9690 SIMON CAPITAL                         AGC TOWN CENTER NORTH LLC
 985 WEST VOLUSIA LLC                       AGILYSYS NV, LLC
 9903 PORT CHARLOTTE MALL LLC               AIA CORPORATION
 A I LONGVIEW LLC                           AIRATORS SKECHERS
 A.J. LOUIS CORP                            AIRBORNE REALTY LLC
 A.M. KLEMM & SON LLC                       AIRWALK BEACH PRODUCT
 A-1 ACTION SAFE & LOCK                     AJ SUE CONSULTING LLC
 A-1 LOCK & KEY SUPPLY                      AJA BROWN
 A25                                        AJENE BROWNE JOHN-CHARLES
 AAA LAPEER HOLDINGS LLC                    AKAMAI TECHNOLOGIES INC
 AAM - 2001 AIRLINE DRIVE, LLC              AKFCF INC
 ABBY STAFFORD                              AKIN GUMP STRAUSS HAUER &
 ABC WIRE SALES CO                           FELD, LLP
 ABEL'S EXPRESS (PP65)                      AKSARBEN LIMITED PARTNERSHIP
 ABERDEEN KAMLOOPS MALL                     AL ZEISZ AND IAN SMITH
  LIMITED                                   ALAN SEBANC
 ABG ACCESSORIES INC                        ALARM AND ELECTRONICS SYSTEMS
 ABIGAIL BROWNE                              LLC
 ABP PEARL HIGHLANDS LLC                    ALARM PERMIT CLERK
 ABSTRACT HOLDINGS INC                      ALARMPRO INC
 ACADIANA MALL CMBS, LLC                    ALAYAH AUSTIN
 ACCENTURE LLP                              ALBANY MALL LLC
 ACCRALAW                                   ALBANY ROAD-SPRINGFIELD PLAZA
 ACCURATE BACKGROUND LLC                     LLC
 ACH ALEXANDRIA LLC                         ALBERTO SILVA SR
 ACI INT'L                                  ALBION FIRE DISTRICT
 ACS NEW IBERIA PLAZA LA LLC                ALBMIN REALTY CO
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 ALCO REALTY LLC                            AMBER AMAYA
 ALDERWOOD MALL LLC                         AMBER GRAY
 ALDIN WILSON                               AMBER HOPKINS
 ALEFF LLC                                  AMBER HUMPHREYS
 ALEJANDRA ARTEAGA                          AMBROSE LAW GROUP LLC
 ALEJANDRA GUTIERREZ                        AMCAP COPACO II LLC
 ALEJANDRA HURTADO                          AMELIA GEMENY WEST
 ALEJANDRO PADILLA                          AMERICAN ARBITRATION
 ALERT ELECTRONICS, INC.                     ASSOCIATION
 ALEX ALVAREZ                               AMERICAN BALLET THEATRE PPD
 ALEX ANDRA FABRE                           AMERICAN BUILDING ASSOCIATES
 ALEXANDER MAGDALENO                         LP
 ALEXANDRIA MAIN MALL LLC                   AMERICAN COURIER CORP
 ALEXIS MACIAS                              AMERICAN EAGLE ROYALTY
 ALFREDO LOPEZ                              AMERICAN FAST FREIGHT INC.
 ALHAMBRA VALLEY PROPERTIES                 AMERICAN FORK CITY
  LLC                                        CORPORATION
 ALI LIVING TRUST                           AMERICAN PLAZA GROUP LLC
 ALICIA CHAVEZ                              AMERICAN RED CROSS HEALTH AND
 ALIGHT SOLUTIONS LLC                        SAFETY
 ALISON FOWLER                              AMERIPARK
 ALJACKS LLC                                AMERIPRIDE
 ALL ACCESS PROPERTIES LLC                  AMIRAN CAPITAL PARTNERS, LP
 ALLEN & NEWMAN PLLC                        AMPAC INVESTMENT GROUP
 ALLEN HILL                                 AMSOURCE PLEASANT GROVE LLC
 ALLEN W FAIR                               AMY BELL
 ALLERTON ASSOCIATES LLC                    AMY MILLER
 ALLIANCE MAINTENANCE                       AMY R MCCOY-HANNA
 ALLIANCE SHIPPERS, INC.                    ANA AGUAS
 ALLISON CHELLEW                            ANA CARABALLO
 ALLISON PIETCH                             ANA FLORES
 ALMA ZEPEDA                                ANA GARCIA
 ALPHA LAKE LTD.                            ANA MEZA
 ALTAIR GLOBAL RELOCATION                   ANAMAR PROPERTIES LLC
 ALTAMONTE MALL LLC                         ANAYELI MACIAS
 ALTON MALL LLC                             ANDERSON COUNTY TREASURER
 ALVAREZ & MARSAL NORTH                     ANDERSON SECURITY INC
  AMERICA LLC                               ANDREA HERMOSILLO
 ALVERNAZ PROPERTIES                        ANDREA NEGRETE
 AMALGAMATED FINANCIAL GROUP                ANDREW CARMEL
  VI, LLC                                   ANDY POCKETT
 AMANDA CAPEHART                            ANGELA MIGUEL
 AMANDA ELIAS                               ANIMAS VALLEY LLC
 AMARGOSA PALMDALE                          ANISE DETERS
  INVESTMENTS LLC                           ANISSA ENGEL
 AMAZON MEDIA GROUP LLC                     ANN ARBOR DISTRIBUTION INC
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 ANNA KARPINSKI                             ARUNDEL MILLS LP
 ANNA SAVIGNANO                             ARVADA RIDGE PUBLIC
 ANNAPOLIS MALL OWNER LLC                    IMPROVEMENT CO
 ANNE ARUNDEL COUNTY FARP                   ARVADA RIDGE VERTICAL RETAIL
 ANNE COSTELLO                               LLC
 ANNICK PICHETTE                            ASCENDANT (HONG KONG) TRADE
 ANNIE INTERNATIONAL TRADING                 CO LIMITED
  COMPANY                                   ASHEVILLE MALL CMBS, LLC
 ANNIE LOPEZ CARRILLO                       ASHIA LEWIS
 ANTELOPE VALLEY MALL LLC                   ASHLEE LAMBSON
 ANTO BIRAKDERIAN                           ASHLEE PERROTTA
 ANTONIO ARAUJO                             ASHLEIGH FOULS
 AON HEWITT CORPORATE                       ASHLEY BUSH
  EXCHANGE                                  ASHLEY FERRER
 APACHE MALL LLC                            ASHLEY HAUSCHEL
 APOPKA ASSOCIATES 2006 LLC                 ASHLEY MONROE
 APRIL FUDGE                                ASHLEY MOORE
 APRIL LEONARD                              ASHLEY ROYSTER
 APS TAPES INC                              ASHLIE BECKMAN
 APTOS CANADA INC                           ASSESSOR
 ARACELI GONZALEZ                           ASSOCIATION OF CORPORATE
 ARACELY HIDALGO                             COUNSEL
 ARBOR PLACE II LLC                         ASSURANCE FACILITY
 ARC BSLBCCA001, LLC                         MANAGEMENT INC
 ARCADE INVESTMENT CORP.                    AT INVESTMENTS FOUR
 ARCADIAN SHORES COMMONS LLC                ATACOSA MARKET LTD
 ARCP MT AUSTELL GA, LLC                    ATC GLIMCHER LLC
 ARCP MT HOUSTON TX, LLC                    ATCO VALLEY PLAZA LLC
 ARD LUFKIN SHOPPING CENTER LLC             ATLANTIC CITY ASSOC #2 (S-1) LLC
 ARD WEST WHITELAND LLC                     ATLANTIC SQUARE LLC
 ARGELIA CARDENAS                           ATLAS FIRE AND ALARM
 ARGO WOODBURN LLC                          ATTENTIVE MOBILE INC
 ARI FLEET                                  AUBURN ASSOCIATES LLC
 ARIANA BOULDT                              AUBURN MALL LLC
 ARISLEYDA BREA                             AUBURN PLAZA INC
 ARIZONA MILLS MALL LLC                     AUDITOR OF STATE, UNCLAIMED
 ARLINGTON RIDGE MARKETPLACE                 PROPERTY
  LLC                                       AUDUBON VENTURES LLC
 ARN K. YOUNGMAN                            AUGUSTA MALL LLC
 ARNOLD SCOTT HARRIS PC ATTY AT             AURORA INVESTMENTS LLC
  LAW                                       AUSTINTOWN PLAZA PROPERTIES
 ARNOLD SHUSTERMAN OR CAROLYN                LLC
 ARNOT REALTY CORPORATION                   AUTOMATIC PROTECTION SYSTEMS
 ARROW CONTAINER                            AUTUMN BYRDSONG
 ARROWHEAD MALL LLC                         AUTUMN KIRCHNER
 ARROWHEAD TOWNE CENTER LLC                 AUTUMN PROSSER
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 AVANTE ELLSWORTH VENTURE 1                 BATTLEFIELD MALL LLC
  LLC                                       BAWABEH BROTHERS NO 2 LLC
 AVASANT                                    BAY HARBOR PLAZA LLC
 AVENUES MALL LLC                           BAY PLAZA COMMUNITY CENTER
 AVERY DENNISON                             BAYSHORE MALL
 AVIANA COMPANY II LLC                      BAYSHORE SHOPPING CENTER
 AVIATION MALL NEWCO LLC                     PROPERTY
 AVIDO LLC                                  BC & B
 AWA SOW                                    BCIMC REALTY CORPORATION
 AWE-AR IVERSON MALL LLC                    BCS PROPERTIES OF ANN ARBOR LLC
 AZEETA - R LLC                             BCS REALTY, LLC
 AZUCENA MAGANA                             BDC LODI PLAZA LP
 B & B CASH GROCERY STORE, INC.             BDG GOTHAM PLAZA LLC
 BACELINE VALUE FUND I UNIV                 BDI
  PLAZA LLC                                 BDO LLC
 BACHMAN LAKE VILLAGE, INC.                 BEATRIZ ALVAREZ
 BACK:US AGENCY INC                         BEAVER VALLEY MALL LLC
 BAESMAN GROUP INC                          BEAVEX INC
 BAG STUDIO LLC                             BECKIE A ROUSE
 BAKER & MCKENZIE                           BECKY TENBRINK
 BAKERSFIELD FARP                           BEDFORD LAND CO.
 BALCORP, INC                               BEIJING CHANG TSI & PARTNERS
 BALDWIN PARK FARP                          BEITLER LOGISTICS
 BALDWIN SHOE PROP                          BELDEN MALL LLC
 BALJEET HEER                               BELFLEX STAFFING NETWORK
 BALTIMORE CENTER ASSOCIATES LP             BELLE TERRE PLAZA LLC
 BAM COMMERCIAL PROPERTIES LLC              BELLECAS CONSULTING LLC
 BANGOR MALL LLC                            BELLIS FAIR MALL LLC
 BANJO PROPERTIES LLC                       BELLMORE HOLDCO LLC
 BARBARA BLOCH REVOCABLE                    BELLWETHER PROPERTIES
  TRUST                                     BEN J. & BETTY J. VALENTINE
 BARKLEY EVERGREEN & PARTNERS               BENATAR INVESTMENT GROUP LP
  INC                                       BENNINGTON SQUARE PARTNERS
 BARNABA & MARCONI                           LLC
 BARR DOOR INC                              BENTALL KENNEDY (CANADA) LP ITF
 BARRAGAN & BARRAGAN                        BENTALL KENNEDY LP ITF NORTH
 BARRY GORENSTEIN                            HILL SHOP
 BARTON CENTRE LP                           BENTALL RETAIL ITF OPTRUST
 BARTON INVESTMENT LLC                      BENTON COUNTY TAX COLLECTOR
 BARTOW ASSOCIATES LLC                      BERGENFIELD MUNICIPAL COURT
 BASS EQUITIES LLC                          BERKEMEYER ATTORNEYS &
 BASSETT PLACE REAL ESTATE CO                COUNSELORS
  LLC                                       BERKSHIRE MALL LP
 BASTROP COUNTY TAX                         BERKSHIRE SHOPPING CENTER LLC
  ASSESSOR/COLLECTOR                        BERLAV ASSOCIATES
 BATES & MYERS COMPANY                      BERNALILLO COUNTY
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 BERNARDO MEZA                              BONIUK INTERESTS LTD
 BEST ONE TIRE & SERVICE OF MID             BONNIE DOON SHOPPING CENTRE
  AMERICA                                    (HOLDINGS) L
 BEST SECURITY INDUSTRIES                   BONNIE FUNG
 BETTY ESPINOZA                             BOONE COUNTY COLLECTOR
 BETTY JANE WILLIMON                        BOONE COUNTY FISCAL COURT
 BEVERLY V ARTHUR                           BOONE COUNTY SHERIFF
 BH PREMIUM QUALITY WATERBURY               BOROUGH OF EATONTOWN
  LLC                                       BOROUGH OF PARAMUS
 BHAAJ TX1 LLC                              BOSCACCI GROUP LLC
 BHNV REALTY CORP                           BOWERS FAMILY PARTNERS LLC
 BIBB COUNTY                                BOWIE MALL COMPANY LLC
 BILL MCDONALD                              BOYD COUNTY SHERIFF
 BIRCHWOOD MALL LLC                         BOYKIN ENTERPRISES
 BIRD 107 PLAZA                             BOYNTON BEACH MALL LLC
 BISON TRANSPORT                            BPC HENDERSON LLC
 BISSELL COMMERCIAL                         BPP-1 LLC
 BIZER & DEREUS LAW FIRM TRUST              BRADLEY A. BRUNTON
  ACCOUNT                                   BRADLEY PARK CROSSING LLC
 BLACKSTONE GROUP-DIRKSEN                   BRANCH GAINESVILLE ASSOCIATES
 BLAKE PROPERTIES OF MERIDIAN                LP
  LLC                                       BRANDI PENA
 BLAKE, CASSELS & GRAYDON LLP               BRANDI ROSS
 BLANCA ROBLES                              BRANDIANNE BREKKE
 BLANCA SPRAGUE                             BRANDON EAKES
 BLDG-ICS OLNEY LLC                         BRANDON SC PARTNERS LTD
 BLESSING MOGBEYITEREN                      BRANDON TERRELL
 BLOCH HTC LLC                              BRANDY PIERCE
 BLOOMFIELD PLAZA ASSOC. L.P.               BRAZOS TC PARTNERSHIP A LP
 BLOOMINGDALE SQUARE SHOPPING               BRE DDR BR WHITE OAK VA LLC
  CRT                                       BRE DDR CARILLON PLACE LLC
 BLUE ACORN INC                             BRE DDR CROCODILE FALCON RIDGE
 BLUE APPLE PROJECT SA DE CV                 TOWN
 BLUE DIAMOND CROSSING II LLC               BRE PEARLRIDGE LLC
 BLUECORE INC                               BRE RC FIRST COLONY MD LLC
 BLVDCON LLC                                BRE RC LOUETTA CENTRAL TX LP
 BM CROSSROADS LLC                          BRE RC LOYAL PLAZA PA LP
 BMHC LLC                                   BRE RC YORK MP PA LP
 BOARD OF POLICE COMMISSIONERS              BRE RETAIL RESIDUAL OWNER I LLC
 BOARDWALK 15 A LLC                         BRE RETAIL RESIDUAL SHOPPES AT
 BOBPAYLESS MI LLC                           VALLEY
 BOCA PARK MARKETPLACE                      BRE THRONE APPLEGATE RANCH
 BODESTER, LLC                               LLC
 BOISE MALL LLC                             BREANNA MARQUEZ
 BOLGER 39/MAIN BOLGER/GLO-RAE              BREANNA VALERO
  BOLGER                                    BREEAAD INTERNATIONAL INC
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 BRENDA BENITEZ                             BRIXMOR SOUTHPORT CENTRE LLC
 BRENDA REYNOSO                             BRIXMOR SPE 2 LLC
 BRENDA SALYASONE                           BRIXMOR SPE 3 LLC
 BRIAN F CONROY TRUSTEE                     BRIXMOR SPE 5 LLC
 BRIAN GRNYA                                BRIXMOR SPE 6 LLC
 BRIAN JACKSON                              BRIXMOR SPRADLIN FARM LLC
 BRIAN STARLING                             BRIXMOR TRI CITY PLAZA LLC
 BRICK TOWNSHIP OF FIRE SAFETY              BRIXTON ALTO SHOPPING CENTER,
 BRICKTOWN UE LLC                            LLC
 BRIDGEWATER COMMONS MALL II                BRIXTON EVERETT LLC
  LLC                                       BRIXTON PROVO MALL LLC
 BRIDGEWATER FALLS STATION LLC              BRIXTON ROGUE LLC
 BRIE LACAILLE                              BRIXTON SHERWOOD LLC
 BRIGHAM CITY CORPORATION                   BROADMOOR PLAZA RETAIL LLC
 BRIGHT PAR 3 ASSOCIATES, L.P.              BROCKWAY INVESTMENTS LLC
 BRIGHT-MEYERS KENNESAW ASSOC               BROKEN ARROW SHOPPING CENTER
  LP                                         LLC
 BRITISH COLUMBIA MINISTER OF               BROOKE HENRY
  FINANCE                                   BROOKFIELD SQUARE JOINT
 BRITTANY BAIRD                              VENTURE
 BRIXMOR CAPITOL SC LLC                     BROOKHAVEN CENTER ASSOCIATES
 BRIXMOR CROSS KEYS COMMON LLC               LP
 BRIXMOR GA APOLLO I SUB LLC                BROOKLYN KINGS PLAZA LLC
 BRIXMOR GA APOLLO I TX                     BROOKVILLE AREA CHAMBER OF
  HOLDINGS LLC                               COMMERCE
 BRIXMOR GA APOLLO III SUB                  BROWARD MALL LLC
  HOLDINGS LLC                              BROWN FLORIDA HOLDINGS LLC
 BRIXMOR GA CHICOPEE                        BRUCE BERQUAM
  MARKETPLACE LLC                           BRUNSWICK FLOORS INC
 BRIXMOR GA COASTAL WAY LLC                 BRYAN CHANDA
 BRIXMOR GA COBBLEESTONE                    BRYAN SEAMANS
  VILLAGE                                   BRYAN TOWER II, LP
 BRIXMOR GA PANAMA CITY LLC                 BSC RETAIL OWNER LLC
 BRIXMOR GA SAN DIMAS LP                    BSCL & KSBI
 BRIXMOR GA WILKES-BARRE LP                 BTC OWNER LLC
 BRIXMOR HANOVER SQUARE SC LLC              B-THAP, LC
 BRIXMOR HOLDINGS 11 SPE, LLC               BUCHANAN COUNTY COLLECTOR
 BRIXMOR HOLDINGS 12 SPE LLC                BUCKEYE WESTERN STAR
 BRIXMOR HOLDINGS 6 SPE LLC                 BUCKINGHAM PLAZA LP
 BRIXMOR HOLDINGS 8 SPE LLC                 BUEN TERRA LLC
 BRIXMOR MORRIS HILLS LLC                   BUILD A SIGN LLC
 BRIXMOR OLD BRIDGE LLC                     BUILDERS INC COMMERCIALS
 BRIXMOR PROPERTY OWNER II LLC              BULLITT COUNTY SHERIFF
 BRIXMOR ROOSEVELT MALL OWNER               BULLOCH CO. TAX COMMISSIONER
  LLC                                       BUNCOMBE COUNTY TAX
 BRIXMOR SILVER POINTE LLC                   COLLECTOR
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 BUREAU OF FIRE PREVENTION                  CALLOWAY REIT (BRAMPTON) INC
 BURKE & CARLTON PARTNERSHIP                CALLOWAY REIT (HARMONY)
 BURLESON STC I LLC, FILE #1478             CALLOWAY REIT (HOPEDALE) INC
 BURLINGTON COAT FACTORY OF                 CALLOWAY REIT (LAVAL E) INC
  TEXAS INC                                 CALLOWAY REIT (NIAGRA FALLS)
 BURNSVILLE CENTER SPE LLC                   INC
 BUSINESS DIRECT LIMITED                    CALLOWAY REIT (WESTGATE) INC
 BUSINESS PROPERTIES PARTNERSHIP            CALLOWAY REIT BOLTON
  NO. 31                                    CALLOWAY REIT CALGARY INC
 BUTLER COUNTY COLLECTOR                    CALLOWAY REIT EDMONTON
 BUTT-PATE-MASON TRUST                      CALLOWAY REIT HAMILTON
 BVA POPLIN PLACE LLC                        MOUNTAIN INC
 BY AND KC STARKVILLE                       CALLOWAY REIT INC
  PARTNERSHIP                               CALLOWAY REIT INC ANCASTER
 B-Y EDINBURG CENTER LTD.                   CALLOWAY REIT INC LONDON
 B-Y WESTERN VALLEY LTD.                    CALLOWAY REIT KAMLOOPS
 BYZANTINE, INC.                            CALLOWAY REIT LETHBRIDGE
 C & C ACCORD LTD                           CALLOWAY REIT MONTREAL N
 C CONNER                                   CALLOWAY REIT REGINA E INC
 C EAGLE SPIRIT LLC                         CALLOWAY REIT SW ONTARIO INC
 C STORE OF USA INC                         CALLOWAY REIT WHITBY INC
 C.I.A., L.L.C.                             CALLOWAY REIT WINNIPEG SW
 C.W. & ASSOCIATES                          CALLOWAY REIT-MASCOUCHE
 CA INC                                     CALLOWAY REIT-UNICITY
 CA NEW PLAN FIXED RATE                     CALLOWAYREIT-BROCKVILLE INC
  PARTNERSHIP LP                            CALLOWAYREIT-REXDALE INC
 CABARRUS COUNTY TAX                        CALZADO MI LORD SA DE CV
  COLLECTOR                                 CAMBRIDGE SHOPPING CENTRES
 CACHE VALLEY PROPERTY VENTURE               LIMITED
 CAL OAKS PLAZA LLC                         CAMBRIDGESIDE PARTNERS LLC
 CAL TEX STAR PROPERTIES LLC                CAMDEN VILLAGE LLC
 CALCASIEU PARISH SCHOOL BOARD              CAMERON KNOX
 CALIFORNIA MULTIMODAL LLC                  CAMILLE RAMPERSAD
 CALLEIGH ENNIS                             CAMPBELL COUNTY FISCAL COURT
 CALLISTA GIANNISIS                         CANADA POST NH
 CALLOWAY REAL ESTATE                       CANADA REVENUE AGENCY
  INVESTMENT                                CANDY TORRENCE
 CALLOWAY REAL ESTATE                       CANYON COUNTRY PLAZA LP
  INVESTMENT TRUST                          CAPARRA CENTER ASSOCIATES LLC
 CALLOWAY REIT - BURLINGTON                 CAPE GIRARDEAU COUNTY
  NORTH                                     CAPITAL CITY SHOPPING
 CALLOWAY REIT - ETOBICOKE                  CAPITAL CITY SHOPPING CENTRE
 CALLOWAY REIT - LANGLEY                     LIMITED
 CALLOWAY REIT - ST CATHARINES              CAPITAL MALL LP
 CALLOWAY REIT - WINDSOR                    CAPITAL PLAZA INC
 CALLOWAY REIT - WOODSTOCK                  CAPITAL REALTY ASSOC.
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 CAPITAL TRANSPORTATION &                   CBL - MONROEVILLE LP
  TECHNOLOGY                                CBL / EASTGATE MALL, CMBS, LLC
 CAPITOL SPRINKLER SERVICE CORP             CBL SM BROWNSVILLE LLC
 CAPLACO MANAGEMENT CO                      CBL WESTMORELAND LP
 CAPLACO MANAGEMENT CO BOGEY                CBRE GLOBAL INVESTORS, LLC AAF
  HILLS PLAZA                               CBSA- CENTRAL PAYMENT
 CAPLO PARTNERS                              PROCESSING CENTER
 CAPMARK SERVICES LP                        CC INVESTMENTS GROUP LLC
 CAPREF BURBANK LLC                         CCF PCG NORTHRIDGE, LLC
 CAPREF EDEN PRAIRIE LLC                    CCVA INC
 CAPREF LLOYD II LLC                        CDG - 92ND LLC
 CAPREF SMYRNA LLC                          CEDAR CARMANS LL
 CAPRI URBAN BALDWIN LLC                    CEDAR CITY CORPORATION
 CAPSTONE CONSULTING INC                    CEDAR QUARTERMASTER LLC
 CAREERBUILDER LLC                          CEDAR-FIELDSTONE MARKETPLACE
 CARLA ROMERO                                LLC
 CARLOS ASCENCIO                            CELADON LOGISTICS SERVICES INC
 CARLYLE SWANSEA PARTNERS LLC               CELEBRATION REGIONAL
 CARMEL MOUNTAIN PLAZA LP                    ASSOCIATION
 CARMEN GARCIA                              CENTER 6 WESTPARK
 CARMEN ROMERO-NICHOLS                      CENTER AREA SCHOOL DIST.
 CAROL BENNETT                              CENTER ASSOCIATES REALTY CORP.
 CAROL PERDIC                               CENTER POINT PLACE SHOPPING
 CAROL S HAROOTUNIAN                         CENTER
 CAROLINA GARCIA                            CENTER TOWNSHIP WATER
 CAROLINA GUERRERO                           AUTHORITY
 CAROLINA PLACE LLC                         CENTERCORE DESTIN LLC -ISLAND
 CAROLYN ADELE JOSEPHO                      CENTEREACH MALL ASSOCIATES 605
 CAROUSEL CENTER CO LP                       LLC
 CARR-GOTTSTEIN PROPERTIES                  CENTERPOINT MALL LLC
 CARRIE GLENN                               CENTERRA RETAIL SALES CORP
 CARRIE PASQUARELLI                         CENTERRA PUBLIC IMPROVEMENT
 CARSON VALLEY CENTER LLC                    CORP
 CARY VENTURE LP                            CENTERRA RETAIL SHOPS LLC
 CASA GRANDE FALSE ALARM                    CENTERVILLE CITY
  REDUCTION PROGRA                          CENTERVILLE CROSSING LLC
 CASCO DIVERSIFIED CORPORATION              CENTRAL LOAN ASSETS V LP
 CASSIE ALVAREZ                             CENTRAL MALL REALTY HOLDING,
 CASSIE GREGG                                LLC
 CASTLE BRAND GROUP LLC                     CENTRAL SHOPPING PLAZA
 CASTLETON SQUARE LLC                       CENTRAL VALLEY ASSOCIATES
 CATHERINE MEIER                            CENTRAL VALLEY PROPERTY
 CATHERINE SQUIRES                           HOLDINGS II LLC
 CATHERINE YOUNG                            CENTRE REGIONAL CHATEAUGUAY
 CATHRYN MCFALL                              INC
 CATHY TANG
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 CENTRECORP MANAGEMENT                      CHEEMA LLC
  SERVICES LIMITED                          CHEEMENG HER
 CENTREPOINTE - JMYL LP                     CHELSEA PACIFIC INVESTMENTS LP
 CENTRIC SOCKS LLC                          CHEMSEARCH
 CENTRO DEL SUR MALL LLC                    CHEN CHONG
 CENTRO RECAUDACION INGRESOS                CHERI BERNARD
  MUNICIPALES                               CHEROKEE COUNTY TAX
 CENTURY CENTER LLC                          COMMISSIONER
 CENTURY PLAZA CORP.                        CHERRY HILL CENTER LLC
 CERIDIAN STORED VALUE                      CHERRY HILL FIRE DEPARTMENT
  SOLUTIONS INC                             CHERRY HILL PROPRETIES LLC
 CERTONA CORPORATION                        CHERRYVALE MALL
 CERUTTI CO LLC                             CHERYL BURTON
 CEVA FREIGHT                               CHERYL PAULSEN
 CEVA FREIGHT, LLC                          CHESAPEAKE SYSTEM SOLUTIONS
 CF III SH VALLEY FAIR LLC                  CHESTER MALL LLC
 CGS EMERALD PARTNERS LLC                   CHESTER RAYBURN LAKE JR
 CH REALTY III LONG GATE LLC                CHESTERFIELD COUNTY POLICE
 CH REALTY VII / R NOVA PLAZA I & II         DEPARTMENT
  LLC                                       CHESTERFIELD RETAIL LC
 CH REALTY VII/R SAN DIEGO                  CHICO FAZEKAS I LLC
  EASTLAKE                                  CHICO MALL INVESTORS LLC
 CH RETAIL FUND 1/0RLANDO METRO             CHICOPEE MARKETPLACE OWNERS,
  LLC                                        LLC
 CHALMETTE MALL LP                          CHIKA ESIOBU
 CHAMBERSBURG MALL REALTY LLC               CHILLUM CENTER LLC
 CHAMPAGNAT CATHOLIC SCHOOL                 CHIN CIARDELLA PROPERTIES LLC
  INC                                       CHINA PATENT AGENT (H.K.)
 CHAMPION ATHLETICWEAR                       LIMITED
 CHAMPION ELEVATOR CORP                     CHODY REAL ESTATE CORP
 CHAMPION EUROPE SPA                        CHRISOPOULOS FAMILY TRUST
 CHAMPLAIN CENTRE NORTH LLC                 CHRISTIAN MCWILLIAMS
 CHANDLER POLICE DEPTARTMENT                CHRISTIAN SIRIANO HOLDINGS LLC
 CHANDRA L MYERS                            CHRISTINA FLECK
 CHANG K KIM & JEONG KIM                    CHRISTINE HOLMES
 CHANTAL VAN NESS                           CHRISTOPHER ANDERSON
 CHAPEL HILLS REALTY LLC                    CHRISTOPHER FARLEY
 CHARLA HILL                                CHRISTOPHER OTT
 CHARLES BROSENS                            CHRISTOWN 1755 LLC
 CHARLES E SMITH                            CHRISTY L KAHLE
 CHARLES MALL CO LTD                        CHULA VISTA CENTER LP
  PARTNERSHIPA                              CHURCHILL COUNTY CLERK/TREAS.
 CHARLOTTESVILLE FASHION                    CIGNA BEHAVIORAL HEALTH
  SQUARE, LLC                               CIGNA GLOBAL HEALTH BENEFITS
 CHARTER TOWNSHIP OF FLINT                  CIGNA GROUP INSURANCE-LIFE &
 CHAUTAQUA MALL LLC                          DISABILITY
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 CIII GECMC05-C1 LAKESIDE MALL              CITY OF BURLINGTON
 CINCINNATI POLICE DEPT - FARU              CITY OF BURNABY
 CINDY MARIE BERMUDEZ                       CITY OF CALGARY
 CINDY STOUT                                CITY OF CALHOUN
 CINTAS CORPORATION                         CITY OF CAPE GIRARDEAU
 CINTAS FIRE                                CITY OF CAPITOLA
 CIRCLE CENTRE MALL LLC                     CITY OF CHANDLER
 CIRCLE PLAZA LLC                           CITY OF CHARLESTON
 CITADEL MALL REALTY LLC                    CITY OF CHICAGO
 CITRUS CENTER CLINTON HILL LLC             CITY OF CHICAGO ADMINISTRATIVE
 CITRUS HEIGHTS POLICE DEPT                  HEARINGS
 CITRUS PARK MALL OWNER LLC                 CITY OF CHICAGO, DEPT OF FINANCE
 CITY & COUNTY OF BROOMFIELD                CITY OF CHUBBUCK
 CITY AND COUNTY OF HONOLULU                CITY OF CHULA VISTA
 CITY LINE SHOPPING CENTER ASSOC            CITY OF CLINTON
 CITY METRO ALARM OFFICE                    CITY OF COLORADO SPRINGS
 CITY OF ABERDEEN                           CITY OF COLUMBUS
 CITY OF ABILENE ALARM PROGRAM              CITY OF COMMERCE
 CITY OF ALAMOSA                            CITY OF CONYERS
 CITY OF ALBUQUERQUE POLICE                 CITY OF COTTONWOOD
  DEPARTMENT                                CITY OF COTTONWOOD HEIGHTS
 CITY OF ALEXANDRIA                         CITY OF COVINA
 CITY OF ALHAMBRA                           CITY OF CRYSTAL LAKE
 CITY OF ALPHARETTA                         CITY OF DALY CITY
 CITY OF ALTON, TREASURER                   CITY OF DAYTONA BEACH
 CITY OF ANAHEIM                            CITY OF DEL RIO
 CITY OF APPLETON                           CITY OF DOTHAN
 CITY OF ARLINGTON                          CITY OF DOUGLAS
 CITY OF ASHLAND                            CITY OF DOUGLASVILLE
 CITY OF AUBURN                             CITY OF DUMAS
 CITY OF AURORA                             CITY OF DURANGO
 CITY OF AVONDALE                           CITY OF EAST POINT
 CITY OF BALTIMORE                          CITY OF EDMONTON
 CITY OF BARBOURSVILLE                      CITY OF EL CAJON
 CITY OF BATON ROUGE                        CITY OF ELIZABETH
 CITY OF BEAUMONT POLICE DEPT               CITY OF ELIZABETH CITY
 CITY OF BELLEVUE                           CITY OF ELIZABETHTOWN
 CITY OF BEMIDJI                            CITY OF EVERETT
 CITY OF BENTON                             CITY OF FAIRVIEW HEIGHTS
 CITY OF BOSSIER CITY                       CITY OF FALLON
 CITY OF BOSTON                             CITY OF FARMINGTON
 CITY OF BOZEMAN                            CITY OF FEDERAL WAY
 CITY OF BRIDGEPORT                         CITY OF FENTON
 CITY OF BRIGHTON                           CITY OF FERNDALE TAXES
 CITY OF BUFORD                             CITY OF FLORENCE
 CITY OF BURIEN, WASHINGTON                 CITY OF FORT PIERCE
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 CITY OF FORT SASKATCHEWAN                  CITY OF LACEY
 CITY OF FORT WRIGHT                        CITY OF LAFAYETTE
 CITY OF FRESNO                             CITY OF LAKE ELSINORE
 CITY OF FRISCO                             CITY OF LAKE JACKSON
 CITY OF FT. COLLINS                        CITY OF LAKEWOOD
 CITY OF GAINESVILLE                        CITY OF LAS VEGAS
 CITY OF GARDEN GROVE                       CITY OF LEDUC
 CITY OF GLENDALE                           CITY OF LEWISTON
 CITY OF GOODYEAR                           CITY OF LITTLE ROCK
 CITY OF GRAND JUNCTION                     CITY OF LIVONIA
 CITY OF GRAND PRAIRIE                      CITY OF LOGAN
 CITY OF GRANITE CITY                       CITY OF LONGVIEW
 CITY OF GRASS VALLEY                       CITY OF LOS ANGELES
 CITY OF GREAT FALLS                        CITY OF LOUISVILLE KY
 CITY OF GREELEY                            CITY OF LOVELAND
 CITY OF HAMMOND                            CITY OF LYNNWOOD
 CITY OF HANFORD                            CITY OF MALVERN
 CITY OF HARPER WOODS                       CITY OF MARGATE
 CITY OF HARRISONBURG ALARM                 CITY OF MARIETTA TAX DEPT.
  PROGRAM                                   CITY OF MARSHALLPOLICE
 CITY OF HEATH                               INFORMATION SERVICE
 CITY OF HELENA                             CITY OF MERCED
 CITY OF HEMET                              CITY OF MESA
 CITY OF HENDERSON                          CITY OF MIAMI
 CITY OF HICKORY                            CITY OF MILPITAS
 CITY OF HILLSBORO                          CITY OF MILWAUKEE
 CITY OF HINESVILLE                         CITY OF MISSION
 CITY OF HOBBS                              CITY OF MOBERLY
 CITY OF HOLLISTER                          CITY OF MODESTO
 CITY OF HOLLYWOOD                          CITY OF MONROE
 CITY OF HOUSTON                            CITY OF MONTGOMERY
 CITY OF HUNTINGTON                         CITY OF MORENO VALLEY
 CITY OF INDIO ALARM PROGRAM                CITY OF MOSES LAKE
 CITY OF INGLEWOOD                          CITY OF MOUNTAIN VIEW
 CITY OF IRVING                             CITY OF MOUNTAIN VIEW FAAP
 CITY OF KAMLOOPS                           CITY OF MURRIETA
 CITY OF KANSAS CITY, MISSOURI              CITY OF NANAIMO
 CITY OF KELOWNA                            CITY OF NAPA
 CITY OF KENNEWICK                          CITY OF NEW BRAUNFELS
 CITY OF KENT                               CITY OF NEW IBERIA
 CITY OF KERMAN                             CITY OF NEW YORK CITY
 CITY OF KINGMAN                            CITY OF NEWARK
 CITY OF KINGSPORT                          CITY OF NOGALES
 CITY OF KLAMATH FALLS                      CITY OF NORFOLK TREASURER
 CITY OF LA - FALSE ALARMS                  CITY OF NORTH MIAMI
 CITY OF LA MESA                            CITY OF OAK PARK
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 CITY OF OCEANSIDE                          CITY OF SEGUIN
 CITY OF OLYMPIA                            CITY OF SELMA
 CITY OF OMAHA                              CITY OF SHOW LOW
 CITY OF OPELOUSAS                          CITY OF SIERRA VISTA
 CITY OF OREGON CITY                        CITY OF SMYRNA
 CITY OF OREM                               CITY OF SONOMA
 CITY OF ORLANDO                            CITY OF SOUTHAVEN
 CITY OF OVERLAND                           CITY OF SPRINGFIELD
 CITY OF OWASSO                             CITY OF SPRINGFIELD ALARM
 CITY OF OXNARD                              PROGRAM
 CITY OF PANAMA CITY                        CITY OF ST. ALBERT
 CITY OF PANAMA CITY BEACH                  CITY OF ST. CLAIR SHORES
 CITY OF PASADENA TEXAS                     CITY OF ST. GEORGE
 CITY OF PASO ROBLES                        CITY OF ST. LOUIS
 CITY OF PASSAIC TAX COLLECTOR              CITY OF ST. PETERS
 CITY OF PEARLAND                           CITY OF STATESBORO
 CITY OF PHILADELPHIA                       CITY OF STOCKTON
 CITY OF PHILADELPHIA LAW                   CITY OF STUART
  DEPARTMENT                                CITY OF SUNNYSIDE
 CITY OF PHOENIX                            CITY OF SUNNYVALE
 CITY OF PIGEON FORGE                       CITY OF SURPRISE
 CITY OF PLANO                              CITY OF SURREY
 CITY OF POMPANO BEACH                      CITY OF TAMPA
 CITY OF PORTAGE                            CITY OF THOMASVILLE
 CITY OF PRINCE ALBERT                      CITY OF THORNTON
 CITY OF PRINCE GEORGE                      CITY OF TUCSON
 CITY OF PROVO                              CITY OF TUKWILA
 CITY OF PUEBLO                             CITY OF VANCOUVER
 CITY OF REDDING                            CITY OF VERNON
 CITY OF RENO NV                            CITY OF VICTORIA
 CITY OF REXBURG                            CITY OF VICTORVILLE
 CITY OF RICHARDSON                         CITY OF VIENNA
 CITY OF RICHMOND                           CITY OF VIEW CAPITAL
 CITY OF RICHMOND HEIGHTS                   CITY OF VISALIA
 CITY OF RICHMOND KY                        CITY OF WASILLA
 CITY OF RIVERDALE                          CITY OF WATAUGA
 CITY OF ROCKY MOUNT                        CITY OF WATERVILLE
 CITY OF SACRAMENTO                         CITY OF WAUKEGAN
 CITY OF SALINAS                            CITY OF WEST BUECHEL
 CITY OF SAN BERNARDINO                     CITY OF WEST JORDAN
 CITY OF SAN DIMAS                          CITY OF WESTMINSTER
 CITY OF SANTA CLARA                        CITY OF WHITEFISH
 CITY OF SANTA FE                           CITY OF WOODINVILLE
 CITY OF SANTA MARIA                        CITY OF WOODSTOCK
 CITY OF SAVANNAH                           CITY OF YUKON
 CITY OF SCRANTON                           CITY OF YUMA
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 CITY TAX COLLECTOR                         COLLECTIVE BRANDS LOGISTICS
 CITY TREASURER                              LIMITED
 CITY/BOROUGH OF JUNEAU                     COLLECTIVE BRANDS SERVICES LTD
 CJ PRODUCTS INC                            COLLECTIVE FRANCHISING LTD
 CLACKAMAS MALL LLC                         COLLECTIVE LICENSING AIRWALK
 CLARK COUNTY ASSESSOR                       PPD ROYALTY
 CLARK COUNTY NEVADA                        COLLECTOR - UNION COUNTY
 CLARKE CO. TAX COMMISSIONER                COLLECTOR OF REVENUE
 CLARKSBURG PREMIUM OUTLETS                 COLLECTOR, PETTIS COUNTY
 CLAUDETTE FRANKLIN                         COLLEGE PARK DELAWARE LLC
 CLAYTON COUNTY TAX                         COLLEGE PLAZA INVESTORS LLC
  COMMISIONER                               COLLEGE SQUARE 111, LLC
 CLEAN LIMOUSINE SERVICE                    COLLIERS INTERNATIONAL
 CLEARVIEW MALL ASSOCIATES                  COLLIERS ITF THE MANUFACTURERS
 CLEARWATER CALDWELL LLC                     LIFE
 CLERK OF CIRCUIT COURT                     COLLIERS PENN MANAGEMENT AS
 CLERK OF COURTS                             AGENT
 CLINTON CITY                               COLONIAL PARK MALL REALTY
 CLINTON PINES LLC                           HOLDING LLC
 CLOUDCRAZE SOFTWARE LLC                    COLONY OF LATROBE LP
 CLOVIS COMMONS LLC                         COLORADO DEPARTMENT OF
 CLUFF AND HARDY HOLDINGS, LLC               REVENUE
 CMP TOWN & COUNTRY LP                      COLORADO MILLS LTD PARTNERSHIP
 CNMI DIVISION OF TAXATION                  COLUMBIA COUNTY COLLECTOR
 COASTAL GRAND CMBS LLC                     COLUMBIA GRAND FORKS LLC
 COASTAL PLAINS DEVELOPMENT                 COLUMBIA MALL LLC
  GROUP                                     COLUMBIA TECH CENTER LLC
 COASTLAND CENTER LLC                       COLUMBIA-BBB WESTCHESTER S/C
 COBB COUNTY                                COMINAR REAL ESTATE
 COBB COUNTY TAX COMMISSIONER                INVESTMENT TRUST
 COBRA GUARD, INC                           COMINAR REIT
 COCONUT POINT TOWN CENTER LLC              COMM 2006-C8 SHAW AVENUE
 CODDINGTOWN MALL LLC                        CLOVIS LLC
 CODY TROTTER                               COMMONWEALTH GOVERNMENT OF
 COFIM MUNICIPIO DE ISABELA                  THE NORTHERN MARIANA ISLANDS
 COFIM MUNICIPIO DE MAYAGUEZ                COMMONWEALTH OF VIRGINIA
 COGENT COMMUNICATIONS INC                  COMPASS COMMERCIAL REAL
 COGNIZANT TECHNOLOGY                        ESTATE SERVICES
  SOLUTIONS US CORP                         COMPLEXE PLACE ST-EUSTACHE INC
 COLBY PINE TREE PLAZA LC                   CONCORD MALL LP
 COL-CRAIG REALTY COMPANY                   CONESTOGA REALTY LLC
 COLDWELL BANKER COMMERCIAL                 CONROE MARKETPLACE SC LP
  ELITE                                     CONTINENTS SOURCING ENT., LTD.
 COLE COUNTY COLLECTOR                      CONVERGE ONE, INC
 COLEMAN E ADLER II                         CONWAY DEVCO DE LLC
 COLISEUM CROSSING ASSOC., LLC
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 COOKEVILLE TN INVESTMENT                   CPC STRATEGY LLC
  PARTNERS                                  CPHFHA HOLDINGS INC
 COOKIE ADVANTAGE                           CRAIG WRIGHT
 COOLSPRINGS MALL LLC                       CRAIGHEAD COUNTY COLLECTOR
 COOPER COMM. PROP. II LLC                  CRAVEN COUNTY TAX COLLECTOR
 COPYRIGHT CLEARANCE CENTER                 CREATIVE CIRCLE LLC
  INC                                       CREATIVE COURSEWARE INC
 COR ROUTE 3 COMPANY LLC                    CREATIVE INVESTMENTS IV LLC
 CORAL - CS/LTD ASSOCIATES                  CRECCAL INVESTMENTS LTD
 CORAL RIDGE MALL LLC                       CREF X LV CROSSROADS, LLC
 CORNERS AT HILLCROFT AT                    CREFII SILVER CITY LLC
  BELLAIRE, LP                              CREIT MANAGEMENT LP
 CORNWALL CENTRE INC                        CREIT MANAGEMENT LTD
 CORNWALL SQUARE INC                        CRESTVIEW VILLAGE CENTER LLC
 CORONADO CENTER LLC                        CRETE CARRIER CORP.
 CORPORATE CLAIMS MANAGEMENT                CRGRE LLC
 CORPORATE EXPRESS                          CRIS BEFFORT
 CORPORATE IT STRUCTURE                     CRIVELLI MACK INC
 CORPUS CHRISTI RETAIL VENTURE              CROMBIE DEVELOPMENTS LIMITED
  LP                                        CROMWELL SQUARE PARTNERS L.P.
 CORRIDOR MARKETPLACE                       CROSS COUNTY MALL MERCH.
 CORTINA TAGLE ISOARD Y CIA SC               ASSOC
 CORTLAND CAP MKTS TL INTEREST              CROSS CREEK MALL SPE LP
 CORTLANDT TOWN CENTER LLC                  CROSS CREEK PLAZA INC
 CORTLANDVILLE CROSSING LLC                 CROSSGATES MALL GENERAL CO.
 CORTNEY LOGAN                               NEWCO LLC
 CORUNNA PLAZA LLC                          CROSSIRON MILLS HOLDINGS INC
 COUNCIL BLUFFS ALARM PROGRAM               CROSSROADS CENTER LLC
 COUNTRY WHOLESALE INC                      CROSSROADS IMPROVEMENTS
 COUNTRYSIDE MALL LLC                        OWNER LLC
 COUNTY CLERK, CODE                         CROSSROADS JOINT VENTURE
  ENFORCEMENT                               CROSSROADS REALTY LLC
 COUNTY COLLECTOR                           CROSSROADS SHOPPING PLAZA INC
 COUNTY OF ALBEMARLE                        CROWLEY LINER SERVICE
 COUNTY OF VENTURA                          CROWLEY LOGISTICS
 COUNTY TREASURER                           CROWN COMMERCIAL REAL ESTATE
 COVIN LIMITED PARTNERSHIP                  CROWN EQUIPMENT CORP
 COYOTE LOGISTICS                           CROWN WORLD MOBILITY
 COZZINI BROS NATIONWIDE                    CRP II LOS PRADOS LLC
  SHARPENING                                CRST INTERNATIONAL INC
 CP ANTELOPE SHOPS LLC                      CRUZ ALTA PLAZA LTD.
 CP ASSOCIATES LLC                          CRYSTAL CENTER MN-CRYSTAL
 CP PEMBROKE PINES LLC                       CENTER-HA LLC
 CP VENTURE TWO LLC                         CRYSTAL CORNERS LLC
 CP/IPERS CORAL LLC                         CRYSTAL CRUZ
 CPC GATEWAY PLAZA II, LLC                  CRYSTAL EDMONDS
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 CRYSTAL MALL LLC                           DARINOR PLAZA
 CRYSTAL RUN GALLERIA LLC                   DARION SCARBROUGH
 CSC CORPORATE DOMAINS INC                  DARLA BEDWELL
 CSHV QUARRY LLC                            DARREN HADDOCK
 CSHV SPRINGHURST LLC                       DARTMOUTH CROSSING LIMITED
 CSHV WAUGH CHAPEL LLC                      DATAMAX SERVICES INC
 CSN LLC                                    DATAPIPE INC
 CT CORPORATION                             DAVID ARENA
 CT CORPORATION SYSTEM                      DAVID BARNES
 CT07-75 SWH LLC                            DAVID BLOOMFIELD
 CTC GILBERT PHASE 1 LLC                    DAVID C. SOWARD
 CULVER CITY MALL LLC                       DAVID FISHER
 CUMBERLAND COUNTY TAX COLL.                DAVID G. WEBB
 CUMBERLAND MALL ASSOCAITES                 DAVID GILMORE
 CUMMINS CENTRAL POWER LLC                  DAVID NESTOR
 CURALATE INC                               DAVMORE REALTY CO., LLC
 CURLA ROZAR                                DAY STAR
 CURRY COUNTY                               DAYJAY ASSOCIATES
 CURTIS 1000 INC                            DAYTON MALL II LLC
 CW GROTON SQUARE LLC                       DB VISIONWORKS
 CX SUNFLOWER LLC                           DBNET INNOVATIVE TECHNOLOGY
 CYBERSOURCE                                 INC
 CYNTHIA HARPER                             DBRA ATHENS PROPERTY
 CYPRESS COURTYARD II LLC                    INVESTMENT LP
 CYPRESS CREEK CO., L.P.                    DC USA OPERATING CO LLC
 CYPRESS FLAGSTAFF MALL LP                  DCG DEVELOPMENT C0
 D3 LUMBERTON LLC                           DCL ST LUCIE WEST LLC
 DAB INVESTMENTS-SOUTHPORT                  DCM LIMITED, LLC
  COMMONS                                   DDR ATLANTICO LLC SE
 DACK CARBON ASSOCIATES LP                  DDR BROOKSIDE LLC
 DAESHA LACY                                DDR DB SA VENTURES LP
 DAKOTA SQUARE MALL CMBS LLC                DDR DEL SOL LLC SE
 DALE PHAN                                  DDR ESCORIAL LLC SE
 DALLAS POLICE DEPT                         DDR FAJARDO LLC SE
 DALTON MALL LLC                            DDR ISABELA LLC SE
 DAMCO DISTRIBUTION SERVICES INC            DDR MIAMI AVENUE LLC
 DAN KLORES COMMUNICATION LLC               DDR NORTE LLC SE
 DANA REGO                                  DDR PALM VALLEY PAVILIONS LLC
 DANIEL G KAMIN MILLINGTON LLC              DDR RIO HONDO LLC SE
 DANIEL G. KAMIN SHOE STORES LLC            DDR TUCSON SPECTRUM LLC
 DANIEL H MEINKOW                           DDR WINTER GARDEN LLC
 DANIEL ZEPEDA                              DDRA MAPLE GROVE CROSSING LLC
 DANIELLE BADORE                            DDRA TANASBOURNE TOWN CENTER
 DANNY MEDINA                                LLC
 DANVILLE MALL LLC                          DDRM COFER CROSSING LLC
 DARI REALTY LLC                            DDRM RIVERSTONE PLAZA LLC
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 DDRTC EISENHOWER CROSSING LLC              DESERT SKY MALL LLC
 DDRTC FAYETTE PAVILLION III, IV            DESIREE CADOR
  LLC                                       DESIREE STEINER
 DDRTC TURKEY CREEK LLC                     DESOTO OWNERS LLC
 DDRTC VILLAGE CROSSING LLC                 DEVCON SHOPS LLC
 DDRTC WOODSTOCK SQUARE LLC                 DEVILLE DEVELOPMENTS LLC
 DE ANZA COUNTRY SHOPPING                   DEWAYNE CASTILLO DAVIS
  CENTER                                    DEXTER
 DE LA PAZ COSTEMALLE DFK SC                DEZINE NEWS INC
 DEB HEIDEMAN                               DGPOM MASTER TENANT LLC
 DEBBIE SCHWARTZ                            DIAL REALTY CHEYENNE MOUNTAIN
 DEBORAH A ORTEGA                            11 LLC
 DEBRA LABONTE                              DIALPAD INC
 DEBRA STEINMAN                             DIAMOND INVESTIGATIVE
 DEER PARK STATION LMTD                      CONSULTING
  PARTNERSHIP                               DIANA SURACE
 DEERBROOK MALL LLC                         DIANE KAY AND ALLEN J RANDALL
 DEES SUGARHOUSE CENTER LLC                 DIANNE LEFFLER WALES
 DEIDRE SMITH                               DIBA IMPORTS
 DEKALB ASSOCIATES LLC                      DIBANG SHOES CO. LTD.
 DEL SOL PLAZA LLC                          DIEDRE FERNANDEZ
 DELAWARE DIVISION OF REVENUE               DIGILUBE SYSTEMS INC
 DELL MARKETING LP                          DIGITAL EVOLUTION GROUP
 DELRAY REALTY ASSOC LLC                    DIGITAL FIRST MEDIA
 DELTA MB LLC                               DIMARCO BAYTOWNE ASSOC LLC
 DELTA PROPERTIES NY LLC                    DIMOND CENTER HOLDINGS LLC
 DEMAR LOGISTICS INC.                       DIMUCCI DEVELOPMENT CORP OF
 DENA RENEE EDWARDS                          CICERO II
 DENH AND FUNG INVESTMENT LLC               DIONE BREWSTER
 DENHA HOLDINGS LLC                         DIRECTOR FRO
 DENICE ONEAL                               DIRECTOR OF FINANCE
 DENISON PARKING INC                        DIRECTOR PROVINCIAL SALES TAX
 DENITA L LEE JOHNSON                       DISCOVERY HARBOUR SHOPPING
 DENNIS P MOORE                              CENTRE LTD.
 DENTCO INC.                                DISNEY
 DEPARTMENT OF LABOR &                      DISNEY CONSUMER PRODUCTS INC
  INDUSTRIES                                DISTRIBUIDORA PERUGIA SA DE CV
 DEPARTMENT OF PUBLIC HEALTH                DISTRICT OF CHILLIWACK
 DEPARTMENT OF REVENUE AND                  DISTRICT OF COLUMBIA
  TAXATION OF GUAM                          DL PROPERTIES
 DEPARTMENT OF TREASURY                     DMA - DUCHARME, MCMILLON &
 DEPARTMENT OF TREASURY OF                   ASSOC. INC
  PUERTO RICO                               DMC ENTERPRISES II LTD
 DEPTFORD TAX COLLECTOR                     DMC LOGISTICS
 DEREK DOYLE                                DMDE PROPERTIES LP
 DERFELTS BAXTER CHAPEL
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 DMI - DEVELOPERS OF MISSISSIPPI            DSRG LP COUNTRYSIDE
  INC                                        MARKETPLACE
 DOLORES ESLORA                             DSW DEVELOPMENT CORP.
 DOLPHIN MALL ASSOCIATES LLC                DSW WILMOT PLAZA LP
 DOLPHIN PLAZA LLC                          DT BROOKSIDE LLC
 DOMINIC BONADIO                            DTS SOFTWARE INC
 DOMINICK SCALI & ANGELA SCALI              DUDLEY WASHINGTON LLC
 DON PAULUS                                 DUFFERIN MALL HOLDINGS INC
 DONA ANA COUNTY TREASURER                  DULLES TOWN CENTER MALL, LLC
 DONAHUE & PARTNERS LLP                     DUNIA SOLORZANO
 DONAHUE SCHRIBER REALTY GROUP              DUNKIRK LTD PARTNERSHIP
 DONALD JOHNSON                             DURGA PROPERTY MANAGEMENT
 DONATELLA VIGNON                           DURHAM CITY/CNTY TAX
 DONGGUAN HOUSING PROVIDENT                  COLLECTOR
  FUND                                      DURKEE DRAYAGE COMPANY
 DONGGUAN LONGHUA SHOES CO                  DUSTIN HUDGINS
  LTD                                       DUSTIN PORTER
 DONGYI SHOES CO LTD                        DYLAN COX
 DONNA HISE                                 DYNAMEX, INC.
 DONOVAN GREEN                              DYNAMIC ASSETS LIMITED
 DORA SANTANA                               E V KRAUS CO INC
 DORAL HOLDINGS LIMITED                     E&N SPENO PROPERTIES
 DORMONT POLICE DEPARTMENT                  E.C.B. ANTIOCH, LLC
 DOROTHY SHEPARD                            E.S. ORIGINALS, INC.
 DORVAL PROPERTIES CORPORATION              EAGLE ELEVATOR COMPANY INC
 DOSH HOLDINGS INC                          EAGLE EXPRESS INC
 DOUG BELDEN HILLSBOROUGH                   EAGLE ROCK HOLDINGS LLC
  COUNTY                                    EARLE W KAZIS ASSOCIATES INC
 DOUG ROONEY                                EAST BROOK F LLC
 DOUGHERTY COUNTY TAX DEPT                  EAST BURNSIDE 5/19 LLC
 DOUGLAS CNTY TAX COMMISSIONER              EAST CEDARBROOK PLAZA LLC
 DOUGLAS COUNTY FALSE ALARM                 EAST COURT SHOPPING CENTER LP
  REDUCTION                                 EAST END FREEWAY PROPERTIES
 DOUGLAS COUNTY TAX COLLECTOR                INC
 DOUGLAS STAHL IMAGERY                      EAST FOREST PLAZA II LLC
 DOVER MALL LLC                             EAST MESA MALL LLC
 DOVER MGMT., INC.                          EAST ORANGE FIRE DEPARTMENT
 DOWNTOWN WOODINVILLE, LLC                  EASTEX VENTURE
 DREW COUNTY SHERIFF                        EASTGATE SHOPPING CENTER
  &COLLECTOR                                EASTGATE SQUARE GP INC
 DRG INTELLIGENT COMP CONCEPTS              EASTLAND CENTER MALL REALTY
 DROP HT LLC                                 HOLDING LLC
 DRY #2, LLC                                EASTLAND MALL LLC
 DS SERVICES                                EASTPORT PLAZA SHOPPING CENTER
 DSM MB I LLC                                LP
 DSRG - LAGUNA CROSSROADS                   EASTVIEW MALL LLC
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 EASTWAY I HOLDINGS, LLC                    ELKTON ASSOC. LP
 EATONTOWN MONMOUTH MALL LLC                ELLEN ANDERSON LOGAN TRUSTEE
 EBIX INC                                   ELLIE BRUCE
 ECA BULIGO ENTERPRISE PLAZA                ELLJAY PROPERTIES II, LLC
  PARTNERS LP                               ELMRIDGE ASSOCIATES LLC
 ECCLESTON & WOLF PC                        ELSA PAEZ
 ECHION USA INC AS AGENTS FOR 503           ELSIE CHAREST
 ECHO GLOBAL LOGISTICS INC                  ELVIRA NYKIEL
 ECOLAB                                     EMANDEL REALTY CO.
 ECONO MALLS HOLDINGS #25 INC               EMILY CERCE
 EDD ALLEN                                  EMILY CHANG
 EDISON MALL LLC                            EMILY FIGUEROA
 EDMUND R WOOD                              EMILY MOORE PRODUCTION
 EDNA GAYLE                                 EMILY ROSE GONZALEZ
 EDUARDO (GEORGE) GRESS                     EMILY ROSE HIRSCH HART
 EDWARD & MARGARET L. MUNOZ                 EMKAY CANADA LEASING CORP
 EDWARD L. MIRACLE                          EMKAY CARIBBEAN LEASING CORP
 EDWARD MEDINA                              EMKAY INC
 EDWARD SMITH                               EMMA VELEZ
 EDWIN BOYD ALDERSON                        EMPIRE COLUMBIA LP
  PROPERTIES, LLC                           EMPRESAS PUERTORIQUENAS DE
 EGC GREENRIDGE LP                           DESARROLLO IN
 EISENHOWER PROPERTIES LLC                  EMPYR, INC MOGL LOYALTY
 EKT GROUP LLC                               SERVICES
 EL CENTRO MALL LTD                         ENGIE INSIGHT SERVICES INC
 EL PASEO - CALEXICO LLC                    ENTERPRISE DAMAGE RECOVERY
 ELAINA DYER                                ENTERPRISE EAGLE PASS
 ELAINE LARSSON                              ASSOCIATES LP
 ELDRIDGE CROSSING LTD                      ENTERPRISE HOLDINGS INC
 ELECTRONICS SUPPLY CO., INC.               ENTERPRISE SHOPPING CENTER LLC
 ELGIN MALL INC                             EP PASEO SOUTH HOLDINGS, LLC
 ELIANA FELDSTEIN                           EQUIPMENT DEPOT
 ELIAS PROPERTIES CHAMPAIGN LLC             ERENDIRA MADRIGAL
 ELIAS PROPERTIES GULFPORT LLC              ERICA RODRIQUEZ
 ELIAS PROPERTIES MANAGEMENT                ERIK DIAZ
  INC                                       ERIKA SUAREZ
 ELIDA FARSANY                              ERIN WHITE
 ELITE INVESTIGATIONS, LTD NY               ERNST & YOUNG
 ELIZABETH CALDERON                         ERNST & YOUNG LLP
 ELIZABETH DWYER                            ESMERALDA SPELLMAN
 ELIZABETH JOHNSON                          ESO INTERNATIONAL LIMITED
 ELIZABETH KRUMMEL                          ESPRESSO TECH
 ELIZABETH LEASUM                           ESRT 1359 BROADWAY LLC
 ELIZABETH SALZANO                          ESTEBAN MEDINA
 ELIZABETH TERPSTRA                         ESTEFFANIA RANGEL
 ELIZABETH UNDERWOOD                        ESTUDIO CALDERA S.A.
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 ETHAN CONRAD PROPERTIES INC                FANTASIA HONG KONG LTD.
 ETR - 407 EXPRESS TOLL ROUTE               FARMINGVILLE ASSOCIATES
 EUCLID SHOPPING CENTER LLC                 FASHION SQUARE MALL REALTY LLC
 EUGENIA DECONGE                            FAULKNER COUNTY
 EUROPRO (TECUMSEH MALL) LP                 FAV REAL ESTATE VENTURE LP
 EVA GREEN SA DE CV                         FAY P SCHROTH TESTAMENTARY
 EVA LORENZOTTI                              TRUST
 EVELYN MARCIAL                             FAYETTE COUNTY
 EVELYN RUBALCABA                           FAYETTE MALL SPE LLC
 EVER SPOTLIGHT LTD.                        FAYK YASIN
 EVERGREEN SHIPPING AGENCY                  FCHT HOLDINGS (ONTARIO) CORP
  AMERICA CORP                              FEDERAL EXPRESS CORP.
 EVER-RITE INTERNATIONAL CO LTD             FEDERAL REALTY INVESTMENT
 EVERYTHING LEGWEAR LLC                      TRUST
 EWH ESCONDIDO ASSOC.,L.P.                  FEDERAL REALTY PARTNERS LP
 EXAM WORKS                                 FEDEX
 EXCEL EAST CHASE LLC                       FENDER INVESTMENT GROUP
 EXCEL REALTY PARTNERS LP                   FERN PARK PLAZA LLC
 EXPEDITORS INTERNATIONAL                   FERNANDO MARTINEZ & JOSE
 EXPEDITORS INT'L                            MARTINEZ
 EXPERIAN MARKETING SOLUTIONS               FERNCROFT NORTH MAIN MARKET
  INC                                        LLC
 EXPRESSWAY PLAZA SHOPS LTD                 FHM PARTNERS, LLC
 F I STEELYARD COMMONS LLC                  FIDC 85 LLC
 F.T. & MARJORIE BRUNDRETT                  FIDELITY REAL ESTATE AS AGENT
 FADINA INVESTMENTS, LLC                     FOR
 FAIR LAKES CENTERS ASSOCIATES II,          FIELDS STATION LLC
  LC                                        FIERA PROPERTIES CORE FUND LP
 FAIRFAX COMPANY OF VA. LLC                  FAIRGROUND
 FAIRLANE GREEN OWNER LLC                   FILA
 FAIRLANE MEADOWS ROLLUP LLC                FILA USA INC
 FAIRLESS HILLS SHOPPING CENTER             FILER HOLDINGS LLC
  LP                                        FINANCE COMMISSONER
 FAIRVIEW HUDSON 15 LLC AND 11-13           FINCH LLC
 FAIRVIEW POINTE CLAIRE                     FINDLAY VILLAGE MALL
  LEASEHOLDS                                FINELINE TECHNOLOGIES
 FAITH MISSION & HELP CENTER INC            FIRE KING SECURITY PRODUCTS LLC
 FALCON GATEWAY PROPERTY LLC                FIRE PREVENTION BUREAU
 FALLAS BORROWER I LLC                      FIREEYE INC
 FALLAS BORROWER II LLC                     FIRST ADVANTAGE CANADA INC
 FALLIS A BEALL & THOMAS D                  FIRST AMENDMENT & RESTATEMENT
  GOODNER                                    OF MASSIMO
 FANNIN COUNTY TAX                          FIRST AND MAIN NORTH LLC
  COMMISSIONER                              FIRST CAPITAL (CEDARBRAE) CORP
 FANTAS EYES                                FIRST CAPITAL (ST
 FANTASIA ACCESSORIES LTD                    CATHARINES)CORP
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 FIRST CAPITAL HOLDINGS (ONTARIO)           FORWARD AIR SOLUTIONS INC
  CORP                                      FOX RIVER MALL PARTNERS
 FIRST COLONY MALL LLC                      FOX RUN LIMITED PARTNERSHIP
 FIRST EAGLE DEVELOPMENTS, INC              FOX RUN MALL LLC
 FIRST INSIGHT INC                          FOX VALLEY MALL LLC
 FIRST MILTON SHOPPING CENTRES              FPI COMINAR
  LTD                                       FR SAN ANTONIO CENTER LLC
 FIRST PRINCE GEORGE DEV LTD                FR WESTGATE MALL LLC
 FIRST REAL ESTATE INVESTMENT               FRANCES HERNANDEZ
  TRUST OF NJ                               FRANCHISE BUSINESS SERVICES INC
 FIRST REAL PROPERTIES LIMITED              FRANCHISE TAX BOARD
 FIRST SERVICE NETWORKS INC                 FRANCIS ROPES
 FIS                                        FRANCISCO ROMERO
 FISE LLC                                   FRANCISCO HERRERA
 FIT FAMILY DEVELOPMENT LP                  FRANDOR LLC
 FIVE TOWN STATION LLC                      FRANHILL REALTY LLC
 FLAGLER SC LLC                             FRANK ADAMS
 FLATBUSH CHARTER PARTNERS LLC              FRANK C. ROBSON
 FLATIRON PROPERTY HOLDING LLC              FRANK C. ROBSON REVOCABLE
 FLETCHER BRIGHT                             TRUST
 FLEX-PAC INC                               FRANKLIN COUNTY COLLECTOR
 FLIPP CORPORATION                          FRANKLIN MILLS ASSOCIATES LP
 FLORENCE FLORENCE MALL FMH                 FRANKLIN PROPERTIES LTD LC
  LLC                                       FRANKLIN SQUARE 1136, INC
 FLORENCE MALL LLC                          FREDERICK POLICE DEPARTMENT
 FLORIDA DEPARTMENT OF REVENUE              FREEMALL ASSOCIATES LLC
 FLORIDA MALL ASSOCIATES LTD                FREIGHT SYSTEMS INC
 FLORY LANDSCAPING AND                      FREIGHT SYSTEMS INCORPORATED
  LAWNCARE                                   SLS
 FLOWER CITY PRINTING                       FREIGHT SYSTEMS, INC.
 FLOYD COUNTY TAX OFFICE                    FREMAUX TOWN CENTER SPE LLC
 FLY EARTH CO. LTD.                         FREMONT INDUSTRIES, INC.
 FONTANA SQUARE LLC                         FREMONT RETAIL PARTNERS LP
 FOOTHILL-PACIFIC TOWNE CT.                 FRIEDRICH GUENSCH
 FORDHAM CHERA ACQUISTION LLC               FRISCO STATION LLC
 FOREST HARLEM PROPERTIES LP                FRONTIER DEV ZEPHYRHILLS LLC
 FOREST PLAZA LLC                           FRONTIER DEVELOPMENT HIALEAH
 FORSYTH COUNTY                              LLC
 FORSYTH COUNTY-CITY TAX                    FRONTIER LYNCHBURG LLC
  COLLECTOR                                 FUEL CREATIVE STUDIO
 FORT SMITH MALL LLC                        FUJIAN PUTIAN FORTUNE CREATION
 FORTERRA, INC                               IMPORT
 FORTUNE CREATION CO. LTD.                  FUJIAN PUTIAN POWER RICH IMPORT
 FORTUNE WAY INTERNATIONAL CO.,              & EXPORT
  LTD                                       FULLER RBSC LLC
 FORWARD AIR SOLUTION INC
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 FULTON COUNTY TAX                          GASSO HOLDING CO. LLC
  COMMISSIONER                              GASTON COUNTY TAX COLLECTOR
 FULTON LAWRENCE LLC                        GATOR COASTAL SHOPPING CENTER
 FUSION ACCESSORIES GROUP                    LLC
  LIMITED                                   GAYLUCK CORPORATION
 FW WA-OVERLAKE FASHION PLAZA               GB MALL LP
  LLC                                       GCCFC 2007-GG9 NIAGRA FALLS
 G & I IX EMPIRE BIG FLATS LLC               BLVD LLC
 G&I IX CAMP CREEK PROPERTY LLC             GEJ NEWBURGH LLC
 G&I IX EMPIRE DELAWARE                     GEMA JIMENEZ
  CONSUMER                                  GEMINI PROPERTY MANAGEMENT
 G&I IX EMPIRE WALMART PLAZA                 LLC
  LLC                                       GEMTONE, INC.
 G&I IX ESPLANADE PROPERTY LP               GENERAL WIRELESS OPERATIONS
 G&I IX PALM VALLEY PAVILIONS               GENESIS CORP
  LLC                                       GENEVA SHOPPING CENTER LLC
 G&I VII BELLAIR PLAZA LLC                  GENEVIEVE RICHARDSON
 G&I VIII CBL TTC LLC                       GENNARO INC.
 G&I VIII HAMMOND LLC                       GENTILLY LLC 03935
 G.A.R. REALTY                              GEORGE BIRNBAUM
 G4S SECURITY SYSTEMS (GUAM) INC            GEORGE CUSHMAN
 GABINO GALVAN                              GEORGE GUBENER
 GABRIELA SEGURA                            GEORGETOWN MARKET PLACE INC
 GABRIELA VELASTEGUI                        GEORGETOWN TWP. TREASURER
 GAINESVILLE REALTY LTD.                    GEORGETOWNE CENTER BROOKLYN
 GALLAGHER BASSETT SERVICES INC              LLC
 GALLAGHER SHARP ATTORNEYS                  GEORGIA DEPARTMENT OF REVENUE
 GALLATIN MALL GROUP LLC                    GEORGIA-PACIFIC CORRUGATED LLC
 GALLATIN VALLEY MALL                       GERALD B DECLEMENTE
  MERCHANTS ASSN                            GERALD C BEAUCHESNE
 GALLERIA AT ROSEVILLE                      GERALD LABELLE ARCHITECT
 GALLERIA AT WOLFCHASE LLC                  GERALDINE LOPES-CHARRON
 GALLERIA DALLAS                            GERALDINE W STONEHOUSE
 GAMMA PROSPER INTERNATIONAL                GERARDO ALFONSO GONZALEZ
  LTD                                        COMPEAN
 GARDA CL TECHNICAL SERVICES INC            GERMAN GASTELUM
 GARDAWORLD CASH SERVICES                   GERMANTOWN OIL CO INC
  CANADA CORP                               GERRARD SQUARE INC
 GARDEN CITY PARK ASSOCIATES                GETRONICS
  LLC                                       GETTO & GETTO
 GARDEN CITY PLAZA LLC                      GF VALDOSTA MALL LLC
 GARDEN CITY PLAZA LTD                      GG RETAIL PROPERTIES LLC
 GARDENA POLICE DEPARTMENT                  GGMC PARKING LLC
 GARLAND COUNTY                             GGP ALA MOANA LLC
 GARRISON FONDREN LLC                       GGP GLENBROOK LLC
 GARY SOLOMON & CO.                         GGP LIMITED PARTNERSHIP
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 GGP LP-CUMBERLAND MALL                     GOLDEN PACIFIC LXJ
 GGP MEADOWS MALL LLC                       GOLDENROD SDC LLC
 GGP NORTHRIDGE FASHION CENTER              GOLDMAN INVESTMENTS LTD
  LP                                        GOLF PLAZA II SHOPPING CENTER
 GGP PROVIDENCE PLACE LLC                    LLC
 GGP STATEN ISLAND MALL LLC                 GOODMAN MANAGEMENT LLC
 GGP TUCSON MALL LLC                        GOODWIND DEV. CORP.
 GGP-FOUR SEASONS LP                        GOOGLE INC
 GGPLP LLC                                  GORDON COUNTY TAX
 GGPLP REAL ESTATE INC                       COMMISSIONER
 GGP-MAINE MALL LLC                         GORDON GROUP MISSOURI CITY LP
 GHGH REAL ESTATE LLC                       GORDON-KAREN PROPERTIES
 GIBRALTAR MGMT CO, INC., AGENT             GOSFORD AT PACHECO LLC
 GILLIAN BIGGS TRUSTEE                      GOVERNMENT OF THE U.S. VIRGIN
 GINA AKKAOUI                                ISLANDS
 GINA YOUNG                                 GOVERNORS SQUARE LLC
 GIRARDI PARK PLACE LLC                     GOVERNOR'S SQUARE MALL LLC
 GIV GREEN TREE MALL INVESTOR               GP-MILFORD REALTY TRUST
 GK HOLIDAY VILLAGE LLC                     GPR INVESTMENTS LLC
 GK PREFERRED INCOME II                     GR-3 ASSOCIATES
  RIDGEMAR SPE LLC                          GRACE ARAGON-MENZEL
 GKT CENTRAL TOWNE SQUARE LLC               GRACE CAPITAL INVESTMENT
 GKT THORNCREEK PLAZA LLC                    CORPORATION
 GLANCE EYEWEAR                             GRACIELA GASTELUM
 GLASER PROPERTIES MEMPHIS TWO              GRAINGER
  LLC                                       GRAND BALDWIN ASSOCIATES
 GLEASON MALL LP                            GRAND CENTRAL PARKERSBURG
 GLENWOOD PLAZA LLC                          LLC
 GLENWOOD SPRINGS MALL LLLP                 GRAND DUNHILL LLC
 GLIMCHER MJC LLC                           GRAND TETON MALL LLC
 GLIMCHER SUPERMALL VENTURE                 GRAND TRAVERSE MALL LLC
  LLC                                       GRANVILLE STREET PROPERTIES,
 GLOBAL WEBB LP                              INC.
 GLOCAP SEARCH LLC                          GRAPEVINE MILLS MALL LIMITED
 GLORIA LUGO                                 PARTNERSHIP
 GLORY CHINA FOOTWEAR CO                    GRAY ENTERPRISES LP
  LIMITED                                   GREAT LAKES CARING HOSPICE
 GLYNN CTY BD OF COMMISSIONERS              GREAT WORLD PROPERTIES LTD.
 GMA PROPERTIES LLC                         GREECE RIDGE LLC
 GNP PARTNERS                               GREELEY MALL CO LLC
 GOANIMATE                                  GREEN 5 PROPERTY LLC
 GOBIERNO MUNICIPAL AUTONOMO                GREEN MOUNT CROSSING LLC
  DE CAROLINA                               GREEN OAK OWNER 1 LLC
 GODFREY CORT                               GREEN PRESERVE LLC
 GOLD COUNTRY SC LP                         GREENBRIER MALL II, LLC
 GOLDEN MILE INVESTMENT CO.                 GREENBURGH POLICE DEPARTMENT
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 GREENE COMMERCIAL RE GROUP                 HAMILTON MALL LLC
  INC                                       HAMILTON TC LLC
 GREENE COUNTY COLLECTOR                    HAMMOND & HAMMOND RENTAL
 GREENSPRING ASSOCIATES                      PROP.
 GREENTOUCH LAWN & TREE                     HAMTRAMCK CENTER LLC
 GREENWAY PLAZA LLC                         HANES BRANDS INC
 GREENWOOD MALL                             HAP PROPERTY OWNER LP
 GREENWOOD PARK MALL LLC                    HARDIN COUNTY SHERIFF
 GREG BEETS                                 HARFORD MALL BUSINESS TRUST
 GREGG SELTZER DBA GTG                      HARLAN C ERICKSON TRUST UTD 12-
  ASSOCIATES                                 15-88
 GRENDENE S.A.                              HARLAN D. AND MAXINE DGL
 GRETCHEN ST CLAIR                          HARLAN D. AND MAXINE DOUGLASS
 GRI-EQY (PRESIDENTIAL MARKETS)             HARMAN REALTY BROOKLYN LLC
  LLC                                       HARMON FAMILY LLC
 GRIFFIN CROSSROADS LLC                     HARNETT COUNTY TAX COLLECTOR
 GROUP M PUERTO RICO INC                    HARNEYS CORPORATE SERVICES
 GROVE CITY FACTORY SHOP&                    LIMITED
  WACHOVIA                                  HARRIS COUNTY
 GRUNDY COUNTY COLLECTOR                    HARRISBURG MALL LP
 GS PACIFIC ER LLC                          HARRISVILLE CITY
 GSC PROPERTIES LLC                         HARRISVILLE ROGERS LC
 GTA OFFICE WEST INC                        HARTMAN RICHARDSON HEIGHTS
 GTM DEVELOPMENT LTD                         PROP
 GUFFEY ROLLA PROPERTIES LLC                HARTUNIAN LLC
 GULF VIEW REALTY LLC                       HARVARD DEVELOPMENTS INC
 GUMBERG ASSET MANAGEMENT                   HARVEY A. TOLSON
  CORP                                      HARVEY CAPITAL CORP
 GUNN APPLIANCE REPAIR                      HARVEY LINDSAY COMMERCIAL R/E
 GWINNETT COUNTY TAX                        HAT #1 LLC
  COMMISSIONER                              HAWK COMMERCIAL PROPERTIES
 GWINNETT PLACE MALL GA LLC                  LLC
 GWL REALTY ADVISORS INC ITF                HAWTHORN LP
 GWL REALTY ADVISORS INC, ITF               HAWTHORNE ACQUISITION LLC
 H & M SYSTEMS SOFTWARE, INC.               HAYDAY, INC.
 H E B LP                                   HAYLEY PATER MCCAFFREY
 H/S FLORENCE LLC                           HAYS MALL LLC
 HAB-BPT                                    HAZLET TOWNSHIP
 HAERI HACIENDA PLAZA LLC                   HC LAKESHORE LLC
 HAGERSTOWN PREMIUM OUTLETS                 HEAP INC
 HALES FAMILY LP #1                         HEARTLAND COCA COLA BOTTLING
 HALEY MITCHELL                              COMPANY
 HALIFAX COUNTY TAX DEPT.                   HEATH FRANKE
 HALPERN PROPERTIES LLC                     HEATH METTLER
 HAMDEN PLAZA ASSOCIATES LLC                HEATHER D GRUNERT
 HAMILTON II LLC                            HEATHER SKAPINOK
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 HEAVEN WOOD                                HINSHAW & CULBERTSON LLP
 HEBCO DEVELOPMENT INC                      HIRAM PAVILION OWNER LLC
 HEIDY MIRANDA                              HIXSON MALL LLC
 HEIGHTS RETAIL LTD                         HJN FAMILY LLC
 HEKEMIAN & CO., INC.                       HK NEW PLAN ERP PROPERTY
 HELEN SHISHKO                               HOLDINGS LLC
 HEMET VALLEY CENTER LP                     HMC DYSART, LLC
 HEMPSTEAD COUNTY COLLECTOR                 HMVP HILLTOP INC
 HEMPSTEAD LEVITTOWN ASSOC. LLC             HNC CAPITAL LLC
 HENDERSON-PROSPECT PARTNERS                HOGAN TRANSPORTS INC
  LP                                        HOLIDAY INN EXPRESS HOTEL &
 HENDON GOLDEN EAST LLC                      SUITES
 HENRY COUNTY FIRE DEPARTMENT               HOLLYWOOD RETAIL VENTURES LLC
 HENRY COUNTY TAX                           HOLMDEL TOWNE CENTER LLC
  COMMISSIONER                              HOLYOKE MALL CO LP
 HENRY K WORKMAN JR TRUSTEE                 HOLZMAN GROUP LTD
 HERITAGE PROPERTIES                        HOMCO REALTY FUND (186) LP
 HERITAGE REALTY LLC                        HONEY CREEK MALL LLC
 HERLINDA CIARMOLI                          HONG KONG NORTHWEST
 HERZOG SUPPLY CO., INC.                     INVESTMENT LLC
 HEWLETT PACKARD FINANCIAL                  HONG KONG OLISA CO LIMITED
  SERVICES                                  HOOD COMMONS BSD LLC
 HG GALLERIA LLC                            HOOPP REALTY (MARLBOROUGH)
 HH BROWN INT'L SOURCING                     INC
 HHW ST LANDRY PROPERTIES LLC               HOOPP REALTY INC
 HICKORY FIRE DEPARTMENT                    HOOVER ELEVEN HOLDINGS LLC
 HICKORY RIDGE COMMONS, LLC                 HOOVER MALL LIMITED LLC
 HIGH NOB-RANGELINE LLC                     HOPEWELL AB
 HIGH POINTE COMMONS HOLDINGS               HOPPER PROPERTIES, LP
  LP                                        HOUSTON COUNTY TAX
 HIGHCOM INTERNATIONAL LIMITED              HOUSTON GULFGATE PARTNERS LP
 HIGHLAND KINGDALE ASSOCIATES,              HOWARD BARNES
  LLC                                       HSG-KRE OAK LAWN PROPERTY
 HIGHLAND LAKES PROPERTY, LLC                OWNER LLC
 HILCO REAL ESTATE LLC                      HT WEST END LLC
 HILLCREST MALL MANAGEMENT INC              HUB GROUP ASSOCIATES INC.
 HILLSBORO PARTNERS LLC                     HUGE DEVELOPMENT LTD.
 HILLSBOROUGH BOARD OF FIRE                 HUH DI/OCP CROSSLANDS, LLC
  COMMISSIONERS                             HULEN MALL LLC
 HILLSBOROUGH COUNTY TAX                    HUNTER RETAIL CNTR LLC
  COLLECTOR                                 HUNTINGTON ALARMS
 HILLSIDE CENTRE HOLDINGS INC               HUNTINGTON MALL
 HILLSIDE PLAZA, LLC                        HVTC INC
 HILLTOP PLAZA LLC                          HWA ENTERPRISES
 HINDS COUNTY TAX COLLECTOR                 HYLAN PLAZA 1339 LLC
 HINESVILLE CENTER LLC                      HYMAN FAMILY TRUST
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 HZD PROPERTY OWNER LLC                     INTEGRATED LOGISTICS LLC
 I & R LLC                                  INTEGRIS VENTURES-SC LLC
 I9 ADVANTAGE                               INTEGRIS VENTURES-WR LLC
 IA DENVER QUEBEC SQUARE LLC                INTELLIGRATED SYSTEMS LLC
 IA GARNER WHITE OAK LLC                    INTERLOOP LIMITED
 IA GREELEY CENTERPLACE LLC                 INTERNATIONAL CENTER INC
 IA HOUSTON NORTHWEST LIMITED               INTERNATIONAL IMPUTED INTEREST
   PARTNERSHIP                              INTER-PACIFIC CORP.
 IA MONROE POPLIN LLC                       INTERTEK INTERNATIONAL INC
 IA OKLAHOMA CITY ROCKWELL LLC              INTERTEK TESTING SERVICES
 IA SAN ANTOINIO WESTOVER, LLC              INVERSIONES JOSELYMARI SE
 IA SAN ANTONIO WOODLAKE L/P                IP ATTORNEYS GROUP LLC
 IAN D. FORBES                              IRA M. KOHN CO.
 IAN HUNTER                                 IRAMCO REALTY & MGMT., INC.
 IAN M KING                                 IRC RETAIL CENTERS
 IBERIA PARISH SCHOOL BOARD                 IRC RETAIL CENTERS MANAGEMENT
 IBISWORLD, INC                               INC
 IBM                                        IRIS CASTILLO
 ICIMS, INC                                 IRON MOUNTAIN
 IDX CORPORATION                            IRON MOUNTAIN CANADA
 ILDA GUZMAN                                  OPERATIONS ULC
 ILLINOIS STAR CENTRE LLC                   IRONDEQUOIT TK OWNER LLC
 IMAGINE PROPERTIES ENT LLC                 IRONWOOD SQUARE WEST LLC
 IMANI EDUCATION CIRCLE CHARTER             ISABEL LEPE
   SCHOOL                                   ISLA DEL SOL ASSOCIATES LTD
 IMG MODELS INC                             ISRAEL LOPEZ
 IMG PRODUCTION LLC                         IVAN DIAZ
 IMPERIAL COUNTY WEIGHTS AND                IVANEL BIANCHI
   MEASURES                                 IVANHOE CAMBRIDGE II INC
 IMPERIAL VALLEY MALL II, LP                IVANHOE CAMBRIDGE II, INC
 IMPORT SOLUTIONS DE MEXICO,S DE            IVANHOE CAMBRIDGE INC
   RL DE CV                                 J & S TELLERMAN LLC 2464
 INDEPENDENCE COUNTY                        J.B. HUNT TRANSPORT, INC.
   COLLECTOR                                J.T. DUNN JR 200118
 INDIAN MOUND MALL                          J.W. RICH INVESTMENT CO
 INDIAN VALLEY PLAZA INC                    JACK C. HUTCHINSON
 INDIGO PARK CANADA INC                     JACK COUNTY APPRAISAL DISTRICT
 INDUSTRIAL AIR CENTERS INC                 JACK COUNTY ASSESSOR
 INFINITY CLASSICS INTERNATIONAL              COLLECTOR
   INC                                      JACK KATZ & MANUEL MUNOZ
 INGLES MARKETS INC.                        JACK MARTIN
 INGLES MARKETS, INCORPORATED               JACKIE JENKINS
 INNOVATIVE DESIGNS, LLC                    JACKSON CORP
 INSIDEOUT DEVELOPMENT                      JACKSON CROSSING REALTY LLC
 INSTITUTO LEGAL LAVORAL Y DE               JACKSON CROSSING SPE LLC
   MEDIACION                                JACKSON RECRUITING GROUP
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 JACKSON SQUARE INVESTORS LLC               JEFFERSON ASSOCIATES LP
 JACKSONVILLE MEDICAL PLAZA                 JEFFERSON COUNTY
  OWNER LLC                                 JEFFERSON COUNTY SHERIFF'S OFC
 JACKSONVILLE MZL LLC                       JEFFERSON COUNTY TAX
 JACKSONVILLE REGIONAL CENTER                 COLLECTOR
  LLC                                       JEFFERSON COUNTY, DEPT. OF REV
 JACKSONVILLE SHERIFF'S OFFICE              JEFFERSON MALL CMBS LLC
 JACQUELINE MATHIS                          JEFFERSON POINTE SPE LLC
 JACQUELINE MIRANNE                         JEFFERSON-MARUMSCO 1, LLC
 JACQUELYN WIGGIN                           JEFFREY AMMON
 JADA THOMAS                                JENEL MGMT. CORP.
 JADE WOODLAND LLC                          JENNIFER BUESSING
 JAJIMMY LLC                                JENNIFER CASTANEDA
 JALINNE ESPINOZA                           JENNIFER CASTRO
 JAMES ESSARY                               JENNIFER DENTINGER
 JAMES MORTLAND                             JENNIFER FALLON
 JAMES PETERSON                             JENNIFER GOODELL
 JAMESSA SMITH                              JENNIFER GUTIERREZ
 JAMESTOWN S SHORE CENTER LP                JENNIFER KRUPA
 JAMI KLINE                                 JENNIFER MAURITZ
 JAMIE FERNANDES                            JENNIFER MOSLEY
 JAMIE FISHER                               JENNIFER QUILES
 JAMIKA BERRYMAN                            JENNIFER ROBERTS
 JANET SERVIN                               JENNIFER ROBNETT
 JANET VALENCIA                             JENNIFER TROUT
 JARDEL CO., INC.                           JENNIFER WILD
 JASAN LLC                                  JERI ANDERSON
 JASMINE FULLER                             JERRY R DAVIS
 JASMINE VALADEZ                            JERSEY CITY MUA
 JASON ASSOCIATES LLC                       JESA INVESTMENT LLC
 JASON FOX                                  JESELL HURTADO
 JASON HANNAH                               JESSE KNIGHT
 JASON S. STEPHENS                          JESSICA BROWN
 JASPER COUNTY COLLECTOR                    JESSICA CONRAD
 JAY AND SNOW (JS) INT'L LTD                JESSICA GALE
 JAY H & NANCY A GRANT                      JESSICA RIGGS
 JAY HARRIS                                 JESSICA SERNA
 JAY HENDRICK                               JESSICA STARR
 JAY JOHNSON                                JESSICA TURNEY
 JAYHAWK TOWER CORP.                        JESSICA WEINER
 JAYNIE HAKEEM                              JG ELIZABETH II LLC
 JAZZY GADDY                                JG WINSTON-SALEM LLC
 JDC PROPERTIES                             JHON E CADAVID
 JDN REAL ESTATE HAMILTON LP                JHR HOLDINGS LLC
 JEAN A JOSEPHO                             JIANGXI LIFENG SHOES CO LTD
 JEFF VANDEVEN                              JILL HARDY
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 JIM BONDS ENTERPRISES INC                  JOSE J CANTU
 JKS-MARSHALL, LP                           JOSE Y ENCARNACION
 JLJ ASSOCIATES                             JOSEPH AKEROYD
 JM111998 LLC                               JOSEPH HAMMERSCHMIDT CO
 JMCR SHERMAN LLC                           JOSEPH R. JESTER IV LLC
 JOAN M DAHLE TRUST                         JOSEPH SIEGELE
 JOANN ZEITVOGEL                            JOSEPH T. CAMISA & MADELINE L.
 JOANNE BLANCHARD                           JOSEY/TRINITY MILLS LTD
 JOAO CARNIERO LACERDA                      JOSHUA CUNNINGHAM
 JOCEE REALTY CORP                          JOY JONES
 JOCELYN OMEN                               JOYCELIAN SIMS
 JODI FENDER                                JPMCC 2006-LDP7 CENTRO ENFIELD
 JOEL D ARTHUR TRUSTEE OF THE                LLC
   VOWEL                                    JPMCC 2006-LDP9 NORTH RAINBOW
 JOFRESH LLC                                 BLVD LLC
 JOHANNA ALMESTICA                          JPMG MANASSAS MALL OWNER LLC
 JOHN A PORTER JR                            201563
 JOHN BUTLER                                JPMO5-CIBC12 FORT STEUBEN MALL
 JOHN C WINDLE TRUSTEE OF THE               JRL LIBERTY 1133 LLC
 JOHN G. VENINI INVESTMENTS LTD.            JUAN SOLANO JR
 JOHN HOSKINS                               JUAN VALDEZ
 JOHN J CAVALDORO                           JUBILEE-CLINTON II LLC
 JOHN OZEREKO                               JUDITH NUNEZ
 JOHN P. HOOTEN, TRUSTEE                    JUDITH STERN CANNON & GARY B
 JOHN W QUINN III TEST TR                    CANNON
 JOHNNEISHA MOTT                            JULIA CAYWOOD
 JOHNSBOROUGH CORNER LLC                    JULIA DEVORE
 JOHNSON CONTROLS FIRE                      JULIANNE SAUNDERS
   PROTECTION LP                            JULIANNE YINGLING
 JOHNSON CONTROLS SECURITY                  JULIE MERVYN
   SOLUTIONS                                JULIEN PERRIN
 JOHNSON COUNTY COLLECTOR OF                JULIO D DELGADO
   REVENUE                                  JULIO PENA
 JOHNSON COUNTY TREASURER                   JUNGE ASSOCIATES LLC
 JOHNSTOWN COMRIE ASSOCIATES                JW FRANKLIN CO
   LLC                                      KACI PROPERTY MANAGEMENT INC
 JOHNSTOWN S/C LLC                          KAITLIN RICHETTI
 JOLIET HILLCREST LLC                       KALENA RAMSEY
 JONATHAN FRAZIER                           KALEY HANN
 JONATHAN MARTIN                            KAMEELAH ROBINSON
 JONATHAN MOUTON                            KAMEHAMEHA CENTER CO
 JONATHAN NEIL & ASSOCIATES INC             KAMERON LE FRERE
 JORDAN CARNEY                              KANSAS BAR ASSOCIATION
 JORDAN CREEK TOWN CENTER LLC               KANSAS CITY SERIES OF LOCKTON
 JORIAN PARK LLC                             CO LLC
 JOSE CAMARENA                              KANSAS TECHNICAL SERVICES INC
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 KARAMOH JALLOH                             KERMANIDIS REALTY TRUST
 KARELYNA LLC                               KERN GROUP INC
 KAREN DIAZ                                 KESHIA WILSON
 KAREN WHITSON KAPLAN                       KEVIN COGGIN
  REVOCABLE                                 KEVIN EVANS
 KARIN BERGH HALL TRUSTEE                   KEVIN HUNDLEY
 KARINA SANCHEZ                             KEVIN RELITZ
 KARL HODOH                                 KEVKOR LLC
 KARLA ARZATE WENCE                         KEYSER AVENUE PROPERTIES LLC
 KARLA CARCACHE                             KEYSHA DYE
 KARLA VILLANUEVA                           KHALID MIRZA
 KARVIS JERNIGAN                            KHURRAM UDDIN
 KATARZYNA GACEK                            KIE INVESTMENTS LLC & BJI
 KATE REID                                   INVESTMENTS LL
 KATHERINE ALLEN                            KIMBERLY ASTOQUILLCA
 KATHERINE DIERKING                         KIMBERLY BAIRES
 KATHRYN BALL                               KIMBERLY KRIEGER
 KATHRYN FRAZER                             KIMBERLY LAYFIELD
 KATHRYN WILEY                              KIMBERLY LESH
 KATIE HERRERA                              KIMBERLY SPANULO
 KATIE MAYNE                                KIMCO BROWNSVILLE LP
 KATY MILLS MALL LP                         KIMCO CARROLLWOOD 664, INC.
 KAW VALLEY STATE BANK & TRUST              KIMCO DELAWARE INC
 KAWTAR TURCIOS                             KIMCO L-S LIMITED PARTNERSHIP
 KAYLA BEJAR                                KIMCO REALTY CORPORATION
 KAYLA PIEU SINBANDIT                       KIM-SAM PR RETAIL LLC
 KAYLEN SIVERTSON                           KIMSCHOTT FACTORIA MALL LLC
 KAYLI ANDERSON                             KIN PROPERTIES INC
 KB PARKSIDE LLC                            KING CITY IMPROVEMENTS LLC
 KC STORE FIXTURES                          KING CITY MERCHANTS ASSN
 KCTTC                                      KING COUNTY FINANCE DIVISION
 KDI ATHENS MALL LLC                        KING OF PRUSSIA ASSOCIATES
 KDI ATLANTA MALL LLC                       KING PROPERTIES
 KDI RIVERGATE MALL LLC                     KINGMAN PLAZA LLC
 KEKST                                      KINGOTT, LLC
 KELLER FIRE & SAFETY, INC.                 KINGSGATE MALL LP
 KELLI M BOWIN                              KINGSPORT MALL LLC
 KELLY COLF                                 KINGSTON MALL LLC
 KELLY WATTS                                KINGSTOWNE TOWNE CENTER
 KENAI PENINSULA BOROUGH                    KINGSWAY GARDEN HOLDINGS INC
 KENNEDY MALL                               KIOP BRANFORD LLC
 KENTON COUNTY SHERIFF                      KIR BRANDON 011 LLC
 KENTUCKY STATE TREASURER                   KIR CITYPLACE MARKET LP
 KERI LYNN HENDERSON                        KIRKWOOD MALL ACQUISITION LLC
 KERISHA PETERSON                           KIRSTEN ENRIGUEZ
 KERMAN SHOPPING PLAZA LLC                  KITSAP MALL LLC
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 KLAIRMONT ENTERPRISES INC                  LA COLUMBUS LLC
 KLEMENT-WES PARTNERSHIP LTD.               LA CROSSE CITY TREASURER
 KM FRESNO INVESTORS LLC                    LA HABRA WESTRIDGE PARTNERS LP
 KMART CORP                                 LA PORTE COUNTY TREASURER
 KMC LIMITED PARTNERSHIP                    LA ROSAS INC
 KNIGHTDALE CENTER LLC                      LABOR STAFFING INC TENNESSEE
 KNOXVILLE PARTNERS LLC                     LAFOLLETTE DEED OF REALTY
 KOFFMAN-MCENTEE LLC                         CREATING
 KR STRATFORD LLC                           LAFRAMBOISE REALTY LLC
 KRAGEN PROPERTIES LLC                      LAINIE ZIMMERMAN
 KRE BROADWAY MALL OWNER LLC                LAIRD PLASTICS
 KRE COLONIE OWNER LLC                      LAKE AIR HOLDINGS LLC
 KRG CEDAR HILL PLAZA, LP                   LAKE ELSINORE CENTER LLC
 KRG DRAPER PEAKS LLC                       LAKE HAVASU CITY
 KRG HENDERSON EASTGATE, LLC                LAKE MANAWA CENTRE II, LLC
 KRG INDIAN RIVER LLC                       LAKE STEVENS GRF2, LLC
 KRG KOKOMO PROJECT COMPANY                 LAKELAND SQUARE MALL LLC
  LLC                                       LAKELAND VENTURE, INC.
 KRG LAS VEGAS CENTENNIAL                   LAKES MALL REALTY LLC
  CENTER LLC                                LAKEVIEW SQUARE LLC
 KRG LAS VEGAS EASTERN BELTWAY,             LAKEWOOD RETAIL LLC
  LLC                                       LAKHA PROPERTIES-LAKEWOOD TC
 KRG PALM COAST LANDING LLC                  LLC
 KRISTA GINGRICH                            LAMAR E GWALTNEY
 KRISTEN MARTIN                             LAMIA GILLIAM
 KRISTEN RODGER                             LAMONICA LTD
 KRISTIN DANIELS                            LANA ROTAN
 KRISTIN SMITH                              LANCASTER PARTNERS
 KRISTINE PRACTICO                          LANDING VENTURE ASSOCIATES LLC
 KRISTY OCONNER                             LANDINGS REALTY LLC
 KRYSTLE HAWK                               LANDSTAR RANGER INC
 KS EGLINTON SQUARE INC                     LANES MILL ASSOCIATES, LLC
 KS HERITAGE PLACE INC                      LANGLEY PARK PLAZA INC
 KS LAMBTON MALL INC                        LANSDOWNE MALL INC
 KS TECUMSEH MALL INC                       LANSING MALL LLC
 KSE MANUFACTURING INC                      LARAMIE COUNTY TREASURER
 KUEHNE & NAGEL LTD                         LARGO LLC
 KURTIS WALTER                              LARRY E NIKKEL
 KURTUS POWELL                              LARRY RHODES
 KUWAIT MINISTRY OF FINANCE                 LAS AMERICA'S PREMIUM OUTLETS,
 KVC INVESTORS, LLC                          LLC
 KWEST RESOURCES INC                        LATEEF NASIRU
 KYLE AFFRONTI                              LATIN WORLD ENTERTAINMENT
 L&J MANCHESTER III, LLC                     HOLDINGS
 LA ALAMEDA LLC                             LATISHA PERKINS
 LA CIENEGA SAWYER LTD
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 LAUDERHILL MALL INVESTMENT                 LEVCOM WALL PLAZA ASSOC.
  LLC                                       LEVCOM-PLAZA RT. 46 ASSOC.
 LAURA GILBERT                              LEVIN MGMT. CORP.
 LAURA KEISLING COLLECTOR                   LEVYCO LLC
 LAURA MOLINA                               LEWIS COMMERCIAL PROPERTIES
 LAURA PERALTA                               LLC
 LAURA QUERO                                LEXINGTON-FAYETTE URBAN CO
 LAUREL MALL LP                              GOV
 LAUREN JEFFORDS                            LEXINGTON-FAYETTE URBAN
 LAUREN KELLER                               COUNTY GOVT
 LAURIE DESALVO                             LF2 ROCK CREEK LP
 LAVALE ASSOCIATES II LLC                   LFUCG
 LAVI INDUSTRIES                            LG WALNUT SQUARE LLC
 LAWRENCE FALSE ALARM                       LGM EQUITIES LLC
  REDUCTION PROGRAM                         LI & FUNG (TRADING) LIMITED
 LAWRENCE QUEEN PLLC                        LIBERTY DISTRIBUTION COMPANY
 LAWRENCEVILLE MARKET 1707 LLC               LLC
 LAWSON ROBERTS                             LICENSE AND FINE ACCOUNT
 LAYTON HILLS MALL CMBS LLC                 LIDIA RAMIREZ
 LAZ PARKING COLORADO                       LIGHTHOUSE PLAZA LLC
 LB UBS 2007-C7 SHORE RD                    LIGHTHOUSE VILLAGE PARTNERS
 LB-UBS 2007-C6 INDIAN HILLS                 LLC
  STATION LLC                               LILES GAVIN PA
 LCI-SVAP NDM JV, LP                        LILLIANA MELGAR
 LE CARREFOUR LAVAL (2013) INC              LIMITED ENERGY CONCEPTS
 LEA COUNTY TREASURER                       LIN DEE LIU & YU SHENG VICTOR LIU
 LEAVENWORTH COUNTY                         LINCOLN PLAZA CENTER LP
  TREASURER                                 LINCOLN SHOPPING CENTER LLC
 LEBANON PAD LP                             LINCOLNWOOD TOWN CENTER, LLC
 LEBANON VALLEY MALL CO.                    LINDA B. LYON REVOCABLE TRUST
 LEE CHRISTENSEN                            LINDA BEACH ZOLLER
 LEE COUNTY TAX COLLECTOR                   LINDA HARRAR-OLSTYN
 LEE LINDEN                                 LINDA JOHNSON
 LEESBURG PIKE CENTER LLC                   LINDA M PARSONS REVOCABLT
 LEHIGH VALLEY MALL LLC                      TRUST
 LEON HARARY, INC.                          LINDELL MARKET PLACE LP
 LERNERS LAWYERS                            LINDEN PLAZA LLC RESTRICTED
 LEROI B GARDNER JR MD                       DACA ACCT
 LES IMMEUBLES DU CARRE                     LINDSEY BATENHORST
 LES IMMEUBLES DU CARREFOUR                 LINDY LOMA
  RICHELIEU                                 LINE 14 VENDOR
 LESIA BEZENAR                              LINEAGE
 LESLIE PIERCE                              LINKEDIN CORPORATION
 LESLYE ROMERO                              LISA LOCKMAN
 LESTER SCHWAB KATZ & DWYER                 LISA MERRITT
 LETICIA HUIZAR                             LISA MILLER
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 LISA SLATER ORGANIZATIONAL                 LYCOMING MALL REALTY HOLDING
  DESIGN LLC                                 LLC
 LISA YI KIM                                LYLA ASSOCIATES LLC
 LISSAN GRIZZLE                             LYNDSEY FLORES
 LITTLER MENDELSON                          LYNN VALLEY SHOPPING CENTRE
 LIVERN WELLINGTON                          LYNNETTE BROOKS
 LIZ MONTANEZ                               LYNNHAVEN MALL LLC
 LIZBETH LEYVA                              LYSA DEESE
 LJ NORTHLAKE LLC                           M & M INVESTMENTS LLC
 LOFFREDO FRESH PRODUCE CO, INC             MABELVALE PLAZA LLC
 LOGAN VALLEY REALTY LLC                    MACARTHUR PARK LP
 LOGISTICS SERVICE (PANAMA) S.A             MACDADE MALL ASSOCIATES LP
 LOMBARDO COMPANIES LP                      MACERICH BUENAVENTURA LP
 LONDONDERRY SHOPPING CENTRE                MACERICH CERRITOS LLC
  INC                                       MACERICH DEPTFORD LLC
 LONG BEACH CENTER LLC                      MACERICH FRESNO LP
 LONG DRIVE VENTURES, LLC                   MACERICH LAKEWOOD LP
 LONG YEAR INTERNATIONAL SHOES              MACERICH NIAGARA LLC
  COMPANY LT                                MACERICH NORTH PARK MALL LLC
 LOOMIS FARGO & CO                          MACERICH SOUTH PARK MALL LLC
 LOR CORPORATION                            MACERICH VICTOR VALLEY LP
 LORELEI LANE                               MACERICH VINTAGE FAIRE LP
 LOS ANGELES COUNTY                         MACERICH WESTSIDE PAVILION
 LOUFRANCO PROPERTIES INC                    PROP LLC
 LOUISIANA DEPT OF AGRICULTURE              MACOMB CENTER HOLDINGS LLC
  & FORESTRY                                MACOMB CENTER PARTNERS LLC
 LOUISVILLE FARP                            MACYS RETAIL HOLDINGS INC
 LOURDES BURCIAGA                           MADDY MIREMBE
 LOURDES COBIAN CHAVEZ                      MADELINE HECK
 LOVELESS/TOLLEFSON PROPERTIES              MADERA CAPITAL LP
 LOWNDES COUNTY TAX COMM.                   MADIA FRANKLIN
 LOYAL HOLDINGS DE LLC FBO                  MADISON CO. SALES TAX DEPT.
 LP SOFTWARE, INC                           MADISON COUNTY TAX COLLECTOR
 LR LACEY MARKET SQUARE LLC                 MADISON EAST TOWNE LLC
 LRC MAGIC INVESTORS LTD                    MADISON SELLENRIEK
 LSREF3 SPARTAN GENESSEE LLC                MADISON WEST TOWNE LLC
 LTL ITALIAN DESIGN LLC                     MAELIA SIERRA
 LUAN INVESTMENT, S.E.                      MAFRI HOLDINGS, INC.
 LUCIA CHEA                                 MAGIC VALLEY MALL LLC
 LUCIA HERRERA                              MAGNOLIA S/C ASSOCIATES LLC
 LUIS ARMENDARIZ                            MAGNUM GROUP LLC
 LUIS DERAS                                 MAGRINO
 LUISA BUITRON                              MAI ASSOCIATES LLC
 LUISA RIOS                                 MAIJO LLC
 LUX ACCESSORIES LTD                        MAILFINANCE
                                            MAINPLACE SHOPPINGTOWN LLC
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 MAKENZIE ALLISON                           MARCI EDER
 MALCOLM R LANDRUM                          MARCO HERNANDEZ
 MALL AT AUBURN LLC                         MARCOTT HOSIERY LLC
 MALL AT CONCORD MILLS LIMITED              MARIA BOLANOS
  PAR                                       MARIA C SERRANO
 MALL AT COTTONWOOD, LLC                    MARIA CABANILLAS
 MALL AT GREAT LAKES LLC                    MARIA CASTILLO
 MALL AT GURNEE MILLS LLC                   MARIA GARCIA
 MALL AT INGRAM PARK LLC                    MARIA GONZALEZ
 MALL AT IRVING LLC                         MARIA LOPEZ
 MALL AT JEFFERSON VALLEY LLC               MARIA LOZANO
 MALL AT LONGVIEW LLC                       MARIA MORALES
 MALL AT MIAMI INTERNATIONAL                MARIA MORMANDO
  LLC                                       MARIA RODRIGUEZ
 MALL AT MONTGOMERY LP                      MARIAH BENTACOURT
 MALL AT POTOMAC MILLS LLC                  MARICELY RIOS
 MALL AT ROCKINGHAM LLC                     MARICOPA COUNTY TREASURER
 MALL AT SUMMIT LLC                         MARIE ZEPEDA
 MALL AT TUTTLE CROSSING LLC                MARIETTA CENTER LLC
 MALL AT WHITE OAKS LLC                     MARILYN SARIOL
 MALL DEL NORTE LLC                         MARILYN VELAZQUEZ
 MALVERN TOWN CENTRE INC                    MARIO ORELLANA
 MANAGER OF FINANCE                         MARIO ZARAZUA
 MANAPORT PLAZA LLC                         MARION PLAZA ASSOCIATES LP
 MANATEE COUNTY FALSE ALARM                 MARIPOSA SHOPPING CENTER
  UNIT                                       INVESTMENTS LLC
 MANHATTAN ASSOCIATES INC                   MARISOL GONZALEZ
 MANITOBA FINANCE TAXATION                  MARISSA GALVAN
  DIVISION                                  MARK DE LA ROSA
 MANN ENTERPRISES INC                       MARK HM ASSOC. LP
 MANOA SHOPPING CENTER                      MARK M. STEVENSON
  ASSOCIATES LP                             MARK REAVES
 MANSION MALL MARKETPLACE LLC               MARK TESHIMA
 MANTHAN SOFTWARE SERVICES                  MARKET MALL LEASEHOLDS INC
  PRIVATE LMTD                              MARKET ON CHERRY
 MANUEL LAFRENIERE                          MARKET PLACE AT RIVER PARK CAM
 MANUFACTURERA DE CALZADO                   MARKET PLACE PHASE II
  ENSUENO SA DE C                            DEVELOPMENT LC
 MAPLE PROPERTIES LLC                       MARKET PLACE S/C - GGPLP
 MAPLES AND CALDER                          MARKET PLACE VALPARAISO LLC
 MAPLEWOOD MALL LLC                         MARKETPLACE ASSOCIATES LLC
 MARC MCFRAZIER                             MARKETPLACE INVESTORS
 MARC USA CHICAGO                           MARKS SQUARE INCORPORATED
 MARCELO LOPEZ                              MARLENE AQUINO
 MARCH HARE LLC                             MARLENE DIAZ
 MAR-CHELE INC
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 MARLETTO FAMILY LTD.                       MATTHEW BLANCHARD
  PARTNERSHIP                               MAURICE BELVIN
 MARLON BETANCES                            MAVERICK MGMT. CORP.
 MARLON D MINNIFEE                          MAYDEL GARCIA
 MARSHA WALTERS                             MAYFAIR CENTER OWNER LLC
 MARTHA CABALLERO                           MAYFAIR MALL LLC
 MARTHA STEWART                             MAYFLOWER MALL
 MARTHA STEWART LIVING                      MAYFLOWER REALTY LLC
  OMNIMEDIA INC                             MAYFLOWER SQUARE ONE LLC
 MARTIN GASPARE                             MAYOBANEX BURGOS
 MARTIN K O'DONNELL                         MAYRA BEASLEY
 MARTIN OLIVAREZ                            MAYRA DEHARO RAYGOZA
 MARTIN SHOPS LLC                           MAYRA TELLO
 MARTIN TORRES                              MB COLUMBUS HILLIARD LLC
 MARURI GREY                                MB HOUSTON ANTOINE LIMITED
 MARVA WEEKS                                 PARTNERSHIP
 MARVEL                                     MB LINCOLN MALL LLC
 MARVEL ENTERTAINMENT LLC                   MC SIGN COMPANY
 MARVIN J. HENDRIX                          MCBH PARKWAY CROSSING LLC
 MARVIN L LINDNER ASSOCIATES                MCCAIN MALL COMPANY LP
  LLC                                       MCCARRAN MARKETPLACE SPE, LLC
 MARVIN RHYNE PROPERTIES                    MCELROY ELECTRIC
 MARY CHRISTINE GAY                         MCGRATH RHD PARTNERS LP
 MARY CONSTANCE WOOD                        MCKINLEY COUNTY TREASURER
 MARY J ROGERS                              MCKINLEY MALL LLC
 MARY LAGRECA                               MCM PROPERTIES LTD.
 MARY LAKE REALTY LTD                       MCP VOA & III LLC
 MARYAM SAMAD                               MCS HEMET VALLEY CENTER LLC
 MARYAM ZANGENEH                            MEADE COUNTY SHERIFF
 MARYJO HAMILTON                            MEADOWBROOK MALL COMPANY
 MARYLAND CROSSING REALTY LLC               MEADOWOOD MALL SPE LLC
 MASON AVENUE HOLDING CO.                   MEAGAN YEUNG
 MASSAPEQUA CENTER 1138 INC                 MECHANICAL SYSTEMS OF DAYTON
 MASTER DATA CENTER                          INC
 MASUE LL                                   MECKLENBURG COUNTY
 MASUE LLC                                  MEDIA NEWS GROUP
 MATANKY REALTY GROUP, INC.                 MEDIANEWS GROUP INC.
 MATANUSKA-SUSITNA BOROUGH                  MEDITERRANEAN SHIPPING CO USA
 MATONE GROUP SPRINGNEX LLC                  INC
 MATRIX (CAMROSE) LP                        MEG FLANNERY
 MATRIX CLAIMS MANAGEMENT                   MEIR AGAKI
 MATT LEMKE                                 MEJ INVESTMENTS LTD
 MATT MALLETTE                              MELANIE DEWITT
 MATT MAYFIELD                              MELBA MAXINE SANDOVAL
 MATT MEISELS                               MELBOURNE SQUARE LLC
 MATTESON REALTY LLC                        MELCOR REIT LIMITED PARTNERSHIP
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 MELIA CROMWELL-JOHNSON                     MICHELLE ROBERTSON
 MELISSA CRAVILLION                         MICHELLE VALDIVIA
 MELISSA ESPINOZA                           MICI DESOTO I LTD.
 MELISSA GRUNAU                             MICROSTRATEGY SERVICES CORP
 MELISSA KLOUSE-WELLS                       MID RIVERS MALL CMBS, LLC
 MELISSA MELESIO                            MIDDLEBELT PLYMOUTH VENTURE
 MELISSA ROMO                                LLC
 MELISSA ROOT                               MIDDLETOWN I RESOURCES LP
 MELISSA TAYLOR                             MIDDLETOWN TOWNSHIP FSI
 MELVINA JOHNSON                            MIDEB NOMINEES INC
 MEMORIAL CITY MALL, LP                     MIDLAND CARE
 MEPT WESTWOOD VILLAGE LLC                  MIDLAND CARE HOSPICE
 MERCED MALL LLC                            MIDLAND MALL REALTY HOLDING
 MERCER HUMAN RESOURCING                     LLC
  CONSULTING                                MIDLAND PAPER COMPANY
 MERIDEN REALTY ASSOCIATES                  MIDTOWN PLAZA INC
 MERIDEN SQUARE PARTNERSHIP                 MIDWAY SC LLC
 MERLIN R. TIMOTHY OR UTAHNA                MIDWEST ASSET GROUP LLC
 MERRILL CONSULTANTS                        MIDWOOD MANAGEMENT CORP
 MERRITT SQUARE REALTY LLC                  MIDYAN GATE REALTY LLC
 MESHANTICUT PROPERTIES, INC.               MIKE F LOVOY
 MESILLA VALLEY SPE                         MIKE LIPPERT
 MFC BEAVERCREEK LLC                        MIKE LOLLAR
 MGP IX PROPERTIES, LLC                     MIKE MCBREEN
 MGP X VERNOLA LLC                          MIKEONE CHICAGO HOLDINGS LLC
 MGP XI CAPITOLA, LLC                       MIL ITF HOOPP REALTY INC
 MGP XI COMMONS FW, LLC                     MIL ITF HOOPP REALTY INC
 MGP XII HUNTER COURT LLC                    (INTERCITY)
 MIAMI DADE COUNTY TAX                      MIL ITF HOOPP REALTY INC
  COLLECTOR                                  (SUDBURY)
 MIAMI INDUSTRIAL TRUCKS INC                MILDRED MENDEZ
 MIAMI-DADE FIRE RESCUE                     MILITARY LAKE WORTH ROAD LLC
  DEPARTMENT                                MILITARY PLAZA
 MIAMI-DADE POLICE DEPARTMENT               MILL CREEK CROSSING LLC
 MIC MAC MALL LP                            MILL WOODS CENTRE INC
 MICHAEL ARTUSA                             MILLENNIAL BRANDS LLC
 MICHAEL CRESS                              MILPITAS MILLS LIMITED
 MICHAEL D HECK                              PARTNERSHIP
 MICHAEL DRUMM                              MIMCO INC
 MICHAEL POLOHRONAKI                        MINISTER DU REVENU - REVENUE
 MICHAEL PROANO                              QUEBEC
 MICHAELA NEWNUM                            MINISTER OF FINANCE
 MICHELE MORSTORF                           MINISTER OF REVENUE OF QUEBEC
 MICHELLE BERTUCCI                          MINISTRY OF FINANCE
 MICHELLE KOZAK                             MINNEHAHA COUNTY TREASURER
 MICHELLE MOCCIA FRAZIER                    MIR HANSON ASSOCIATES LLC
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 MIRA AVDICH                                MONTGOMERY COUNTY, POLICE
 MIRA MESA SHOPPING CENTER-WEST              DEPT
 MIRANDA GALLE                              MONTGOMERY MALL OWNER LLC
 MISHORIM GOLD NEWPORT NEWS LP              MOOD MEDIA
 MISSION VALLEY SHOPPINGTOWN                MOORE WALLACE
  LLC                                       MOORESTOWN MALL LLC
 MISSISSAUGA CO TENANCY                     MORENO VALLEY MALL HOLDING
 MISSISSIPPI COUNTY                          LLC
 MISSISSIPPI STATE TAX                      MORGAN REYNOLDS
 MISSISSIPPI STATE TAX COMM.                MORGUARD BOYNTON TOWN
 MISSOURI DEPT. OF REVENUE                   CENTER INC
 MISTERCLIPPING.COM USA LLC                 MORGUARD INVESTMENTS LIMITED,
 MISTY BRUNS                                 IN
 MIX GULLY LTD.                             MORGUARD REAL ESTATE
 MJM DEVELOPMENT HOLDINGS LLC                INVESTMENT
 MJS CAGUAS LP                              MORGUARD REAL ESTATE
 MLE MERCHANDISING & SIGN                    INVESTMENT TRUST
  SOLUTIONS INC                             MORGUARD REIT
 MLM CHINO PROPERTY LLC                     MORRIS/SATNICK FT PIERCE ASSOC
 M-M COMPANY                                 LLC
 MOAC MALL HOLDINGS LLC                     MOSELEY RITCHIE ROHER
 MOBIFY RESEARCH &                          MOTIONPOINT CORPORATION
  DEVELPOMENT INC                           MOUNT POCONO LLC
 MOBILE MINI                                MPW1, LLC
 MOBO REALTY, INC.                          MR MC MORSE
 MOCARRICO LLC                              MR. AND MRS. BRUCE BALDWIN
 MODA SHOE LIMITED                          MRW LP
 MODE TRANSPORTATION LLC                    MS CARLA WORTHY SKINNER
 MODEL T PLAZA LLC                           TRUSTEE
 MOHINDER PAL                               MSCI 2005 IQ9 CENTRAL MALL
 MOHR AFFINITY LLC                           TEXARKANA
 MOIYA MITCHEL                              MSL BAGS AND ACCESSORIES
 MONA GELLER                                 COMPANY LIMITED
 MONDAWMIN BUSINESS TRUST                   MSM PROPERTY LLC
 MONIQUE PENA                               MSRB PROPERTIES LLC
 MONTEBELLO TOWN CENTER                     MUFFREY TRUST
  INVESTORS LLC                             MUGGENBURG GORCHES PENALOSA
 MONTEZ (SOREL) INC                          Y SEPULUEDA
 MONTEZ CORNER BROOK INC                    MULESOFT INC
 MONTGOMERY (E&A) LLC                       MUNCIE MALL LLC
 MONTGOMERY COUNTY ALARM                    MUNICIPALITY OF BAYAMON
  DETAIL                                    MUNICIPALITY OF AGUADILLA
 MONTGOMERY COUNTY CIRCUIT                  MUNICIPALITY OF AIBONITO
  COURT                                     MUNICIPALITY OF ARECIBO
 MONTGOMERY COUNTY                          MUNICIPALITY OF BARRANQUITAS
  DEPARTMENT OF FINANCE                     MUNICIPALITY OF CABO ROYO
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 MUNICIPALITY OF CAGUAS                     NAMIFY
 MUNICIPALITY OF CANOVANAS                  NANCY BUTT & JENNIFER FERRELL
 MUNICIPALITY OF CAROLINA                    TR WC BUTT
 MUNICIPALITY OF CAYEY                      NANCY FLORES
 MUNICIPALITY OF COAMO                      NANCY NIEMAN WEEKS
 MUNICIPALITY OF COROZAL                    NASDAQ CORPORATE SOLUTIONS
 MUNICIPALITY OF DORADO                     NASH COUNTY TAX COLLECTOR
 MUNICIPALITY OF FAJARDO                    NASSAU COUNTY POLICE
 MUNICIPALITY OF GUAYAMA                     DEPARTMENT
 MUNICIPALITY OF GUAYNABO                   NATALIE SIEBENMARK
 MUNICIPALITY OF HATILLO                    NA-TAUSHA DONAHUE
 MUNICIPALITY OF HUMACAO                    NATHALIA FIMBRES
 MUNICIPALITY OF ISABELA                    NATHAN DENNIS
 MUNICIPALITY OF JAYUYA                     NATICK MALL LLC
 MUNICIPALITY OF JUNCOS                     NATIONAL MERIT SCHOLARSHIP
 MUNICIPALITY OF MANATI                      CORPORATION
 MUNICIPALITY OF MAYAGUEZ                   NATIONAL PRIME COMMERCIAL LLC
 MUNICIPALITY OF NARANJITO                  NATIONAL REALTY & DEV CORP
 MUNICIPALITY OF PONCE                      NATIONAL RETAIL FLOORING
 MUNICIPALITY OF SAN GERMAN                  SERVICES INC
 MUNICIPALITY OF SAN JUAN                   NATIONAL SECURITY CONSULTANTS
 MUNICIPALITY OF SAN LORENZO                 INC
 MUNICIPALITY OF SAN SEBASTIAN              NATIONAL UNION FIRE INSURANCE
 MUNICIPALITY OF TRUJILLO ALTO               COMPANY
 MUNICIPALITY OF VEGA ALTA                  NATOMAS GROWERS LP
 MUNICIPALITY OF YABUCOA                    NAVAJO COUNTY TREASURER
 MUNICIPALITY OF YAUCO                      NAVEX GLOBAL
 MUNICIPIO DE CANOVANAS                     NAZARETH RETAIL HOLDINGS LLC
 MUNICIPIO DE SAN JUAN                      NBY PROPERTIES LLC
 MURFREESBORO POLICE DEPT                   NEIDA BORGES
  ANNEX                                     NEIL CARDENAS
 MURPHY MAHON KEFFLER FARRIER               NEIL G HANSEN
  LLP                                       NEILSON RETAIL LLC
 MURRAY TRACY & BERNARD SILBER              NELSON GROUP INC
  PTR                                       NEPTUNE REALTY ASSOC.
 MUSKOGEE COUNTY TREASURER                  NESHAMINY MALL JOINT VENTURE
 MUZAK                                       LP
 MVRDA - ALARMS DEPARTMENT                  NETSER COMPUTER INTERNATIONAL
 MYJO DEVELOPMENT CORPORATION                INC
 MYSTIC APPAREL LLC                         NEVADA DEPARTMENT OF
 NAABILAH ALGARAFFI                          TAXATION
 NADINE URBANSKI                            NEW FAIR OAKS OWNER LLC
 NADIRA JOHNSON                             NEW GROUP-GARDENA, LLC
 NAFTALI GONZALEZ                           NEW HANOVER COUNTY TAX OFFICE
 NAMEOKI SHOPPING CENTER                    NEW LEAF PLAZA
  INVESTMENTS LLC
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 NEW MEXICO TAXATION AND                    NORTH CAROLINA DEPT OF STATE
  REVENUE DEPT                               TREASURER
 NEW PARK MALL LP                           NORTH DAKOTA
 NEW PINE GROVE ROAD CENTRE INC             NORTH DAKOTA WORKFORCE
 NEW TOWNE MALL                              SAFETY & INS
 NEW WESTGATE MALL LLC                      NORTH GREENBUSH ASSOCIATES
 NEW YORK CITY DEPT OF                       LLC
  COMSUMER AFFAIRS                          NORTH HANOVER CENTRE REALTY
 NEW YORK STATE DEPT OF TAX &                LLC
  FINANCE                                   NORTH HAVEN HOLDINGS LP
 NEWAGE PHM, LLC                            NORTH MALL PROPERTY LLC
 NEWBURGH MALL REALTY LLC                   NORTH PARK SHOPPING CENTRES
 NEWGATE MALL EQUITIES LLC                   LTD
 NEWKOA LLC                                 NORTH POINT MALL LLC
 NEWMARKET I, LLC                           NORTH RIVERSIDE PARK
 NGM OWNERSHIP GROUP LC                      ASSOCIATES LLC
 NICHOLAS DELFINO                           NORTH RIVERSIDE PLAZA LIMITED
 NICHOLAS PARK MALL LLC                      PARTNERSHI
 NICKELODEON ROYALTIES                      NORTH STAR MALL LLC
 NICKSTER COMMERCIAL LLC                    NORTH TOWN MALL LLC
 NICOLE HEDGLIN                             NORTHEAST EQUITY LLC
 NICOLE LARIVIERE                           NORTHERN LIGHTS IMPROVEMENTS
 NICOLE OWENS                                LLC
 NICOLE RAFELD                              NORTHFIELD SQUARE MALL REALTY
 NIGLE SYDNEY                                LLC
 NIKKI RODZINSKI                            NORTHGATE ASSOCIATES LLC
 NIKKI SATTERWHITE                          NORTHGATE MALL DURHAM LLC
 NINE ISLANDS I LLC DBA                     NORTHGATE MALL PARTNERSHIP
  COUNTRYSIDE PLAZA                         NORTHGATE SHOPPING CENTER LP
 NITTANY CENTRE REALTY LLC                  NORTHLINE COMMONS LLC
 NIULQUIE SAJOUS MCKINNEY                   NORTHPARK MALL - JOPLIN LLC
 NIVIA TALAVERA                             NORTHRIDGE CENTER 1703 LLC
 NLSR LP 202719                             NORTHRIDGE OWNER LP
 NMBSC CHARITABLE REMAINDER                 NORTHSIDE CENTRE LLC
  UNITRUST                                  NORTHSTAR DESIGN FEE
 NMC MELROSE PARK LLC                       NORTHSTAR SOURCING LLC
 NMC SOUTHGATE, LLC                         NORTHTOWN CENTER, INC.
 NMRD LIMITED                               NORTHWEST ISD
 NOEL HERNANDEZ                             NORTHWESTERN SIMON INC
 NOEL HOWREN                                NORTHWOODS CENTER FLORIDA, LP
 NOEMI VARELA                               NORTHWOODS MALL CMBS, LLC
 NOLTEMEYER CAPITAL LTD                     NORTHWOODS SHOPPING CENTER
 NORA PATRICIA ARAUJO                        LLC
 NORMAN WHITE                               NORTON ROSE FULBRIGHT US LLP
 NORMAN WILEY                               NORWALK TOWN SQUARE MGMT INC
                                            NORWICH REALTY ASSOC. LLC
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 NOSTRAND REALTY LLC                        OHIO DEPT OF COMMERCE,
 NOVA GENESIS INTL CO LTD                    UNCLAIMED FUNDS
 NOVA SCOTIA MAINT ENFORCEMENT              OHIO TREASURER OF STATE
  PROGRAM                                   OHIO VALLEY MALL CO
 NOVOGRODER COMPANIES INC                   OKI DATA AMERICAS, INC.
 NPD GROUP, INC.                            OKLAHOMA COUNTY TREASURER
 NR DEVELOPMENT LLP                         OKLAHOMA STATE TREASURER
 NRF VII OAK LAWN LLC                       OKLAHOMA TAX COMMISSION
 NSF PROPERTY HOLDINGS LLC                  OLDEN PLAZA SHOPPING CENTER
 NSP LLC                                     LLC
 NUGGET MALL MERCHANTS ASSN.                OLGA RODRIGUEZ
 NUTECH RESOURCE SERVICES LLS               OLIVER CREEK HOLDINGS, LLP
 NW ARKANSAS MALL REALTY LLC                OLYMPIA LAND COMPANY LLC
 NWC US 79/CR 122 LTD                       OLYMPIC AKRON SERVICES
 NXLOG LTD                                  OLYMPIC TOWER LLC 203717
 NY STYLE                                   OMACHE SHOPPING CENTER LLC
 NYC DEPARTMENT OF FINANCE                  OMAR CASTILLO
 NYC FIRE DEPARTMENT                        OMEGA INDUSTRIES INC
 OAK PARK MALL LLC                          OMEGA SAFE & LOCK
 OAKDALE MALL II LLC                        ONE IMPERIAL PLAZA LP
 OAKMONT PROPERTIES LLC                     ONE STOP PROPERTIES, INC.
 OAKRIDGE MALL LLC                          ONE STORM LAKE PLAZA, LLC
 OAKS MALL LLC                              ONE YONKERS ASSOCIATES LLC
 OAKWOOD HILLS MALL LLC                     ONSLOW COUNTY TAX COLLECTOR
 OAKWOOD PLAZA LP                           ONTARIO MILLS LP
 OASG HAZLET, LLC                           ONTREA INC
 OBERFELD SNOWCAP INC                       ONTREA INC MASONVILLE PLACE
 OCCUPATIONAL HEALTH CENTERS                ONTREA INC.
  OF OHIO PA                                ONYX LAWTON SB, LLC
 OCEAN FREIGHT                              OPB EMTC INC
 OCHRE CAR PARK LLC                         OPB REALITY INC - HALIFAX CENTRE
 OEC FREIGHT (NY) INC                       OPB REALTY (CARLINGWOOD) INC
 OEC SHIPPING LOS ANGELES INC               OPB REALTY (ST VITAL) INC
 OEKOS DUNDALK, LLC                         OPB REALTY INC (PEN CENTRE)
 OFELIA MOYA                                OPGI MANAGEMENT LP O/A OXOFRD
 OFFICE DEPOT INC                            IFT
 OFFICE OF TAX COMMSISSIONER                OPGI MANAGMENT LP
 OFFICE OF THE FIRE MARSHAL                 OPRY MILLS MALL LP
 OFFICE OF THE STATE FIRE                   OPTION RENTALS, INC
  MARSHALL                                  OPTIV INC
 OFFICE OF THE TAX COLLECTOR                ORACLE AMERICA INC
 OFFICIAL FAST FREIGHT LLC                  ORANGE PARK MALL LLC
 OGDEN CITY CORPORATION                     OREGON CITY POLICE DEPARTMENT
 OHIO BALER COMPANY INC                     OREM BLUELIGHT LLC
 OHIO BUREAU OF WORKERS                     ORIENTAL CORPORATION
  COMPENSATION                              ORIGAMI RISK LLC
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 ORKIN                                      PARAMOUNT PLAZA AT NEW BRITE
 ORLANDO ADAMES-DIAZ                         LLC
 ORLANDO CORPORATION                        PARAMUS PARK SHOPPING CENTER
 OROVILLE PLAZA EL LLC                       LP
 OSBORNE CAPITAL LLC                        PARISH OF ST LANDRY
 OSBORNE PROPERTIES LP                      PARISH OF ST. BERNARD
 OSHAWA CENTRE HOLDINGS INC                 PARISH SALES TAX FUND
 OSIX 1918 BUCKNER LLC                      PARK CENTRE I, LLC
 OTIS ELEVATOR COMPANY                      PARK CITY CENTER BUSINESS TRUST
 OTSEGA PLAZA LLC                           PARK PLACE MALL
 OVERLAND PLAZA LLC                         PARKWAY CENTRE EAST RETAIL LLC
 OVIEDO MALL HOLDING LLC                    PARKWAY VILLAGE & CENTER LLC
 OXFORD ITF ECC EAST                        PARRISH MGMT. CORP.
 OXFORD ITF SQUARE ONE                      PARTNERS MALL ABILENE LLC
 OXFORD PROPERTIES RETAIL                   PARTNERS REIT -CHARTER
  HOLDINGS                                   ACQUISTION
 OXFORD SOUTH PARK MALL LLC                 PASEO-HPC RICHMOND, LLC
 P H COMPANY                                PASSAIC PLAZA ASSOC. LLC
 P.S.K.S. CORP                              PASSCO HANFORD MALL LLC
 P1 GROUP INC                               PATCHOGUE REALTY ASSOCIATES
 PA FIRE RECOVERY SERVICES LLC               LLC
 PACIFIC OAK PROPERTIES, INC.               PATERSON MALL S/C CORP.
 PACKAGE DESIGN &                           PATRICIA A CLARKE
  MANUFACTURING INC                         PATRICIA DOYLE
 PADDOCK MALL LLC                           PATRICIA JOHNSTON
 PAL ASSOCIATES HARBORCREEK                 PATRICIA PINHELRO
  LLC                                       PATSY HARIN
 PALISADES BIRMINGHAM LLC                   PATTI KAZOWSKI
 PALISADESII, LLC / EKLECCO NEWCO           PATTY MULLINS
  LLC                                       PAUL J. PRATHER
 PALM BEACH COUNTY SHERIFF'S                PAULDING COUNTY
  OFFICE                                    PAVILION COLLECTING AGENT LLC
 PALM PLAZA ASSOC. LTD.                     PAXAR CANADA INC
 PALMDALE CENTER DELAWARE INC               PAYLESS FINANCE INC
 PALMER PARK LP                             PAYLESS INDIA
 PALMETTO PARK ROAD ASSOC. LTD.             PAYLESS SHOESOURCE
 PALO WOODS LLC                             PAYLESS SHOESOURCE
 PALOUSE MALL LLC                            DISTRIBUTION, INC.
 PAM MERTEN                                 PAYLESS SHOESOURCE IN LTDA
 PAMELA SKELTON                             PAYLESS SHOESOURCE INC
 PANAMA TRANSFER                            PAYLESS SHOESOURCE
 PAPF MEDFORD LLC                            MERCHANDISING INC
 PARADISE RETAIL I LLC                      PAYLESS SHOESOURCE PURCHASING
 PARADISE VALLEY MALL SPE                   PAYLESS SHOESOURCE WORLDWIDE
 PARAMOUNT ENTERPRISES, INC.                PAYSON CITY CORPORATION
 PARAMOUNT PEST CONTROL INC                 PBA II LLC
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 PCDF PORTFOLIO LLC                         PIEDMONT ASSOCIATES
 PCI SECURITY STANDARDS COUNCIL             PIER PARK LLC
  LLC                                       PIERCE COUNTY, STATE OF WA
 PCW PROPERTIES LLC                         PIERPASS
 PEACHTREE MALL LLC                         PIERRE BOSSIER MALL LLC
 PEAR TREE RETAIL I LLC                     PIETRANTONI MENDEZ & ALVAREZ
 PEARLAND DUNHILL 1 LLC                     PILGRIM PARKING INC
 PEARLAND TOWN CENTER LIMITED               PIMA COUNTY TREASURERS OFFICE
  PARTNERSHIP                               PINAL COUNTY TREASURER
 PEARLRIDGE CNTR MERCHANTS                  PINE CREEK OWNER LLC
  ASSOC                                     PINE RIDGE MALL JC LLC
 PECANLAND MALL LLC                         PINIX PROPERTY MANAGEMENT
 PEDS LEGWEAR USA INC                       PINTEREST INC
 PEGGY A COLE                               PINTZUK ORGANIZATION INC
 PEGGY M COLE                               PIONEER PACKAGING COMPANY
 PELICAN INVESTMENTS 888 LLC                PITNEY BOWES GLOBAL FINANCIAL
 PEMBROKE LAKES MALL LLC                     SVSC LLC
 PEMBROKE SQUARE ASSOCIATES                 PK I CANYON RIDGE PLAZA LLC
  LLC                                       PK I CHINO TOWN SQUARE LP
 PENGOULD LLC                               PK I FASHION FAIRE PLACE LP
 PENN DCII LLC                              PK I GRESHAM TOWN FAIR LLC
 PENN HILLS SHOPPING CENTER LLC             PK I LA VERNE TOWN CENTER LP
 PENNMARK COVENTRY HOLDING                  PK I PAVILIONS PLACE LP
  LLC                                       PK I SUNSET ESPLANADE LLC
 PENNSVILLE HOLDINGS LLC                    PK II LARWIN SQUARE SC LP
 PENSIONFUND REALTY LIMITED                 PK III TACOMA CENTRAL LLC
 PENSIONFUND REALTY LTD.                    PL CHERRYDALE POINT LLC
 PEPPER HAMILTON LLP                        PL MESA PAVILLIONS LLC
 PERFECT OUTPUT COMPANY                     PLACE LAURIER HOLDINGS INC
 PERFORMANCE TEAM FREIGHT                   PLACE VERSAILLES INC.
  SYSTEMS INC                               PLACE VERTU NOMINEE INC
 PERIMETER MALL LLC                         PLATINUM PARKING
 PERMELYNN OF BRIDGEHAMPTON                 PLATTE COUNTY TREASURER
  360 LLC                                   PLATTE RIVER MALL
 PERU GKD PARTNERS LLC                      PLAZA 83 VENTURE
 PETER P BOLLINGER INVESTMENT               PLAZA AT HIGHLANDS RANCH LLC
  CO                                        PLAZA AT JORDAN LANDING LLC
 PFP 3 ADAMS DAIRY LLC                      PLAZA AT NORTHWOOD LLC
 PGS BURLINGTONLLC &TOWER                   PLAZA BONITA LLC
  BURLINGTON                                PLAZA CAROLINA MALL LP
 PHELPS COUNTY COLLECTOR                    PLAZA DEL CARIBE S.E.
 PHENIX LABEL CO INC                        PLAZA LAS AMERICAS INC
 PHILADELPHIA PREMIUM OUTLETS               PLAZA MASTER GP LTD BEDFORD
 PHOENIX POLICE DEPARTMENT                   COMMONS
 PICKERING CO TENANCY                       PLAZA MASTER GP LTD-GRANITE
 PICKERING TOWN CENTRE                       DRIVE PLAZA
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 PLAZA MAYOR LLC                            PR PLYMOUTH MEETING LP
 PLAZA PASEO LLC                            PR PRINCE GEORGES PLAZA LLC
 PLAZA WEST COVINA LP                       PR SPRINGFIELD TOWN CENTER LLC
 PLAZACORP PROPERTY HOLDINGS                PR VALLEY LIMITED PARTNERSHIP
  INC                                       PR VALLEY VIEW LP
 PLEASANT GROVE                             PR VIEWMONT LP
 PLP COTTONWOOD LLC                         PR WOODLAND LP
 PLYMOUTH CENTRE PROPERTY LLC               PR WYOMING VALLEY LP
 PMAT DPP LLC                               PRAIRIE FIRE (OKOTOKS) LP
 PMJ MANAGEMENT INC                         PRATT GOLDSMITH INC, AGENT FOR
 POINT RECOGNITION                          PRATT INDUSTRIES INC
 POLK COUNTY TAX COLLECTOR                  PRECISE PARKLINK
 POM-COLLEGE STATION LLC                    PREMIER EMPLOYMENT SOLUTIONS
 PONTIAC MALL LIMITED                       PREP HANOVER REAL ESTATE LLC
  PARTNERSHIP                               PREP POSNER REAL ESTATE LLC
 POONAM BHARDWAJ                            PRESCOTT GATEWAY MALL REALTY
 POP MORROW CGP LLC                          HOLDING LLC
 POPE COUNTY TAX COLLECTOR                  PRICEWATERHOUSECOOPERS LLP
 POPLAR-AVALON RETAIL CENTER                PRII ROLLING OAKS COMMONS FLA,
  LLC                                        LLC
 PORT ANGELES PLAZA ASSOC.                  PRIMARIS MANAGEMENT INC
 PORT HURON REALTY PARTNERS                 PRIMARIS MGMT INC ITF
  LLC                                       PRIMARIS MGMT INC ITF DUFFERIN
 PORT OF SALE                                MALL
 PORT ORANGE TOWN CENTER LLC                PRIMARIS MGMT INC ITF
 PORTAGE PLACE SHOPPING CENTER               NORTHLAND
 PORTERWOOD S/C INVESTEMENTS                PRIMARIS MGMT INC ITF ORCHARD
  LLC                                        PARK
 PORTSMOUTH ASSOCIATES, LLC                 PRIMARIS MGMT INC ITF PLACE
 POS REMARKETING GROUP                      PRIMARIS MGMT INC ITF STONE
 POSNER PARK RETAIL LLP                      ROAD
 POU XIN JIA CO., LT\D                      PRIMARIS MGMT INC RE SUNRIDGE
 POUGHKEEPSIE GALLERIA LLC                   MALL
 POWERREVIEWS                               PRIME CLERK LLC
 PPB 2821 BOCA CHICA LLC                    PRIMESTOR 119 LLC
 PPD AIRWALK COZY                           PRIMESTOR CFIC/CG LLC
 PPD AIRWALK DREAM                          PRINCE KUHIO PLAZA LLC
 PPD CHRISTIAN SIRIANO ROYALTY              PRINCIPAL REAL ESTATE HOLDING
 PR CAPITAL CITY LIMITED                     CO LLC
  PARTNERSHIP                               PRINT TECH INC
 PR EXTON SQUARE PROPERTY LP                PRIORITY EXPRESS COURIER, INC
 PR FINANCING LP                            PRODUCTIONWORKS INC.
 PR HARBOUR VIEW EAST LLC                   PROGRESS TRUST INC
 PR MAGNOLIA LLC                            PROMENADE CG RETAIL LLC
 PR NORTH DARTMOUTH LLC                     PROMENADE LIMITED PARTNERSHIP
 PR PATRICK HENRY LLC                       PROMILA VASISHTA
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 PROVIDENCE PRODUCTS LLC                    RADIAL INC
 PRUDENTIAL REALTY CO                       RAE-ME NORTH CAROLINA II LLC
 PSS NNN LLC                                RAINBOW INVESTMENT COMPANY
 PUBLIX SUPER MARKETS INC                   RAINIER MOORE PLAZA
 PUERTO RICO                                 ACQUISTIONS
 PUGET PAVING & CONSTRUCTION                RAISIN INDUSTRIES LLC
 PULASKI COUNTY COLLECTOR                   RAKUTEN MARKETING LLC
 PURCELL & WARDROPE CHTD.                   RALPH HOYOS
 PUTIAN CITY HUI SHENG TRADING              RALPH SCHLESINGER COMPANY LLC
  CO LTD                                    RAMCO GERSHENSON PROPERTIES
 PUTIAN SUNYOUNG ENTERPRISE CO               LP
  LTD                                       RAMCO JACKSONVILLE LLC
 PV TWIN LC                                 RAMCO-GERSHENSON PROPERTIES
 PWI EMC LP                                  LP
 PYRAMID WALDEN COMPANY LP                  RAMON PINEDO
 QASYMPHONY INC                             RAMON RODAS
 QINGDAO STAR OCEAN IMP. & EXP.             RAMONA PALMER-EASON
  CO., LTD                                  RANDOLPH COUNTY COLLECTOR
 QINGDAO XINGHONG INDUSTRY &                RANGER AMERICAN OF PR INC
  TRADE CO LTD                              RAP EAST LLC
 QINGDAO XINGZHIHAI IMP & EXP CO.           RASCAL ENTERPRISES SWFL INC
  LTD                                       RAVEN WISCHEMANN
 QKC MAUI OWNER LLC                         RAYETTA SURRATT
 QUAD GRAPHICS INC                          RB INTERIORS INC
 QUAKER BRIDGE MALL LLC                     RB RIVER IV LLC
 QUAKER MZL LLC                             RCC CENTRE AT LILBURN LLC
 QUAKER TWOSOME LLC                         RCC WALNUT CREEK PLAZA LLC
 QUALITY SOLUTIONS INC                      RCS LOGISTICS INC
 QUENCH USA, INC                            RD - TULSA HILLS LP
 QUINCY - CULLINAN LLC                      RD ABINGTON ASSOCIATES LP
 QUOC C. TRINH QUACH A/K/A QUACH            RD ELMWOOD ASSOC LP
  C. HAI &                                  RDEV MESA RANCH LLC
 QUYNTYN JOHNSON                            READY REFRESH BY NESTLE
 R & E TRUST                                REAL SUB, LLC
 R E WEST TRANSPORTATION                    REBBECCHA FELICE
 R JOSEPH FUCHS                             REBECCA MCKAY
 R K NEWPORT I LLC                          REBECCA STONE
 R K ASSOCIATES OF WAUKESHA                 REBEKAH BELL
 R&M IDAHO LLC                              REBUILT REALTY CORP.
 R/M VACAVILLE                              RECEIVER GENERAL
 RACARIE SOFTWARE                           RECEIVER GENERAL FOR CANADA
 RACHEL BREWER                              RECEIVER OF TAXES
 RACHEL FERREIRA                            REDDI SERVICES INC
 RACHEL KALCHTHALER                         REDLANDS TOWN CENTER RETAIL III
 RACHEL MYERS                                LLC
 RACON FOOTWEAR LIMITED                     REDUS ONE LLC
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 REEF PLAZA LLC                             RICHARD N. SHERWIN
 REEVE CONSULTING LLC                       RICHARD WUCKOWITSCH
 REGAL PLASTIC SUPPLY CO                    RICHFIELD SHOPPES LLC
 REGENCY SEYMOUR LLC                        RICHMOND COUNTY TAX COMM.
 REGISTER OF DEEDS KENT COUNTY              RICHMOND MALL PARTNERS LLC
 REGO II BORROWER LLC                       RICHMOND TOWN SQUARE REALTY
 REIN WARSAW ASSOCIATES LP                   HOLDING LLC
 RENAISSANCE PARKING LLC                    RICH-TAUBMAN ASSOCIATES
 RENAISSANCE PARTNERS I LLC                 RICK BROWER
 RENATA YIM                                 RICOH CANADA INC
 RENDELL HOLDINGS LTD.                      RICOH USA INC
 RENEE I WEINBERG & KIM ISAACS              RIDGEDALE CENTER LLC
  SELTZER                                   RIGHT MANAGEMENT
 REPUBLIC PTY LIMITED                       RIMINI STREET INC
 REPUBLIC SERVICES INC                      RIMROCK OWNER LP
 REQUERDO CO.                               RIO CUATRO LLC
 RESTORE OAKLAND LLC                        RIO GRANDE VALLEY PREMIUM
 RETAIL CENTER PARTNERS LTD                  OUTLETS
 RETAIL PRO INTERNATIONAL LLC               RIOCAN (REIT)
 RETAIL STRATEGIES LLC 02638                RIOCAN HOLDINGS (WESTRIDGE) INC
 REVENUE COMMISSIONER                       RIOCAN HOLDINGS INC
 REVENUE OF QUEBEC                          RIOCAN PROPERTY SERVICES TRUST
 REVENUE PROP TOWN & COUNTRY                RIOCAN REIT (ONTARIO II)
  INC                                       RIOCAN/REIT
 REVENUE PROPERTIES COMPANY                 RIOKIM HOLDINGS (ALBERTA) INC
  LTD                                       RIOKIM HOLDINGS (ONTARIO) INC
 REVENUE PROPERTIES SOUTHLAND               RIOKIM HOLDINGS (TILLICUM CNTR)
  LTD                                        INC
 REVENUE QUEBEC                             RITCHIE TRUCKING SERVICE
 REVENUE SERVICES OF BRITISH                RIVER OAKS EL PASO LLC
  COLUMBIA                                  RIVER OAKS REALTY LLC
 REYNA ANDRADE                              RIVER PARK PROPERTIES II
 REYNA DIAZ                                 RIVER RIDGE MALL JV LLC
 REYNATO YEPEZ                              RIVERSIDE PUBLIC UTILITIES
 REZAN LP                                   RIVERTOWN CROSSINGS MALL
 RFS CANADA                                 RIVERTOWNE CENTER ACQUISITION
 RHONDA ALSTON                               LLC
 RHONDA PARR                                RJFP LLC
 RHONDA PATTON                              RJTB GROUP LLC
 RICARDO ROMERO GUZMAN                      RK SOUTHINGTON LLC 3744
 RICHARD H. FOSTER                          RLE MAINTENANCE SERVICES INC
 RICHARD J MADISON OF COLLIERS              RM SULLIVAN TRANSPORTATION INC
  AS RECEIVE                                RMI ITF BURLINGTON MALL
 RICHARD L. PRITZ                           RMI ITF STRAWBERRY HILL
 RICHARD MANNARINO                           SHOPPING CENTER
 RICHARD MENKIN                             RNA, IP ATTORNEYS
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 RNOT LLC                                   ROSIE CREAMER INC
 ROB EVES                                   ROSIE GARCIA
 ROB LOUQUET                                ROSIE M BLAWAT
 ROBERT 4260 E ALAMEDA, LLC                 ROSLINDALE CUMMINGS HWY
 ROBERT DONOHOO                              REALTY LLC
 ROBERT E WILSON TRUST LLC                  ROSS & ROSS, AGENT FOR MORTON
 ROBERT GRAY                                ROSS DRESS FOR LESS INC
 ROBERT L. COLEMAN, TRUSTEE                 ROSS PARK MALL
 ROBERT LOMELI                              ROSSINI PEREZ
 ROBERT OUTSEN                              ROUND LAKE BEACH LAND LLC
 ROBERT W FAIR                              ROUND THE WORLD LOGISTICS USA
 ROBERTO SORTO                               CORP
 ROBERTO NERI                               ROUTE 140 SCHOOL STREET LLC
 ROBERTO POLICARPIO                         ROUTE 23 ASSOCIATES LLC
 ROBINSON COLE LLP                          ROXANNE RANGEL
 ROBINSON MALL DEVELOPERS                   ROYALS OK LUNCH INC
 ROCKAWAY REALTY ASSOCIATES LP              RPAI SOUTHWEST MANAGEMENT
 ROCKSIDE TURNEY LLC                         LLC
 RODNEY GERNER                              RPAI US MANAGEMENT LLC
 ROEBLING URBAN RENEWAL ASSOC.              RPI BEL AIR MALL LLC
 ROGER NABER, PHILIP & ROBERT               RPI CHESTERFIELD LLC
 ROGERS POLICE DEPARTMENT                   RPI SALISBURY MALL LLC
 ROGERS RETAIL                              RPI SHASTA MALL LP
 ROLANDA HUDSON                             RPI TURTLE CREEK MALL LLC
 ROLLING OAKS MALL LLC                      RPS ITF RIOCAN MARKETPLACE
 ROME CITY TREASURER                        RPS-ITF GATINEAU & HAMILTON
 ROMERO PINEDA & ASOCIADOS                   WALMART
 RONALD J DAGRADI                           RR DONNELLEY
 RONALD L EBELEIN JR                        RREF LA QUINTA 3 REO, LLC
 RONGRANT ASSOCIATES LLC                    RUBY 05 BSHFRDINLINE LLC
 RONNIE MICHEL                              RUBY CLEVELAND
 ROOSEVELT II ASSOCIATES LP                 RUBY FLORES
 ROSA A TORRES                              RURAL KING REALTY LLC
 ROSA AMBRIZ GOMEZ                          RUSSELL ROAD ASSOC. LP
 ROSA SANDOVAL                              RVM LLC
 ROSALIA COVARRUBIAS                        RVT ERIE MARKETPLACE LLC
 ROSARIO GARCIA                             RYAN GARFIELD LIMITED
 ROSE MED TRIANGLE                           PARTNERSHIP
 ROSEDALE CENTER                            RYAN RINEHART
 ROSE-FORUM ASSOCIATES LP                   RYKAL ASSOCIATES
 ROSEMYR CORPORATION                        S & N II LTD 203160
 ROSENBACH NEMP, LLC                        S CAROLINA TAX COMMISSION
 ROSENFIELD BROTHERS                        S F R REALTY ASSOC LLC
 ROSETTI HANDBAGS AND                       S L NUSBAUM REALTY CO
  ACCESSORIES LTD                           S.P.JOHNSON, III
 ROSHINA LOVING                             S.W.A. MERCHANTS ASSOCIATION
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 S199 SPE LLC                               SANTEE TROLLEY SQUARE 991 LP
 SABA & CO                                  SANZARI '89 ASSOC., L.P.
 SABRINA MOCOMBE                            SAPPHIRE WHARTON
 SACRAMENTO SHERIFF'S DEPT                  SARA COUCH
 SADA SYSTEMS INC                           SARAH BEER
 SAFE & SOUND ARMED COURIER INC             SARAH HIER
 SAFECO INSURANCE COMPANY OF                SARAH OVERBAUGH
  AMERICA                                   SARAH PURCELL
 SAIMA SAMANA                               SARAH SOLIS
 SALARY.COM LLC                             SARASTI SA DE CV
 SALES TAX TRUST ACCOUNT                    SAS INSTITUTE, INC.
 SALESFORCE.COM INC                         SASKATCHEWAN FINANCE
 SALINAS FALSE ALARM REDUCTION              SASKATCHEWANT GOVERNMENT
  PROGRAM                                   SASKATOON FIRE AND FLOOD
 SALINE COUNTY                              SAUL HOLDINGS L.P.
 SALMON RUN SHOPPING CENTER                 SAUL SUBSIDIARY I L.P.
  LLC                                       SAWMILL SQ SHOPPING CENTER
 SALT LAKE COUNTY TREASURER                 SBLP TILLSONBURG TOWN CENTRE
 SALT RIVER PIMA-MARICOPA                    INC
 SALVATORE LLC                              SC MOTA ASSOCIATES LP
 SAMANTHA CUGNET                            SCGIF II-IRON HORSE OWNER LLC
 SAMANTHA GALLAGHER                         SCHECKS TELEPHONE SERVICE
 SAMANTHA RAY                               SCHMITT & ORLOV INTELLECTUAL
 SAMANTHA TEVES                              PROPERTY
 SAMANTHA WENTWORTH                         SCHMITZ DEVELOPMENT CO.
 SAME DAY SIGN CO                           SCHNEIDER NATIONAL INC
 SAN DIEGO COUNTY TREASURER                 SCHNEIDER TRANSPORTATION
 SAN DIEGO POLICE DEPARTMENT                 MANAGEMENT
 SAN FRANCISCO CITY OPTION                  SCHURTZ PROPERTIES INC
 SAN JACINTO RETAIL ASSOCIATES              SCI ITC SOUTH FUND LLC
  LLC                                       SCORE PROPERTIES OF
 SAN MAR DUNHILL RATEL OWNER                 TALLAHASSEE LLC
  LLC                                       SCOTT INVESTMENT LTD
 SANDRA WILLIAMS                            SCOTT KEY WOOD
 SANDUSKY MALL COMPANY                      SCOTT NEWELL
 SANDY CITY                                 SCOTT SELVEY
 SANGERTOWN SQUARE LLC                      SCOTTS VALLEY PHASE II
 SANSONE FENTON PLAZA LLC                   SCREO I DIXIE OUTLET MALL INC
 SANTA ANITA SHOPPINGTOWN LP                SDC4 LLC
 SANTA FE COUNTY TREASURER                  SDG DADELAND ASSOCIATES INC
 SANTA FE MALL PROPERTY OWNER               SDME CAPITAL GROUP LLC
  LLC                                       SEA LTD
 SANTA ROSA MALL LLC                        SEARSTOWN LIMITED PARTNERSHIP
 SANTA ROSA POLICE DEPARTMENT                201395
 SANTAK CORPORATION                         SEATTLE CITY TREASURER
 SANTANA SHOES
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 SEATTLE TACOMA OLYMPIA                     SHAVEMORE LP
  PLUMBING, INC                             SHAWNA LITZ-MAISNER
 SEC CLARK & HOWARD LLC                     SHAWNEE COUNTY TREASURER
 SEC SQUARE HOLDING LLC                     SHAWNEE LOWRY
 SECRETARY OF STATE                         SHEENAN PRICE
 SECURITY MAYFLOWER                         SHEILA CLARKE-HANSON
 SECURITY RESOURCES INC                     SHEILA ROBBINS, TRUSTEE
 SEDGWICK COUNTY TREASURER                  SHELBY COUNTY TRUSTEE
 SEJ PP NORTH LLC                           SHELBY CREEK LLC
 SELDEN PLAZA LLC                           SHENANGO VALLEY REALTY LLC
 SEMBLER FAMILY PTNRSHP #41 LTD             SHERI TAVARES
 SENNCO SOLUTIONS                           SHERIDAN PLAZA
 SEREA RIVERS                               SHERIDAN RETAIL INC
 SERENA DIACO                               SHERIFF & EX-OFFICIO
 SERIES E-CLARENDON REAL ESTATE             SHERIFF & EX-OFFICIO TAX COLL.
  LLC                                       SHERIFF & TAX COLLECTOR
 SERITAGE KMT FINANCE LLC                   SHERIFF OF MADISON COUNTY
 SERRAMONTE CENTER                          SHERRY MARTINO
 SERVPRO COMMERCIAL LLC                     SHI INTERNATIONAL CORP
 SERVPRO OF MIDTOWN MEMPHIS                 SHILLDEV US INC
 SESAME                                     SHINE STEPHEN
 SESAME WORKSHOP                            SHIRIN JUSTINE
 SETH STERLING                              SHOMA RETAIL LLC
 SEVEN CORNERS CENTER LLC                   SHOPPERTRAK RCT CORP
 SEWELL MOTOR EXPRESS COMPANY               SHOPPES AT BUCKLAND HILLS LLC
 SFI FORD CITY CHICAGO LLC                  SHOPPES OF FT. WRIGHT KY LLC
 SFP POOL FOUR SHOPPING CENTERS             SHOPS AT GRAND CANYON 14
  LP                                         SYNDICATIONS
 SFP POOL SIX LLC                           SHOPS AT HANCOCK LLC
 SFP POOL TWO SHOPPING CENTERS              SHOPS AT MISSION VIEJO LLC
  LP                                        SHOPS AT TANFORAN ASSOCIATES
 SFR PROPERTIES LLC                          LLC
 SGG MANAGEMENT (CURACAO) NV                SHORT CIRCUIT ELECTRONICS INC
 SHADRALL 2855 DUNN LP                      SHRED-IT USA
 SHANE HUNT                                 SHREEJI HOSPITALITY OF
 SHANGHAI KUAI IMP & EXP CO LTD              CHARLOTTE LLC
 SHANNON JOHNSON                            SIERRA CENTER INVESTMENTS LLC
 SHANNON T SHOWALTER                        SIERRA REAL ESTATE LLC
 SHANTEL LEWIS                              SIERRA VISTA 16 A, LLC
 SHAPE PROPERTY MGMT CORP                   SIERRA VISTA MALL LLC
 SHAPELL SOCAL RENTAL                       SIFFRON
  PROPERTIES LLC                            SIGFELD REALTY MARKET PLACE
 SHARK EYES INC                              LLC
 SHARLENE TAYLOR                            SIGNS OF THE TIMES CORPORATION
 SHARON LIVINGSTON, CHANCERY                SILCO FIRE PROTECTION CO
  CLERK                                     SILVER LAKE MALL LLC
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 SILVER SPRINGS EQUITIES LLC                SOUTH BAY SPE LLC
 SIM ZIM ASSOCIATES LP                      SOUTH CHINA SHOES PRODUCTS
 SIMEIO SOLUTIONS LLC                        COMPANY LTD
 SIMON PROPERTY GROUP (TEXAS) LP            SOUTH COUNTY SHOPPINGTOWN
 SIMON PROPERTY GROUP LP                     LLC
 SIRIUS COMPUTER SOLUTIONS INC              SOUTH DAKOTA DEPT. OF REVENUE
 SITECOMPLI LLC                             SOUTH HILL MALL CO
 SIX RIVERS DEVELOPMENT LLC                 SOUTH HILL PLAZA
 SK DRIVE PROPERTIES LLC                    SOUTH LAKEVIEW PLAZA I LLC
 SKECHERS                                   SOUTH PLAZA CO.
 SKECHERS PAYLESS                           SOUTH PLAZA COMPANY LLC
 SKECHERS USA INC                           SOUTH TOWN PLAZA ASSOC LLC
 SLO PROMENADE DE, LLC                      SOUTH TOWN PLAZA MERCHANTS
 SLONG INDUSTRIAL CO LIMITED                 ASSOC
 SM EASTLAND MALL LLC                       SOUTH WHIT SHOPPING ASSOC.
 SMART MERCHANTS GROUP, INC.                SOUTHAVEN TOWNE CENTER II LLC
 SMART REAL ESTATE INC                      SOUTHERN BUYERS GROUP LLC
 SMART REIT - SCARBMILNER                    BOWDOIN
 SMARTREIT (AURORA NORTH II) INC.           SOUTHERN HILLS MALL LLC
 SMARTREIT (MAPLE RIDGE) INC                SOUTHERN IMPERIAL INC
 SMARTREIT (OAKVILLE) INC                   SOUTHERN PARK MALL LLC
 SMTC ACQUISITION LLC                       SOUTHERN SHOPPING CENTER LLC
 SN PROPERTIES FUNDING IV - LEIGH           SOUTHGATE ASSOCIATES LLC
  LLC                                       SOUTHGATE CENTER ASSOCIATES
 SNAGAJOB                                    LLC
 SNELLING-MIDWAY                            SOUTHGATE MARKETPLACE LLC
  REDEVELOPMENT LLC                         SOUTHLAKE INDIANA LLC
 SNICKER HEAD LLC                           SOUTHLAND CENTER LLC
 SOCORRO RODRIGUEZ                          SOUTHLAND MALL LP
 SOFIA VERGARA                              SOUTHLAND MALL PROPERTIES LLC
 SOFTEK INC                                 SOUTHPARK MALL CMBS LLC
 SOLARWINDS                                 SOUTHPARK MALL LLC
 SOLUTIONS WINDOW CLEANING                  SOUTHPOINT MALL LLC 203939
 SOMERS POINT LLC                           SOUTHPOINTE COMMON
 SOMERSWORTH POLICE                          CORPORATION
  DEPARTMENT                                SOUTHPORT 2013 LLC
 SONA MANAGEMENT GROUP                      SOUTHRIDGE LP
 SONIA ALDAY                                SOUTHRIDGE MALL
 SONIA CEVALLOS                             SOUTHSIDE RETAIL LLC
 SONIA DUSHEY                               SOUTHTOWN PLAZA REALTY LLC
 SONITROL SECURITY SYSTEMS                  SOUTHWEST REGIONAL TAX
 SONOMA CO. WGHTS. & MEASURES                BUREAU
  DIV.                                      SOUTHWEST SHOPPING CENTERS
 SOPHIA ALLMAN                              SP SOUTHPORT PLAZA LLC
 SOPHIA HEPBURN                             SPACE 530 LLC
 SOUTH BAY CENTER SPE LLC                   SPACE DATA CORPORATION
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 SPARKS GRF2 LLC                            STANLEY CONVERGENT SECURITY
 SPECIAL DISPATCH                            SOLUTIONS
 SPECTRUM BAGS INC                          STAR DEVELOPMENT INC
 SPF MARKET AT SOUTHSIDE LLC                STAR WEST CHICAGO RIDGE LLC
 SPOKANE MALL LLC (MALL &                   STAR WEST FRANKLIN PARK MALL
  PLAZA)                                     LLC
 SPOOR & FISHER                             STAR WEST GATEWAY LLC
 SPOTSYLVANIA MALL CO                       STAR WEST GREAT NORTHERN MALL
 SPRING HILL MALL LLC                        LLC
 SPRING RIDGE LP                            STAR WEST JV LLC FBO WESTLAND
 SPRING TOWN CENTER                          MALL LLC
 SPRINGBANK MECHANICAL                      STAR WEST LOUIS JOLIET LLC
  SYSTEMS LTD                               STAR WEST SOLANO LLC
 SPRINGFIELD TOWNSHIP FIRE DEPT             STARLING GREWE
 SPRINGFIELD UE LLC                         STARR COUNTY TAX OFFICE
 SPRINGHILL-US19, LLC                       STAR-WEST PARKWAY MALL LP
 SPRUCE CENTRE LANDS LTD                    STATE OF ALABAMA
 S-R GENESIS LTD                            STATE OF ALASKA
 SRF2 TRURO MALL INC                        STATE OF ARIZONA
 SRF4 MARKET MALL INC                       STATE OF ARKANSAS
 SRF4 PEMBROKE MALL INC                     STATE OF CALIFORNIA
 SS - BSCMI05-TOP 20 LAKE FOREST            STATE OF COLORADO
 SSI NORTHSIDE LLC                          STATE OF CONNECTICUT
 ST ALBERT CENTRE HOLDINGS INC              STATE OF FLORIDA
 ST BERNARD PARISH                          STATE OF GEORGIA
 ST CHARLES COUNTY                          STATE OF HAWAII
 ST CLAIR SQUARE SPE, LLC                   STATE OF IDAHO
 ST CLOUD MALL LLC                          STATE OF ILLINOIS
 ST JOHNSBURY ROUTE 5 ASSOC                 STATE OF INDIANA
 ST LOUIS COUNTY COLLECTOR OF               STATE OF IOWA
  REVENUE                                   STATE OF KANSAS
 ST LOUIS COUNTY TREASURER                  STATE OF KENTUCKY
 ST LOUIS PREMIUM OUTLETS LLC               STATE OF LOUISIANA
 ST MALL OWNER LLC                          STATE OF MAINE
 ST PAULS LUTHERAN CHURCH                   STATE OF MARYLAND
 ST. CLOUD EQUITIES, LLC                    STATE OF MASSACHUSETTS
 ST. FRANCOIS COUNTY                        STATE OF MICHIGAN
 ST. JOHN AMBULANCE                         STATE OF MINNESOTA
 ST. LANDRY PARISH SCHOOL BOARD             STATE OF MISSOURI
 ST. LUCIE COUNTY TAX COLLECTOR             STATE OF NEBRASKA
 STACEY BANISTER                            STATE OF NEVADA
 STACEY GREGG                               STATE OF NEW HAMPSHIRE
 STACY FERRELL                              STATE OF NEW JERSEY
 STAFFMARK                                  STATE OF NEW MEXICO
 STAFFORD BLUFFTON LLC                      STATE OF NORTH CAROLINA
 STANDAR LP                                 STATE OF OHIO
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 STATE OF OKLAHOMA                          STONE MOUNTAIN SQUARE
 STATE OF OREGON                             SHOPPING CTR LLC
 STATE OF PENNSYLVANIA                      STONEBRIAR MALL LLC GGP
 STATE OF RHODE ISLAND                       HOMART II LLC
 STATE OF SOUTH DAKOTA                      STONECREST MALL SPE LLC
 STATE OF TENNESSEE                         STONEFIELD (FORT
 STATE OF TEXAS                              SASKATCHEWAN) LP
 STATE OF UTAH                              STONERIDGE PROPERTIES LLC
 STATE OF VIRGINIA                          STRATEGIC PRINT SOLUTIONS
 STATE OF WASHINGTON                        STROUD MALL LLC
 STATE OF WEST VIRGINIA                     STS, INC
 STATE OF WISCONSIN                         SUDDATH TRANSPORTATION
 STATE OF WYOMING                            SERVICES INC
 STATESBORO FG CGP LLC                      SUFFOLK COUNTY ALARM MGMT
 STATEWIDE TRANSPORT INC                     PROGRAM
 STATISTA INC                               SUGAR ESTATE ASSOCIATES
 STC HOLDINGS INC                           SUGARCREEK PLAZA II LLC
 STEAMTOWN 300 LLC                          SULPHER PARTNERS, LTD
 STEINER GRANTS PASS INVESTORS              SUMMITTWOODS SPE LLC
 STEPHANIE ESTRADA                          SUMO LOGIC INC
 STEPHANIE MCDANIEL                         SUN LIFE ASSURANCE COMPANY
 STEPHANIE MORAN                            SUN LIFE ASSURANCE COMPANY OF
 STEPHANIE SALAZAR                           CANADA
 STEPHANIE SURMEIER HULT                    SUN PLAZA LLC
 STEPHANIE ULRICH                           SUNLAND PARK MALL
 STEPHANIE VILLALOBOS                       SUNLIFE ASSURANCE CO OF
 STEPHANIE WOLFE                             CANADA
 STEPHEN B. DAY & BARBARA                   SUNNY ISLE DEVELOPERS LLC
  WEBSTER DAY 705                           SUNNY SUNDAYS LLC
 STEPHEN GRAND                              SUNNYSIDE SHOPPES LLC
 STEPHEN MISTLER                            SUNRISE MALL LLC
 STEPHEN PATTON                             SUNRISE MILLS LTD. PARTNERSHIP
 STEVAN M JOSEPHO                           SUNSET PROMENADE, LLC
 STEVE AND JOYCE BREMER                     SUNVALLEY SHOPPING CENTER LLC
 STEVE MADDEN LTD                           SUP I WAMPANOAG LLC
 STEVEN ROBICHAUX                           SURREY CC PROPERTIES INC
 STOCKBRIDGE COURTLAND CENTER               SUSAN C SOZZI
  LLC                                       SUSAN DUBAS
 STOCKBRIDGE EL MERCADO LLC                 SUSAN MELETTI
 STOCKBRIDGE MADISON LLC                    SUSAN REGALADO
 STOCKTON POLICE DEPARTMENT                 SUSO 3 AUGUSTA LP
 STOCKYARDS (PRINCE ALBERT) LP              SUSO 3 RIVERDALE LP
 STONE MOUNTAIN ACCESSORIES INC             SUSQUEHANNA VALLEY MALL
 STONE MOUNTAIN ACQUISITION I                ASSOCIATES LP
  LLC                                       SUZANA GOMEZ
                                            SUZANNE FISHPOOL
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 SUZANNE RUDE                               TAUBMAN AUBURN HILLS ASSOC LP
 SVAP GOLF MILL RETAIL, LP                  TAX AIRFREIGHT INC
 SVAP II PARK NORTH LLC                     TAX AND LICENSING DIVISION
 SVN RETTER & COMPANY - CDSK 28             TAX ASSESSOR - COLLECTOR
  LLC                                       TAX ASSESSOR COLLECTOR ORANGE
 SWATARA TOWNSHIP AUTHORITY                  COUNTY
 SWEET LIVING TOWERS LLC                    TAX COLLECTOR
 SWEETWATER COUNTY TREASURER                TAX COLLECTOR MULTNOMAH
 SWISHER COUNTY APPRAISAL                    COUNTY
  DISTRICT                                  TAX COLLECTOR, MANATEE COUNTY
 SWISHER COUNTY TAX ASSESSOR -              TAX COLLECTOR-DALLAS COUNTY
  COLLECTOR                                 TAX COMMISSIONER - HALL COUNTY
 SY HOWE ARDEN LLC                          TAX COMMISSIONER, GLYNN CNTY
 SYCAMORE PROPERTIES                        TAXATION & REVENUE DEPT.
 SYDNEY PARTNERS LLC                        TAYLOR ARDWIN
 SYDNEY STOVALL                             TAYLOR MORTIMER
 SYLVIE LAFLAMME                            TAYLOR SQUARE OWNER LLC
 SYNCB/AMAZON                               TBG STATE STREET, LLC
 SYSCO KANSAS CITY, INC                     TBP CRANSTON LLC
 SYSTEMS PLUS PVT LTD                       TEALIUM INC
 SYSTEMS PLUS TECHNOLOGIES                  TECHNICAL SAFETY BC
 T.J. DEVELOPMENT CO.                       TECHNICAL STANDARDS & SAFETY
 TACOMA MALL PARTNERSHIP                     AUTHORITY
 TAILWIND ENDEAVORS                         TECHNOLOGY RECOVERY GROUP
 TAIZHOU GLOBAL TRADING CO., LTD            TEDDY EVANS
 TAKECARE INSURANCE COMPANY                 TEI EQUITIES LLC
  INC                                       TEJAS CENTER CORP
 TALAVI BELL, LLC                           TEKSYSTEMS CANADA CORP
 TALWAR TRUST                               TELECHECK SERVICES, INC.
 TAMARA L HAMPTON                           TELEGRAPH MARKETPLACE
 TAMI KNOX                                   PARTNERS II, LLC
 TAMIKA KING                                TEMECULA TOWNE CENTER
 TAMMY CHAMBERLAIN                           ASSOCIATES LLC
 TANGIPAHOA PARISH                          TEMPUS TECHNOLOGIES
 TANGIPAHOA PARISH SCHOOL                   TENNANT INC
  BOARD                                     TERESA BRIONES
 TANGOE INC                                 TERESA CAZAREZ
 TANURB (FESTIVAL MARKETPLACE)              TERESA MUNIZ LOPEZ
  INC.                                      TERRI L. MCCUNE
 TANYA MARTIN                               TERRI MCCANN
 TARA AYERST                                TERRY A. SELIGMAN
 TARA GARMAN                                TESSA BOUCHER
 TARGET CORPORATION                         TESTRITE VISUAL
 TARGET STORES                              TETON INVESTMENTS LLC
 TARIFF SOLUTIONS LLC                       TEXAS DEPARTMENT OF STATE
 TATUM VENTURE LLC                           HEALTH SVCS
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 TF LLC                                     THE VINEYARD SHOPPING CENTER II,
 TGNG REAL ESTATE LLC                        LP
 THE ASEAN CORP LTD                         THE WIDEWATERS GROUP INC
 THE BOULEVARD SHOPPING CENTRE              THE WOODLANDS MALL
  (MONTREAL)                                 ASSOCIATES LLC
 THE CADILLAC FAIRVIEW CORP LTD             THEODORE L. JONES
 THE CAFARO CO                              THERESA BEREZUK
 THE CARRINGTON CO.                         THF FRUITPORT PARCEL R DEV. LP
 THE CARRINGTON COMPANY                     THF GLEN CARBON DEVELOPMENT
 THE CONNECTICUT POST LIMITED                LLC
  PARTNERSHIP                               THF HARRISONBURG CROSSINGS LLC
 THE CORPORATION OF MAPLE RIDGE             THF LAURA HILL DEVELOPMENT LLC
 THE CROSSROADS MALL                        THF WENTZVILLE DEVELOPMENT
 THE DISTRICT LLC                            LLC
 THE DOMAIN MALL II LLC                     THF-D CHARLESTON DEV LLC
 THE DOUG CAMERON EXPERIENCE                THOMAS CARLSON
 THE GILBERT COMPANY                        THOMAS COONEY JR
 THE GLUZ FAMILY TRUST DTD                  THOMAS J. LITTMAN AND DEMETRA
  04/12/99                                   COPOULOS
 THE INCC CORP                              THOMAS L KELLY
 THE IRVINE COMPANY RETAIL PROP.            THOMAS PEDLEY
 THE IRVINE COMPANY LLC                     THOMAS ZACHARIAS
 THE KRAUSZ COMPANIES INC                   THOMSON RUETERS CANADA
 THE LDT ADMINISTRATIVE TRUST               THOR GALLERY AT SOUTH DEKALB
 THE MALL AT BRIARWOOD LLC                   LLC
 THE MALL IN COLUMBIA BUSINESS              THORNDALE CENTER LP
  TR.                                       THORNTON TOWNE CENTER 05 A LLC
 THE MARION PLAZA INC                       THOUSAND OAKS MARKETPLACE LP
 THE MARKETPLACE                            THREE SIXTY SEVEN LLC
 THE MID-AMERICA MGMT CORP                  THRIVE COMMERCE LLC
 THE NORTH FACE                             THYSSENKRUPP ELEVATOR CORP
 THE NORTH LOS ALTOS S/C                    TIAN YOU CORPORATION
 THE ONTARIO MARKETPLACE LLC                TIANA HRDLICKA
 THE PARKS MALL AT ARLINGTON                TIC OWNERS OF OLYMPIC GATEWAY
  LLC                                        SC
 THE QUEENS BENCH SHERIFF TRUST             TIERPOINT LLC
  ACCT                                      TIERRA GROUP INC
 THE SORANI FAMILY REVOCABLE                TIFFANY BOWE
  TRUST                                     TIFFANY HURLEY
 THE STOP & SHOP SUPERMARKET                TIFFANY JACKSON
  COMPANY LLC                               TIFFANY JOLLY
 THE TEMPLE MALL LLC                        TIFFANY SHELLY
 THE VILLAGE AT ORANGE LLC                  TIFFANY SMILEY
 THE VILLAGE SHOPPING CENTRE                TIFFANY WASHINGTON
  (2006) INC                                TIGARD POLICE DEPARTMENT
                                            TIM KAINE
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 TIM RITCHIE                                TOWN OF NIAGARA
 TIMOTHY R NIST                             TOWN OF ULSTER
 TINA RICHARDSON                            TOWNE CENTER VENTURE, LLP
 TINLEY PARK POLICE DEPT                    TOWNE MALL LLC
 TITAN LAND DEVELOPMENT INC                 TOWNE PARK PLAZA LLC
 TKG SE MARKET CTR DEVELOPMENT              TOWNSHIP OF BELLEVILLE
  LP                                        TOWNSHIP OF NORTH BERGEN
 TKG SMITH FARM LLC                         TOWNSHIP OF SOUTH STRABANE
 T-L RIVER WEST LLC                         TOWNSHIP OF VOORHEES
 TM FAIRLANE CENTER LP                      TOWNSHIP OF WAYNE
 TM MACARTHUR CENTER LP                     TOWSON TC LLC
 TM NORTHLAKE MALL LP                       TOYS R US-DELAWARE INC
 TM WELLINGTON GREEN MALL LP                TPP SIEGEN LLC
 TNC BUILDING OWNER LLC                     TRACEY GILLCASH
 TODD W BECKETT                             TRACIE TRACIE
 TOLEDO GREAT SOUTHERN LIMITED              TRACY MALL PARTNERS, LP
 TONGXIANG HENGSHENG SHOES CO               TRAFFIX USA, INC
  LTD                                       TRANS PERFECT TRANSLATIONS
 TONYA MCCLOUD                              TRANSACTION TAX RESOURCES INC
 TOOELE CITY CORP.                          TRANSOURCE
 TOOELE COUNTY ASSESSOR                     TRANSPORTATION SUPPLY DEPOT
 TOP FALCON INTERNATIONAL                    INC
  LIMITED                                   TRANSX LTD
 TOP LUCK ASIA LIMITED                      TREA WESTON LLC
 TOP PROPERTY GROUP LLC                     TREASURE COAST-JCP ASSOC. LTD.
 TOPLINE                                     3096
 TOPLINE FOOTWEAR LIMITED                   TREASURER CITY OF MEMPHIS
 TOPLINE IMPORTS INC                        TREASURER OF BOWLING GREEN
 TOPSMART INTERNATIONAL CO.,                TREASURER OF GUAM
  LTD.                                      TREASURER OF LAKE COUNTY
 TORNETTA REALTY CORP                       TREASURER OF MONTGOMERY
 TOTALFUNDS BY HASLER                        COUNTY
 TOULON DEVELOPMENT                         TREASURER OF VIRGINIA
  CORPORATION                               TREASURER, CHESTERFIELD
 TOWN & COUNTRY PLAZA ASSN                   COUNTY
 TOWN CENTER AT AURORA, LLC                 TREASURER, STATE OF NEW JERSEY
 TOWN CENTER AT COBB LLC                    TREASURER-TAX COLLECTOR
 TOWN EAST MALL LLC                         TREECO / PALISADES COURT LP
 TOWN OF BABYLON                            TREMONT REAL ESTATE LLC
 TOWN OF BIG FLATS CODE                     TRIANGLE EQUITIES JUNCTION LLC
  ENFORCEMENT                               TRI-COASTAL DESIGN GROUP INC
 TOWN OF CHRISTIANSBURG                     TRIGON IMAGING SOLUTIONS
 TOWN OF CICERO                             TRI-MODAL DIST SVC INC.
 TOWN OF CLARKSTOWN                         TRIP TUCK INC
 TOWN OF N. PROVIDENCE                      TRIPLE B FORWARDERS
 TOWN OF NEWBURGH                           TRIPLE S, INC.
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 TRIUMPH OF NORTH CAROLINA                  UNITCO REALTY & CONSTRUCTION
 TROPICAIRE HIALEAH INC                      CO INC
 TRP MCB EASTPOINT LLC                      UNITED CALIFORNIA FREIGHT SOL
 TRUE MEDIA                                 UNITED FOOD & COMMERCIAL
 TRUMBALL CORPORATION                       UNITED HEALTHCARE
 TRUMBULL SHOPPING CENTER #2                UNITED PARCEL SERVICE, INC.
  LLC                                       UNITED PROPERTIES CORP
 TRUSTEES OF THE ESTATE OF                  UNITED STATES DEVELOPMENT LTD
  BERNICE                                   UNIVERSAL INTERMODAL SERVICES
 TRUSTWAVE HOLDINGS INC                      INC
 TUCSON PLACE INVESTORS, LLC                UNIVERSAL PACKAGING
 TULARE COUNTY TAX COLLECTOR                UNIVERSITY MALL
 TULLER SQUARE NORTHPOINTE, LLC             UNIVERSITY MALL REALTY LLC
 TULSACK                                    UNIVERSITY MALL REALTY LTD.
 TUNGYA LOGISTICS CO LTD                    UNIVERSITY MALL SHOPPING
 TUP 130 LLC                                 CENTER LC
 TURK-PUGH PROPERTIES                       UNIVERSITY PARK MALL LLC
 TUSCALOOSA COUNTY SPECIAL                  UNIVERSITY PLAZA JOINT VENTURE
 TUTU PARK MALL                             UNIVERSITY REALTY ASSOCIATES
 TVL PROPERTIES LLC                          LLC
 TVO MALL OWNER LLC                         UPS
 TWC CHANDLER LLC                           UPS FREIGHT
 TWICE MARKETS LLC                          UPS SUPPLY CHAIN SOLUTIONS INC
 TYLER LATHAM                               URBAN EDGE CAGUAS LP
 TYLER MALL LIMITED PARTNERSHIP             URBANCAL MANHATTAN TOWN
 TYLER PINE TREE SHOPPING CENTER             CENTER LLC
  LLC                                       URBANCAL OAKLAND MALL LLC
 U SAVE FOODS INC                           URGENT CARE SPECIALISTS
 U STREET PARKING                           US BANK
 U.S. POSTMASTER                            US BANK AIR BTA
 U.S. TRUSTEE                               US BANK EDC
 UE 839 NEW YORK AVENUE LLC                 US BANK IT/SOFTWARE
 UE HUDSON MALL LLC                         US BANK PR
 UE MONTEHIEDRA ACQUISTION LP               US BANK REC
 UE TONNELLE COMMONS LLC                    US BANK STS
 UE YONKERS II LLC                          US BANK TAX
 U-LACE LLC                                 US CENTENNIAL VANCOUVER MALL
 ULINE INC                                   LLC
 UMATILLA COUNTY                            US CUSTOMS
 UNIFIED GOVERNMENT                         US DATA CORPORATION
 UNION COUNTY NORTH CAROLINA                US EXPEDITING & LOGISTICS LLC
 UNION SQUARE NEWCASTLE JOINT               US FOODS, INC
  VENTURE                                   USPG PORTFOLIO SIX LLC
 UNION UE LLC                               UTAH COUNTY ASSESSOR
 UNIONTOWN MALL REALTY LLC                  UVIAUS, LLC
                                            V.I. BUREAU OF INTERNAL REV.
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 VAIBHAV CHAUDHRY                           VIABELLA HOLDINGS LLC
 VAL VISTA RETAIL I, LLC                    VIACOM INTERNATIONAL MEDIA
 VALENCIA MARKETPLACE I LLC                  NETWORKS
 VALERIA DOMINGUEZ                          VIAPORT NEW YORK LLC
 VALERIE COTA                               VICKSBURG INCOME PROPERTIES
 VALERIE LEBLANC                             LLC
 VALERIE WILLIAMS                           VICKY GRACE SANCHEZ AYAQUIL
 VALIANT RENTAL PROPERTIES LTD.             VICTORIA ALVAREZ
 VALLEY HILLS MALL                          VICTORIA MALL LP
 VALLEY JANITORIAL SUPPLY CO                VICTORIA R SCHANTZ-BROWN
 VALLEY MB LLC                              VICTORIA TORRES
 VALLEY PLAZA MALL LP                       VIKING PARTNERS CHESTERFIELD
 VALLEY PROPERTIES INC                       LLC
 VALLEY STREAM GREEN ACRES LLC              VIKING PARTNERS WOLF CREEK LLC
 VALLEY VIEW MALL SPE LLC                   VIKING PLAZA REALTY GROUP LLC
 VALLEY WEST MALL LLC                       VILLA LIGHTING SUPPLY
 VANCE COUNTY TAX COLLECTOR                 VILLAGE COMPANY LLC
 VANCOUVER PLAZA                            VILLAGE LAKE PROMENADE LLC
 VANDALIA ASSOCIATES                        VILLAGE OF ASHWAUBENON
 VANPROP INVESTMENTS LTD                    VILLAGE OF CARPENTERSVILLE
 VAQUERO GARTH ROAD PARTNERS,               VILLAGE OF CRESTWOOD
  LP                                        VILLAGE OF ELK GROVE VILLAGE
 VAQUERO PAYLESS PARTNERS, LP               VILLAGE OF GURNEE
 VCG SOUTHLAKE MALL LLC                     VILLAGE OF HODGKINS
 VCG WHITNEY FIELD LLC                      VILLAGE OF MELROSE PARK
 VCG-SOUTHBAY PAVILION LLC                  VILLAGE OF MT. PROSPECT
 VECTOR SECURITY                            VILLAGE OF NORTH RIVERSIDE
 VELLANI & VELLANI                          VILLAGE OF ORLAND PARK
 VENSTAR INC                                VILLAGE OF SHOREWOOD
 VENTURE NO 3841 LLC                        VILLAGE OF SKOKIE
 VENTURES III LLC                           VILLAGE OF STREAMWOOD
 VERA ODUM                                  VILLAGE OF TINLEY PARK
 VEREIT MT LADY LAKE FL, LLC                VILLAGE PARK PLAZA LLC
 VERIFONE INC                               VILLAVERDE PROPERTIES LLC
 VERMONT DEPT. OF TAXES                     VINCENNES CENTER LLC
 VERMONT SLAUSON SHOPPING                   VINCENT CLAYTON
 VERONICA CASTRO                            VINECO JOINT VENTURE
 VERONICA LAM                               VINYARD CONCORD, LP
 VERONICA MORGAN                            VIOLET REALTY INC
 VERTEX INC.                                VIRGINIA CAMACHO
 VERTIV SERVICES INC                        VIRGINIA FAIR
 VESTAL TOWN SQUARE LLC                     VISALIA MALL LP
 VESTAR ORCHARD TOWN CENTER                 VISUAL LEASE LLC
  LLC                                       VIXXO CANADA
 VESTAR-CPT TEMPE MARKETPLACE,              VK-AJ-KR BALDWIN ASSOCIATES
  LLC                                       VML LLC
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 VMWARE INC                                 WATERFORD LAKES TOWN CENTER
 VOIANCE LANGUAGE SERVICES LLC               LLC
 VOISIN DEVELOPMENTS LIMITED                WATERVILLE RETAIL ASSOCIATES
 VOLUSIA MALL LLC                            LLC
 VOORHEES CENTER REALTY LLC                 WATSON INSURANCE AGENCY
 VORTEX INDUSTRIES INC                      WATT TOWN CENTER RETAIL
 W - LD LEGENDS OWNER VII LLC                PARTNERS LLC
 W & W PARTNERSHIP                          WAYMAN DEVELOPMENT COMPANY
 W & Y PROPERTIES LLC                       WAYNE COUNTY
 W/J COMMERCIAL VENTURE                     WAYNE TOWNE ENTERPRISES LTD
 W/S EPPING LLC                             WBC PROPERTIES
 W/S WESTBROOK ASSOCIATES, LLC              WBLP DELAWARE LTD PARTNERSHIP
 WAIPAHU LLC                                WC INDEPENDENCE CENTER LLC
 WAJ HARDY OAK LLC                          WC MRP DES MOINES CENTER LLC
 WAKE COUNTY REVENUE DEPT.                   FBO
 WAKEFIELD MALL ASSOCIATES                  WC NORTH OAKS HOUSTON LP
 WALDEN CONSUMER SQUARE LLC                 WEA PALM DESERT LLC
 WALDORF SHOPPERS WORLD                     WEA SOUTHCENTER LLC
 WALGREEN CO                                WEBSTER SQUARE S/C LLC
 WALL TWP FIRE PREVENTION                   WEINGARTEN NOSTAT INC
  BUREAU                                    WEINGARTEN REALTY INVESTORS
 WALLACE C. WORKING                         WEINGARTEN/ AURORA/ GDC TIC
 WALLACE PROPERTIES KENNWICK                WEIRFOULDS LLP
  PLAZA LLC                                 WEISBURG OAKLAND TRUST
 WALNOR, LLC 0255 RL                        WELLMAKARA LLC
 WALNUT HILL HOLDINGS LLC                   WELLS FARGO RETAIL FINANCE LLC
 WALTON FOOTHILLS HOLDINGS VI               WELLS FARGO SBLC
  LLC                                       WELLS FARGO VENDOR
 WANAMAKER 17, LLC                          WENATCHEE REALTY LLC
 WARE COUNTY TAX COMMISSIONER               WENDY BOGGS
 WARLAND INVESTMENTS COMPANY                WENDY L EVANS
 WARREN BUSINESS SERVICE                    WENDY WOLTHER
 WARWICK MALL OWNER LLC                     WENDY WU
 WASHINGTON CIRCLE PLAZA                    WENDYS OLD FASHIONED
 WASHINGTON CITY                             HAMBURGERS OF ATLAN
 WASHINGTON CORNER LP                       WERNER ENTERPRISES INC
 WASHINGTON COUNTY COLLECTOR                WEST 5TH STREET PROPERTIES LP
 WASHINGTON COUNTY SHERIFF                  WEST ACRES DEVELOPMENT
 WASHINGTON COUNTY TREASURER                WEST BLUFF CENTER LLC
 WASHINGTON MALL- JCP                       WEST COUNTY MALL CMBS LLC
  ASSOCIATES LTD                            WEST DAKOTA CONSOLIDATED, INC.
 WASHINGTON SQUARE MGMT LLC                 WEST EDMONTON MALL
 WASHREIT CENTRE AT                          PROMOTIONS
  HAGERSTOWN LLC                            WEST EDMONTON MALL PROPERTY
 WATAUGA TOWNE CROSSINGS LLC                 INC
                                            WEST FLAGLER PLAZA CORP
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 WEST MELBOURNE TOWN CENTER                 WHITE COUNTY
  LLC                                       WHITE MARSH MALL LLC
 WEST PALM REALTY LLC                       WHITE OAKS MALL HOLDINGS LTD
 WEST RIVER SHOPPING CENTER LLC             WHITE PINE COUNTY TREASURER
 WEST ROAD INVESTORS, LP                    WHITEHALL INCOME TAX DIVISION
 WEST TOWN LLC                              WHITEMAK ASSOCIATES
 WEST VOLUSIA INVESTORS LLC                 WHITE-SPUNNER REALTY INC
 WESTAFF WORKFORCE SOLUTIONS                WHITESTONE REIT
  LLC                                       WHITNEY DRANE
 WESTBORN MALL                              WHITTAKER NORTHWEST PARTNERS
 WESTBROOK MALL                             WHITTWOOD 1768 INC
 WESTCOR SANTAN HOLDINGS LLC                WHLR - CONYERS CROSSING, LLC
 WESTDALE CONSTRUCTION CO                   WHLR, JANAF, LLC
  LTIMITED                                  WICHITA ALARM PROGRAM
 WESTDALE PROPERTIES                        WILEY REIN LLP
 WESTERLY ASSOCIATES LLC                    WILGRIST NOMINEES LTD.
 WESTERLY FIRE DEPTARTMENT                  WILL RAY FAMILY PARTNERS
 WESTERN HOSPITALITY KIM, LLC               WILLARD S WILSON INC
 WESTFALL TOWN CENTER JV                    WILLIAM C BUTT ARTICLE 5 CREDIT
 WESTFIELD TOPANGA OWNER LLC                 SHELTER
 WESTGATE INVESTORS LLC                     WILLIAM CURTIS
 WESTGATE MALL CMBS LLC                     WILLIAM P. SMITH
 WESTGATE MALL OWNER, LLC                   WILLIAM PLOGHER
 WESTGATE MALL REALTY GROUP                 WILLIAM SANNA
  LLC                                       WILLIAM THOMPSON
 WESTGATE SHOPPING CENTER LTD               WILLOWBROOK MALL LP
 WESTLAND GARDEN STATE PLAZA                WILLOWBROOK MALL TX LLC
  LP                                        WILSON AMCAP II, LLC
 WESTLAND MALL REALTY LLC                   WILSON INVESTMENT PROPERTIES
 WESTLAND SOUTH SHORE MALL LP                INC
 WESTMINSTER MALL LLC                       WILSONTOWN II LLC
 WESTMINSTER MALL, LLC                      WILTON MALL LLC
 WESTON COUNTY TREASURER                    WINBROOK MANAGEMENT LLC
 WESTOWN INVESTORS LLC                      WINDWARD PARTNERS X LP
 WESTPARK SHOPPING CENTER LLC               WINPLAY INTERNATIONAL CO LTD
 WESTRIDGE SHOPPING CENTRES LTD             WINSTON DEIGH
 WESTROADS MALL LLC-GGPLP                   WINSTON SALEM (OAK SUMMIT)
 WESTSIDE STAMP & AWARDS INC.                WMC LLC
 WESTVIEW CENTER ASSOCIATES LC              WIREGRASS REALTY LLC
 WESTVIEW PLAZA CORP                        WJ BOYD LLC
 WESTWARD REALTY LLC                        WM INLAND INVESTORS IV LP
 WESTWOOD HOLDINGS LLC                      WMSC LLC
 WETHERSFIELD S/C ASSOCIATES LLC            WOBURN (EDENS) LLC
 WF LAKE HOUSTON LLC                        WOLFES LANDSCAPING INC
 WHATCOUNTS                                 WOODBINE MALL HOLDINGS, INC
 WHEATON PLAZA REGIONAL S/C LLC
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 WOODBRIDGE CENTER PROPERTY                 XPO LAST MILE
  LLC                                       Y & D PROPERTIES LLC
 WOODBRIDGE POLICE DEPARTMENT               Y.C. AND BROTHERS ENTERPRISE
 WOODBRIDGE UE LLC                           CO., LTD.
 WOODFIELD MALL LLC                         YALE VIRGINIA BEACH ASSOCIATES
 WOODFINE PROPERTIES INC                     LLC
 WOODHAVEN SHOES LLC                        YANARA FERNANDEZ
 WOODLAND HILLS MALL LLC                    YANG MING AMERICA CORP
 WOODLAND PLAZA II                          YANGMING MARINE TRANSPORT
 WOODRUFF INVESTMENT PARTNERS                CORP
  LLC                                       YARELI FUENTES
 WOODSCREEK COMMONS                         YAZMIN ALVAREZ
 WORKER'S COMPENSATION BOARD                YECENIA AVELLANEDA
 WORKERS' COMPENSATION BOARD -              YENDI RENTERIA
  ALBERTA                                   YOLANDA LOPEZ
 WORKERS COMPENSATION BOARD                 YOO JIN LODGING LLC
  OF MANITOBA                               YORK GALLERIA LP
 WORKPLACE SAFETY & INS. BOARD              YORK RIVER CROSSINGSHOPPING
 WP GALLERIA REALTY LP                       CENTER
 WPG WESTSHORE LLC                          YSM INVESTMENT NO.1 LLC
 WRI CHARLESTON COMMONS LLC                 YTC MALL OWNER LLC
 WRI GALLERIA LLC                           YUBA CITY MARKET PLACE
 WRI GOLDEN STATE LLC                       YUBA CITY POLICE DEPARTMENT
 WRI WEST JORDAN LLC                        YULEE DEVELOPMENTS INC
 WRIGHT/HURD PROPERTIES LLC                 YUMA PALMS DST
 WS KERNAN VILLAGE LLC                      YVETTE GENAO
 WSFP DENVER                                YVETTE SKAFF
 WSPGB MALL LLC                             ZAAC INVESTMENT LLC
 WVA 340 LLC                                ZAMINDAR OM LLC
 WWM SC DUNCANVILLE INC                     ZARCAL ZANESVILLE LLC
 WWW CROSSINGS LLC                          ZEPHYRHILLS POLICE DEPARTMENT
 WYOMING MALL LTD                           ZETA IMPACT INC
 XFIVE LLC                                  ZHEJIANG ZHUOLING SHOES CO LTD
 XIAMEN C AND D LIGHT INDUSTRY              ZINEB BENCHERKI
  CO LTD                                    ZORO TOOLS INC
 XIAMEN DOUBLE-STAR IMPORT &
  EXPORT

  U.S. TRUSTEE AND COURT PERSONNEL (EASTERN DISTRICT OF MISSOURI)

 MCWAY, DANA C.
 RANDOLPH, PAUL
 RENDLEN, CHARLES, E., III
 RYCZEK, CAROLE J.
 SCHERMER, BARRY S.
 SURRATT-STATES, KATHY A.
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                                       Schedule 2

   Interested Parties that Currently or have Previously Employed Armstrong Teasdale in
                Matters Unrelated to the Debtors or Their Chapter 11 Cases

 ACCOUNTS PAYABLE                              SIMMONS FIRST NATIONAL BANK
 AIA CORPORATION                               UMB BANK, N.A.
 AMAZON                                        U.S. BANK, N.A.
 AMERICAN ARBITRATION
  ASSOCIATION                                  INSURERS
 CINTAS CORPORATION                            ARCH
 CITY OF AURORA                                ASPEN
 CITY OF CAPE GIRARDEAU                        AXIS
 CITY OF KANSAS CITY                           BEAZLEY
 CITY OF RICHMOND                              GREAT AMERICAN INSURANCE
 CITY OF ST. LOUIS
 CORPORATE CLAIMS MANAGEMENT
 FINELINE TECHNOLOGIES, INC.
 GALLAGHER BASSETT SERVICES,
  INC.
 GOOGLE INC.
 JEFFERSON COUNTY
 SUN LIFE ASSURANCE COMPANY OF
  CANADA
 UNITED PARCEL SERVICE, INC.

 LANDLORDS
 SIMON PROPERTY GROUP
 LINDELL MARKETPLACE, L.P.

 LETTERS OF CREDIT
 U.S. BANK, N.A.

 LENDERS
 BANK OF AMERICA, N.A.
 WELLS FARGO BANK, N.A.

 BANKS
 ALLIANCE BANK
 BANK OF THE WEST
 CAPITAL ONE BANK (U.S.A.), N.A.
 ENTERPRISE BANK & TRUST
 FIFTH THIRD BANK
 FIRST MIDWEST BANK
 FIRST NATIONAL BANK
 JP MORGAN CHASE BANK, N.A.
 PEOPLES BANK
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                                      Schedule 3

             Nonexclusive List of Certain Armstrong Teasdale Professionals
                and Their Current Hourly Rates As of the Petition Date

                                                                 BILLING RATE AS OF
          NAME               LOCATION              POSITION
                                                                 THE PETITION DATE

       Richard Engel          St. Louis             Partner              $605

       David Going            St. Louis             Partner              $605

       John Willard           St. Louis            Associate             $325

       Erin Edelman           St. Louis            Associate             $325

        John Moore            St. Louis            Associate             $295

     Patricia Beckerle        St. Louis            Associate             $275

       Brandi Vogt            St. Louis            Paralegal             $180
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                                     Exhibit C

                  Disclosure of Compensation of Armstrong Teasdale
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                                  UNITED STATES BANKRUPTCY COURT
                                    EASTERN DISTRICT OF MISSOURI
                                          EASTERN DIVISION

 In re:                                                           )    Case No. 19-40883
                                                                  )    Chapter 11
 Payless Holdings LLC, et al.,                                    )
                                                                  )    (Joint Administration Requested)
                                           1
                               Debtors.                           )
                                                                  )    Hearing Date: February 19, 2019
                                                                  )    Hearing Time: 1:30 p.m. (Central Time)
                                                                  )    Hearing Location: Courtroom 7 North

                         DISCLOSURE OF COMPENSATION OF ATTORNEYS

           I, Richard W. Engel, Jr., hereby certify as follows:

           1.        Between February 18, 2018 through February 18, 2019 (the “Petition Date”),

 Armstrong Teasdale received $803,757.65 from the Debtors in the ordinary course for services

 rendered or to be rendered on behalf of the Debtors in connection with bankruptcy related

 matters.       This amount includes multiple payments amounting to $285,000 in retainer

 replenishments for unbilled, anticipated or estimated fees in connection with the Debtors’

 bankruptcy matters leading up to the Petition Date (collectively, the “Retainer”). As of the

 Petition Date, the balance of the Retainer is approximately $144,939.31.

           2.        There is no agreement of any nature as to the sharing of any compensation to be

 paid to Armstrong Teasdale, other than sharing among the attorneys of Armstrong Teasdale. As

 of the Petition Date, Armstrong Teasdale is not a creditor of the Debtors’ estates, and Armstrong
 1
           The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number,
 are: Payless Holdings LLC [5704]; Payless Intermediate Holdings LLC [5190]; WBG-PSS Holdings LLC [0673]; Payless Inc.
 [3160]; Payless Finance, Inc. [2101]; Collective Brands Services, Inc. [7266]; PSS Delaware Company 4, Inc. [1466]; Shoe
 Sourcing, Inc. [4075]; Payless ShoeSource, Inc. [4097]; Eastborough, Inc. [2803]; Payless Purchasing Services, Inc. [3043];
 Payless ShoeSource Merchandising, Inc. [0946]; Payless Gold Value CO, Inc. [3581]; Payless ShoeSource Distribution, Inc.
 [0944]; Payless ShoeSource Worldwide, Inc. [6884]; Payless NYC, Inc. [4126]; Payless ShoeSource of Puerto Rico, Inc. [9107];
 Payless Collective GP, LLC [2940]; Collective Licensing, LP [1256]; Collective Licensing International LLC [5451]; Clinch,
 LLC [9836]; Collective Brands Franchising Services, LLC [3636]; Payless International Franchising, LLC [6448]; PSS Canada,
 Inc. [4969]; Payless ShoeSource Canada Inc. [4180]; Payless ShoeSource Canada GP Inc. [4182]; and Payless ShoeSource
 Canada LP [4179]. With respect to certain taxing authorities, the Debtors’ address is 2001 Bryan Street, Suite 800, Dallas, Texas
 75201. However, the location of Debtor Payless Holdings LLC’s corporate headquarters and the Debtors’ service address is: c/o
 Payless ShoeSource Inc., 3231 S.E. 6th Avenue, Topeka, Kansas 66607.
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 Teasdale waives any interest it may have which is adverse to the Debtors’ estates as of the

 Petition Date.


  Dated: February 19, 2019                        /s/ Richard W. Engel, Jr.
  St. Louis, Missouri                             Richard W. Engel, Jr., MO 34641
                                                  Armstrong Teasdale LLP
                                                  7700 Forsyth Boulevard, Suite 1800
                                                  St. Louis, MO 63105
                                                  Telephone: (314) 621-5070
                                                  Facsimile: (314) 612-2242
                                                  Email: rengel@armstrongteasdale.com
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                                     Exhibit D

                                Engagement Letter
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                                                                           Erin M. Edelman
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                                                                                                           eedelman@armstrongteasdale.com




                                                                                                           MISSOURI KANSAS COtORADO NEVADA ILLINOIS




February 5, 2019


Mario Zarazua
Chief Financial Officer
Payless Holdings, LLC
3231 SE 6th Avenue
Topeka, Kansas 66607-2207
Mario.Zarazua@pavless.com

 Re:         Engagement of Payless Holdings LLC

Dear Mr. Zarazua:

Thank you for selecting Armstrong Teasdale LLP to represent Payless Holdings LLC and certain of its direct
and indirect subsidiaries (collectively, the "Company") in the Company's bankruptcy matter. This letter and
the enclosed Standard Terms of Representation will describe the basis on which our firm will provide legal
services to you.

We have been engaged to advise the Company in connection with a chapter 11 bankruptcy filing and to
make preparations therefor.

The professional services that our firm will render to the Company include, but shall not be limited to, the
following:

(a)     providing legal advice with respect to the Company's powers and duties as debtors-in-possession in
the continued operation of its business and management of its properties;

(b)     attending meetings and negotiating with representatives of creditors and other parties in interest
and advising and consulting on the conduct of chapter 11 Cases, including the legal and administrative
requirements of operating in chapter 11;

(c)      taking necessary action to protect and preserve the Company's estates, including the prosecution
of actions commenced under the Bankruptcy Code on their behalf, and objections to claims filed against the
estates;

(d)     preparing and prosecuting on behalf of the Company's motions, applications, answers, orders,
reports and papers necessary to the administration of the estates;

(e)     advising and assisting the Company with respect to restructuring alternatives, including, to the
extent applicable, preparing and pursuing confirmation of a chapter 11plan and approval of a disclosure
statement;




 ARMSTRONG TEASDALE LLP      7700 FORSYTH BLVD., SUITE 1800, ST. LOUIS, MO 63105   T 314.621.5070 F 314.621.5065           ArmstrongTeasdale.com
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 (f)       appearing in Court and protecting the interests of the Company before the Court; and

 (g)       performing all other legal services for the Company which maybe necessary and proper.

 Armstrong Teasdale LLP shall serve as co-counsel with Akin Gump Strauss Hauer & Feld LLP. All reasonable
 steps shall be taken to ensure no duplication of efforts.

 The principal basis for computing our fees will be the amount of time spent on the matter by various lawyers
 and legal assistants multiplied by their individual hourly billing rates. Our hourly billing rates for lawyers
 currently range from $255 per hour for new associates to $685 per hour for senior partners. Time devoted
 by paralegals is charged at billing rates ranging from $110 to $305 per hour. These billing rates are subject
 to change from time to time. As explained in the enclosed Standard Terms of Representation, other factors
 also may betaken into consideration in determining our fees.

 We are requesting a retainer in the amount of $100,000. Our wire instructions are attached.

 Additional information regarding fees and other important matters appears in the enclosed Standard Terms
 of Representation, which are incorporated as part of this letter and which you should review carefully
 before agreeing to our engagement. Please indicate your acceptance of the terms of this letter and the
 Standard Terms of Representation by signing and returning a copy of this letter. However, please note that
 your instructing us or continuing to instruct us on this matter will constitute your full acceptance of the
 terms set out above. Please call me if you have any questions.

 Very truly yours,




 Erin M. Edelman

 EME:scr

 cc:       Richard W. Engel, Jr.
           John G. Willard
           Ramona Palmer-Eason




 AGREED TO AND ACCEPTED:

 Payless Holdings LLC



 By:

 Title:     CFO

 Date:       2/11/2019




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                                           Armstrong Teasdale LLP

                                    STANDARD TERMS OF REPRESENTATION

 This document sets forth the standard terms of our engagement as your lawyers. Unless modified in writing
 by mutual agreement, these terms will be an integral part of our agreement with you. Therefore, we ask
 that you review this document carefully and contact us promptly if you have any questions. You should
 retain this document in your file.

The Scope of Our Work

 The legal services that we will provide to you are described in our engagement letter. Our representation is
 limited to performance of the services described in that letter and does not include representation of you or
 your interests in any other matter.

 Any expressions on our part concerning the outcome of your legal matters are expressions of our best
 professional judgment, but are not guarantees. Such opinions are necessarily limited by our knowledge of
 the facts and are based on the state of the law at the time they are expressed.

It is our policy that the person or entity that we represent is the person or entity that is identified in our
engagement letter and does not include any affiliates of such person or entity (i.e., if you area corporation
or partnership, any parents, subsidiaries, employees, officers, directors, shareholders or partners of the
corporation or partnership, or commonly owned corporations or partnerships; or, if you are a trade
association, any members of the trade association). Accordingly, for conflict of interest purposes, we may
represent another client with interests adverse to any such affiliate without obtaining your consent.

 Who Will Provide the Legal Services

Customarily, each client of the firm is served by a principal lawyer contact. You are free to request a change
of principal lawyer at anytime. Subject to the supervisory role of the principal lawyer, your work or parts of
it may be performed by other lawyers and legal assistants in the firm. Such delegation may be for the
purpose of involving lawyers or legal assistants with special expertise in a given area or for the purpose of
providing services on the most efficient and timely basis.

 Client Responsibilities

 You agree to pay our statements for services and expenses as provided below. In addition, you agree to be
 candid and cooperative with us and will keep us informed with complete and accurate factualinformation,
 documents and other communications relevant to the subject matter of our representation or otherwise
 reasonably requested by us. Because it is important that we be able to contact you at all times to consult
 with you regarding your representation, you will inform us, in writing, of any changes in the name, address,
 telephone number, contact person, e-mail address, state of incorporation or other relevant changes
 regarding you or your business. Whenever we need your instructions or authorization in order to proceed
 with legal work on your behalf, we will contact you at the latest business address we have received from
 you. If you affiliate with, acquire, are acquired by, or merge with another company, you will provide us with
 sufficient notice to permit us to withdraw as .your lawyer if we determine that such affiliation, acquisition,
 or merger creates a conflict of interest between any of our clients and the other party to such affiliation,
 acquisition, or merger, or if we determine thatit is not in the best interests of the firm to represent the new
 entity.
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 How Fees Will Be Set

 The principal basis for computing our fees for the legal services we provide to you will be the amount of time
 spent on the matter by various lawyers and legal assistants multiplied by their individual hourly billing
 rates. In addition, we may also consider:

 •        The novelty and difficulty of the questions involved, and the skill requisite to perform the legal
 service properly;

 •         The fee customarily charged in the locality for similar legal services;

 •         The amount of time or value of property involved and the results obtained;

 •       The time limitations imposed by you or by the circumstances, such as an emergency closing, the
 need for injunctive relief from court, or substantial disruption of other office business;

 •         The nature and length of our professional relationship with you;

 •         The experience, reputation, and ability of the lawyers performing the services.

 The hourly rates of our lawyers and legal assistants are adjusted from time to time to reflect current levels
 of legal experience, changes in overhead costs, and other factors. We will keep records of the time we
 devote to your work, including conferences (both in person and over the telephone), negotiations, factual
 and legal research and analysis, document preparation and revision, travel on your behalf, and other
 related matters. We record our time in units of tenths of an hour.

 We are often requested to estimate the amount of fees and costs likely to be incurred in connection with a
 particular matter. Whenever possible, we will furnish such an estimate based upon our professional
 judgment, but always with a clear understanding that itis not a maximum or fixed-fee quotation. The
 ultimate cost frequently is more or less than the amount estimated.

 Costs

 We will include on our statements separate charges for performing services such as photocopying,
 messenger and delivery service, computerized research, travel, and long-distance telephone and fax
 charges, and search fees. Such expenses may also include filing fees, deposition costs, process servers,
 court reporters, and witness fees. You also agree to pay the charges related to copying or digital
 reproduction of documents for retention in our files. While our charges for these services are measured by
 use, they may not, in allinstances, reflect our exact out-of-pocket costs. For many of these items, the
 precise cost of providing the service is difficult to establish. We would be pleased to discuss the specific
 schedule of charges for these additional services with you and to answer any questions that you may have.
 If you would prefer, in some situations we can arrange for these services to be provided by third parties with
 direct billing to you.

 Additionally, for efficiency, we may use the services of an affiliate of our firm, Lawgical Choice, to perform
 technical support such as document scanning, bulk printing, electronic file processing, electronic closing
 books, CD and DVD copying, document coding, electronic bates numbering, trial support, conversion of
 electronic files, or production of electronic files and you agree to pay the charges for such services.

 Charges




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 You authorize us to retain any investigators, consultants, or experts necessary in our judgment to represent
 your interests in the representation. Their fees and expenses generally will not be paid by us, but will be
 billed directly to you.

 Billing Arrangements and Terms of Payment

 We will bill you on a regular basis, normally each month, for both fees and disbursements. You agree to
 make payments within 30 days of receiving our statement or as allowed by court order.

 We will give you prompt notice if your account becomes delinquent, and you agree to bring the account or
 the retainer deposit current. If the delinquency continues and you do not arrange satisfactory payment
 terms, we will withdraw from the representation and pursue collection of your account. You agree to pay all
 costs of collection of delinquent invoices, including attorneys'fees and expenses, regardless of whether
 those fees are attributable to Armstrong Teasdale attorneys or outside attorneys engaged for the purpose of
 collection.

 Retainer and Trust Deposits

 New clients of the firm are required to deposit a retainer with the firm. Unless otherwise agreed, the
 retainer deposit will be credited toward your unpaid invoices. At the conclusion of our legal representation
 or at such time as the deposit is unnecessary or is appropriately reduced, the remaining balance or an
 appropriate part of it will be returned to you. If the retainer deposit proves insufficient to cover current
 expenses and fees at some point during the representation, it may have to be increased.

 All trust deposits we receive from you, including retainers, will be placed in a trust account for your benefit.
 Normally, pursuant to court rule, your deposit will be placed in a pooled account, and the interest earned
 on the pooled account will be payable to a charitable foundation. Other trust deposits will also be placed in
 the pooled account unless you request a segregated account.

 Termination

 You may at any time terminate our services and representation upon written notice to us. Such termination
 shall not, however, relieve you of the obligation to pay for all services already rendered, including work in
 progress and remaining incomplete at the time of termination, and to pay for all expenses incurred on your
 behalf through the date of termination.

 We reserve the right to withdraw from our representation as required or permitted by the applicable rules of
 professional conduct upon written notice to you. In the event that we terminate the engagement, we will
 take such steps as are reasonably practicable to protect your interests in the specified matter, and you
 agree to take all steps necessary to free us of any obligation to perform further, including the execution of
 any documents necessary to perfect our withdrawal. We will be entitled to be paid for all services rendered
 and costs or expenses incurred on your behalf through the date of withdrawal. If permission for withdrawal
 is required by a court or arbitration panel, we will promptly request such permission, and you agree not to
 oppose our request.

 Unless previously terminated, our representation of you in the specified matter will terminate upon our
 sending you our final statement for services rendered in the matter.

 Following termination of our services, at your request, your papers and property will be returned to you
 upon receipt of payment for outstanding fees and costs. Our own files pertaining to the matter will be
 retained by the firm. These firm files include, for example, firm administrative records, time and expense



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 reports, personnel and staffing materials, and credit and accounting records; and internal lawyers' work
 product such as drafts, notes, internal memoranda, and legal and factual research, including investigative
 reports, prepared by or for the internal use of lawyers. All such documents retained by the firm will be
 transferred to the person responsible for administering our records retention program. For various reasons,
 including the minimization of unnecessary storage expenses, we reserve the right to destroy or otherwise
 dispose of any such documents or other materials retained by us within a reasonable time after the
 termination of the engagement, and you agree that unless you have otherwise notified us in writing, we will
 have the right to dispose of files relating to your matter without notice after the matter has been concluded
 for five years.

 After the conclusion of our representation, changes may occur in the applicable laws or regulations that
 could have an impact upon your future rights and liabilities. Unless you engage us after the conclusion of
 the matter to provide additional advice on issues arising from the matter, the firm has no continuing
 obligation to advise you with respect to future legal developments.




 ARMSTRONG TEASDALELLP
